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          FACEBOOK EXHIBIT Y

REDACTED VERSION OF DOCUMENT
SOUGHT TO BE FILED UNDER SEAL
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      Derek W. Loeser (admitted pro hac vice)          Lesley Weaver (Cal. Bar No.191305)
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 4

 5
      Plaintiffs’ Co-Lead Counsel
 6
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 7

 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN FRANCISCO DIVISION
10

11    IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
      PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC-JSC
12

13                                                      DECLARATION OF DEREK W. LOESER
      This document relates to:                         PLAINTIFFS’ MOTION TO COMPEL
14                                                      PRODUCTION OF NAMED PLAINTIFFS’
      ALL ACTIONS                                       CONTENT AND INFORMATION
15
                                                        Judge: Hon. Vince Chhabra
16                                                      Hon. Jacqueline Scott Corley
                                                        Special Master Daniel Garrie
17                                                      Courtroom: 4, 17th Floor

18                                                      JAMS Ref. No.: 1200058674

19                                                      ORAL ARGUMENT REQUESTED

20          I, Derek W. Loeser, declare as follows:

21          1.      I am a partner at the law firm of Keller Rohrback L.L.P. and am Co-Lead Counsel

22   for Plaintiffs in the above-captioned matter. I submit this declaration in support of Plaintiffs’

23   Motion to Compel Production of Named Plaintiffs’ Content and Information. I have personal

24   knowledge of the information contained herein, and, if called as a witness, I could and would

25   testify competently thereto.

26          2.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Second Set of

27   RFPs to Facebook.

28
     DEREK LOESER DECLARATION                          1                                     MDL NO. 2843
                                                                              CASE NO. 18-MD-02843-VC-JSC
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 1          3.      Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ Fourth Set of
 2   Interrogatories to Facebook.
 3          4.      Attached hereto as Exhibit 3 is a true and correct copy of a filing in this action
 4   docketed at ECF No. 537.
 5          5.      Attached hereto as Exhibit 4 is a true and correct copy of a filing in this action
 6   docketed at ECF No. 526.
 7          6.      Attached hereto as Exhibit 5 is a true and correct copy of a filing in this action
 8   docketed at ECF No. 557.
 9          7.      Attached hereto as Exhibit 6 is a true and correct copy of a filing in this action
10   docketed at ECF No. 588.
11          8.      Attached hereto as Exhibit 7 is a true and correct copy of a filing in this action
12   docketed at ECF No. 602.
13          9.      Attached hereto as Exhibit 8 is a true and correct copy of correspondence dated
14   April 1, 2021 received from counsel representing Defendant.
15          10.     Attached hereto as Exhibit 9 is a true and correct copy of Facebook’s Second
16   Amended Responses and Objections to Plaintiffs’ Fourth Set of Interrogatories.
17          11.     Attached hereto as Exhibit 10 is a true and correct copy of a transcript of a hearing
18   held on August 14, 2020 in this action.
19          12.     Attached hereto as Exhibit 11 is a true and correct copy of a document produced in
20   discovery in this action with initial Bates number FB-CA-MDL-00213424.
21          13.     Attached hereto as Exhibit 12 is a true and correct copy of a document produced in
22   discovery in this action with initial Bates number FB-CA-MDL-00149613.
23          14.     Attached hereto as Exhibit 13 is a true and correct copy of a document produced in
24   discovery in this action with initial Bates number FB-CA-MDL-00203262.
25          15.     Attached hereto as Exhibit 14 is a true and correct copy of United States Patent
26   Application Publication No. US 2017/0195435 A1, dated July 6, 2017.
27

28
     DEREK LOESER DECLARATION                          2                                     MDL NO. 2843
                                                                              CASE NO. 18-MD-02843-VC-JSC
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 1          16.     Attached hereto as Exhibit 15 is a true and correct copy of an email dated July 9,
 2   2021 from Matthew Melamed, one of the attorneys representing Plaintiffs, to attorneys
 3   representing Defendant Facebook.
 4          17.     Attached hereto as Exhibit 16 is a true and correct copy of correspondence dated
 5   September 10, 2021 from counsel representing Plaintiffs to counsel representing Defendant
 6   Facebook.
 7          18.     Attached hereto as Exhibit 17 is a true and correct copy of excerpts from the
 8   transcript of a hearing in this action on December 9, 2020.
 9          19.     Attached hereto as Exhibit 18 is a true and correct copy of Exhibit C to the filing
10   in this action docketed at ECF No. 526.
11          20.     Attached hereto as Exhibit 19 is a true and correct copy of a document produced in
12   discovery with Bates number FB-CA-MDL-01952478.
13          21.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the
14   transcript of a hearing in this action on November 4, 2019.
15          22.     Attached hereto as Exhibit 21 is a true and correct copy of a document produced in
16   discovery with initial Bates number FB-CA-MDL-01938268.
17          23.     Attached hereto as Exhibit 22 is a true and correct copy of the transcript of a
18   hearing in this action on March 5, 2020.
19          24.     Attached hereto as Exhibit 23 is a true and correct copy of a document produced in
20   discovery with initial Bates number FB-CA-MDL-00377690.
21          I declare under penalty of perjury that the foregoing is true and correct.
22          Executed this 18th day of October, 2021 at Seattle, Washington.
23
                                                   /s/ Derek W. Loeser
24
                                                   Derek W. Loeser
                                                   4825-5014-2463, v. 2
25

26

27

28
     DEREK LOESER DECLARATION                          3                                    MDL NO. 2843
                                                                             CASE NO. 18-MD-02843-VC-JSC
                                                                               JAMS REF. NO.: 1200058674
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                Exhibit 1
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Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      PLAINTIFFS’ SECOND SET OF
                                               REQUESTS FOR PRODUCTION TO
ALL ACTIONS                                    DEFENDANT FACEBOOK, INC.

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor
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PROPOUNDING PARTY:              Plaintiffs

RESPONDING PARTY:               Facebook

SET NUMBER:                     Two (2)

       Plaintiffs hereby propound the following requests for production of documents to

Defendant Facebook, Inc. (“Facebook”), pursuant to Federal Rules of Civil Procedure 26 and 34,

and request that Facebook produce the documents and electronically-stored information set forth

herein within thirty (30) days of service of these requests, at Bleichmar Fonti & Auld LLP, 555

12th Street, Suite 1600, Oakland, CA 94607.

                                          INSTRUCTIONS

       1.        You shall respond to these requests for the production of documents in a manner

consistent with the Federal Rules of Civil Procedure and the following instructions:

       2.        In responding to each document request, furnish all responsive documents

available at the time of production, including documents in your possession, custody or control,

and in the possession, custody or control of your agents, employees, partners, representatives,

subsidiaries, affiliates, investigators, or by your attorneys or their agents, employees or

investigators.

       3.        If any otherwise responsive document was, but is no longer, in existence or in

your possession, custody or control, identify the type of information contained in the document,

its current or last known custodian, the location/address of such document, the identity of all

persons having knowledge or who had knowledge of the document and describe in full the

circumstances surrounding its disposition from your possession or control.

       4.        This is a continuing request for the production of documents and requires

supplemental responses as provided for in the Federal Rules of Civil Procedure. If, after making

your initial production, you (or any other persons acting on your behalf) obtain or become aware

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of any further documents responsive to any document request, you are required to produce such

additional documents to plaintiffs. Each supplemental response shall be served on plaintiffs no

later than thirty days after the discovery of the further information.

       5.      You shall produce the original of each document described below or, if the

original is not in your custody, then a copy thereof, and in any event, all non-identical copies

which differ from the original or from the other copies produced for any reason, including,

without limitation, the making of notes thereon.

       6.      Documents shall be produced as kept in the regular course of business together

with the original folders, binders, boxes or other containers in which they were maintained.

       7.      All documents or things that respond in whole or in part to any portion of these

requests are to be produced in their entirety, including attachments and their enclosures.

       8.      Documents attached to each other should not be separated.

       9.      Documents not otherwise responsive to any particular document request shall be

produced if such documents mention, discuss, refer to, or explain the documents called for by

any document request, or if such documents are attached to documents called for by any

document request.

       10.     Documents shall be produced in such fashion as to identify the custodian of each

document.

       11.     Identify the source of each document produced, by identifying: (a) all of the

person(s) who possessed the document; (b) the positions or titles of any such individuals; and (c)

all of the divisions and departments where each document was located. If you are unable to

determine the individual(s) who possessed the document, identify the department and division

where the document was located when produced.



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       12.     If you claim any form of privilege, whether based on statute or otherwise, as a

ground for not producing any document, state the following:

               a. The date of the document;

               b. The name, the present or last known home and business address, the

                   telephone numbers, the title (or position), and the occupation of those

                   individuals who prepared, produced, reproduced or who were recipients of

                   said document;

               c. A description of the document sufficient to identify it without revealing the

                   information for which the privilege is claimed;

               d. The nature of the privilege asserted;

               e. The factual basis upon which you claim any such privilege;

               f. The location of the document; and

               g. The custodian of the document.

       13.     To the extent you object to any document request, you must provide specific

responses as to what portion of the request you object to and state expressly why you will not

respond to such request in sufficient detail to permit the Court to determine the validity of the

objection. Responsive documents to which your objection does not apply should be produced.

       14.     If you claim that all or any part of any document request, the Definitions, or

Instructions is vague or ambiguous, please identify the specific language you consider vague or

ambiguous and state the interpretation of the language in question you used to frame your

response.

       15.     Each document requested herein is to be produced in its entirety and without

deletion or excision, regardless of whether you consider the entire document to be relevant or

responsive to any document request. If you have removed, excised or deleted any portion of a

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document, stamp the word “REDACTED” on each page of the document that you have redacted.

Redactions should be included on the privilege log described in Instruction No. 13, above.

       16.     One copy of each document should be produced. A document that varies in any

way from the original or from any other copy, including drafts or a document with handwritten

notations or deletions constitutes a separate document and must be produced, whether or not the

original is in your possession, custody or control. Color (i.e., not black and white) originals

should be produced in color. If any identical copy cannot be produced for any reason (e.g., faint

writing, erasures, etc.), produce the original.

       17.     Indicate the origin of each document and number each document with

consecutive Bates numbers.

                                          DEFINITIONS

       Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these requests for the production of documents.

       1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

       2.      The present tense of a verb includes its past tense, and vice versa.

       3.      “And” and “or” are to be construed conjunctively and disjunctively, as necessary,

to bring within the scope of this request for production all responses that might otherwise be

construed to be outside its scope.

       4.      “Any” and “all” mean each and every.

       5.      “App” means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

       6.      “App Developer Investigation” or “ADI” means (as described in paragraph seven

of the Chen Declaration) Facebook’s investigation to determine “whether there has been misuse

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of data in violation of Facebook’s policies and associated legal liabilities, in connection with the

first version of the [Facebook] Platform.”

       7.      “Apps Others Use” means the setting used to prevent the disclosure of personal

information to third party App Developers through Facebook’s API, as described in paragraphs

366 to 368 of the FAC.

       8.      “App Settings” means settings that a User can alter or accept to limit Third

Parties from accessing or obtaining Users’ Content and Information, including Apps Others Use,

Granular Data Permissions, Platform Opt Out, and the like.

       9.      “Chen Declaration” means the Declaration of Stacy Chen in Support of

Respondent’s Opposition to the Attorney General’s Petition, Attorney General Maura Healy v.

Facebook, Inc., No. 1984CV02597-BFS-1 (Mass. Super Ct., Suffolk Cty.).

       10.     “Communication” means the transmittal (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) and includes, but is not limited to, correspondence,

memoranda, reports, presentations, face-to-face conversations, telephone conversations, text

messages, instant messages, messages sent on Facebook Messenger, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail,

electronic mail or email, and postings of any type.

       11.     “Computer System” or “Computer Systems” include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

       12.     “Content and Information” refers to the definition in footnote 2 of the FAC,

referring to “content” and “information” as Facebook's Statements of Rights and

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Responsibilities have defined those terms. In brief, Facebook has generally used “information”

to mean facts and other information about Users, including the actions they take, and “content”

to mean anything Users post on Facebook that would not be included in the definition of

“information.” Content and Information also includes both personally identifiable content and

information and anonymized content and information that is capable of being de-anonymized.

See FAC ¶¶ 223-224. Content and Information includes data that identifies, relates to, describes,

is capable of being associated with, or could reasonably be linked, directly or indirectly, with a

particular User, including:

           a. Identifiers such as a real name, alias, postal address, unique personal identifier,

               online identifier, Internet Protocol address, email address, account name, social

               security number, driver’s license number, passport number, or other similar

               identifiers.

           b. Characteristics of protected classifications under California or federal law.

           c. Commercial information, including records of personal property, products or

               services purchased, obtained, or considered, or other purchasing or consuming

               histories or tendencies.

           d. Biometric information.

           e. Internet or other electronic network activity information, including, but not

               limited to, browsing history, search history, and information regarding a

               consumer’s interaction with an Internet Web site, application, or advertisement.

           f. Geolocation data.

           g. Audio, electronic, visual, thermal, olfactory, or similar information.

           h. Professional or employment-related information.



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             i. Education information, defined as information that is not publicly available

                personally identifiable information as defined in the Family Educational Rights

                and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

             j. Inferences drawn from any of the information identified in this paragraph to

                create a profile, dossier, or similar collection of information about a consumer

                reflecting the consumer’s preferences, characteristics, psychological trends,

                predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

       13.      “Document” or “Documents” is defined to include any Document, ESI, or

Electronic Media stored in any medium, and is synonymous in meaning and equal in scope to

the usage of this term in Federal Rule of Civil Procedure 34(a)(1)(A), including, but not limited

to, electronic or computerized data compilations, Communications, electronic chats, instant

messaging, documents created through Workplace by Facebook, encrypted or self-destructing

messages, messages sent via Facebook messenger, email Communications, other electronically

stored information from Personal computers, sound recordings, photographs, and hard copy

Documents maintained in your Personal files.

       14.      “Electronic Media” means any magnetic, optical, or other storage media device

used to record ESI including but not limited to computer memory, hard disks, floppy disks, flash

memory devices, CDs, DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or

SharePoint), tablet computers (e.g., iPad, Kindle, Nook, or Samsung Galaxy), cellular or smart

phones (e.g., BlackBerry, iPhone, or Samsung Galaxy), personal digital assistants, magnetic

tapes of all types, or any other means for digital storage and/or transmittal.

       15.      “Electronically Stored Information” or “ESI” means information that is stored in

Electronic Media, regardless of the media or whether it is in the original format in which it was

created, and that is retrievable in perceivable form and includes, but is not limited to, metadata,

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system data, deleted data, fragmented data, data pertaining to or maintained in Apps, database

contents, and computer code.

        16.     “FAC” refers to the First Amended Consolidated Complaint filed February 22,

2019, ECF No. 257.

        17.     “Facebook,” “Defendant,” “You,” or “Your” shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf. In the case of business entities, these defined terms

include parents, subsidiaries, affiliates, predecessor entities, successor entities, these defined

terms include parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions,

departments, groups, acquired entities and/or related entities or any other entity acting or

purporting to act on its behalf.

        18.     “FTC Consent Order” shall refer to the July 27, 2012 Federal Trade Commission

Consent Order in In the Matter of Facebook, Inc., No. C-4365.

        19.     “Granular Data Permissions” means the setting through which the User accessing

an App may limit the categories of Content and Information an App Developer may collect.

        20.     “Identify,” with respect to Documents, means to give, to the extent known, the

(a) type of Document; (b) general subject matter; (c) date of the Document; (d) author(s);

(e) addressee(s); and (f) recipient(s).

        21.     “Including” means “including but not limited to,” or “including, without

limitation.” Any examples which follow these phrases are set forth to clarify the request,

definition or instruction but not to limit the request.




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       22.     “Internal Policy” or “Internal Policies” mean any formal or informal policy,

procedure, rule, guideline, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

       23.     “Misuse of Data,” when used as a capitalized phrase, means the use by an App of

a User’s Content or Information that was broader or different than the use of that content or

information only in connection with the person that gave the permission to the App to access

such User’s Content or Information.

       24.     “Named Plaintiffs” means Steven Akins, Jason Ariciu, Samuel Armstrong,

Anthony Bell, Bridgett Burk, Brendan Carr, John Doe, Terry Fischer, Shelly Forman, Paige

Grays, Mary Beth Grisi, Tabielle Holsinger, Taunna Lee Johnson, Olivia Johnston, Tyler King,

Ashley Kmieciak, William Lloyd, Gretchen Maxwell, Scott McDonnell, Ian Miller, Jordan

O'Hara, Bridget Peters, Kimberly Robertson, Scott Schinder, Cheryl Senko, Dustin Short, Tonya

Smith, Mitchell Staggs, Charnae Tutt, Barbara Vance-Guerbe, and Juliana Watson.

       25.     “Person” or “Persons” means any natural Person or any business, legal or

governmental entity or association.

       26.     “Platform” refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

       27.     “Platform Opt Out” means the setting a User may access to choose that his or her

Content and information is not accessed or obtained by any Apps or websites on Facebook’s

Platform.

       28.     “Privacy Controls” means the audience selectors that control what information in

a User’s profile can be viewed by other Users, and includes Profile Privacy Settings, Profile

Privacy Controls, Publisher Privacy Controls, and the like.



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       29.      “Relating to,” “relate to,” “referring to,” “refer to,” “reflecting,” “reflect,”

“concerning,” or “concern” means all Documents which comprise, explicitly or implicitly refer

to, were reviewed in conjunction with, or were created, generated or maintained as a result of the

subject matter of the request, including, but not limited to, all Documents which reflect, record,

memorialize, embody, discuss, evaluate, consider, review or report on the subject matter of the

request.

       30.      “Third Parties” include the following:

             a. Apps, App Developers, Whitelisted Apps, and Business Partners, as those terms

                are used in the FAC;

             b. Any person that develops an application, software experience, game, or website

                that accesses Content and Information from Facebook’s API or other Facebook

                software; and

             c. Any person with which Facebook has or had an integration partnership.

       31.      “User(s)” means individuals who maintain a Facebook account and can generally

access the typical Facebook experience through website or mobile applications.

       32.      Capitalized terms and acronyms not specifically defined herein have the same

definition as in the FAC.

                                    RELEVANT TIME PERIOD

       The relevant time period for each Document Request is January 1, 2007 through the

present (the “Relevant Time Period”), unless otherwise specifically indicated. Each Document

Request shall be interpreted to include all documents and information that relate to the Relevant

Time Period or otherwise specified period, even if such documents or information were prepared

or published outside of the Relevant Time Period or otherwise specified period. If a document

prepared before or after this period is necessary for a correct or complete understanding of any

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document covered by a request, you must produce the earlier or subsequent document as well. If

any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to the production request.

                                    DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 6

        All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or

investigation relating to whether Users’ Content and Information was accessed or obtained by

any Third Parties without proper consent or authorization, including but not limited to all

inquiries or investigations arising out of the Cambridge Analytica Scandal, the FTC Consent

Order, and any inquiry or investigation related to the settlement agreement with the FTC

announced on July 24, 2019.

REQUEST FOR PRODUCTION NO. 7

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users’ Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users’ Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

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use, transmission, receipt, collection or analysis of Users’ Content and Information by Third

Parties; and

       (d)     the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

REQUEST FOR PRODUCTION NO. 8

       All versions (including each updated or amended version thereof) of Facebook’s

“Platform Policies,” which have been called the “Developer Principles and Policies,” the

“Platform Guidelines,” or the “Developer Terms of Service” (collectively, the “Platform

Policies”).

REQUEST FOR PRODUCTION NO. 9

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

REQUEST FOR PRODUCTION NO. 10

       For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

REQUEST FOR PRODUCTION NO. 11

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs’ Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs’ Content and Information, and the business purpose of all such access.




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REQUEST FOR PRODUCTION NO. 12

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs’ Content and Information.

REQUEST FOR PRODUCTION NO. 13

       For all Third Parties to which Facebook granted access to Named Plaintiffs’ Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook’s agreement with that Third Party.

REQUEST FOR PRODUCTION NO. 14

       Documents sufficient to show the monetary or retail value of each named Plaintiff’s

Content and Information to Facebook, updated to reflect whenever Facebook’s terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff’s Content and Information.

REQUEST FOR PRODUCTION NO. 15

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff’s Content and Information, which

entities paid Facebook, and when such payments were made.

REQUEST FOR PRODUCTION NO. 16

       Documents sufficient to show the monetary or retail value of Users’ Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting

relating to same, and including but not limited to the calculation of average revenue per user,

any changes to such monetary or retail value relating to changes to Facebook’s terms of service,

and any financial reporting of Content and Information as an asset.

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REQUEST FOR PRODUCTION NO. 17

       All Documents relating to Facebook’s assessment of the monetary or retail value of

Users’ Content and Information to Users (as distinct from value to Facebook), including

analyses for providing compensation to Users for their Content and Information, including but

not limited to Users compensated in connection with the Onavo or Research app.

REQUEST FOR PRODUCTION NO. 18

       All Documents that have been transmitted to Users by Facebook relating to whether

Users’ Content and Information was accessed or obtained by Third Parties.

REQUEST FOR PRODUCTION NO. 19

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration ¶ 34:

       (d) each [A]pp to which a request for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

       actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

       cooperate with Facebook’s investigation.

       Facebook has described identification of these Apps as non-privileged and has

already produced it to the Massachusetts Attorney General’s Office. See Chen

Declaration ¶ 35.

REQUEST FOR PRODUCTION NO. 20

       The list of Apps that Facebook provided to the Massachusetts Attorney General’s Office

and that the Chen Declaration ¶ 35 describes as “the subject of external actions or

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communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook’s investigation.”

REQUEST FOR PRODUCTION NO. 21

         Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General’s

Office. See Chen Declaration ¶ 37.

REQUEST FOR PRODUCTION NO. 22

         All “Privacy Risk Assessment[s],” and notes or agenda relating to Facebook’s “focused

subject-matter-specific meetings,” “focused subject-matter-specific discussions,” “weekly intra-

and inter-team meetings,” and “Privacy Summit[s],” as detailed in “Facebook’s Privacy Program

Overview” included in any PricewaterhouseCoopers LLP (“PwC”) assessment report prepared

pursuant to the FTC Consent Order.

REQUEST FOR PRODUCTION NO. 23

         Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

REQUEST FOR PRODUCTION NO. 24

         Documents sufficient to identify all Third Parties to which Facebook granted access to

Users’ Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

REQUEST FOR PRODUCTION NO. 25

         All Documents relating to agreements or partnerships described in Request No. 24.



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REQUEST FOR PRODUCTION NO. 26

         For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

    •    The fields, kinds, or categories of Content and Information that were accessed or

         obtained by such Third Parties;

    •    How each such Third Party accessed or obtained the Content and Information of Users;

    •    How each such Third Party used the Content and Information accessed or obtained;

    •    Where the Content and Information obtained by such Third Parties currently resides and

         who has access to it.

REQUEST FOR PRODUCTION NO. 27

         Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users’ liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

REQUEST FOR PRODUCTION NO. 28

         All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties’ compliance with Facebook’s Platform Policy, Data Policy, or SRR.

REQUEST FOR PRODUCTION NO. 29

         All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook’s Platform Policy, Data Policy, or SRR against Third Parties.

REQUEST FOR PRODUCTION NO. 30

         All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook’s Platform

Policy, Data Policy, or SRR.



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REQUEST FOR PRODUCTION NO. 31

       All Documents relating to Facebook’s audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook’s Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users’

Content and Information on and off the Platform.

REQUEST FOR PRODUCTION NO. 32

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits—or Communications regarding such investigations, examinations, inquiries,

or audits—regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

REQUEST FOR PRODUCTION NO. 33

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook’s SRR or Data Policy, and all Communications related thereto.

REQUEST FOR PRODUCTION NO. 34

       All Documents relating to the conditioning of Third Parties’ access to Users’ Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

REQUEST FOR PRODUCTION NO. 35

       Documents relating to the manner in which a Facebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.




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REQUEST FOR PRODUCTION NO. 36

       All Documents concerning User testing, evaluation and analysis of Facebook’s Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.




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Dated: November 25, 2019                                Respectfully submitted,


KELLER ROHRBACK L.L.P.                                  BLEICHMAR FONTI & AULD LLP

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                Exhibit 2
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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC-JSC


This document relates to:                            PLAINTIFFS’ FOURTH SET OF
                                                     INTERROGATORIES TO DEFENDANT
ALL ACTIONS                                          FACEBOOK, INC.



PROPOUNDING PARTY:             Plaintiffs

RESPONDING PARTY:              Defendant Facebook, Inc.

SET NUMBER:                    Four (4)

        Plaintiffs hereby propound the following interrogatories to Defendant Facebook, Inc.

(“Facebook”), pursuant to Federal Rules of Civil Procedure 26 and 33, and request that Facebook

respond to the interrogatories below within thirty (30) days of service of these requests at Keller

Rohrback L.L.P., 1201 Third Avenue, Suite 3200, Seattle, WA 98101.

                                            INSTRUCTIONS

        1.      You shall respond to these interrogatories in a manner consistent with the Federal

Rules of Civil Procedure and the following instructions:

        2.      In responding to these Interrogatories, you must answer the Interrogatories in

writing and under oath pursuant to Rule 33(b)(5).

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        3.      If you object to an Interrogatory on the grounds that it calls for disclosure of

information which you claim is privileged, then answer such Interrogatory as follows: (a) furnish

all information and facts called for by such Interrogatory for which you do not assert a claim of

privilege; and (b) for each communication, recommendation, fact, or advice which you claim is

privileged, state the basis for your claim of privilege and all the facts that substantiate that basis,

including each of the participants in the allegedly privileged communication.

        4.      If you object to any portion of an Interrogatory, provide all information

responsive to any portion of the Interrogatory to which you do not object.

        5.      Unless otherwise stated, there are no time limits applicable to any interrogatory.

When a time limit is specified in a discovery request, this time limit does not alter your

obligations under the Federal Rules of Civil Procedure to supplement your responses.

        6.      Seasonable and timely supplementation is required. Accordingly, if any additional

information relating in any way to these discovery requests are acquired or discovered

subsequent to the date of your response, this information shall be furnished to Plaintiffs’ counsel

promptly after such information is discovered.

        7.      In answering these Interrogatories, furnish all knowledge and information

available to you or subject to your reasonable inquiry, access or control, however obtained

including hearsay. This includes, but is not limited to, information in the actual or constructive

possession of your attorneys and anyone else acting on your behalf.

        8.      Unless words or terms have been given a specific definition herein, each word or

term used herein shall be given its usual and customary dictionary definition except where such

words have a specific custom and usage definition in your trade or industry, in which case they

shall be interpreted in accordance with such usual custom and usage definition of which you are

aware. In construing the interrogatories and requests herein: (i) the singular shall include the

plural and the plural shall include the singular; (ii) a masculine, feminine, or neuter pronoun shall

not exclude the other genders; (iii) the terms “any” and “all” shall be understood to mean “any

and all”; and (iv) the words “and” and “or” shall be read in the conjunctive or disjunctive or


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both, as the case may be, all to the end that the interpretation applied results in the more

expansive interpretation.

                                          DEFINITIONS

        Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these interrogatories.

        1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

        2.      The present tense of a verb includes its past tense and vice versa.

        3.      “2012 Consent Decree” means the Decision and Order entered by the Federal

Trade Commission (FTC) in 2012 in In the Matter of Facebook, Inc., No. C-4365, pursuant to an

agreement between the FTC and Facebook.

        4.      “And” and “or” are to be construed both conjunctively and disjunctively, as

necessary, to bring within the scope of this request for production all responses that might

otherwise be construed to be outside its scope.

        5.      The words “all” and “any” means each and every.

        6.      The phrase “describe in detail” or “detailed description” includes a request for a

complete description and explanation of the facts, circumstances, analysis, opinion, and other

information relating to the subject matter of a specific interrogatory.

        7.      “Facebook,” “Defendant,” “you,” and “your” shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf. In the case of business entities, these defined terms include

parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions, departments,

groups, acquired entities and/or related entities or any other entity acting or purporting to act on

its behalf.




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        8.      “Action” means this case captioned In re: Facebook, Inc. Consumer Privacy User

Profile Litigation, Case No. 18-md-02843-VC and each of the constituent Actions transferred to

and/or consolidated therein.

        9.      “API” refers to an application programming interface.

        10.     “App” means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        11.     “Business Partners” refers to the third parties with whom Facebook partnered to

develop and integrate Facebook on a variety of devices and operating systems, including, but not

limited to, the third parties listed in paragraph 484 of Plaintiffs’ First Amended Consolidated

Complaint.

        12.     “Content and Information” refers to the definition in footnote 2 of the First

Amended Consolidated Complaint, referring to “content” and “information” as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used “information” to mean facts and other information about Facebook Users,

including the actions they take, and “content” to mean anything Facebook Users post on

Facebook that would not be included in the definition of “information.” Content and Information

also includes both personally identifiable content and information and anonymized content and

information that is capable of being de-anonymized. See First Am. Consol. Compl. (“FAC”)

¶¶ 223-224. Content and Information includes data that identifies, relates to, describes, is capable

of being associated with, or could reasonably be linked, directly or indirectly, with a particular

Facebook User, including:

                A.     Identifiers such as a real name, alias, postal address, unique personal

        identifier, online identifier, Internet Protocol address, email address, account name, social

        security number, driver’s license number, passport number, or other similar identifiers.

                B.     Characteristics of protected classifications under California or federal law.




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                  C.     Commercial information, including records of personal property, products

        or services purchased, obtained, or considered, or other purchasing or consuming

        histories or tendencies.

                  D.     Biometric information.

                  E.     Internet or other electronic network activity information, including, but

        not limited to, browsing history, search history, and information regarding a consumer’s

        interaction with an Internet Web site, application, or advertisement.

                  F.     Geolocation data.

                  G.     Audio, electronic, visual, thermal, olfactory, or similar information.

                  H.     Professional or employment-related information.

                  I.     Education information, defined as information that is not publicly

        available personally identifiable information as defined in the Family Educational Rights

        and Privacy Act (20 U.S.C. § 1232g, 34 C.F.R. pt. 99).

                  J.     Inferences drawn from any of the information identified in this paragraph

        to create a profile, dossier, or similar collection of information about a consumer

        reflecting the consumer’s preferences, characteristics, psychological trends,

        predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

        13.       “Data Analytics Infrastructure” refers to the services, applications, utilities and

systems that are used for either preparing data for modeling, estimating models, validating

models, business intelligence, scoring data, or related activities, including but not limited to

databases and data warehouses, statistical and data mining systems, and scoring engines.

        14.       “Database” refers to any organized collection of information that is stored

electronically.

        15.       “Facebook Archive” means the archived activity of the Named Plaintiffs You

produced in this action.

        16.       “Facebook User” means a person who maintains or has maintained a Facebook

account.


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        17.     “Friends of Installing Users” refers to Facebook Users:

                A.       who did not install a particular App, but whose Content and Information

        became accessible to that App because they were Facebook friends with an Installing

        User; or

                B.       whose Content and Information became accessible to a Business Partner

        because they were Facebook friends with an Installing User.

        18.     “Including” means “including but not limited to,” or “including, without

limitation.” Any examples which follow these phrases are set forth to clarify a request,

definition, or instruction but not to limit it.

        19.        “Installing User” refers to a Facebook User who installed a particular App via his

or her Facebook account or who used the services or products of a Business Partner in

connection with his or her Facebook account.

        20.     “Not Generally Available,” when used as an adjective to modify Content and

Information, refers to a Facebook User’s Content and Information to which that Facebook User

has restricted access such that the only Facebook Users who may access that Content and

Information are the Facebook User’s Friends or another limited audience.

        21.     “Platform” refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

        22.     “Third Parties” include the following:

                A.       Apps, App Developers, Whitelisted Apps, and Business Partners, as those

        terms are used in the FAC;

                B.       Any person that develops an application, software experience, game, or

        website that accesses Content and Information from Facebook’s API or other Facebook

        software; and

                C.       Any person with which Facebook has or had an integration partnership.

        23.     Capitalized terms and acronyms not specifically defined herein have the same

definition as in the First Amended Consolidated Complaint.


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                                     INTERROGATORIES

INTERROGATORY NO. 8:

        Identify by name and time period in operation each Facebook Database and Data

Analytics Infrastructure that contains Facebook Users’ Content and Information.



INTERROGATORY NO. 9:

        For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, identify the corresponding query interfaces (e.g., including graphical

interfaces, command-oriented interfaces, and APIs) that have called or accessed data from such

Database to respond to either internal or external queries.



INTERROGATORY NO. 10:

        For each query interface identified in your answer to Interrogatory No. 9, identify

whether such query interface is or has been used to respond to internal queries, external queries,

or both.



INTERROGATORY NO. 11:

        For each query interface identified in your answer to Interrogatory No. 10 as being or

having been used to respond to external queries, identify the complete list of fields or query

parameters available for queries by a Third Party via such query interfaces. For each of the fields

or query parameters, describe in detail the acceptable ranges and formats of their values and

identify which parameters are optional for queries and which are required.



INTERROGATORY NO. 12:

        For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, describe in detail the system architectures of, and types of data contained by,

such system.


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INTERROGATORY NO. 13:

        For every API by means of which Third Parties could access the Not Generally Available

Content and Information of Friends of Installing Users, list the name of the API, a description of

its function, the data fields of Not Generally Available Content and Information of Friends of

Installing Users to which it allowed access, the number of calls it received each month, the

volume of data it returned each month, the number of Friends of Installing Users whose Content

and Information was accessed, the name of every Third Party that Facebook allowed to use that

API, and the period during which each Third Party was allowed to use the API.



INTERROGATORY NO. 14:

        Identify every Business Partner that had the ability to access the Not Generally Available

Content and Information of Facebook Users even if such Facebook Users had not downloaded an

App from that Business Partner and time period during which each such Business Partner had

that ability.



INTERROGATORY NO. 15:

        For each Business Partner identified in your answer to Interrogatory No. 14, provide:

    a) The name of each API or other data transfer mechanism by means of which the Business

        Partner accessed the Not Generally Available Content and Information of Facebook

        Users when such Facebook Users had not downloaded an App from that Business

        Partner;

    b) a detailed description of the function of each such API or other data transfer mechanism;

    c) the elements of Not Generally Available Content and Information that each such API or

        other data transfer mechanism allowed access to;

    d) the number of calls the Business Partner made to each such API or other data transfer

        mechanism each month;

    e) the volume of data transferred from each such API or other data transfer mechanism to


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        each Business Partner each month;

    f) the number of Friends of Installing Users whose Content and Information was so

        accessed by each Business Partner; and

    g) any filters or access restrictions that limited the set of Facebook Users about whom each

        Business Partner could access Not Generally Available Content and Information.



INTERROGATORY NO. 16:

        For each Named Plaintiff, identify all Third Parties who had the ability to access such

Named Plaintiff’s Not Generally Available Content and Information by virtue of the fact that the

Named Plaintiff was a Friend of an Installing User, the date and time of each request for such

access, and the specific Content and Information that was accessed.



INTERROGATORY NO. 17:

        For each Named Plaintiff, identify each Facebook Business Partner that had the ability to

access the Named Plaintiff’s Not Generally Available Content and Information, even if the

Named Plaintiff had not downloaded an App from that Business Partner, the date and time of

each request for such access, and the specific Content and Information that was accessed.



INTERROGATORY NO. 18:

        Identify by Bates number every document You provided or made available to PwC

related to any investigation, audit or assessment related to the subject matter of the Complaint.



INTERROGATORY NO. 19:

        Identify all members of Facebook’s senior management team involved in the review and

oversight of Facebook’s Privacy Program instituted pursuant to the 2012 Consent Decree.




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INTERROGATORY NO. 20:

        Identify all members of the Board of Directors involved in the review and oversight of

Facebook’s Privacy Program instituted pursuant to the 2012 Consent Decree.



INTERROGATORY NO. 21:

        For each such individual identified above in Interrogatories 19 and 20, describe in detail

their duties and responsibilities relating thereto.



INTERROGATORY NO. 22:

        Describe in detail the facts and circumstances relied upon by Facebook in assessing and

agreeing to pay a $5 billion fine to the Federal Trade Commission.



INTERROGATORY NO. 23:

        Identify every person involved in the decision to pay the $5 billion fine to the Federal

Trade Commission.



INTERROGATORY NO. 24:

        Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether Third Parties accessed the Not Generally Available Content

and Information of Facebook Users by virtue of their being Friends of Installing Users; (2) which

Third Parties accessed such Content and Information; and (3) which Facebook Users, by virtue

of their being Friends of Installing Users, had their Not Generally Available Content and

Information accessed by Third Parties.



INTERROGATORY NO. 25:

        Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether any Business Partners accessed the Not Generally Available


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Content and Information of Facebook Users even if such Users did had not downloaded an App

from those Business Partners; (2) which Business Partners accessed such Content and

Information; and/or (3) which Facebook Users had their Not Generally Available Content and

Information accessed in that manner.



INTERROGATORY NO. 26:

        Identify by name and time period all Third Parties that obtained Facebook Users’ Content

and Information through friend permissions prior to 2009.



INTERROGATORY NO. 27:

        Identify by name and time period all Third Parties to whom Facebook granted whitelisted

access, the time period of the grant of whitelisted access, and the Third Parties for which such

access was granted.



INTERROGATORY NO. 28:

        Describe the criteria Facebook used to determine which Third Parties would be granted

whitelisted access.



INTERROGATORY NO. 29:

        Identify by name and time period all Third Parties that were Business Partners of

Facebook and were granted access to Facebook Users’ Content and Information.



INTERROGATORY NO. 30:

        Identify all categories of Content and Information available to a Facebook User through

the “Access Your Information” or “Download Your Information” tools, such as users’ public and

private posts, Facebook messenger messages, and any attached content.




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INTERROGATORY NO. 31:

        Identify all categories of Content and Information Facebook collects, tracks, and

maintains about Facebook Users that are excluded from the Access Your Information or

Download Your Information tools, such as advertisements served to a Facebook User, likes,

audience selector information, reports of offensive content, or support communications.



INTERROGATORY NO. 32:

        For each Named Plaintiff, identify each category of Content and Information Facebook

collects, tracks, and maintains about them and for each category, indicate (1) whether each

category has been produced in this action and the Bates Range associated with each category of

produced Content and Information; (2) whether each category of Content and Information is

available to Facebook Users through the “Access Your Information” or “Download Your

Information” tools; and (3) for each category of Content and Information that has not been

produced in this action, its location, and the reason it has not been produced.



INTERROGATORY NO. 33:

        For all documents produced in this action relating to the Named Plaintiffs’ Content and

Information, describe any associated data that reflects whether the Content and Information was

publicly or privately shared.



INTERROGATORY NO. 34:

        Identify by name, time period and type of data accessed all Third Parties Facebook has

removed or banned from the Platform for violating Facebook Users’ privacy or for failure to

comply with Facebook’s privacy policies.




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Dated: July 16, 2020                                   Respectfully submitted,


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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                         MDL No. 2843
PRIVACY USER PROFILE LITIGATION                        Case No. 18-md-02843-VC


This document relates to:                              CERTIFICATE OF SERVICE

ALL ACTIONS

         I hereby certify that I have served a true and correct copy of:

         PLAINTIFFS’ FOURTH SET OF INTERROGATORIES TO DEFENDANT
          FACEBOOK, INC.
via Email on this 16th day of July, 2020 to the person(s) set forth below:

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CERTIFICATE OF SERVICE                             i                                    MDL NO. 2843
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         I declare under penalty of perjury pursuant to the laws of the United States of America

that the foregoing is true and correct.

         Executed at Seattle, Washington, on July 16, 2020.

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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                 CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                DEFENDANT FACEBOOK, INC.’S
                                                                REPLY BRIEF IN SUPPORT OF ITS
                 This document relates to:                      REQUEST TO ENFORCE THE PARTIAL
                                                                STAY OF DISCOVERY IN PRETRIAL
                 ALL ACTIONS                                    ORDER NO. 20

                                                                Judge: Hons. Vince Chhabria and
                                                                Jacqueline Scott Corley
                                                                Courtroom 4, 17th Floor




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                                                            INTRODUCTION
                        The lawsuit Plaintiffs describe is not this case. This case is about information sharing.
                 Specifically, it concerns sensitive information that users shared with their Facebook friends and that
                 third parties allegedly accessed as a result of friend sharing, whitelisting, and integration partner
                 agreements. Pretrial Order 20 is clear on this point, and Plaintiffs do not identify a single line in Judge
                 Chhabria’s comprehensive order, much less in their own allegations, that supports their description of
                 the case that survived dismissal.
                        The Order explains on its first page: “This lawsuit . . . is about Facebook’s practice of sharing
                 its users’ personal information with third parties.” Dkt. 298 (“Order”) at 1 (emphasis added). It then
                 says that each of the four live theories concerns “substantive and revealing content that users intended
                 only for a limited audience [i.e., their Facebook friends], such as their photographs, videos they made,
                 videos they watched, their religious and political views, their relationship information, and the actual
                 words contained in their messages.” Id.; see also id. at 7, 13, 17. The user data relevant to those
                 theories consists of “information [users] make available to their friends on [Facebook]. Id. at 1.
                        Plaintiffs do not dispute that Facebook produced all of the information the Named Plaintiffs
                 ever shared on Facebook. These productions consist of more than one million pages of data and
                 necessarily include any data Facebook shared under the live theories. But, Plaintiffs insist they are
                 entitled to any other data that has ever crossed Facebook’s servers that relates in any way to any Named
                 Plaintiff and all derivative materials drawing on this data. Plaintiffs seek these materials even if the
                 underlying data is not associated with any user and even if they were never shared with any third party.
                 Plaintiffs do not even attempt to explain why they would need such data in a case concerning
                 information they shared on the Facebook platform and that Facebook allegedly shared beyond the
                 audience Plaintiffs intended. Instead, Plaintiffs openly admit that they seek these extraneous materials
                 not to pursue live claims, but to resuscitate stayed and dismissed theories or to search for new ones.
                        Plaintiffs largely avoid the Court’s instruction to brief “what the scope of discovery is based on
                 the claims in Judge Chhabria’s ruling [Pretrial Order 20].” 9/4/2020 Hr’g Tr. at 5:8-10. Instead,
                 Plaintiffs devote the majority of their brief to side issues and seek to compel Facebook to produce all
                 documents responsive to five RFPs that are not before the Court. The Court should disregard these
                 diversions, conform discovery to the four operative theories, and deny Plaintiffs’ motion to compel.
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                                                             ARGUMENT
                 I.          The stay imposed by Pretrial Order 20 includes a discovery stay.
                             Plaintiffs take the surprising position that Pretrial Order 20 sets virtually no bounds on the scope

                 of discovery in this case and allows them to explore theories Judge Chhabria stayed or dismissed. 1

                             Plaintiffs’ position makes no sense. When a stay is in place, it “include[s] a stay of discovery.”

                 Meyers v. Cty. of Sacramento, 2020 WL 207213, at *1 (E.D. Cal. Jan. 14, 2020). Judge Chhabria

                 stayed all but Plaintiffs’ core theories because Plaintiffs filed a 1,440-paragraph pleading. As he

                 explained, “it seems the plaintiffs sought to identify anything Facebook has ever been reported to have

                 done wrong . . . [and] the presence of so many disparate and vague allegations ma[de] it nearly

                 impossible for Facebook to meaningfully respond to all of them, much less for the Court to effectively

                 address them.” Order at 5-6. In order to avoid “bogging the case down at the pleading stage for years,”

                 id. at 6, Judge Chhabria therefore issued an opinion regarding Plaintiffs’ core allegations, without

                 addressing most of their improperly pleaded theories, which he stayed, id. Judge Chhabria surely did

                 not intend to allow discovery on hundreds of “disparate and vague allegations” that did not satisfy

                 Rule 8. The very point of the stay was to focus this case—not to allow Plaintiffs to explore “anything

                 Facebook has ever been reported to have done wrong” without stating cognizable claims.

                             Plaintiffs even suggest Pretrial Order 20 allows discovery to “reviv[e]” claims dismissed with

                 prejudice. Opp’n at 6 n.3. To support this curious position, Plaintiffs cite a footnote in Judge

                 Chhabria’s analysis of Plaintiffs’ deceit by concealment claim. Id. (citing Order at 37 n.21). Judge

                 Chhabria held that Plaintiffs stated a plausible claim arising from Facebook’s alleged practices

                 concerning whitelisting and integration partners. But he held the claim did not satisfy Rule 9(b)’s

                 heightened pleading standard with respect to friend sharing and Facebook’s enforcement measures. He

                 then said in a footnote that dismissal of a subset of the claim would not “preclude . . . plaintiff[s] from

                 seeking revival if discovery reveals a factual basis that justified reconsideration.” Order at 37 n.21.

                 Judge Chhabria cited WPP Luxembourg Gamma Three Sarl v. Spot Runner, Inc., 655 F.3d 1039, 1059

                 (9th Cir. 2011), which holds a plaintiff who fails to satisfy the PLRA’s heightened pleading standard

                 may potentially seek revival if other case-related discovery later allows the plaintiff to satisfy the

                      1
                     In addition to the discovery Plaintiffs seek from Facebook, Plaintiffs have served overbroad sub-
                 poenas on 27 third parties. These parties also require clear guidance as to the scope of discovery.
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                 PLRA’s heightened pleading standard. Judge Chhabria certainly did not intend this footnote to create

                 a gaping hole allowing discovery on hundreds of allegations that did not survive dismissal. See Mujica

                 v. AirScan Inc., 771 F.3d 580, 593 n.7 (9th Cir. 2014) (“To the extent [earlier cases] suggest[] that

                 courts retain discretion to permit discovery whenever a plaintiff has failed to satisfy Rule 8’s

                 plausibility standard, it is simply incompatible with Iqbal and Twombly.”).

                          Pretrial Order 20 plainly defines the scope of discovery in defining the scope of the case.
                 II.      This case is about information users share with their friends on Facebook.
                          A plain reading of Pretrial Order 20 explains the scope of the case Judge Chhabria allowed to

                 move forward. 2 Plaintiffs say the Order describes this case as concerning any data Facebook receives

                 or infers about users and how that data may be used to target them. To support this position Plaintiffs

                 quote vague passages from the Order stating the case concerns “sensitive information.” Plaintiffs then

                 say Judge Chhabria did not define “sensitive” and ask the Court to interpret the term to include any

                 data Plaintiffs believe to be personal—including information they provide to third parties, information

                 third parties collect through cookies, public records, and even inferences Facebook draws. Opp’n at 4.

                          Plaintiffs disregard what Pretrial Order 20 actually says. It describes “sensitive information”

                 to be “substantive and revealing content that users intended only for a limited audience,” and clarifies

                 that this data is “information [users] make available to their friends on [Facebook].” Order at 1.

                 To read the ruling otherwise would expand the case far beyond what Judge Chhabria considered and

                 would also raise a host of thorny legal questions his Order does not address.
                                 The four live theories all concern data users shared with their Facebook friends.
                          As discussed, Pretrial Order 20 allows four theories of relief to move forward. Each theory

                 concerns information users shared with their Facebook friends.

                          Friend sharing. Friend sharing was a capability through which users could share with apps

                 information their friends posted and made available to their Facebook friends. Plaintiffs do not dispute

                   2
                      Plaintiffs disingenuously argue that Facebook takes an “unduly narrow” view of discovery, cit-
                 ing a comment Judge Chhabria made before discovery began advising Facebook to produce materials
                 regarding “friends’ information and friends’ of friends information.” Opp’n at 13. Facebook has
                 now produced nearly 1.5 million pages of documents, before the parties have even reached a search
                 term agreement, including all information the Named Plaintiffs shared with their friends and friends
                 of their friends. Those productions also include all of the Facebook documents produced to the FTC
                 in response to its document requests in two related investigations. They also include documents pro-
                 duced to a host of other government actors in related actions responsive to Plaintiffs’ RFPs. In addi-
                 tion to these materials, Facebook proposed search terms hitting on millions of additional documents.
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                 this. Friend sharing underlies the Cambridge Analytica events, it has been hotly litigated, and there is

                 no dispute as to what it is about. The Order explains: “[W]hen users accessed apps on the Facebook

                 Platform, the app developers were not merely able to obtain information about the users they were

                 interacting with; [but] were also able to obtain any information about the users’ Facebook friends that

                 the users themselves had access to,” “such as photographs, videos they watched, religious preferences,

                 posts, and even sometimes private one-on-one messages sent through Facebook.” Id. at 6-7.

                        Whitelisting. Whitelisting is an extension of friend sharing and is about the same data. Id. at 8.

                        Integration Partner Agreements. Facebook allegedly “[s]har[ed] sensitive user information

                 with business partners,” through a list of “integration partnerships,” to integrate Facebook with devices,

                 websites, and social-media platforms. Id. at 8-9. As with the other theories, the “sensitive user

                 information” at issue is “substantive and revealing content that users intended only for a limited

                 audience [i.e. their Facebook friends].” Id. at 1. The purpose of these agreements was to allow users

                 to integrate their Facebook activities that they shared on Facebook with other platforms and sites.

                        Plaintiffs say the Order allows claims relating to integration partners to proceed as to some

                 broader set of “sensitive information” that they find personal in nature. Opp’n at 7. Plaintiffs provide

                 no support for this assertion; the Order describes this theory as involving the same “sensitive user data”

                 underlying the other theories of relief. And it must. As discussed below, the Order holds that Plaintiffs

                 demonstrated standing, a reasonable expectation of privacy, and a lack of consent only with respect to

                 Facebook’s alleged practice of sharing information users shared with their Facebook friends.

                        Enforcement. This theory relates to how Facebook enforced its data-use policies with respect

                 to data third parties obtained through friend sharing, whitelisting, and integration partner agreements,

                 and it concerns the same data that users shared with their Facebook friends. Order at 9.
                                The threshold “global issues” addressed in the Order show that the actionable
                                claims relate only to information users shared on Facebook.
                        Pretrial Order 20 addressed various “global issues” and holds Plaintiffs demonstrated a

                 reasonable expectation of privacy, standing, and lack of consent only with respect to Facebook’s

                 alleged practice of sharing with third parties information users shared with their friends on Facebook.

                        Expectation of privacy. Pretrial Order 20 addresses Facebook’s argument that Plaintiffs were

                 not injured, and therefore lack standing, because they did not have a reasonable expectation of privacy

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                 over information they share with their Facebook friends. Id. at 1 (“Facebook argues that people have

                 no legitimate privacy interest in information they make available to their friends on social media.”).

                 With respect to users’ privacy expectations, Pretrial Order 20 holds: “the issue of whether users have

                 a reasonable expectation of privacy in information they share with their social media friends is best

                 understood as relating to the merits, not standing.” Id. at 10-11 n.2 (emphasis added). On the merits,

                 the Order holds that “[w]hen you share sensitive information with a limited audience . . . you retain

                 privacy rights and can sue someone for violating them.” Id. at 2. It then analyzes whether users retain

                 a reasonable expectation of privacy over information they share with their friends, see id. at 10-12,

                 and concludes: “social media users can have their privacy invaded if sensitive information meant only

                 for a few dozen friends is shared more widely,” id. at 11.

                        Pretrial Order 20 is so clear that this case concerns information that users shared with their

                 Facebook friends that it goes out of its way to say sua sponte: “It seems quite possible that a user

                 whose settings allow information to be shared not only with their friends, but friends of friends, loses

                 any expectation of privacy.” Id. at 11 n.3. Nowhere does Pretrial Order 20 consider whether users

                 maintain a reasonable expectation of privacy over information beyond what users share on Facebook

                 (as Plaintiffs wrongly suggest) such as information users provide third parties, public records,

                 information third parties obtain through cookies, or information Facebook “infers” about users.

                        Standing. With respect to standing, Pretrial Order 20 holds: “The alleged injury is ‘concrete’

                 largely for the reasons already discussed – if you use a company’s social media platform to share

                 sensitive information with only your friends, then you suffer a concrete injury when the company

                 disseminates that information widely.” Id. at 17. The Order goes on to say that Plaintiffs’ injuries are

                 sufficiently particularized with respect to which third parties allegedly received their data because,

                 “[i]f, as alleged in the complaint, Facebook made users’ ‘friends only’ information readily available

                 to such a broad swath of companies . . . it is virtually inevitable that some of these companies obtained

                 information on the named plaintiffs.” Id. at 18. The Order did not hold—or even consider—whether

                 Plaintiffs have standing to sue Facebook with respect to information users did not share on Facebook.

                        Consent. On the issue of consent, the Court addressed whether Plaintiffs consented to the

                 conduct underlying their claims because they “agreed, when they signed up for their accounts, that

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                 Facebook could disseminate their ‘friends only’ information in the way it has done.” Id. at 18. Pretrial

                 Order 20 holds that judicially noticeable materials demonstrate that a subset of users consented to

                 sharing their “friends only” information through friend sharing, but do not establish at the pleading

                 stage that all users consented to sharing friends-only information through friend sharing, whitelisting,

                 and integration agreements. Id. at 18-29. The Order did not consider whether Plaintiffs consented to

                 sharing information they did not share on Facebook.

                          The Order is clear that this case is about sensitive information users made available to their

                 friends on Facebook and third parties allegedly accessed. Discovery must conform to these theories.
                 III.     Facebook produced all data Plaintiffs shared on Facebook; no other user data is relevant.
                          Facebook produced more than one million pages of content and information related to the

                 Named Plaintiffs. 3 Those materials include everything each Named Plaintiff ever shared on
                 Facebook (unless they deleted it).       This includes, but is not limited to, the “Download Your

                 Information” (“DYI”) file that Facebook makes available to users, 4 plus additional information.

                          Plaintiffs do not dispute that the produced materials include any data users shared with their

                 Facebook friends (sensitive or otherwise). Yet, Plaintiffs demand that Facebook search millions of

                 disaggregated data sets for any data to have ever crossed Facebook’s systems relating to a Named

                 Plaintiff and any derivative materials drawing on that data—such as data sets tracking hours of peak

                 user activity to monitor strains on Facebook’s system. They demand such materials without regard for

                 whether they were shared with any third party, much less under a live theory. To support this position,
                 Plaintiffs misinterpret a handful of Facebook documents, 5 but their argument boils down to the

                 following: Facebook has documents drawing on data relating to users; therefore, Facebook must search

                   3
                       Since filing its opening brief, Facebook produced approximately 250,000 additional pages of in-
                 formation related to Named Plaintiffs who were added to the case in August.
                   4
                       Plaintiffs assert that the DYI data is not useful because it does not display on an item-by-item
                 basis the audience that Plaintiffs set for each of their posts. Facebook agreed to investigate whether it
                 could produce this data for relevant posts—bearing in mind that the request involves granular data for
                 more than a million pages of activity. Facebook also reminded Plaintiffs that their accounts display
                 this information. If Plaintiffs believe the audience set to a particular post is critical evidence for their
                 case, they could screen-shot that information from their accounts and produce it. They could also
                 identify particular posts to Facebook so that Facebook can produce the relevant information.
                   5
                       Because the Court ordered the parties not to submit declarations or evidence, 9/4/2020 Hr’g Tr.
                 at 5:8-10, 18-22, Facebook does not here submit declarations or documents to dispute Plaintiffs’
                 characterization of the materials they cite. If the Court is inclined to issue a ruling relying on the ex-
                 hibits Plaintiffs submitted, Facebook respectfully requests permission to do so.

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                 for and produce any materials drawing upon any data it has ever collected or created that relates in any

                 way to a Named Plaintiff. The Court should reject this position, which largely asks Facebook to search

                 for materials that are out of scope and consist largely of data already produced in other formats.

                          Data the Named Plaintiffs did not share on Facebook is out of scope, including public

                 records, data Plaintiffs shared with third parties, and information created by Facebook. Facebook

                 produced all of the information the Named Plaintiffs shared on Facebook (sensitive or otherwise).

                 These productions necessarily include any information shared under the live theories. 6

                          Plaintiffs say the case is about data Facebook creates and that third parties share with Facebook

                 that is used to draw “inferences” about users. For instance, Plaintiffs may allow websites to collect

                 data about their shopping habits through cookies. Those sites then might share this data with other

                 parties (including Facebook) to better place the site’s advertisements. As discussed above, nothing in

                 Pretrial Order 20 supports Plaintiffs’ argument that this type of data is part of this lawsuit. This would

                 be a very different case if—as Plaintiffs say—it were about Facebook sharing information that third

                 parties passed on to Facebook. To establish this sort of “third party data” claim, Plaintiffs would have

                 had to allege (and prove) the nature of each of their relationships with the specific third parties at issue,

                 the circumstances under which those third parties obtained their data, whether each individual user

                 consented to that third party sharing data with Facebook, the circumstances under which the data was

                 provided to Facebook, and so on. None of that is at issue here and nothing in Pretrial Order 20 suggests

                 it is. Nor could Plaintiffs conceivably establish facts of this nature on a class-wide basis.

                          Plaintiffs seem to concede they demand these materials because “the very purpose of collecting

                 all of this data . . . is to use it to target users.” Opp’n at 12. As Plaintiffs admit, Pretrial Order 20

                 dismisses their targeted advertising theory. 7 To the extent any advertisers received sensitive user data

                 through friend sharing, whitelisting, or integration agreements, that user data was already produced.
                   6
                       To describe the data Plaintiffs believe Facebook maintains, Plaintiffs cite their Exhibit B at page
                 9, which was prepared by an employee in 2014 and regards Facebook’s ads platform. The document
                 does not reflect Facebook’s standard terminology, nor does Facebook agree with Plaintiffs’ character-
                 ization of the document. In any case, Facebook does not dispute that it receives data from third par-
                 ties in connection with its ads platform and maintains internal analyses which rely on user data.
                   7
                       Plaintiffs walk back their position that they need discovery to pursue their dismissed “targeted
                 advertising” and “psychographic marketing” theories. Opp’n at 11. But Plaintiffs have been arguing
                 for a year that these theories justify their demands for every piece of information Facebook collects
                 and infers about users and took this position in the recent joint status updates that prompted this brief-
                 ing. See 8/13/2020 Status Update at 2-3, 9, Dkt. 495; 7/30/2020 Status Update at 3, Dkt. 484.
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                         In any case, as discussed in its opening brief and below, Facebook actually produced the

                 majority of data it receives from third parties in the off-Facebook Activity portion of the DYI materials.

                         Data not shared through one of the four theories is out of scope. Plaintiffs say they provide

                 evidence that Facebook shares data beyond what users share on Facebook. Opp’n at 9-10. Even if that

                 were true, it is not relevant to this lawsuit. The live theories concern data users shared with their

                 Facebook friends that third parties accessed via friend sharing, whitelisting, or integration agreements.

                         In any case, the documents Plaintiffs cite describe Facebook’s data sources; they say nothing

                 about whether or how Facebook shares information. Of note, Plaintiffs claim their Exhibit C “confirms

                 that Facebook shares [the data they seek] with third parties.” Opp’n at 9. Exhibit C is an email outlining

                 hypothetical platform capabilities—it does not discuss what data Facebook actually shared.
                         The integration partner theory does not entitle Plaintiffs to all data from third parties.

                 Plaintiffs suggest Facebook must locate and produce all data points it has ever received from any third

                 party regarding a Named Plaintiff because Facebook’s integration partner agreements were built in part

                 on “data reciprocity.” Opp’n at 11. This argument is a red herring and misrepresents what “data

                 reciprocity” means. Facebook did not, as Plaintiffs suggest, have agreements with integration partners

                 to trade user data. Data reciprocity arrangements allowed users to post their Facebook activities to

                 third-party platforms if the third-party platform also allowed its users to post their activities to

                 Facebook. Plaintiffs acknowledge this. See SACC ¶ 657(g) (“‘Reciprocity’ agreements . . . requir[ed]

                 Apps that used data from Facebook to allow their users to share their data back to Facebook”); see also
                 id. ¶¶ 239, 745. Any user data relating to that type of sharing was produced. Again, Facebook produced

                 everything the Plaintiffs shared on Facebook. This includes any Facebook activities Plaintiffs elected

                 to share on other platforms and any off-Facebook activities Plaintiffs elected to share on Facebook. In

                 any event, even if some other data from integration partners existed, only data received from those

                 partners could even possibly be relevant—not data from thousands of other third parties. 8

                         Plaintiffs’ SCA and VPPA claims do not require additional data. Plaintiffs contend this

                 case concerns data beyond what they shared on Facebook because Pretrial Order 20 did not dismiss

                  8
                      Plaintiffs concede they seek any such data to prove damages. If the Court is inclined to require
                 broad discovery to support damages, Facebook respectfully requests the opportunity to submit brief-
                 ing regarding why any such discovery should be bifurcated from liability-related discovery.
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                 their claims under the Stored Communications Act (“SCA”) and Video Privacy Protection Act

                 (“VPPA”). Opp’n at 4-5. Plaintiffs highlight that their SCA claim turns, in part, on “whether the

                 shared information includes the contents of an electronic communication.” Id. at 5. But the sensitive

                 data at issue includes “private one-on-one messages” sent on Facebook. Order at 17; see id. at 1, 32.

                 Similarly, Plaintiffs’ VPPA claim survived dismissal on the basis that Facebook shared “information

                 about the videos that users received in their private [Facebook] messages and about videos they

                 ‘liked.’” Id. at 34. Plaintiffs’ messages and any videos they shared or liked were produced.

                          The additional data Plaintiffs seek cannot even be reasonably collected. 9              Facebook

                 understands Plaintiffs seek two forms of data: (i) any additional data regarding users’ off-Facebook

                 Activity provided by third parties, and (ii) any derivative materials that draw from user data. Again,

                 these materials are not relevant to any live theory. Facebook also cannot reasonably identify them.

                          With respect to off-Facebook Activity, as Facebook explained in its opening brief, the produced

                 DYI materials include the vast majority of data Facebook receives from third parties. It is not clear

                 what else Plaintiffs seek or how it could be relevant. Any off-Facebook Activity provided by third

                 parties that is not included in the DYI materials is data Facebook has not linked to a particular user or

                 data that is so granular that it is preserved only temporarily. There is no centralized way to search for

                 either type of data. To the extent it exists, it is organized by the third parties who provided it. Facebook

                 would therefore need to review every data set it has received from thousands of third parties and then

                 attempt to link to the Named Plaintiffs data points it previously did not associate with any user. Such

                 an exercise is unlikely to be fruitful or at all useful, particularly on a class-wide basis.

                          Facebook also explained that, within 90 days, any user data not included in the DYI materials

                 is disassociated from the user’s ID, anonymized entirely, or deleted (depending on the nature of the

                 data and any business reasons for retaining it). Plaintiffs argue that Facebook should still be able to

                 find any derivative materials drawing from data relating to any Named Plaintiff because data

                 disassociated from a user’s ID can sometimes be linked back to the user’s account. Plaintiffs’

                 explanation of this process is oversimplified, incorrect, and ignores that much of the data they demand

                   9
                     Plaintiffs say Facebook did not prove undue burden because it did not submit declarations or evi-
                 dence. The Court instructed the parties not to submit such materials. 9/4/2020 Tr. at 5:8-10, 18-22.

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                 is fully anonymized or not retained at all. 10 The argument also misses the point. There is no way for

                 Facebook to run a centralized search for a user’s ID, random ID, or any “hashed data” identifiers across

                 millions of data sets, which are largely used for business analytics (like scoping infrastructure needs).

                 The only way to search these tables is to open all of them and search each to find any data relating to

                 a particular user, whether by user ID or otherwise. The issue is opening and searching each table. 11

                         To be clear, Facebook is not—as Plaintiffs suggest—urging the Court to issue a ruling regarding

                 the scope of discovery based on undue burden. Facebook is highlighting that this is not a situation in

                 which there are marginally relevant materials that are easy to sweep into an ongoing collection. The

                 user data Plaintiffs seek has nothing to do with the four operative theories, most of it was actually

                 produced, and any additional data would be virtually impossible to locate. If Plaintiffs are able to

                 identify some specific type of data about user activity that is relevant to the case, Facebook will search

                 for that data. But Plaintiffs’ position that Facebook must search the entire company for every document

                 including any data relating to a Named Plaintiff is simply not reasonable.
                 IV.     The Court should deny Plaintiffs’ “Cross-Motion to Compel.”
                         Plaintiffs style their brief as a “cross-motion to compel” compliance with five RFPs and criticize

                 Facebook for not submitting declarations and evidence about these requests. The Court should

                 disregard this diversion, which puts the cart before the horse. The Court directed the parties to submit

                 “no declarations,” as this briefing is “just a legal question as to what the scope of discovery is based on

                 the claims in Judge Chhabria’s ruling.” 9/4/2020 Tr. at 5:8-10, 18-22. Facebook told Plaintiffs it will

                 produce materials responsive to the RFPs they identify that are in Facebook’s possession and relate to

                 the operative theories. The Court must resolve this threshold legal issue before it can consider (on a

                 full evidentiary record) whether Facebook produced the relevant evidence responsive to specific RFPs.
                                                             CONCLUSION
                         The Court should enforce the stay Judge Chhabria imposed, allow discovery only on the four

                 operative theories of relief detailed in Pretrial Order 20, and deny Plaintiffs’ cross-motion to compel.


                  10
                      Plaintiffs’ Exhibit B, which they cite on page 12 of their brief, describes the ability to reidentify
                 data points that remain live on a user’s Facebook page. This live data has already been produced.
                   11
                      Plaintiffs did not ease the burden of searching millions of data sets by identifying 10 Named
                 Plaintiffs they intend to identify as class representatives. In any case, the other 14 Named Plaintiffs
                 have not withdrawn their claims and have reserved their rights to proceed as class representatives.
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                 DATE: October 8, 2020              Respectfully submitted,

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC


This document relates to:                         PLAINTIFFS’ OPPOSITION TO
                                                  DEFENDANT FACEBOOK, INC.’S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND CROSS-MOTION
                                                  TO COMPEL DISCOVERY RELATED
                                                  TO REQUESTS FOR PRODUCTION
                                                  NOS. 9 THROUGH 13

                                                  Judges: Hon. Vince Chhabria
                                                  Hon. Jacqueline S. Corley
                                                  Courtroom: 4, 17th Floor




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                  Relevant sensitive information is not limited to platform activity, but also
                  includes sensitive information Facebook derives and collects from business
                  partners, app developers, apps, and other sources. ................................................ 7

                  1.        User data includes, in Facebook’s words, “native, appended and
                            behavioral data” that Facebook collects from business partners, apps
                            and other activity. ..................................................................................... 8

                  2.        Internal documents confirm that Facebook’s description of data
                            “associated” with users is misleading. ..................................................... 11

                  Facebook has not established that the burden of producing the data relating
                  to ten Plaintiffs is disproportional to the needs of this case. ................................ 12

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                                      I.      INTRODUCTION
          Facebook does not want Plaintiffs to obtain discovery showing the full breadth of its

wrongful disclosure of its users’ sensitive information. Accordingly, Facebook seeks to limit

discovery in this case to a single category of improperly shared information: users’ activity on

the Facebook platform. The sensitive information that Facebook collects and shares with third

parties is much more extensive than this. It collects users’ sensitive information from a variety of

sources—including from third parties—then pools the information with user-posted activity and

generates additional information from the full data set it accumulates. It then shares this
information about users and their friends with third parties. All of this information, including

who has access to it and how it is used, is relevant to Plaintiffs’ claims.

          As a result, there are at least three compelling reasons that Facebook’s motion should be

denied and Plaintiffs’ cross-motion to compel production of documents responsive to Requests

for Production (“RFPs”) Nos. 9 through 131 should be granted.

          First, contrary to Facebook’s tortured reading of Pretrial Order No. 20 (“Order” or “PTO

20”), Dkt. No. 298, the Court did not limit discovery in this case only to information regarding

user activity on Facebook. While that information—and Facebook’s subsequent disclosure of

it—is of course relevant, that is not the only type of sensitive information relevant to Plaintiffs’

claims or the four categories of wrongdoing recognized by the Order.

          Second, the universe of data Facebook collects and shares about users is also not limited

to user activity on Facebook, but instead consists of a sea of information obtained from a wide

variety of sources, including from business partners, app developers, apps, and other third

parties. Indeed, as Facebook’s own documents show, it collects information about users far

beyond what Facebook has produced in this case. And discovery produced to date further

confirms that Facebook not only collects this information, but links it to users and shares it with

third parties—putting to rest Facebook’s nonsensical suggestions that Plaintiffs have failed to

articulate what additional evidence exists or that Facebook cannot “associate” certain data with a

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    For details on these RFPs, see infra § II.B.
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user.

          Third, there is no justification for Facebook’s claims of undue burden. Such an argument

should be accorded minimal weight in a case of this size and complexity involving a company

whose business model is premised upon the collection and production of electronic information

about billions of users. Facebook has come nowhere near meeting its burden of demonstrating

why data regarding solely Named Plaintiffs—relative to the hundreds of millions of potential

class members whose information is ultimately at issue in this case—is not proportional to the

needs of the case. In fact, pursuant to the Court’s recent guidance regarding streamlining

Plaintiffs’ discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten, down from the twenty-three. Plaintiffs only seek the discovery at issue

here related to these ten Plaintiffs (for purposes of this motion, the “Named Plaintiffs.”)

                                        II.     ARGUMENT

          The Order does not limit discovery to users’ platform activity.
          PTO 20 does not directly address the question raised by Facebook in its motion—whether

this case is limited to user activity on the Facebook platform or includes all the sensitive

information about users that Facebook improperly shared with third parties. But the Order

nowhere expressly limits the case to user activity. Cf. Mot.2 at 1. Nor does it make sense to read

the Order that way. That sort of limitation would conflict not only with claims and theories that

the Order upheld, but also with the grounds on which they were allowed to proceed to discovery.

          Facebook, under the guise of enforcing a discovery stay that was never issued in the first

place, spends many pages straining to read the Order to limit discovery to data relating only to

users’ on-platform activity. This provides a misleading picture of what the Order says and

inaccurately ascribes to the Court a set of internally inconsistent views.

          1. The Order. The Order summarizes its understanding of Plaintiffs’ claims in a two-

sentence précis near the beginning: “Broadly speaking, this case is about whether Facebook


2
    Def. Facebook, Inc,’s Opening Brief in Supp. of Its Req. to Enforce the Partial Stay of
    Discovery in Pretrial Order No. 20 (“Mot.”), Dkt. No. 515.
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acted unlawfully in making user information widely available to third parties. It’s also about

whether Facebook acted unlawfully in failing to do anything meaningful to prevent third parties

from misusing the information they obtained.” Order at 3. This description focuses on

Facebook’s unlawful disclosure of information about users and their friends to third parties—not

on whether that information was originally posted, shared, or generated by users on the Facebook

platform.

        The Order then discusses the four categories of Facebook’s wrongdoing. These categories

are: (1) “[g]iving app developers access to sensitive user information”; (2) “[c]ontinued

disclosure to whitelisted apps”; (3) “[s]haring sensitive user information with business partners”;

and (4) “[f]ailure to restrict the use of sensitive information.” Order at 6-9. These categories line

up neatly with the earlier description of the action as alleging that “Facebook acted unlawfully in

making user information widely available to third parties” (the first three categories) and that

Facebook “fail[ed] to do anything meaningful to prevent third parties from misusing the

information they obtained” (the fourth category). Id. at 3.

        Using these four categories of wrongdoing as a framework, the Order analyzed whether

Plaintiffs had standing to bring their claims and whether they stated valid claims. It ruled that

Plaintiffs had standing because they alleged that their “sensitive information was disseminated to

third parties in violation of their privacy.” Id. at 14. It upheld nearly all of Plaintiffs’ claims (e.g.,

three privacy-based tort claims under California law, a claim under the Stored Communications

Act (“SCA”), a claim for breach of contract, and a claim for unjust enrichment) except to the

extent they were based on the first category of wrongdoing, the disclosure of user information to

app developers. Id. at 30-34, 38-41. It upheld in its entirety Plaintiffs’ claim under the Video

Privacy Protection Act (“VPPA”). Id. at 34-35. And it upheld Plaintiffs’ claim for negligence,

which was based on the fourth category of wrongdoing. Id at 35-36.

        2. The Order’s rationale. Why did the Order conclude that Plaintiffs had standing and

had stated valid claims? On these points, the Order is clear. Plaintiffs had standing because “their

“sensitive information was disseminated to third parties in violation of their privacy.” Id. at 14.


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This reasoning focuses not on where the user information was originally generated—whether on

the Facebook platform or off it—but on its nature (“sensitive”) and on what Facebook did with it

(“disseminated” it “to third parties”).

       Similarly, when discussing the claims, the Order focused not on the original provenance

of the information about users, but on its nature and on what Facebook did with it. So, for

example, the Order ruled that:

              Plaintiffs had stated valid privacy torts because Facebook had disseminated
               information that was “sensitive” and as to which Plaintiffs had a reasonable
               expectation of privacy. Id. at 30-33.

              Plaintiffs had stated a claim under the Stored Communications Act because
               Facebook had disseminated the content of their electronic communications and
               had not gained their consent to do so. Id. at 33-34.

              Plaintiffs had stated a claim under the Video Privacy Protection Act because
               Facebook had disseminated “information which identifies a person as having
               requested or obtained specific video materials or services,” id. at 34 (citation
               omitted), and Facebook qualified as a “video tape services provider” under the
               statute, id. at 35.
       3. “Sensitive information” is not defined by where Facebook collects that information.

       The Order repeatedly notes that Facebook shares “sensitive” user information without

consent. Facebook pins its argument to this one word, maintaining that the Order “defined”

sensitive user information to mean only information about what users post on Facebook, Mot. at
1, or users’ platform activity, Mot. at 8. But the common-sense meaning of “sensitive

information” encompasses more than just what users did on the platform. Consider, for example,

a Facebook user’s Amazon.com order for an over-the-counter contraceptive or another user’s

entry of “alcoholic support group in Tower District, Fresno” into a search engine. “Sensitive

information” also includes information that Facebook can infer from on-platform information—a

category of information it has not produced. (Think of the inferences that Facebook can draw

from weekly photographs of a user taken at M.D. Anderson Cancer Center.) Facebook’s

objection that such information is categorically not “sensitive” is false.

       It is true that when the Order gave examples of sensitive user information, the examples it

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used concerned information generated on the Facebook platform. E.g., Order at 1, 17. Nowhere,

however, did the Order define or limit sensitive information to users’ platform activity only. And

the Order’s reasoning certainly is not limited to such information. Rather, as noted above,

Plaintiffs’ standing to bring their claims, and the validity of many of those claims, depends on

the nature rather than the provenance of the information, and on whether Facebook shared that

information with third parties. And, as Plaintiffs have learned through discovery, the sensitive

information about users that Facebook collects and shares with business partners and app

developers includes both information originally generated outside the Facebook platform and

information derived from on- and off-platform activity.

        It also is farfetched for Facebook to argue that the Order rules that all of Plaintiffs’

claims—including their federal statutory claims—rise or fall depending on whether the

information that Facebook shared is “sensitive” in the sense of being embarrassing or deeply

intimate. The validity of Plaintiffs’ claim under the SCA, for example, does not turn on how

embarrassing or intimate the information is that Facebook shared, but on whether the shared

information includes the contents of an electronic communication. 18 U.S.C. § 2702(a)(1).

Similarly, Plaintiffs VPPA claim turns on whether the information that Facebook shared includes

“information which identifies a person as having requested or obtained specific video materials

or services from a video tape service provider.” Id. § 2710(a)(3). If, for example, Facebook

collected and shared a user’s video-watching queue from a different platform, that would

constitute a VPPA violation.

        In sum, while the Order does not explicitly address the issue posed by Facebook’s

motion, it certainly does not limit discovery in this case to on-platform user activity and reading

it that way is inconsistent with the Court’s reasoning. It is also inconsistent with statements by

the Court during the motion to dismiss hearing about the breadth of user data that is relevant to

Plaintiffs’ claims:

        For example, if – I’m a Facebook user. And, you know, I’m trying to assess the
        likelihood that my sensitive information got into the hands of third parties and, if
        so, how many third parties and, if so, what kinds of third parties. If I have a full

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          understanding of the third parties that had access to the information, and a full
          understanding of what type of information they had access to, and a full
          understanding of who they were, and what they – and what restrictions were
          placed on them, we then have a better understanding of what was likely to have
          happened to me.

Nov. 4, 2019 Tr. at 15:20-16:4. It is the “full understanding” referred to by the Court that

Plaintiffs seek, and that Facebook refuses to allow.

          Finally, this reading prevents Named Plaintiffs from discovering even the general policies

and practices of Facebook governing the sharing of their sensitive information, policies and

practices that are critical for this case. See Pretrial Order No. 30 at 2, Dkt. No. 347 (“[T]he best

way to assess the merits and to determine whether class certification is appropriate is almost

certainly to conduct discovery on Facebook’s general practices.”). Plaintiffs submit that

Facebook’s exclusion of this information from discovery is not what the Order intended.

          4. The Order stayed claims, not discovery. Plaintiffs organized their claims into three

categories: prioritized claims, prioritized consumer protection act claims alleged in the

alternative, and non-prioritized claims. First Am. Consolidated Compl. (“FACC”) at 317-411,

Dkt. No. 257. The Order made the simple observation that “[a]ll other prioritized claims not

addressed by this ruling will be stayed (effectively, relegated to non-prioritized status) and

adjudicated, if necessary, at a later state in the proceedings with the other non-prioritized

claims.” Order at 6. Facebook’s claim that this holding somehow imposed a stay of discovery is

baffling. The Order does not, and does not purport to, stay discovery in any fashion.3

          The discovery requests at issue and Facebook’s response
          The present dispute arises from five discovery requests, each of which asks for data that

Facebook possesses about Named Plaintiffs, the third parties that Facebook disclosed this data

to, and the types of information that was disclosed to them. See Ex. A, Def. Facebook, Inc.’s

Resps. & Objs. to Pls.’ Second Set of Reqs. for Produc. In particular, RFP No. 9 requests “[a]ll


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    Even if it were, the Order observed that “[o]f course, dismissal of a subset of claims with
    prejudice does not preclude a plaintiff from seeking revival if discovery reveals a factual basis
    that justifies reconsideration[.]” Order at 37 n.21 (citations omitted).
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Documents relating to each of the Named Plaintiffs, including but not limited to all Content and

Information collected about each of them or gained from business relationships or any other

source.”4 Id. RFP No. 10 asks Facebook to produce, “[f]or each of the Named Plaintiffs,

Documents sufficient to show the categories of Content and Information Facebook collects,

tracks, and maintains about them.” Id. RFP Nos. 11-13 then request documents requesting

Facebook to identify the third parties that were able to access this information, including the

categories of data that were disclosed to them and how they accessed it. Id. Plaintiffs propounded

these requests nearly one year ago in November 2019.

         In response to these requests, Facebook produced information collected by the DYI

(“Download Your Information”) tool. This limited tool allows downloads of some, but not all,

information relating to users’ activity on the platform. And Facebook freely acknowledges that

Plaintiffs can access this information themselves. Id. (“[A]ll Facebook users are free to download

their DYI file if they wish.”). In addition to the DYI production, Facebook has produced an

undefined category of “additional information associated with [users’] accounts” for each

Plaintiff. Mot. at 6. But Facebook does not describe what the “additional information” is, likely

because it is extremely limited—it consists solely of information users can access through their

account in the form of their privacy settings and information reflecting user activity on

Facebook. Critically, the form of production also obscures whether some of the activity was

public or private. Thus, virtually all of Facebook’s 850,000-page production relating to the

original Named Plaintiffs in this case was already accessible to Plaintiffs and tells only part of

the story.

         Relevant sensitive information is not limited to platform activity, but also includes
         sensitive information Facebook derives and collects from business partners, app
         developers, apps, and other sources.
         Facebook acknowledges that it collects and shares substantial amounts of additional

sensitive information about users beyond their platform activity. See, e.g., Aug. 14, 2020 Hr’g


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    The requests use the definition of “Content and Information” from Facebook’s Statement of
    Rights of Responsibilities—a definition that is not limited to on-platform data.
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Tr. 8:10-13 (“[T]here’s Facebook-generated information, information generated by third parties,

information received from third parties. We have not represented that that is comprehensively

included in our production.”); see also Mot. at 10-15 (describing off-platform activity and

internal analytics it has not produced). However, Facebook contends that this other information

is not relevant to this case. This is false.

        1.      User data includes, in Facebook’s words, “native, appended and behavioral
                data” that Facebook collects from business partners, apps and other activity.


                                                           See Ex. B, FB-CA-MDL-00213424-

439.



              Id.

                                                                   Id.




                                                                          Id.




                      Id.




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                             —the only type of data Facebook has partially produced about users so

far—is important for this case, so too is

                                            Moreover,



             See Ex. B, FB-CA-MDL-00213424-439



        “                         ”); id. at FB-CA-MDL-00213424 (



                                            ).

       Critically—and contrary to Facebook’s suggestion that this data is irrelevant and

duplicative of information it has already produced (Mot. at 14)—discovery confirms that

Facebook shares this data with third parties.




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                                                                         Id..

       Another internal document,




                                                                                              These

documents make clear that Facebook collects sensitive user information in a variety of different

ways and discloses it to third parties.

       Facebook’s insistence that it need only produce on-platform Native Data makes even less

sense when considering Plaintiffs’ claims. Plaintiffs’ statutory and common law claims are not

limited to information generated from users’ activities on Facebook. For example, under the

VPPA, Plaintiffs must prove that Facebook disclosed “personally identifiable information

concerning any consumer” to “any person” absent written or informed consent. 18 U.S.C. §

2710(b)(2). Under the SCA, Plaintiffs must prove that Facebook “knowingly divulge[d] to any

person or entity the contents of any communication” users did not intend for Facebook to

divulge. 18 U.S.C. § 2702(a). The source of the information—that is, whether it was the result of

on- or off- platform activity, gleaned directly from users’ posts, or inferred from them—is

irrelevant. Disclosure of any of this information without consent is actionable.

       Similarly, Plaintiffs’ Public Disclosure of Private Acts claim requires Plaintiffs to prove

that Facebook disclosed a private fact about the plaintiff that is objectionable and offensive to a

reasonable person. Doe v. Gangland Prods., Inc., 730 F.3d 946, 958 (9th Cir. 2013). Likewise,

Plaintiffs’ Intrusion into Private Affairs claim requires Plaintiffs to prove an intrusion by

Facebook into a private matter that is highly offensive to a reasonable person. Shulman v. Grp.

W. Prods., Inc., 18 Cal.4th 200, 231 (1998). In order to prove these claims, Plaintiffs must


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ascertain the private facts about them that Facebook is collecting and disclosing, whether they

originate from platform activity or not.

          Across many claims, the Order sustained Plaintiffs’ allegations about Facebook’s

undisclosed data reciprocity programs with business partners. Plaintiffs are thus entitled to know

what sensitive user data, of any type or source, Facebook shared with its business partners.

Plaintiffs are further entitled to any data that Facebook received from its business partners in

return, since the value of that data constitutes the benefit Facebook received in the transaction, a

benefit that Plaintiffs are entitled to recover under, inter alia, the unjust enrichment claim that

the Court sustained. Order at 41;5 see also Order at 8 (noting the allegation that “Facebook and

its [business] partners agreed to exchange information about users’ activities with each other”).

          Facebook notes repeatedly that targeted advertising and psychographic marketing are not

part of this case. See, e.g., Mot. at 9. This argument misses the point. The question is not whether

Facebook should or should not have engaged in targeted advertising and psychographic

marketing. The question is whether, when doing so, Facebook shared sensitive user and friend

information without consent. Plaintiffs are entitled to obtain the discovery necessary to

substantiate the allegation that improper sharing has occurred in the context of these activities.

          2.     Internal documents confirm that Facebook’s description of data “associated”
                 with users is misleading.
          Facebook claims it has produced all data it possesses that is “associated” with Named

Plaintiffs. That is, while it generated and collected reams of data about Named Plaintiffs,

Facebook claims that most of that data, including Appended and Behavioral Data, is anonymized

and cannot be connected to Named Plaintiffs. This is false.

          Facebook explains that Appended and Behavioral Data cannot be associated with

Plaintiffs’ Facebook accounts because such data is “disassociated from the user’s ID within 90


5
    Facebook’s position blocking discovery of what it possesses and shares is in tension with
    Facebook’s own discovery requests to Named Plaintiffs. Facebook’s Interrogatory No. 8 asks
    Plaintiffs to “Identify all entities other than Cambridge Analytica that You believe have
    “misused sensitive information from Your Facebook Account.” But Facebook itself will not
    identify with whom it shared that sensitive information, let alone what information it possesses.
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days” (Mot. at 15). But, as confirmed by internal documents, what actually happens is that




                                        Indeed, the very purpose of collecting all of this data in the

first place is to use it to target users and their friends.




                                                                            Cf. Mot. at 15.

        Similarly,

                             See Ex. B. “Hashed data matching” is the process of matching

different data sets through the hash values of unique identifiers. For instance, when an advertiser

uploads a spreadsheet of Custom Audience data including hashed email addresses, Facebook can

match this data to its users through the hashed email address field.

        Thus, it simply is untrue that it would be “nearly impossible” to produce the

“disassociated” data in this case for Named Plaintiffs. Mot. at 15. Facebook clearly has the

ability to connect Named Plaintiffs’ user information through RIDs and hashed data matching,

and should be ordered to do so in response to RFP Nos. 9-13.

        Facebook has not established that the burden of producing the data relating to ten
        Plaintiffs is disproportional to the needs of this case.
        Facebook also suggests that “the burdens of locating the additional information Plaintiffs

seek would far exceed the needs of the case.” Mot. at 12. But the burden associated with

producing the requested information is not undue; it is proportional to the needs of this complex


6
    Ex. E, PwC_CPUP_FB00030737-738.
7
    Id. at PwC_CPUP_FB00030738




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case. In assessing proportionality, Federal Rule of Civil Procedure 26 directs consideration of

“the importance of the issues at stake in the action, the amount in controversy, the parties’

relative access to relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.” Fed. R. Civ. P. 26(b)(1). Helpfully, Judge Chhabria provided further guidance at

the March 5, 2020 Case Management Conference, stating:

       I am concerned that Facebook has, you know, often made statements reflecting an
       unduly narrow view of what should be turned over to the Plaintiffs. And, you
       know, this is a big case. I mean, there is often a lot of talk about proportionality
       and whatnot. This is a big case. It is a significant issue. You know, and there is --
       this is not the type of case where we are going to be saying: Well, that might end
       up -- that effort might end up uncovering some relevant information; but, you
       know, it is just too expensive or difficult, and so we are not going to make
       Facebook do it. This is really not one of those cases where that is very -- that type
       of argument is likely to carry the day. You know, and, as I have said a number of
       times, you know, the best way to figure out what happened as it relates to the
       claims that are going forward now is to -- for Facebook to produce all
       information, all documents about the practices associated with giving third parties
       access to friends' information and friends' of friends information.

Tr. at 28:25-29:18. Judge Chhabria’s observations regarding the size of this case remain on

point. The proposed class period extends from 2007 to the present, the potential class members

number in the hundreds of millions, and the third parties with whom Facebook shared user data

appear to number in the tens of thousands. In that context, Plaintiffs’ request for the data

concerning ten individual users seems not only proportional to the needs of the case but modest.

       Furthermore, Facebook’s claims of burden are unsupported. “[T]he party opposing

discovery has the burden of showing that discovery should not be allowed, and also has the

burden of clarifying, explaining and supporting its objections with competent evidence.” Harris

v. Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal.

Oct. 14, 2016) (quoting La. Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer, 285 F.R.D.
481, 485 (N.D. Cal. 2012)). A party claiming undue burden or expense “ordinarily has far better

information—perhaps the only information—with respect to that part of the determination.” Fed.

R. Civ. P. 26(b)(1) advisory committee’s note (2015). Therefore, the “party claiming that

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discovery imposes an undue burden must ‘allege specific facts which indicate the nature and

extent of the burden, usually by affidavit or other reliable evidence.’” Sullivan v. Personalized

Media Commc’ns, LLC, No. 16-MC-80183-MEJ, 2016 WL 5109994, at *3 (N.D. Cal. Sept. 21,

2016) (quoting Nationstar Mortg., LLC v. Flamingo Trails No. 7 Landscape Maint. Ass’n, No.

2:15-cv-01268-RFB-NJK, 2016 WL 4071988, at *4 (D. Nev. July 28, 2016)).8 Facebook has

furnished no evidentiary support for its objections of undue burden and its objections should be

overruled.

         Plaintiffs emphasize that they are seeking discovery about ten Named Plaintiffs—not

millions, not thousands, and not hundreds of users. Based on the information Plaintiffs obtain

about themselves, and about Facebook’s general practices and procedures, they will seek to

prove their class claims. Facebook’s contention that Plaintiffs are not even entitled to obtain in

discovery the evidence necessary to show what Facebook collects about them, and with whom it

shares the information is impossible to square with Facebook’s basic discovery obligations under

the Federal Rules.

                                      III.    CONCLUSION
         For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Facebook’s motion to impose a discovery stay and grant Plaintiffs’ motion to compel discovery

responsive to Requests for Production Nos. 9 through 13.




8
    See also SPS Techs., LLC v. Briles Aerospace, Inc., No. CV 18-9536 MWF (ASx), 2020 WL
    4341717, at *2-3 (C.D. Cal. June 25, 2020) (overruling objection to requests for production of
    documents and noting that the party resisting discovery must describe “in specific detail, how
    each Request is overly broad and unduly burdensome by submitting affidavits or other
    evidence describing the nature of the burden”); Polaris Innovations Ltd. v. Kingston Tech. Co.,
    No. CV1600300CJCRAOX, 2017 WL 3275615, at *6 (C.D. Cal. Feb. 14, 2017) (court grants
    motion to compel production of documents by defendant Kingston in part because “[r]egarding
    its assertion that the requests are overly burdensome, Kingston has not submitted any
    evidentiary declaration to support this objection.”).
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Dated: September 28, 2020                              Respectfully submitted,


KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)


       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 28th day of September, 2020, at Seattle, Washington.


                                              /s/ Derek W. Loeser
                                              Derek W. Loeser




PLS’ OPP’N REQUEST ENFORCE                      16                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                  CASE NO. 18-MD-02843-VC
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                                   CERTIFICATE OF SERVICE
          I, Sarah Skaggs, hereby certify that on September 28, 2020, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:


                 Paven Malhotra
                 Matan Shacham
                 Bryn Anderson Williams
                 pmalhotra@keker.com
                 bwilliams@kvn.com
                 bwilliams@kvn.com

                 Anjeza Hassan
                 annie.sara@yahoo.com

                                                /s/ Sarah Skaggs
                                                Sarah Skaggs
4846-4415-9180, v. 4




PLS’ OPP’N REQUEST ENFORCE                         17                                   MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
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        Plaintiffs’ Exhibit A
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Attorneys for Defendant Facebook, Inc.




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                         CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                       DEFENDANT FACEBOOK, INC.’S
                                                       RESPONSES AND OBJECTIONS TO
This document relates to:                              PLAINTIFFS’ SECOND SET OF
                                                       REQUESTS FOR PRODUCTION
ALL ACTIONS




   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       Defendant Facebook, Inc. (“Defendant” or “Facebook”), by and through its attorneys,

and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the Local Civil Rules of

the U.S. District Court for the Northern District of California, the Court orders in this action, and

the parties’ agreements and conferences among counsel, provides the following responses and

objections to Plaintiffs’ Second Set of Requests for Production (the “Requests”).

                                 PRELIMINARY STATEMENT
                 Facebook’s responses to the Requests are made to the best of Facebook’s current

knowledge, information, belief, and understanding of Plaintiffs’ requests. Facebook’s factual

and legal investigation of this matter is ongoing. Facebook reserves the right to supplement or

amend any responses should future investigation indicate that such supplementation or

amendment is necessary.

                 Facebook’s responses to the Requests are made solely for the purpose of and in

relation to this action. Each response is given subject to all appropriate objections (including,

but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety,

and admissibility). All objections are reserved and may be interposed at any time.

                 Facebook’s responses are premised on its understanding that Plaintiffs seek only

that information that is within Facebook’s possession, custody, and control.

                 Facebook incorporates by reference each and every general objection set forth

below into each and every specific response. From time to time, a specific response may repeat

a general objection for emphasis or some other reason. The failure to include any general

objection in any specific response shall not be interpreted as a waiver of any general objection to

that response.

                 Nothing contained in these Responses and Objections or provided in response to

the Requests consists of, or should be construed as, an admission relating to the accuracy,

relevance, existence, or nonexistence of any alleged facts or information referenced in any

Request.



   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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                                    GENERAL OBJECTIONS
                Facebook objects to each Request, including the Definitions and Instructions, to

the extent that it purports to impose obligations beyond those imposed by the Federal Rules of

Civil Procedure, the Federal Rules of Evidence, the Local Civil Rules of the U.S. District Court

for the Northern District of California, and any agreements between the parties.

                Facebook objects to each Request to the extent it seeks information unrelated or

irrelevant to the claims or defenses in this litigation. In particular, the Court has held that

individuals who joined Facebook in or after 2009 consented to data sharing policies described in

Facebook’s “Statement of Rights and Responsibilities” and “Data Use Policy,” and dismissed

Plaintiffs’ claims to the extent they are based on data-sharing practices disclosed in these

documents. Facebook will not produce documents relevant only to dismissed claims or theories

of relief. Nor will Facebook produce documents related only to individuals who are not parties

to this case.

                Facebook objects to each and every Request to the extent that the Request seeks

information that is neither relevant nor reasonably likely to lead to the discovery of admissible

evidence.

                Facebook objects to each Request as overly broad and unduly burdensome,

particularly in view of the disproportionate cost necessary to investigate as weighed against

Plaintiffs’ need for the information. For example, many of the Requests seek “all documents”

regarding particular subject matters, which would require Facebook to conduct searches broader

than a reasonable and diligent search of reasonably accessible files (including electronic files)

where responsive documents reasonably would be expected to be found. Such Requests are not

proportional to the needs of the case.

                Facebook objects to each Request to the extent it purports to request the

identification and disclosure of information or documents that were prepared in anticipation of

litigation, constitute attorney work product, reveal privileged attorney-client communications, or

are otherwise protected from disclosure under any applicable privileges, laws, or rules.

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Facebook hereby asserts all such applicable privileges and protections, and excludes privileged

and protected information from its responses to each Request. See generally Fed. R. Evid. 502;

Cal. Code Evid. § 954. Inadvertent production of any information or documents that are

privileged or otherwise immune from discovery shall not constitute a waiver of any privilege or

of any other ground for objecting to the discovery with respect to such information or documents

or the subject matter thereof, or the right of Facebook to object to the use of any such

information or documents or the subject matter thereof during these or any other proceedings. In

the event of inadvertent disclosure of any information or inadvertent production or identification

of documents or communications that are privileged or otherwise immune from discovery,

Plaintiffs will return the information and documents to Facebook and will be precluded from

disclosing or relying upon such information or documents in any way.
                Facebook objects to each and every Request to the extent it is argumentative,

lacks foundation, or incorporates allegations and assertions that are disputed or erroneous. In

furnishing the responses herein, Facebook does not concede the truth of any factual assertion or

implication contained in any Request, Definition, or Instruction. The production of documents in

response to any Request shall not be construed as adopting a legal position.

                Facebook objects to each and every Request to the extent that the information

sought is more appropriately pursued through another means of discovery, such as responses to

interrogatories.

                Facebook objects to each and every Request, Definition, and Instruction to the

extent that it seeks information outside of Facebook’s possession, custody, and control.

                Facebook objects to each Request to the extent that it requests information

protected by the right of privacy of Facebook and/or third parties, or information that is

confidential, proprietary, or competitively sensitive.

                Facebook objects to each Request to the extent that it seeks documents or

information already in Plaintiffs’ possession or available in the public domain. Such information

is equally available to Plaintiffs.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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               Facebook objects to each Request to the extent that it calls for the production of

“each,” “every,” “any,” or “all” documents in cases where such a demand is overly broad and/or

causes undue burden and expense.

                               OBJECTIONS TO DEFINITIONS
               Facebook incorporates by references the responses and objections to Definitions

and Instructions contained in its Responses and Objections to Plaintiffs’ First Set of Requests for

Production of Documents.

               Facebook generally objects to any definitions or terms defined by reference to

capitalized terms and acronyms relied upon in Plaintiffs’ First Amended Complaint, which

themselves may be vague, ambiguous, unduly broad, or unduly burdensome.

               Facebook objects to Plaintiffs’ definition of “App” as vague, ambiguous,

overbroad, and unduly burdensome on the ground that it includes any “application developed to

utilize the core technologies of the Facebook social networking platform” without identifying or

defining what the “core,” rather than peripheral, technologies of the Facebook are or were at any

given time. Facebook further objects to this definition as vague and ambiguous on the ground

that Facebook cannot identify what any online applications are or were “developed to” do or

presume the intent of any third parties that Facebook does not control.

               Facebook objects to Plaintiffs’ definitions of “App Developer Investigation” and

“ADI” as overly broad and unduly burdensome on the ground that these definitions include

investigations into persons, entities, applications, and/or developers that are not relevant to

Plaintiffs’ remaining claims. Facebook further objects to these definitions to the extent they seek

documents or information protected by the attorney-client privilege and/or the work product

doctrine.

               Facebook objects to Plaintiffs’ definition of “Apps Others Use” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “App Developers,” and “API.” Facebook further objects to


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this definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.

                Facebook objects to Plaintiffs’ definition of “App Settings” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” “Content and Information,” “Apps Others Use,”

“Granular Data Permissions,” and “Platform Opt Out.” Facebook further objects to this

definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.
                Facebook generally objects to Plaintiffs’ definitions of “Communication,”

“Computer System,” “Content and Information,” “Document(s),” “Electronic Media,” “ESI,”

“Electronically Stored Information,” and “Identify” to the extent that Plaintiffs purport to use

these defined terms to request the identification and disclosure of documents or information that:

(a) were prepared in anticipation of litigation; (b) constitute attorney work product; (c) reveal

privileged attorney-client communications; or (d) are otherwise protected from disclosure under

any applicable privileges, laws, and/or rules. Facebook further objects to the extent that these

definitions purport to impose obligations that go beyond the requirements of the Federal and

Local Rules.

                Facebook objects to Plaintiffs’ definition and use of the terms “You,” “Your,” or

“Facebook” as vague, ambiguous, overly broad, and unduly burdensome to the extent the terms

are meant to include “directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on [Facebook, Inc.’s] behalf. . . . parents, subsidiaries, affiliates,

predecessor entities, successor entities, divisions, departments, groups, acquired entities and/or

related entities or any other entity acting or purporting to act on its behalf” over which Facebook


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exercises no control, and to the extent that Plaintiffs purport to use these terms to impose

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ definition of “Granular Data Permissions” as

vague and ambiguous on the ground that it is defined by reference to other vague, ambiguous,

and/or undefined terms, including “App,” “User,” “Content and Information,” and “App

Developer.” Facebook further objects to this definition as overly broad and unduly burdensome

on the ground that the applicable account settings available to Facebook members have changed

over time and this definition is not limited to a particular time period or particular settings.
               Facebook objects to Plaintiffs’ definitions of “Internal Policy” or “Internal

Policies” as overly broad and unduly burdensome to the extent that Plaintiffs purport to seek the

identification and disclosure of documents or information that: (a) was prepared in anticipation

of litigation; (b) constitute attorney work product; (c) reveal privileged attorney-client

communications; or (d) are otherwise protected from disclosure under any applicable privileges,

laws, and/or rules. Facebook further objects to these definitions as unduly broad and unduly

burdensome to the extent they seek statements or directives which are implicit, informal,

unwritten, or unofficial. For the purposes of these Responses and Objections, Facebook will

interpret and use “Internal Policy” or “Internal Policies” as referring to the final, written, non-

privileged version of any relevant policy, procedure, or directive provided to Facebook

employees that is relevant to this litigation.

               Facebook objects to Plaintiffs’ definition of “Misuse of Data” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” and “Content [or] Information,” and “App

Developer.” Facebook further objects to this definition to the extent it assumes disputed facts or

legal conclusions, particularly that Facebook members’ data was “misused.”

               Facebook objects to Plaintiffs’ definitions of “Person” as vague, ambiguous,

overly broad, and unduly burdensome to the extent that Plaintiffs intend to use the terms to


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include “any natural person or any business, legal or governmental entity or association” over

which Facebook exercises no control.

                Facebook objects to Plaintiffs’ definitions of “[i]dentify,” “[i]ncluding,”

“[r]elating to,” “relate to,” “referring to,” “refer to,” “reflecting,” “reflect,” “[c]oncerning,” and

“concern” on the ground that the definitions make the Requests overly broad and unduly

burdensome and impose obligations that go beyond the requirements of the Federal and Local

Rules. Facebook shall construe these terms as commonly and ordinarily understood.

                Facebook objects to Plaintiffs’ definition of “Platform Opt Out” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” and “Content and [I]nformation.” Facebook further

objects to this definition as overly broad and unduly burdensome on the ground that the

applicable account settings available to Facebook members have changed over time and this

definition is not limited to a particular time period or particular settings
                Facebook objects to Plaintiffs’ definition of “Privacy Controls” as vague,

ambiguous, overly broad, and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.

                Facebook objects to Plaintiffs’ definition of “Privacy Controls” as vague,

ambiguous, overly broad, and unduly burdensome to the extent the terms are meant to include

applications, application developers, and/or “[a]ny person that develops an application, software

experience, game, or website that accesses Content and Information from Facebook’s API or

other Facebook software,” and to the extent it encompasses individuals or entities outside of

Facebook’s knowledge and/or who may not be relevant to this litigation.

                Facebook objects to Plaintiffs’ “Relevant Time Period,” which dates back to

January 1, 2007, as overly broad, unduly burdensome, and disproportionate to the needs of the

litigation. In response to Plaintiffs’ requests, Facebook will produce the following categories of

documents dating back to January 1, 2007: (i) documents reflecting Facebook’s platform
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policies and user terms, (ii) Facebook’s 2009 revisions to its user terms, and (iii) Documents

reflecting privacy-related disclosures, communications, and other materials provided to users

relating to Facebook’s pre-2009 user terms and 2009 revisions to those terms. For all other

categories of materials, Facebook will produce documents dating back to March 20, 2012 in

response to Plaintiffs’ requests.

                              OBJECTIONS TO INSTRUCTIONS
               Facebook objects to Plaintiffs’ Instructions to the extent that they impose

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 2 as ambiguous as to the meaning

of “available.” Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 3 as unduly burdensome to the

extent it requires Facebook to describe detailed information about documents which are no

longer in existence or in Facebook’s possession, custody, or control, which likely amounts to an

extremely large volume of documents given the scope of Plaintiffs’ claims and document

requests. Facebook will comply with Instruction No. 3 only to the extent it can ascertain the

requested information about the subject documents through reasonable, good-faith investigation

and inquiry.

               Facebook objects to Plaintiffs’ Instruction No. 7 to the extent that it imposes

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 12 as ambiguous and unduly

burdensome. Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal and Local Rules.




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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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                         SPECIFIC RESPONSES AND OBJECTIONS
REQUEST FOR PRODUCTION NO. 6:

         All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or investigation

relating to whether Users’ Content and Information was accessed or obtained by any Third

Parties without proper consent or authorization, including but not limited to all inquiries or

investigations arising out of the Cambridge Analytica Scandal, the FTC Consent Order, and any

inquiry or investigation related to the settlement agreement with the FTC announced on July 24,

2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

         Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

         (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

         (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

         (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all documents provided to or received from

any governmental entities or regulators in broad categories of “inquir[ies]” and investigation[s]”

without regard for whether such information relates to Plaintiffs’ claims.

         (D) Facebook objects to this Request as overbroad as to time to the extent it seeks document

predating March 20, 2012.



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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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        Subject to and without waiving the foregoing objections, Facebook will produce

documents in response to this Request to the extent that those documents are responsive to

Plaintiffs’ other Requests, identified by a reasonable, good-faith search, and by December 26,

2019, Facebook will produce all document demand letters from the FTC associated with its 2018-

2019 investigation into Facebook along with correspondence regarding the scope of those

demands.

REQUEST FOR PRODUCTION NO. 7:

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users’ Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users’ Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

use, transmission, receipt, collection or analysis of Users’ Content and Information by Third

Parties; and

        (d)     the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” organizational charts, personnel

directories, or other documents sufficient to show Facebook’s organizational structure, including

the categories of entities, divisions, or individuals described in the Request, which are merely

“related” or “relating” to agreements, engineering, access, use, transmission, receipt, collection or

analysis of Facebook Users’ Content and Information by Third Parties, including those which may

have no bearing on any issues in this Action and the names, titles, job descriptions, and

employment periods of all present or former Facebook directors, officers, or senior managers, as

well as any secretaries or administrative assistants assigned to these directors, officers, or senior

managers, including those which may have no involvement with or knowledge of issues in this

Action.

          (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

          Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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REQUEST FOR PRODUCTION NO. 8:

       All versions (including each updated or amended version thereof) of Facebook’s

“Platform Policies,” which have been called the “Developer Principles and Policies,” the

“Platform Guidelines,” or the “Developer Terms of Service” (collectively, the “Platform

Policies”).

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” versions of certain documents without

any limitation as to the relevant time period or whether the versions sought are in final form.

       (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       (E) Facebook further objects to this Request to the extent that the Request seeks materials

that are cumulative or duplicate of materials produced to Plaintiffs previously.

       Subject to and without waiving the foregoing objections, Facebook will produce the final,

written versions of Facebook’s Platform Policies issued to users dating back to January 1, 2007,

to the extent that those policies have not been produced to Plaintiffs previously.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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REQUEST FOR PRODUCTION NO. 9:

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all Documents merely “relating” to each

of the Named Plaintiffs, including all Content and Information collected about each of them from

any business relationship or any other source, including those which may have no bearing on any

issues in this Action, and including those that are outside of Facebook’s possession, custody, or

control.

       (D) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” Content and Information “collected

about each” Named Plaintiffs, which could include automated logs of actions taken, transaction-

level date, and high-level summary documents used only for technical purposes, including those

which may have no bearing on any issues in this Action.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs’ accounts or specifically relate to the sharing of the

Named Plaintiffs’ Content and Information with third-parties, identified by a reasonable, good-

faith search of documents that are in Facebook’s possession, custody, or control, to the extent the

Named Plaintiffs have provided information sufficient to identify their accounts.
REQUEST FOR PRODUCTION NO. 10:

       For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to show all categories

of Content and Information Facebook collects, tracks, and maintains about each of the Named


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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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Plaintiffs, including, for example, Content and Information that Facebook did not share with any

third parties and that does not relate to any issue in this Action.

       (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 9.

       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs’ accounts, identified by a reasonable, good-faith search

of documents that are in Facebook’s possession, custody, or control, to the extent the Named

Plaintiffs have provided information sufficient to identify their accounts.
REQUEST FOR PRODUCTION NO. 11:

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs’ Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs’ Content and Information, and the business purpose of all such access.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to identify all Third

Parties to which Facebook granted access to Named Plaintiffs’ Content and Information and other

information relating to such information sharing, including Third Parties who were granted access

to such Content and Information other than in connection with the allegations in Plaintiffs’

Complaint.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 12:

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs’ Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks all Documents “relating” to any

partnerships or agreements Facebook entered into with Third Parties for access to Named

Plaintiffs’ Content and Information, including those which may have no bearing on any issues in

this Action, and including those that are outside of Facebook’s possession, custody, or control.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 13:

       For all Third Parties to which Facebook granted access to Named Plaintiffs’ Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook’s agreement with that Third Party.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks Documents regarding “all Third

Parties” who obtained access to certain content and information, including Third Parties who were

granted access to such Content and Information other than in connection with the allegations in

Plaintiffs’ Complaint.

       (D) Facebook further objects to this Request on the ground, and to the extent, that it seeks

information that is outside of Facebook’s possession, custody, or control because it seeks

information regarding Third Parties’ use of Named Plaintiffs’ Content and Information.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers identified as having access to Facebook users’ Content

and Information during the Relevant Time Period relating to policy violations involving potential

misuse of user data.
REQUEST FOR PRODUCTION NO. 14:

       Documents sufficient to show the monetary or retail value of each named Plaintiff’s

Content and Information to Facebook, updated to reflect whenever Facebook’s terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff’s Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request on the grounds that “monetary or retail value

of each named Plaintiff’s Content and Information to Facebook” and “calculation of revenue

earned by Facebook for each Named Plaintiff” are ambiguous and vague.

       (D) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook “barter[s” or “sell[s]” access to the “Named

Plaintiff[s’] Content and Information” to any Third Parties.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 15:

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff’s Content and Information, which

entities paid Facebook, and when such payments were made.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents regarding all entities who

provided money or any other thing of value to Facebook other than in connection with the

allegations in Plaintiffs’ Complaint.

       (D) Facebook further objects to this Request on the grounds that “money or any other thing

of value . . . that Facebook received in exchange for each Named Plaintiff’s Content and

Information” is ambiguous and vague.

       (E) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook received “money or any other thing of value” from

Third Parties in exchange for the “Named Plaintiff[s’] Content and Information.”

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 16:

       Documents sufficient to show the monetary or retail value of Users’ Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting relating

to same, and including but not limited to the calculation of average revenue per user, any

changes to such monetary or retail value relating to changes to Facebook’s terms of service, and

any financial reporting of Content and Information as an asset.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


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applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action and financial

information unrelated to Plaintiffs’ claims.

       (D) Facebook further objects to this Request on the grounds that “monetary or retail value

of Users’ Content and Information to Facebook” is ambiguous and vague.

       (E) Facebook further objects to this Request as misleading to the extent that it suggests

that Facebook’s per-user revenues reflect the value of any information for which Plaintiffs seek

compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 17:

       All Documents relating to Facebook’s assessment of the monetary or retail value of

Users’ Content and Information to Users (as distinct from value to Facebook), including analyses

for providing compensation to Users for their Content and Information, including but not limited

to Users compensated in connection with the Onavo or Research app.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:


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       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, to the extent, that the

Request seeks all Documents “relating to” Facebook’s assessment of the monetary or retail value

of Users’ Content and Information to Users and information relating to compensation for data

and/or information not related to Plaintiffs’ claims

       (E) Facebook further objects to this Request on the grounds that “monetary or retail value

of Users’ Content and Information to Users” is ambiguous and vague.

       (F) Facebook further objects to this Request as misleading to the extent that it suggests

any compensation offered for information in connection with the Onavo or Research app reflects

the value of any information for which Plaintiffs seek compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 18:

       All Documents that have been transmitted to Users by Facebook relating to whether

Users’ Content and Information was accessed or obtained by Third Parties.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks Documents transmitted to Users who are not parties to the Action.

       (C) Facebook further objects to the Request on the ground that the Request seeks

documents that are already in Plaintiffs’ possession, custody, or control.

       Subject to and without waiving the foregoing objections, Facebook will produce

Facebook’s communications to users regarding the Cambridge Analytica events.
REQUEST FOR PRODUCTION NO. 19:

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration ¶ 34:

       (d) each [A]pp to which a request for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

       actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

       cooperate with Facebook’s investigation.

       Facebook has described identification of these Apps as non-privileged and has already

produced it to the Massachusetts Attorney General’s Office. See Chen Declaration ¶ 35.


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RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Documents supporting the escalation of certain Apps, including escalations not relevant to the

claims or defenses in this Action.

       Facebook is willing to meet and confer with Plaintiffs regarding the documents being

sought by this Request, their relevance to Plaintiffs’ claims (if any), and what documents Facebook

could reasonably produce proportionate to the needs of the case.

REQUEST FOR PRODUCTION NO. 20:

       The list of Apps that Facebook provided to the Massachusetts Attorney General’s Office

and that the Chen Declaration ¶ 35 describes as “the subject of external actions or

communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook’s investigation.”




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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       Subject to and without waiving the foregoing objections, Facebook will produce relevant

lists of Apps that Facebook provided to the Massachusetts Attorney General’s Office.
REQUEST FOR PRODUCTION NO. 21:

       Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General’s

Office. See Chen Declaration ¶ 37.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


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       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Communications between Facebook and Third Parties “relating” to the ADI, including

communications unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

Communications between Facebook’s ADI team and third-party app developers relating to ADI.
REQUEST FOR PRODUCTION NO. 22:

       All “Privacy Risk Assessment[s],” and notes or agenda relating to Facebook’s “focused

subject-matter-specific meetings,” “focused subject-matter-specific discussions,” “weekly intra-

and inter-team meetings,” and “Privacy Summit[s],” as detailed in “Facebook’s Privacy Program

Overview” included in any PricewaterhouseCoopers LLP (“PwC”) assessment report prepared

pursuant to the FTC Consent Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks
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all notes and agenda regarding various topics, including notes and agenda unrelated to Plaintiffs’

claims.

          Facebook stands on its objections.

REQUEST FOR PRODUCTION NO. 23:

          Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request as seeking information protected from disclosure by

the attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

privilege, doctrine, or protection.     Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects that the term “assessment reports” is ambiguous and vague.

Facebook will construe this term to mean the “Privacy Risk Assessments” referenced in Request

No. 22.

          (D) Facebook further objects to the Request to the extent that the Request seeks documents

that are not in Facebook’s possession, custody, or control because the Request seeks documents

that support assessment reports prepared by another entity.

          (E) Facebook further objects to the Request as Facebook lacks sufficient knowledge to

identify with certainty documents relied upon by another entity.

          Facebook stands on its objections.


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REQUEST FOR PRODUCTION NO. 24:

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Users’ Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks Documents sufficient to

identify all Third Parties to which Facebook granted access to Users’ Content and Information not

generally available through Platform pursuant to partnerships or agreements between Facebook

and those Third Parties, including Third Parties who were granted access to such Content and

Information other than in connection with the allegations in Plaintiffs’ Complaint.

       Subject to and without waiving the foregoing objections, Facebook will produce final

agreements with integration partners and device manufacturers responsive to this Request.

REQUEST FOR PRODUCTION NO. 25:

       All Documents relating to agreements or partnerships described in Request No. 24.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject agreements or partnerships, including those which are not relevant to the subject

matter of the Action.

        (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 24.

        Subject to and without waiving the foregoing objections, Facebook will produce

agreements with its integration partners and device manufacturers responsive to this Request.

REQUEST FOR PRODUCTION NO. 26:

        For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

   •    The fields, kinds, or categories of Content and Information that were accessed or

        obtained by such Third Parties;

   •    How each such Third Party accessed or obtained the Content and Information of Users;

   •    How each such Third Party used the Content and Information accessed or obtained;


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   •    Where the Content and Information obtained by such Third Parties currently resides and

        who has access to it.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to the Request to the extent that the Request seeks Documents

that are not in Facebook’s possession, custody, or control because the Request relates to the

conduct of Third Parties.

        (E) Facebook further objects to this Request as seeking information outside of Facebook’s

knowledge regarding the actions and knowledge of third parties.

        (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users that are not parties to the Action.

        Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to Request No. 26.




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REQUEST FOR PRODUCTION NO. 27:

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users’ liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users not a party to the Action.

       (C) Facebook further objects to this Request on the grounds that the term “transmitted” is

ambiguous and vague in that it could refer to any and all forms of conveying information, including

passively making information available to a third party by hosting and displaying the information

a User chooses to include on his or her Facebook profile page.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.

REQUEST FOR PRODUCTION NO. 28:

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties’ compliance with Facebook’s Platform Policy, Data Policy, or SRR.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “Relating”

to the subject Internal Policies, including Policies unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.

REQUEST FOR PRODUCTION NO. 29:

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook’s Platform Policy, Data Policy, or SRR against Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other
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applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject Internal Policies, including Policies unrelated to Plaintiffs’ claims.

       (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 28.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.
REQUEST FOR PRODUCTION NO. 30:

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook’s Platform

Policy, Data Policy, or SRR.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


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          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “Relating”

to the subject measures and controls, including measures and controls unrelated to Plaintiffs’

claims.

          (D) Facebook further objects to this Request on the grounds that the phrases “measures and

controls” and “proposed measures and controls” are ambiguous and vague and undefined.

          (F) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 28 and 29.

          Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.
REQUEST FOR PRODUCTION NO. 31:

          All Documents relating to Facebook’s audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook’s Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users’

Content and Information on and off the Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


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applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject audits, inquiries, and investigations, including audits, inquires, and investigations

unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 32:

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits-or Communications regarding such investigations, examinations, inquiries, or

audits-regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents

“Concerning” Misuse of Data.

       (D) Facebook further objects that the phrase “prior to the deprecation of Graph API v.1.0”

is ambiguous and vague and undefined. Facebook will construe this phrase to mean prior to April

30, 2015.

       (E) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 31.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 33:

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook’s SRR or Data Policy, and all Communications related thereto.

RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


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applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds that it seeks all Communications “related” to the subject notice.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

exemplar versions of notifications that Facebook made to users regarding material changes to its

Data Use Policy and Statement of Rights and Responsibilities dating back to January 1, 2007.
REQUEST FOR PRODUCTION NO. 34:

       All Documents relating to the conditioning of Third Parties’ access to Users’ Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “relating” to certain subjects, including Documents unrelated to Plaintiffs’ claims and

documents that are not within Facebook’s possession, custody, or control.

       (D) Facebook further objects to this Request to the extent it is based on the false and

incorrect premise that Facebook “condition[ed]” or “condition[s]” access to information on certain

purchases and/or payments.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

formal, written Policies and agreements that governed access to Facebook consumer data by third-

party Applications, integration partners, and mobile phone manufacturers during the Relevant

Time Period.
REQUEST FOR PRODUCTION NO. 35:

       Documents relating to the manner in which a Facebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.

RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “relating” to the subject manner of control, including Documents that are not within

Facebook’s possession, custody, or control.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, to the extent non-privileged

documents are identified by a reasonable, good-faith search, Facebook will produce its user terms

dating back to January 1, 2007, to the extent they have not been produced to Plaintiffs’ previously,

and screen shots sufficient to show how a user could control how data was shared with third-party

applications.

REQUEST FOR PRODUCTION NO. 36:

       All Documents concerning User testing, evaluation and analysis of Facebook’s Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.

RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
                                                39
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
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       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as ambiguous and confusing on the grounds

that the phrase “User testing, evaluation and analysis of Facebook’s Privacy Controls and App

Settings” is ambiguous and vague and not defined.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “concerning” the subject User testing, evaluation and analysis, including Documents

which are not within Facebook’s possession, custody, or control.

       (E) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

       (F) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.




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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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DATE: December 26, 2019                  Respectfully submitted,

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  FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
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         Plaintiffs’ Exhibit C
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         Plaintiffs’ Exhibit D


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         Plaintiffs’ Exhibit E


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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                               NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
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                                   7                                                         DISCOVERY ORDER NO. 9
                                   8                                                         (Dkt. Nos. 515, 526, 537, 548)
                                   9

                                  10

                                  11          This MDL matter has been assigned to the undersigned for management of discovery.

                                  12   Now pending before the Court are the Parties’ briefs concerning the proper scope of discovery
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 United States District Court




                                  13   related to the data Facebook accumulates about the named Plaintiffs. (Dkt. Nos. 515, 526, 537,

                                  14   548.) In brief, Facebook contends that the district court’s order specifically defined the data at

                                  15   issue as “substantive and revealing content that users intended only for a limited audience.” (Dkt.

                                  16   No. 298.) Based on this definition, Facebook argues that for any named Plaintiff data to be

                                  17   relevant and discoverable, it must meet two criteria. First, the discoverable data must have arisen

                                  18   from user activity occurring on the Facebook platform, such as Facebook posts and sent messages.

                                  19   Second, the named Plaintiff must have then overtly shared such data with a limited audience, such

                                  20   as their friends. Facebook submits that this is the only plausible reading of the district court’s

                                  21   order limiting Plaintiffs to four actionable categories of potential liability. Plaintiffs respond that

                                  22   the universe of discoverable data Facebook collects for each user is much larger and necessarily

                                  23   includes: (1) user activity occurring off the Facebook platform; and (2) user data that can be

                                  24   inferred from user activity occurring on or off the Facebook platform. A second question

                                  25   presented by the briefs is whether discovery may proceed on the claims the district court stayed.

                                  26          After carefully considering the papers submitted by the Parties, and consulting with the

                                  27   district court, the Court rules that discovery is not as limited as Facebook contends. Plaintiffs

                                  28   correctly argue that Facebook’s restrictive view of relevant discovery would exclude an enormous
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                                   1   amount of information that Facebook collects and shares with third parties about Facebook’s

                                   2   users. The district court’s order (Dkt. No. 298) did not limit Plaintiffs’ claims to only challenging

                                   3   the sharing of data Facebook collects from a user’s on-platform activity; the claims also challenge

                                   4   Facebook’s sharing of user data and alleged failure to monitor how third parties used such shared

                                   5   information.

                                   6          Accordingly, the Court rules the discoverable user data at issue includes:

                                   7              •   Data collected from a user’s on-platform activity;

                                   8              •   Data obtained from third parties regarding a user’s off-platform activities; and

                                   9              •   Data inferred from a user’s on or off-platform activity.

                                  10          As for the stayed claims, and again after consulting with the district court, the Court rules

                                  11   that discovery is stayed as to the stayed claims. Of course, if a particular discovery request is

                                  12   relevant to both a stayed and non-stayed claim, then discovery is not stayed merely because the
Northern District of California
 United States District Court




                                  13   discovery request is also relevant to a stayed claim.

                                  14          IT IS SO ORDERED.

                                  15   Dated: October 29, 2020

                                  16

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  18                                                                 United States Magistrate Judge
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                                   1                                 UNITED STATES DISTRICT COURT

                                   2                              NORTHERN DISTRICT OF CALIFORNIA

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                                   4     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
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                                   6                                                         DISCOVERY ORDER NO. 11
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                                   9          This MDL matter has been assigned to this Court for management of discovery. The Court

                                  10   held a discovery status conference on December 9, 2020 and this Order memorializes the

                                  11   decisions made at the hearing.

                                  12      A. 30(b)(6) Witness. At the hearing, Facebook insisted it does not have any documents
Northern District of California
 United States District Court




                                  13          reflecting its valuation of the user data it collects. It also contended that Plaintiffs

                                  14          conceded that user data not shared with or accessible to third parties is not relevant, (Dkt.

                                  15          No. 548 at 10), and because Facebook does not share inferred user data, the inferred user

                                  16          data Facebook maintains is not relevant. Facebook both collects and uses data about its

                                  17          users as part of its business model, including data derived from third parties. How it

                                  18          specifically uses this data is an open question, but if the Court were to accept Facebook’s

                                  19          arguments about the scope of production, it would eliminate Discovery Order No. 9’s third

                                  20          category of discovery: data inferred from a user’s on or off-platform activity. What is

                                  21          needed now is more detail about Facebook’s collection and use of user data so future

                                  22          discovery requests can be tailored to Plaintiffs’ better understanding of the internal

                                  23          operations of Facebook as well the terminology it uses for describing data that is

                                  24          potentially responsive to Plaintiffs’ discovery requests.

                                  25          The Court accordingly orders Facebook to provide a 30(b)(6) witness regarding the
                                  26          discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.) Facebook
                                  27          shall also provide a 30(b)(6) witness on how it monetizes—directly or indirectly—and thus
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                                   1         values user data. Plaintiffs shall provide Facebook with their 30(b)(6) Notice on or before

                                   2         December 18, 2020 and Facebook will have until January 13, 2021 to submit an initial

                                   3         response. The 30(b)(6) topics shall be narrowly tailored to assist Plaintiffs with identifying

                                   4         relevant discovery in the above two areas. The deposition will be limited to the time

                                   5         period of 2012 through 2017 to reduce burden and given its investigatory purpose.

                                   6      B. Search Terms. The Parties shall continue to meet and confer the week of December 14-

                                   7         18 regarding their competing proposals. Given the deadline for submission of final

                                   8         proposals—Christmas Eve—the Parties shall submit a stipulation by December 18, 2020,

                                   9         agreeing to a new deadline for final proposals.

                                  10      C. Five-Day Détente. The Parties shall meet and confer to choose five consecutive business

                                  11         days during the upcoming holidays where no communications will take place between the

                                  12         Parties regarding the case. Communications on other topics are encouraged.
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                                  13      D. Plaintiffs’ Interrogatory Responses and Privacy Settings Data. Plaintiffs shall

                                  14         supplement their interrogatory responses regarding what they characterize as their sensitive

                                  15         information with specific examples rather than general categories.

                                  16      E. Additional Proposed Custodians. The addition of further custodians for discovery

                                  17         purposes is premature at this time.

                                  18      F. Dismissal of Named Plaintiffs. The parties shall file a stipulation regarding the dismissal

                                  19         of certain named plaintiffs in accordance with what was discussed at the hearing no later

                                  20         than December 18, 2020.

                                  21      G. Next Status Conference. The next video status conference shall be January 15, 2021 at

                                  22         8:30 a.m. The Parties shall submit a joint status update by January 14, 2021 at 12:00 p.m.

                                  23         IT IS SO ORDERED.

                                  24   Dated: December 11, 2020

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                                                                                                   JACQUELINE SCOTT CORLEY
                                  27                                                               United States Magistrate Judge
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                                   2                                UNITED STATES DISTRICT COURT

                                   3                              NORTHERN DISTRICT OF CALIFORNIA

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                                   5     IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC (JSC)
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                                   7                                                       DISCOVERY ORDER NO. 12
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                                  11          This MDL matter has been assigned to this Court for management of discovery. The Court

                                  12   held a discovery status conference on January 15, 2021 and this Order memorializes the decisions
Northern District of California
 United States District Court




                                  13   made at the hearing.

                                  14      A. ADI. Plaintiffs shall select 20 entries, from the previously identified 400 entries, for in

                                  15          camera review by the Court and notify Facebook by January 22, 2021—or earlier if

                                  16          possible—of the specific entries selected. The Parties shall then simultaneously brief the

                                  17          Court, limiting the respective briefs to 20 pages total, by February 5, 2021. By that same

                                  18          date, Facebook shall submit the documents for in camera review to

                                  19          jscsettlement@cand.uscourts.gov.

                                  20      B. 30(b)(6) Depositions. The Parties have thus far been unsuccessful in negotiations

                                  21          regarding the 30(b)(6) deposition required by Discovery Order No. 11. (Dkt. No. 588.)

                                  22          The Court orders the Parties to conduct the deposition in the month of February, preferably

                                  23          prior to the next status conference. Further, the deposition shall be no longer than 10 hours

                                  24          in total (over at least two days). The scope of the depositions shall be limited to the

                                  25          discoverable user data as defined by Discovery Order No. 9, (Dkt. No. 557), and how

                                  26          Facebook monetizes—directly or indirectly—and thus values user data. The purpose of

                                  27          the depositions is to gain a better understanding of Facebook’s internal operations, related

                                  28          to the scope of the depositions as described above; whether particular user data is not
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                                   1          shared, not admissible, or not monetized, is not a valid reason to object to a particular

                                   2          deposition question. If the deponent is unable or unprepared to answer particular

                                   3          questions, that can be addressed with further, more targeted, 30(b)(6) depositions if

                                   4          needed.

                                   5      C. Next Status Conference. The next video status conference shall be February 24, 2021 at

                                   6          8:30 a.m. The Parties shall submit a joint status update by February 23, 2021 at 12:00 p.m.

                                   7          IT IS SO ORDERED.

                                   8   Dated: January 15, 2021

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  11                                                                United States Magistrate Judge
                                  12
Northern District of California
 United States District Court




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                 Exhibit 8
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VIA E-MAIL

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Re:      In re Facebook, Inc. Consumer Privacy User Profile Litigation

Counsel:
        We write in response to Plaintiffs’ recent flurry of letters purporting to invoke the
parties’ expedited dispute protocol and threatening to file a series of accelerated motions to
compel. Plaintiffs’ letters are an abuse of the parties’ dispute protocol, which is intended to
address a party’s refusal to produce previously-requested information—not to demand
information never previously requested or discussed. Plaintiffs’ letters also reflect an
abusive litigation tactic that is making it nearly impossible to move this case forward.
Plaintiffs’ letters seek to unravel many months, if not more, of negotiations; ignore rulings
Judge Chhabria and Judge Corley have issued; and informally demand information on an
expedited schedule that has never been discussed and has no bearing on this case.1
        Facebook would like this case to move forward quickly and efficiently so that the
parties can finally litigate Plaintiffs’ live claims on the merits. It is impossible to make
progress when Plaintiffs insist on an unfocused, whack-a-mole discovery process that
unwinds past agreements and work. The parties dedicate an enormous amount of time and
resources to meeting and conferring regarding discovery requests. The meet and confer
process that Judge Corley ordered is designed to allow the parties to reach a compromise and
move on. Facebook cannot have faith in this process or rely upon agreements the parties

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  In this letter, we respond specifically to Plaintiffs’ letters dated March 4, March 1, February 19, and
February 11, each of which invoke the parties expedited dispute protocol. Facebook responded
separately on March 23 to Plaintiffs’ March 18 demand that the parties enter a Rule 53 stipulation.
Facebook responded by email on March 22 to Plaintiffs’ March 15 demand for certain deposition
transcripts and interrogatory responses from government matters. Facebook responded by email on
March 21 to Plaintiffs’ March 16 letter taking the position that inadvertent, privileged testimony may
not be clawed back. Facebook is responding separately to Plaintiffs’ additional demand, also in their
March 1 letter, for a list of the materials counsel selected for Facebook’s deponents to review in
advance of their depositions. Facebook will also respond separately to Plaintiffs’ letter dated March
9, which raises various complaints with respect to Facebook’s 516 pages of responses to Plaintiffs’
Fourth Set of Interrogatories.
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have reached when Plaintiffs constantly seek to reopen and expand those agreements.
Facebook urges Plaintiffs to reevaluate their approach and to focus on forward progress.
I.      Plaintiffs’ March 1 letter demanding “all data” relating to the Named Plaintiffs.
        Plaintiffs’ March 1, 2021 letter demands Facebook produce “all data and information
relating to the Named Plaintiffs”—even if the data was not shared with third parties. There
is no basis for this overbroad request. After the parties engaged in nearly a year of
negotiations, informal discovery, and briefing on Plaintiffs’ blanket demand for data
“relating” to the Named Plaintiffs, Plaintiffs finally informed the Court on the last page of
their sur-reply on Facebook’s motion to enforce the partial stay of discovery that they “seek
only a holding that the sensitive data Facebook collected about ten Named Plaintiffs and
shared with third parties is relevant.” Plaintiffs conceded: “Plaintiffs do not contend that
information that was not shared is relevant, which substantially narrows the
information Facebook would be required to produce in this case.” Dkt. 548 at 9.
         Plaintiffs’ “renew[ed]” request for “all data” related to the Named Plaintiffs—
including data that was never shared—seeks to unwind more than a year of forward progress.
It also directly contradicts the representations Plaintiffs made to the Court in their prior
briefing, which the Court accepted and relied on in issuing Discovery Order 9.
        A.      Facebook produced more than 1,000,000 pages of user data.
        For nearly a year, Plaintiffs insisted that Facebook locate and produce any data
Facebook presently has access to that might, in any way, relate to any Named Plaintiff, plus
any derivative materials drawing on that data. Plaintiffs demanded all of this information
even if it was never shared outside of the Company and even if it is not associated with any
particular user.
        In response to this request, Facebook discussed with Plaintiffs in January 2020 that
the best way to produce the individual user data that could be within the scope of this case
was to produce for each Named Plaintiff the content and information that Facebook
associates with each Named Plaintiffs’ account. This information is contained in the
“Download Your Information” (“DYI”) file that Facebook also makes available to users.
Facebook’s current DYI tool reflects, in human-readable form, the most complete
compilation of data Facebook maintains relating to any user, including any individual user
data that third parties might have been able to access.
       Beginning in February 2020, Facebook produced the information contained in the
DYI file for each of the Named Plaintiffs, plus certain additional information (such as a
spreadsheet containing data tracking how Plaintiffs adjusted their Facebook privacy settings).
In total, Facebook produced more than one million pages of individual user data it
maintains relating to the Named Plaintiffs.2
        Facebook made these productions despite repeatedly expressing concerns that much
the data it produced is not probative of any issue in this privacy litigation—which is about
data sharing (not the data Facebook maintains). As Judge Chhabria explained in the first line
of his Motion to Dismiss Order: “This lawsuit, which stems from the Cambridge Analytica
scandal, is about Facebook’s practice of sharing its users’ personal information with third
parties. . . . [Plaintiffs’] principal allegations are that Facebook: (i) made sensitive user
2
  These productions were extremely burdensome and took many months to complete because they
required reformatting data that is typically available only on a live website into individual documents
for use in litigation. Plaintiffs initially objected to the format in which Facebook produced the
materials. Facebook then reproduced documents to address Plaintiffs’ formatting concerns. Plaintiffs
amended their complaint in August 2020 to substitute new Named Plaintiffs. Facebook subsequently
produced the same materials for the new Named Plaintiffs.



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information available to countless companies and individuals without the consent of the
users, and (ii) failed to prevent those same companies and individuals from selling or
otherwise misusing the information.” Id. at 1. The more than one-million pages of
individual user data Facebook produced far exceed that scope. Facebook’s productions of
individual user data are overinclusive in that Facebook produced the data it associates with
each Named Plaintiffs’ account and did not limit its production to data that actually was
accessed by or shared with third parties. Facebook also did not limit its productions
“sensitive data,” as defined in the Court’s motion to dismiss order as the only type of data at
issue in this case. See, e.g., id. at 1, 7, 9, 13.
          B.       Plaintiffs demanded vast amounts of additional data—even if never
                   shared.
        After Facebook produced the individual user data that Facebook associates with the
Named Plaintiffs’ accounts—including data outside the scope of this case—Plaintiffs insisted
that Facebook also locate and produce any other data that might, in any way, relate to any
Named Plaintiff, as well as any materials derived from that data. In making this demand,
Plaintiffs focused largely on a database called Hive and demanded that Facebook produce
any data relating to any Named Plaintiff that is currently in that database. Plaintiffs
articulated no basis on which the data they demanded could be relevant to their live claims.
      The parties met and conferred about Plaintiffs’ demand over the course of several
months.3




       As Facebook explained, Plaintiffs’ blanket demand not only sought large volumes of
data having nothing to do with their claims—it was also nearly impossible to satisfy. As
Facebook has explained,




         Facebook explained that such a remarkable undertaking
and would result in the production of massive amounts of internal data tables that are

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 At one point during the parties’ extensive discussions on this issue, Facebook asked Plaintiffs if they
would, at minimum, agree that if Facebook hypothetically possessed a database that had the ability to
receive data, but no ability to output (i.e., share) data, that database would be out of scope. Plaintiffs
refused to agree, arguing that the hypothetical database could theoretically create “inferences” from
user data that Facebook could use to place advertisements on its platform.
4
    Plaintiffs state that “counsel has demonstrated that Hive tables can be searched by userID [sic].”




5
 This does not include any data produced in response to subpoenas or as part of Facebook’s
discovery obligations. Certain Hive data has been produced in those contexts.



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irrelevant and immaterial to Plaintiffs’ claims, which concern only sensitive individual user
data that was shared with third parties.
       C.      The Parties litigated the scope of discoverable user data and Plaintiffs
               conceded that only shared data is relevant.
        The parties then litigated the scope of discoverable user data in connection with
Facebook’s motion to enforce the partial stay of discovery. Throughout their briefs,
Plaintiffs repeatedly acknowledged that the only data that is relevant to this case is data that
was shared with third parties:
   •   “This discovery dispute concerns sensitive user information that Facebook has shared
       with third parties without users’ consent.” (Dkt. 547-3 at 1).
   •   “Plaintiffs’ standing to bring their claims, and the validity of many of those claims,
       depends on . . . whether Facebook shared that information with third parties.” (Dkt.
       526 at 5); see also id. at 10–11 (acknowledging that Plaintiffs’ claims require proof
       that Facebook shared Plaintiffs’ information with third parties).
   •   “[S]ensitive user information is relevant if Facebook shared it without users’
       consent.” (Dkt. 547-3 at 2).
   •   “[T]he legal theories upheld at the pleading stage . . . turn . . . on whether Facebook
       shared [sensitive information] with third parties.” (Id. at 4).
        After four rounds of briefing, on the last page of their sur-reply, Plaintiffs finally
conceded what they should have said a year earlier: “Plaintiffs do not contend that
information that was not shared is relevant.” (Dkt. 547-3 at 9 (emphasis added)). This
concession—while welcome—raised frustrating and still unanswered questions about why
Plaintiffs had forced the parties to spend many hundreds of attorney hours over the previous
year negotiating and litigating over the relevance of data that was never shared or made
accessible outside of Facebook.
       D.      Judge Corley held that the discoverable user data in this case is sensitive
               data shared with third parties.
        In Discovery Order 9, Judge Corley addressed the user data relevant to this case and
largely adopted the position Plaintiffs took in their sur-reply brief. The Court held the user
data relevant to this case is “information that Facebook collects and shares with third parties
about Facebook’s users.” The Court explained that Plaintiffs’ claims “challenge Facebook’s
sharing of user data and alleged failure to monitor how third parties used such shared
information.” (Discovery Order 9, Dkt. 557 at 2 (emphasis added).)
         Discovery Order 9 further explained that the information “Facebook collects and
shares with third parties” is not necessarily limited to the information users post on Facebook
(as Facebook had argued) and would also include any shared data: (1) collected from a
user’s on-platform activity; (2) obtained from third parties regarding a user’s off-platform
activities; and (3) inferred from a user’s on or off-platform activity. Id.
       E.      Facebook confirmed it completed its production of discoverable user
               data.
        To comply with Discovery Order 9, Facebook investigated whether any discoverable
user data had not already been produced. We did not identify any such data. Indeed, as
stated earlier, the DYI file is overinclusive of the universe of discoverable data under Pretrial
Order 20 and Discovery Order 9.
        Again, this data-privacy litigation relates to Facebook’s alleged practice of sharing
certain “sensitive” user data with third parties. Third parties who are permitted access to


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individualized data about Facebook users access that data through application programming
interfaces (“APIs”). APIs are a standard industry programming tool, and they allow
applications to access data and features of other applications, services, or operating systems.
All of the APIs Facebook has made available to third parties query Facebook’s Social Graph
only and allow access to a subset of the information contained in the Social Graph.6
Facebook’s current “Download Your Information” or “DYI” tool retrieves data from, and
allows users to download the information Facebook maintains about them in, the Social
Graph. It is the most complete compilation of data Facebook maintains for any user and
reflects a human-readable version of the data relating to any user in Facebook’s Social
Graph—including, but not limited to, the data that could have potentially been accessed by
third parties.
       F.      The Court allowed a 30(b)(6) deposition to allow Plaintiffs to confirm
               Facebook had satisfied is production obligations.
        After Facebook reported its preliminary finding that it completed its productions of
discoverable user data, as described in Pretrial Order 20 and Discovery Order 9, Plaintiffs
told the Court: “[I]t is, frankly, just impossible for us to believe that.” (12/9/2020 Hr’g Tr. at
19:22-23.)
        To address Plaintiffs’ “disbelief . . . as to how Facebook operates,” the Court
suggested a 30(b)(6) deposition to narrowly address “the discoverable user data as articulated
by Discovery Order 9.” See 12/9/2020 Hr’g Tr. at 26:6-9; Discovery Order 11, Dkt. 588.
Ignoring the Court’s instructions, Plaintiffs issued a deposition notice on 12 extraneous
topics. Judge Corley quashed this notice—explaining it was “way beyond what she had in
mind.” See 1/15/2021 Hr’g Tr. at 17:12-13. The Court explained, “[w]e just need somebody
under oath” (id.) to “verify [Facebook’s] representation” (id. at 35:3-5) that it has produced
all discoverable data within the scope of Discovery Order 9.
        The 30(b)(6) deposition on discoverable user data was held on February 23, 2021.
Facebook designated Konstantinos Papamiltiadis as its witness on this issue. Mr.
Papamiltiadis is Facebook’s Vice President of Platform Partnerships, has over eight years of
experience at Facebook, and has 127 reports. Consistent with Judge Corley’s instructions,
Mr. Papamiltiadis spent nearly 20 hours preparing to testify about the discoverable user data
under Discovery Order 9—including the user data Facebook collects, how Facebook uses
different categories of user data, which categories of user data Facebook shares, and how
shared categories of user data are reflected in produced materials.
       G.      Plaintiffs declined to use the 30(b)(6) deposition as ordered and reverted
               to their position that all data relating to the Named Plaintiffs must be
               produced—even if not shared.
        Rather than use the 30(b)(6) deposition to address the topic the Court ordered,
Plaintiffs pursued their own agenda and used the deposition to explore all of the topics in the

6
 Facebook uses the term the “Social Graph” to describe the complex web of peoples, places, things,
actions, and connections on the Facebook Platform. The Facebook product that users see is powered
by a series of databases that work in tandem to provide Facebook users a seamless experience. As
Facebook users navigate through Facebook and interact with it—including, for example, by liking
posts made by other users, watching videos, posting photos, and sending messages—the users create
new relationships and connections between themselves and the content they are able to see. This web
of peoples, places, things, actions, and connections are referred to as the “Social Graph.”




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notice the Court had rejected. At the deposition, Plaintiffs did not even ask the most basic
questions about what user data Facebook shares with third parties. Plaintiffs never asked
“what categories of user data does Facebook make accessible to third parties?” Nor did they
ask whether the materials Facebook has produced reflect the scope of user data accessible to
third parties. Plaintiffs instead questioned Mr. Papamiltiadas for hours regarding different
types of data Facebook has used only internally (which Plaintiffs were already aware
existed)—including “data from third parties about users’ off-platform activity,” data derived
from the Facebook Pixel, and “information . . . associated with users via app-scoped IDs.”
        Plaintiffs now demand all of that data after they tactically avoided asking Mr.
Papamiltiadas whether any of it has been shared or otherwise made accessible to third
parties. It has not. Plaintiffs did not even seek to learn whether any of the data they asked
about was collected on an individual or aggregate level, whether it is stored (and, if so, for
how long), or whether it is anonymized. It is Plaintiffs’ burden to demonstrate how
information they seek is relevant to live claims. The Court ordered a narrow 30(b)(6)
deposition specifically to allow Plaintiffs to understand whether any user data relevant to
their claims was yet to be produced, and Plaintiffs deliberately declined to use the deposition
to address that issue.
        Rather, it seems that after spinning in circles on this issue for more than a year,
Plaintiffs have relapsed to their original position that Facebook must locate and produce all
data relating in any way, shape, or form, to the Named Plaintiffs—even if it is was not shared
and exists only as part of aggregated or anonymized data sets. The Court has already
rejected this position. And with Plaintiffs having obtained a ruling from the Court accepting
Plaintiffs’ earlier position that discoverable user data is limited to data that was shared with
third parties, Plaintiffs are judicially estopped from now arguing that user data is
discoverable irrespective of whether it was shared. See, e.g., United Nat. Ins. Co. v.
Spectrum Worldwide, Inc., 555 F.3d 772, 779 (9th Cir. 2009) (citing New Hampshire v
Maine, 532 U.S. 742, 750 (2001)).
        Facebook confirms again: Third parties who are able to access individualized user
data access that data through APIs that pull from Facebook’s Social Graph only, and the DYI
files Facebook produced reflects a human-readable version of the data relating to each
Named Plaintiff in Facebook’s Social Graph—including, but not limited to, the data that
could have potentially been accessed by third parties. Facebook’s productions under
Discovery Order 9 are complete.
II.      Plaintiffs’ March 4 letter demanding supplemental interrogatory responses
         relating to “Business Partners.”
         Plaintiffs’ letter demanding that Facebook supplement its responses to Interrogatories
14 and 15, which concern “Business Partners,” raises the same concerns about unnecessary
re-litigation of previously decided issues. The parties litigated—and Judge Corley decided—
this issue last month. See Dkt. 608. Facebook confirmed, consistent with Judge Corley’s
Order, that its responses to these Interrogatories are complete. Facebook’s responses to
Interrogatories 14 and 15 are extraordinarily comprehensive and alone span 195 pages—
most of which are single-spaced tables, using a Size 7 font.
        After speaking with Plaintiffs about this issue, we understand Plaintiffs to demand
additional information in response to these Interrogatories on two grounds. First, Plaintiffs
explained that they believe Judge Corley intended her Discovery Order on Business Partners
(Dkt. 608) to “expand the case” beyond Judge Chhabria’s Motion to Dismiss Order (and
Plaintiffs’ Complaint) to reach all of Facebook’s business relationships. Second, Plaintiffs
highlight that Facebook has had business relationships over the past decade with entities that
do not appear in Facebook’s Interrogatory responses.



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        Plaintiffs position seeks to unwind more than three years of litigation, multiple court
orders, and Plaintiffs’ own allegations and discovery requests. Neither this case nor the
specific Interrogatories at issue concern every business relationship Facebook has ever had.
        A.      Judge Chhabria’s Motion to Dismiss ruling allowed Plaintiffs’ “Business-
                Partner” allegations to move forward with respect to a finite set of third
                parties.
        In his decision on Facebook’s Motion to Dismiss, Dkt. 298, Judge Chhabria made
clear that Plaintiffs would not be permitted to litigate a sweeping attack on Facebook’s entire
business and all of its business relationships. Plaintiffs’ First Amended Consolidated
Complaint was 1,442 paragraphs and 412 pages. Dkt. 257. Judge Chhabria observed, “it
seems the plaintiffs sought to identify anything Facebook has ever been reported to have
done wrong . . . . [T]he presence of so many disparate and vague allegations makes it nearly
impossible for Facebook to meaningfully respond to all of them, much less for the Court to
effectively address them.” Dkt. 298 at 5-6.
         To avoid “bogging the case down at the pleading stage for years,” id. at 6, Judge
Chhabria did not address each of Plaintiffs’ improperly pleaded theories and claims. Instead,
he concluded that Plaintiffs adequately pleaded “four categories” of potential wrongdoing
related to “Facebook’s practice of sharing its users’ personal information with third parties.”
Id. at 6, 1. He then dismissed certain claims, id. at 30, and stayed all other claims and
theories not falling into the four categories of alleged misconduct. Id. at 6 (“All other
prioritized claims not addressed by this ruling will be stayed.”).
       The first two theories Judge Chhabria allowed to move forward concern data-sharing
with app developers. Judge Chhabria described the third theory as “sharing sensitive user
information with business partners.” Dkt. 298 at 8. The fourth theory concerns Facebook’s
enforcement of its data-use policies with respect to third parties.
        The third “Business Partner” theory Judge Chhabria allowed to move forward is
about Facebook’s alleged practice of entering “data reciprocity” agreements with third
parties in connection with arrangements to make certain Facebook functionalities available
on third-party devices and platforms. See Dkt. 298 at 8. Plaintiffs’ Complaint uses the term
“Business Partners” to describe “roughly 150” entities with whom Facebook partnered to
“develop and integrate Facebook’s User Platform on multiple devices and operating
systems.” See SACC ¶¶ 430-440.7 The Complaint alleges that Facebook “gave Business
Partners access to users’ content and information” to facilitate these partnerships. Id. In
support of its allegations with respect to “Business Partners,” Plaintiffs cite a list of entities
Facebook describes as its “integration partners” that Facebook shared with Congress (SACC
¶ 431), and a New York Times article about Facebook’s integration partners (SACC ¶¶ 433,
435).
        Judge Chhabria similarly explained that the list of “Business Partners” Plaintiffs had
identified “came from Facebook itself, which asserted that it had ‘integration partnerships
with these companies.” Dkt. 298, at 8. Judge Chhabria held that the misconduct Facebook
allegedly engaged in with respect to these entities was “relatively straightforward”:
“Facebook shared information about its users with this non-exclusive list of business

7
 These partnerships served two primary purposes: (i) to enable users to access their Facebook
accounts or specific Facebook features on devices and platforms built by other companies, such as
Blackberry and Apple, before the existence of the “app store”; and (ii) to enable users to connect their
Facebook social experiences with other popular apps and websites, like Yahoo and Twitter—if they
chose to do so. Some transfer of data was needed to allow users to access their Facebook accounts on
devices and platforms built by other companies (like Blackberry) and, if they explicitly chose, to
connect their Facebook accounts with other platforms.



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partners, and that those companies in turn shared data with Facebook.” Id. at 8. “These
partnerships, the complaint alleges, were built in part on ‘data reciprocity.’ Facebook and its
partners agreed to exchange information about users’ activities with each other.” Id.
(internal quotations omitted).
       B.      Facebook provided nearly 200 pages of responses to Plaintiffs’
               Interrogatories regarding “Business Partners.”
        Plaintiffs’ Fourth Set of Interrogatories seeks information about the “Business
Partners” alleged in their Complaint. Specifically, Interrogatory 14 seeks a list of “Business
Partners” that had access to “Not Generally Available” information about users even if users
did not download an app made by the entity.8 Interrogatory 15 seeks details about the “Not
Generally Available” information the so-called “Business Partners” were able to access.
        Plaintiffs’ own Interrogatories recognize that the “Business Partner” theory does not
concern all of Facebook’s business relationships. Consistent with Plaintiffs’ Complaint and
Judge Chhabria’s Order, Plaintiffs’ Interrogatories defined “Business Partners” as “third
parties with whom Facebook partnered to develop and integrate Facebook on a variety of
devices and operating systems.”
        Facebook served nearly 200 pages of responses to these Interrogatories. As parties
typically do in their responses to interrogatories, Facebook also provided definitions that it
would use in its response. Facebook offered a definition of “Business Partners” that was
intended to add clarity and capture all entities falling into the business partner conduct Judge
Chhabria described in Pretrial Order 20. The parties discussed their definitions of “Business
Partners” at length over the course of several months.
       C.      Plaintiffs litigated the scope of Facebook’s Interrogatory responses.
        After months of back-and-forth—during which Facebook confirmed it did not
withhold any relevant or responsive information based on its definition of “Business
Partners”—Plaintiffs insisted on litigating the definition of “Business Partners” that would be
used to respond to their Interrogatories.
        Judge Corley found the term “Business Partners” to refer to the third category of
potential liability identified by Judge Chhabria and deciphered “no meaningful difference
between the parties’ definitions.” Dkt. 608. Judge Corley confirmed that “Business
Partners” would include companies with which Facebook had agreements “to exchange
information about users’ activities with each other,” consistent with Judge Chhabria’s
explanation, even if Facebook did not label them “integration partners,” id., and she ordered
Facebook to confirm it had fully responded to Plaintiffs’ requests. Id. Facebook confirmed
it had.
       D.      Plaintiffs now argue Judge Corley’s order with respect to “Business
               Partners” expands the scope of the case to reach all of Facebook’s
               business relationships.
       Plaintiffs now seek to relitigate this issue. During a meet and confer, Plaintiffs’
counsel represented that they believe Judge Corley intended her Order to greatly “expand”
the “Business Partner” theory articulated in Plaintiffs’ Complaint and by Judge Chhabria.



8
 The Interrogatories define “Not Generally Available” information to be information “to which that
Facebook User has restricted access such that the only Facebook Users who may access that Content
and Information are the Facebook User’s Friends or another limited audience.” This definition
explicitly asks about activities conducted on Facebook (which users can limit the audience for).



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        In Plaintiffs’ words, nearly three years into this litigation, Judge Corley “expanded
the case” to concern Facebook’s relationship with any entity that has ever received a single
piece of information relating in any way to people who use Facebook, so long as, at any
point in time, that entity told Facebook anything that could be interpreted to concern
Facebook users. Plaintiffs take this position even though Plaintiffs’ Business Partner
allegations refer to a finite number of entities with whom Facebook allegedly entered “data
reciprocity” agreements in connection making Facebook functionalities available on third-
party devices and platforms. See SACC ¶¶ 430-440.
        For instance, Plaintiffs’ letter claims the “Business Partner” theory now extends to
Facebook vendors that performed statistical analyses for Facebook using anonymized data,
on the basis that these vendors accessed anonymized information to perform analyses for
Facebook and then reported their conclusions back to Facebook.




                         No allegations about relationships of this nature appear in the
Complaint, nor is it clear how they could possibly be actionable. 10
        Plaintiffs’ extreme and unfounded position would bring nearly every entity with
which Facebook has ever interacted within the scope of this case—even where the
relationship is clearly disclosed within Facebook’s terms and has no relationship to the
conduct actually alleged. Indeed, Plaintiffs’ letter recites every type of business relationship
Facebook’s 30(b)(6) deponent said Facebook has had over the years and demands that
Facebook update its interrogatory responses to address every entity falling into each category
he listed. Plaintiffs seek this information even with respect to relationships that did not
include any sort of data sharing, much less the type of arrangements described in Plaintiffs’
Complaint and Judge Chhabria’s motion to dismiss order.11

9
    Plaintiffs’ selective quoting of Ms. Lee’s testimony is tremendously misleading.




10
   Facebook’s use of vendors and work with measurement partners is clearly disclosed in its Data
Policy and thus cannot constitute the type of illicit data-sharing partnership the Court has found
actionable. See MTD Order, Dkt. 298, at 21-22 (dismissing claims where information sharing at
issue was disclosed in Facebook’s Data Use Policy); see also FB’s 6/8/12 Data Use Policy, FB-CA-
MDL-00233442 at 00233455 (“We give your information to the people and companies that help us
provide, understand and improve the services we offer. For example, we may use outside vendors to
help host our website, serve photos and videos, process payments, analyze data, measure the
effectiveness of ads, or provide search results.” (emphasis added)); see also SACC ¶ 561 (quoting
same).
11
   The first two categories of entities Mr. Papamiltiadis listed, “device manufacturers and mobile
operators that . . . help us build Facebook-like experiences in order to reach a wider audience,” Tr. at
25:16-20, and “developer partners . . . [which] are third-party software companies that have access to
our APIs and they build experience[s] for both consumers and other businesses,” id. at 25:21-25, are
already accounted for in Facebook’s Interrogatory responses. The second two categories described
                                                                                (Cont’d on next page)


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         It is clear that neither Judge Chhabria nor Judge Corley intended to open the door to
such wide-ranging and irrelevant inquiries. For starters, it is clear that Judge Chhabria’s
Motion to Dismiss ruling did not bucket all of Facebook’s business relationships into the
“Business Partner” theory, which would have expanded the case to include theories of
liability going far beyond what Plaintiffs even alleged. To the contrary, Judge Chhabria
made clear that his motion to dismiss order allowed four alleged theories of potential liability
to move forward and that Plaintiffs’ remaining allegations would be stayed. Dkt. 298 at 6.
        Judge Chhabria identified specific theories of relief that would move forward to focus
this case and make it manageable to litigate—not to allow Plaintiffs to conduct a roving
investigation of all of Facebook’s business relationships over the past 13 years without
stating cognizable claims. Judge Corley’s February 1, 2021 order with respect to “Business
Partners” certainly did not expand this case to allow such an investigation. The order makes
clear that it tracks the third category of potential misconduct described in Judge Chhabria’s
Motion to Dismiss ruling and that Facebook should identify the entities Judge Chhabria
described, even if Facebook does not call some of those entities “integration partners.”
        We confirm again that our 195 pages of responses to Interrogatories 14 and 15 are
complete to the best of our knowledge and consistent with Judge Corley’s Discovery Order
with Respect to Business Partners. Discovery in this case is ongoing, and should we become
aware of any additional responsive information during the course of our ongoing factual
investigation, we will update our responses accordingly.
III.    Plaintiffs’ February 19 letter demanding additional materials provided to
        government entities.
       Plaintiffs’ letter regarding RFP 6 follows the same pattern and raises the same
concerns as the letters addressed above. This letter backtracks on more than a year of
productive discussions and litigation regarding Plaintiffs’ RFPs 6 and 43; inappropriately
invokes the parties’ expedited dispute resolution protocol to demand materials never
previously requested; and seeks materials relating only to events that occurred years after this
case was filed.
        A.      Facebook agreed to make cloned productions from certain government
                matters under RFP 6 to kick-start discovery while the parties negotiated
                threshold ESI issues.
        Plaintiffs served RFP 6 in November 2019. The request demands document
productions Facebook provided government entities in matters touching on related issues.
The parties extensively negotiated this request and completed negotiating it a year ago, in
early 2020.
        Facebook largely agreed to produce the materials RFP 6 requests. Even though
courts usually frown upon the type of “cloned discovery” requested by RFP 6,12 Facebook
agreed to make certain cloned productions from numerous matters under RFP 6 in a good
faith effort to move discovery forward.
       As Plaintiffs know, the parties had tremendous difficulty negotiating an ESI Protocol,
custodians, and search terms, and have been negotiating these threshold ESI issues for 18
months. To kick-start document discovery during these negotiations, Facebook agreed to

by Mr. Papamiltiadis—“business[es] that . . . publish[] on our platform, from news companies to
[NGOs]” and “suppliers”—have no apparent relationship to user data and Mr. Papamiltiadis
identified none.
12
 King County v. Merrill Lynch & Co., Inc., No. C10-1156-RSM, 2011 WL 3438491, at *3 (W.D.
Wash., Aug. 5, 2011) (quotation omitted)



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produce—and did produce—all of the Facebook documents produced in response to the
FTC’s document requests during its 2011 and 2019 investigations into Facebook. On top of
that, Facebook also agreed to review the Facebook documents it had produced to various
other state and federal entities in 9 additional government matters and to produce those
documents, so long as they were responsive to Plaintiffs’ document requests.
        The parties agreed that Facebook would complete its productions under RFP 6 by
July 3, 2020. Even though RFP 6 sought documents produced to government entities
through “the present” (i.e., through November 2019, when RFP 6 was served), Facebook
ultimately agreed to produce responsive documents it had produced to government entities
through April 15, 2020.
       B.      After the parties reached an agreement on cloned discovery, Plaintiffs
               sought more.
        Facebook understood the parties’ negotiations regarding materials from government
matters were complete. However, after the parties completed negotiating RFP 6, Plaintiffs
issued RFP 43, which sought additional materials exchanged in 10 government matters,
including: “All privilege logs, interrogatory responses, written reports, correspondence and
deposition transcripts.” During the parties’ meet and confer discussions, Plaintiffs told us
that they issued this RFP because the parties had agreed RFP 6 would apply only to
document productions but Plaintiffs in fact wanted any other piece of paper to have
exchanged hands with any government entity in any matter touching on related issues.
Facebook objected to this request in June 2020.
       Six months after Facebook served its responses and objections to RFP 43, on
December 10, 2020, Plaintiffs sent Facebook a letter stating they would agree to limit the
scope of RFP 43 to deposition transcripts from government matters and any written
discovery responses Facebook provided government entities. Then, in a subsequent meet
and confer, Plaintiffs informed Facebook that their revised request for written discovery
responses also included a demand for all of Facebook’s counsel’s formal and informal
correspondence with the government. On February 12, 2021, Plaintiffs filed a motion to
compel all materials demanded under RFP 43. Facebook responded on February 18.
       C.      After filing a motion to compel certain materials from government
               matters, Plaintiffs return to RFP 6 to seek additional materials they did
               not include in their motion.
        On February 19, one day after Facebook responded to Plaintiffs’ motion to compel,
Plaintiffs sent Facebook another letter demanding additional materials from government
matters—this time supposedly under the ambit of RFP 6, which the parties had finished
negotiating a year earlier. Plaintiffs’ letter invokes RFP 6 to demand that Facebook now
review and produce any document productions made in the 10 government matters since
April 2020. It further demands that Facebook produce materials created and provided to the
FTC pursuant to a consent decree that was entered in July 2020.
               1.      There is no basis for additional cloned productions—Facebook
                       produced the cloned materials it agreed to provide, and the parties
                       now have their own search terms.
        As an initial matter, the parties completed negotiating RFP 6 in April 2020 and
reached an agreement on the scope of Facebook’s productions in response to that RFP.
Plaintiffs’ efforts to revisit that agreement a year later undermines the time and effort the
parties put into negotiating and compromising discovery requests and makes it difficult for
the meet and confer process to work effectively.




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        In any case, RFP 6 does not request the documents Plaintiffs seek. Plaintiffs defined
the “Relevant Time Period” for this request as materials provided to government entities
“through the present” (i.e., through November 2019). Despite Plaintiffs’ November 2019
cut-off, Facebook agreed to produce materials in response to RFP 6 that had been produced
to government entities through April 2020. The parties agreed Facebook would complete its
production of these materials by July 3, 2020. Facebook did.
        There is no good-faith basis for Plaintiffs’ demand that Facebook now review and
produce additional cloned productions from government matters. As explained above, courts
typically reject blanket demands for document productions from other actions for two
reasons. First, “compelling a responding party to do duplicate searches—one for responsive
documents in their custody and control and one for all documents in their custody and
control that were previously produced in other litigation—is definitionally unduly
burdensome.” Goro v. Flowers Foods, Inc., No. 17-CV-02580-JLS-JLB, 2019 WL 6252499
*18 (S.D. Cal., Nov. 22, 2019); accord In re Volkswagen “Clean Diesel” Marketing, Sales
Practices, and Prods Liability Lit., MDL No. 2672, 2017 WL 4680242 (N.D. Cal., Oct., 18,
2017) (Corley, M.J.) (rejecting cloned discovery requests). Second, cloned discovery “is
irrelevant and immaterial unless the fact that particular documents were produced or received
by a party is relevant to the subject matter of the subject case.” King County, 2011 WL
3438491, at *3 (quotation omitted).
        Facebook agreed to jump-start document discovery, while the parties negotiated
threshold ESI issues, by reviewing and producing certain materials produced to government
entities. The parties have now negotiated search strings for a year and finally appear to have
reached agreement to use search strings that hit on approximately 6 million documents. On
the eve of finalizing that agreement, Plaintiffs seek to substantially expand that universe by
requiring Facebook to also engage in an ongoing review of all documents produced in
numerous government matters for any additional responsive documents.
        It is neither practical nor reasonable to expect Facebook to continue to track every
document produced in numerous other actions (handled by multiple law firms) and to review
every one of those documents for responsiveness—in addition to approximately 6 million
documents identified through search strings. This is precisely why courts generally reject
requests for cloned discovery. To the extent documents have been produced to government
entities since April 15, 2020 that are responsive to Plaintiffs’ RFPs, the parties have agreed
to search for those materials by running the agreed-upon and court-ordered search terms
against the agreed-upon and court-ordered custodians. Plaintiffs’ request that Facebook
separately review its ongoing productions to government entities is unreasonable, unduly
burdensome, and not proportional to the needs of the case.
                2.      Materials created for the FTC after July 2020 are neither
                        responsive to RFP 6 nor relevant to this case.
       Finally, Plaintiffs’ letter demands materials Facebook agreed to create and produce to
the FTC, as part of the FTC’s ongoing monitoring of Facebook under a consent decree that
was entered in July 2020.13 These materials fall outside of the timeframe of RFP 6. They
also appear to be among the materials Plaintiffs requested originally through RFP 43 (which
seeks “written reports” to the government) but later told Facebook and the Court they had
dropped from their request.


13
  Plaintiffs also seem to request categories of materials Facebook put on legal hold for periods of 6
months to 5 years under the FTC’s 2011 consent decree. To the extent these materials remained on
hold when this action was filed and are captured by the negotiated custodians and search terms, they
will be produced.



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       More fundamentally, materials created for the FTC after July 2020 and as part of the
FTC’s forward-looking monitoring of Facebook have no conceivable relevance to this case,
which was filed in March 2018 and concerns conduct before that date.
IV.      Plaintiffs February 11 letter regarding “Developer Manuals.”
        Finally, Plaintiffs invoke the parties’ dispute resolution protocol to compel the
immediate production of materials over which there is no dispute and no apparent
urgency. Plaintiffs’ February 11, 2021 letter demands—under threat of an immediate motion
to compel—that Facebook produce within 8 days, what they describe as “manuals” relating
to Facebook’s systems that were created over the course of a decade. While not entirely
clear, Facebook understands this request to seek every iteration of its developer website to
have been published since 2007, because this site provides technical instructions to
application developers regarding how to use Facebook’s systems.
        Plaintiffs are correct that the parties discussed this request previously. However,
these discussions took place a year ago in March 2020 and related to a demand that
Facebook produce “developer manuals” in connection with an ESI deposition Plaintiffs had
noticed. Judge Corley ultimately ruled that the noticed deposition would not move forward.
Plaintiffs did not follow up with this document demand again until a meet and confer held in
November 2020. During that meet and confer, Plaintiffs’ counsel informed Facebook that it
should not prioritize collection and production of the developer documents and should
instead focus on other targeted collections.
        Three months later, during a meet and confer held on February 11, 2021, Plaintiffs
(out of nowhere) demanded that Facebook locate and produce all “developer manuals”
within one week, in anticipation of an upcoming 30(b)(6) deposition. Facebook urged
Plaintiffs to clarify their request and to identify any specific, targeted documents they
believed they needed for the deposition—explaining it would be difficult to locate, collect,
and produce a large volume of materials within a matter of days.
        Plaintiffs did not clarify their request or limit it to specific documents. Instead, hours
after the meet and confer, Plaintiffs sent Facebook a letter purporting to invoke the parties’
dispute protocol with respect to “developer manuals.”
         There is no outstanding dispute with respect to these documents. As Facebook
understands, Plaintiffs seek different versions of its developer website that have been
published over time. Facebook does not object to producing the current version of
Facebook’s developer website (which Plaintiffs can access at developers.facebook.com) or
any prior versions of the website Facebook maintains to the extent they have been archived
internally at Facebook. But the Wayback Machine appears to maintain more than 30,000
saved instances of past versions of the developer website. If there are specific versions of the
site that Plaintiffs seek, they should identify them. The parties should meet and confer to
clarify what specific information Plaintiffs are seeking and define an appropriate set of
responsive materials.
        Finally, as Facebook has told Plaintiffs numerous times, the parties must agree upon a
schedule for Facebook to produce documents in response to targeted requests. Plaintiffs’
ongoing demands that Facebook immediately locate and produce one-off materials
significantly interfere with Facebook’s ability to produce responsive documents found
among the millions of documents hitting on the parties’ agreed-upon search strings.
Facebook encourages Plaintiffs to limit, narrow, and clarify their requests and to work with
Facebook to develop a production schedule.




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Sincerely,



Deborah L. Stein




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                        CERTAIN PAGES MARKED CONFIDENTIAL OR
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 Attorneys for Defendant Facebook, Inc.,

                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                      DEFENDANT FACEBOOK, INC.’S
                                                      SECOND AMENDED RESPONSES AND
This document relates to:                             OBJECTIONS TO PLAINTIFFS’ FOURTH
                                                      SET OF INTERROGATORIES
ALL ACTIONS




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       Defendant Facebook, Inc. (“Defendant” or “Facebook”), by and through its attorneys,

and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the Local Civil Rules of

the U.S. District Court for the Northern District of California, the Court’s orders in this action,

and the parties’ agreements and conferences among counsel, provides the following amended

responses and objections to Plaintiffs’ Fourth Set of Interrogatories (the “Interrogatories”).

                                 PRELIMINARY STATEMENT

                 Facebook’s responses to the Interrogatories are made to the best of Facebook’s

current knowledge, information, and belief. Facebook reserves the right to supplement or amend

any responses should future investigation indicate that such supplementation or amendment is

necessary or appropriate.

                 Facebook’s responses to the Interrogatories are made solely for the purpose of and

in relation to this action. Each response is given subject to all appropriate objections (including,

but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety,

and admissibility). All objections are reserved and may be interposed at any time.

                 Facebook’s responses are premised on its understanding that Plaintiffs seek only

that information that is within Facebook’s possession, custody, and control.

                 Nothing contained in these Responses and Objections or provided in response to

the Interrogatories consists of, or should be construed as, an admission relating to the accuracy,

relevance, existence, or nonexistence of any alleged facts or information referenced in any

Interrogatory.

                                    GENERAL OBJECTIONS

                 Facebook objects to the Interrogatories to the extent they contain discrete subparts

requiring Facebook to engage in separate and distinct inquiries to respond to each subpart so that



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the subparts should be construed as independent interrogatories, and that, in total, would cause

Plaintiffs to exceed the maximum number of permissible Interrogatories under Discovery Order

No. 6, under which each party may serve up to 75 Interrogatories. ECF No. 508; see also R. Civ.

P. 33(a)(1); Advisory Committee Note to 1993 Amendment to Rule 33(a)(1).

                Facebook objects to the Interrogatories to the extent they exceed the maximum

number of permissible Interrogatories under Discovery Order No. 6 and an interrogatory is not

the most “effective way to get [the] information” Plaintiffs seek, in which case the Court

indicated it would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

Notwithstanding and without waiving this Objection, Facebook has made a good faith effort to

respond to the Interrogatories, in whole or in part, to the extent it is able.

                                OBJECTIONS TO DEFINITIONS

                Facebook incorporates by reference the responses and objections to Definitions

and Instructions contained in its Responses and Objections to Plaintiffs’ First, Second, and Third

Sets of Interrogatories.

                Facebook objects to Plaintiffs’ definitions of “and” and “or” as unreasonable,

inconsistent with the Federal Rules of Civil Procedure, vague, and grammatically incoherent.

Facebook will interpret “and” and “or” in accordance with their ordinary, everyday meaning,

which includes interpreting disjunctive terms disjunctively and conjunctive terms conjunctively.

                Facebook objects to Plaintiffs’ definition of “describe in detail” or “detailed

description” on the ground that the definition makes the Interrogatories overly broad and unduly

burdensome and imposes obligations that go beyond the requirements of the Federal and Local

Rules. Facebook shall construe these terms as commonly and ordinarily understood. Facebook

further objects to this definition to the extent it seeks information beyond relevant facts,


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including Facebook’s analyses or opinions, which are appropriately sought through contention

interrogatories, which are not appropriate or justified at this early stage.

               Facebook objects to Plaintiffs’ definition of “App” as vague, ambiguous,

overbroad, and unduly burdensome on the ground that it includes any “application developed to

utilize the core technologies of the Facebook social networking platform” without identifying or

defining what the “core,” rather than peripheral, technologies of Facebook’s platform are or were

at any given time. Facebook further objects to this definition as vague and ambiguous on the

ground that Facebook cannot identify what any online applications are or were “developed to” do

or presume the intent of any third parties that Facebook does not control.

               Facebook objects to Plaintiffs’ definition of “Business Partners” as vague,

ambiguous, and overly broad to the extent it refers to entities with which Facebook “partnered”

to “develop and integrate” Facebook “on a variety of devices and operating systems” without

defining any of those terms. Facebook will construe “Business Partners” as referring to the

integration partners and/or device manufacturers with whom Facebook has entered into

agreements that have been and/or will be produced in response to Request for Production No. 24.

During the parties’ meet and confer discussions, beginning on or about August 27, 2020,

Plaintiffs took the position that “Business Partners” refers to a broader set of entities than the

integration partners and/or device manufacturers described in Facebook’s August 14 Objection

because Plaintiffs understood the Court to describe a broader set of “Business Partners” than the

set of entities Facebook describes (hereinafter referred to as Facebook’s “Integration Partners”)

in Pretrial Order 20. Via email on September 11, 2020, Plaintiffs clarified that they understood

the Court had adopted a “conduct-based definition” for “Business Partners” under which the

term “Business Partners” described entities with whom “Facebook shared information about its


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users . . . and those companies in turn shared data with Facebook.” Plaintiffs thus contend that

“Business Partners” include any and all entities with whom Facebook exchanged user data in any

form. Having considered Plaintiffs’ arguments, Facebook maintains its Objection to Plaintiffs’

definition of “Business Partners” and will continue to construe this term as pertaining to

Facebook’s Integration Partners. First, Plaintiffs have not re-issued their Fourth Set of

Interrogatories with a revised definition of “Business Partners” that follows the definition

adopted in their September 11 email. The definition of “Business Partners” in Plaintiffs’ Fourth

Set of Interrogatories refers to entities with whom “Facebook partnered to develop and integrate

Facebook on a variety of devices and operating systems” and does not mention sharing user data.

Plaintiffs’ proposed post-hoc revision of the term “Business Partners” is inconsistent with the

discovery requests Facebook is responding to. Second, Plaintiffs’ proposed revision to “Business

Partners” is inconsistent with the allegations in Plaintiffs’ Second Amended Consolidated

Complaint (“SACC”). Apart from conclusory allegations regarding data sharing without user

consent, Plaintiffs allege Facebook’s “Business Partners” were entities with whom Facebook

partnered to “develop and integrate Facebook’s User Platform on multiple devices and operating

systems,” SACC, ECF No. 491, ¶ 430, and that these partnerships “allowed Facebook to expand

its reach by outsourcing . . . the time, labor, and money required to build Facebook’s Platform on

different devices,” id. ¶ 433, which required Facebook and the Business Partners to “exchange

information about users’ activities with each other,” id. ¶ 434. The SACC includes a partial list

of “Business Partners,” which Facebook had provided to Congress in June 2018. Id. ¶ 431. As

the letter to Congress that Plaintiffs cite to makes clear, this list is of Facebook’s Integration

Partners. Plaintiffs also concede that certain of the other entities they reference as being

“Business Partners”—including Airbnb, Lyft, and Netflix—are actually “whitelisted apps,” and


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therefore relate to a separate category of allegations in the SACC. Id. ¶ 457. As a result, the

only set of “Business Partners” about which Plaintiffs’ SACC asserts non-conclusory allegations

are Facebook’s Integration Partners. Third, the Court’s Order on Facebook’s Motion to Dismiss

does not—and cannot—broaden the set of relevant entities. Rather, the Court describes

Plaintiffs’ allegations as being “difficult to pin down” but describes the relevant entities as being

a set of Facebook’s “integration partner[s],” as identified in Facebook’s letter to Congress, with

whom Facebook had “data reciprocity” agreements. MTD Order, ECF No. 298, at 8. Moreover,

while the Court can narrow a plaintiff’s claim on a motion to dismiss, it cannot rewrite the

complaint to broaden them. E.g., Gregory Vill. Partners, L.P. v. Chevron U.S.A., Inc., 805 F.

Supp. 2d 888, 895 (N.D. Cal. 2011) (“A motion to dismiss under Rule 12(b)(6) tests for the legal

sufficiency of the claims alleged in the complaint. . . . Review is limited to the contents of the

complaint.” (internal citations omitted)). Fourth, the Court recently affirmed that discovery is

stayed as to all of Plaintiffs’ stayed claims. ECF No. 557 at 9. Accordingly, Plaintiffs are not

entitled to discovery as to entities about which they have articulated no particularized claims,

much less stayed ones. Facebook thus stands on its original objection to Plaintiffs’ definition of

“Business Partners” and declines to adopt Plaintiffs’ later-adopted definition.

               Facebook objects to Plaintiffs’ definition of “Content and Information” as vague,

ambiguous, overly broad, and unduly burdensome. While purporting to cite Facebook’s

Statements of Rights and Responsibilities, Plaintiffs have expanded the scope of “Content and

Information” to include 10 subcategories of information—including “thermal [and] olfactory”

information—that are not derived from that definition. Facebook objects to this definition to the

extent it purports to seek documents or information that is not relevant to Plaintiffs’ non-stayed

claims and bears no relation to third-party application developers being granted access to


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“sensitive user information” via friend-sharing between 2009 and 2015, the disclosure of

information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”). Facebook will construe this term as referring to “[i]nformation and

content [users] provide” as described in Facebook’s Data Policy. If Facebook identifies any

additional categories of user content and information that are relevant to Plaintiffs’ non-stayed

claims, Facebook will update its responses accordingly.

               Facebook objects to Plaintiffs’ definition of “Database” as vague, ambiguous,

overly broad, and unduly burdensome to the extent the term is meant to include “any” organized

collection of information that is stored electronically, which, for example, could include any files

on an individual Facebook employee’s computer. Facebook will construe this term as referring

to enterprise-wide electronic collection of related data organized for ready access.

               Facebook objects to Plaintiffs’ definition of “Data Analytics Infrastructure” as

vague, ambiguous, overly broad, and unduly burdensome to the extent the term is meant to

include all “services, applications, utilities and systems” used by Facebook, terms that are,

themselves, broad and undefined. “Systems,” for instance, could refer to any methodologies or

operational procedures put in place for Facebook personnel to analyze data but are not

themselves mechanical or electronic means for processing, analyzing, or storing user data.


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Moreover, all “services, applications, utilities and systems” used by Facebook includes processes

and mechanisms that do not support any of the functions at issue, to wit, the sharing of user

content and information with third parties. Facebook further objects to this definition to the

extent it seeks information relating to “modeling, estimating models, validating models, business

intelligence, scoring data, or related activities, including but not limited to databases and data

warehouses, statistical and data mining systems, and scoring engines,” which bear no relevance

to Plaintiffs’ live claims. See MTD Order, ECF No. 298, at 6-10. Facebook will construe this

term as relating to any internal electronic databases that may contain content or information

relevant to Plaintiffs’ claims.

                Facebook objects to Plaintiffs’ definition of “Facebook Archive” as vague,

ambiguous, and inaccurate. Facebook has produced several categories of information relating to

each of the Named Plaintiffs in this action, none of which is appropriately characterized as

having been drawn from an “archive” as commonly understood. Facebook further objects to this

definition on the basis that this term does not appear in the Interrogatories.

                Facebook objects to Plaintiffs’ definition of “Not Generally Available” on the

ground that the term “access” is vague and ambiguous. Facebook will construe this term as

referring to content posted on the Facebook Platform by a user for which that user has limited the

audience of other Facebook users who may view, interact with, or share a particular item of

content.

                Facebook objects to Plaintiffs’ definition of “Third Parties” to the extent it relies

on other undefined terms, including “Whitelisted Apps,” or other vague and ambiguous terms

including “Business Partners.” Facebook will construe this term as referring to individuals or

entities other than Facebook or individual Facebook users.


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                Facebook objects to the portion of Plaintiffs’ definition of the term “Facebook,”

“Defendant,” “you,” and “your” that defines Facebook to include its “executives, directors,

officers, employees, partners, members, representatives, agents (including attorneys,

accountants, consultants, investment advisors or bankers), and any other Person purporting to act

on [Facebook, Inc.’s] behalf . . . includ[ing] parents, subsidiaries, affiliates, predecessor entities,

successor entities, divisions, departments, groups, acquired entities and/or related entities or any

other entity acting or purporting to act on its behalf.” This portion of the definition is vague,

ambiguous, overly broad, unduly burdensome, and inconsistent with basic principles of corporate

separateness. Facebook’s response to the Interrogatory (if any) will use a definition of

“Facebook” that encompasses only Facebook, Inc.

                              OBJECTIONS TO INSTRUCTIONS

                Facebook objects to Plaintiffs’ “Instructions” to the extent that they impose

obligations that go beyond the requirements of the Federal and Local Rules.

                With respect to Plaintiffs’ Instruction 5, which requests that Facebook answer

discovery requests for a continuing time period, for consistency, the time period reflected in

Facebook’s responses to these Interrogatories is consistent with Facebook’s responses to

Plaintiffs’ other discovery requests, unless a specific time period is identified in a particular

request and/or Facebook’s response to a particular request.

                                     SPECIFIC OBJECTIONS

INTERROGATORY NO. 8:

        Identify by name and time period in operation each Facebook Database and Data

Analytics Infrastructure that contains Facebook Users’ Content and Information.




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                       FACEBOOK’S RESPONSE TO INTERROGATORY NO. 8

RESPONSE TO INTERROGATORY NO. 8 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory on the ground that the definitions of

“Content and Information,” “Database,” and “Data Analytics Infrastructure” are vague,

ambiguous, overly broad, and unduly burdensome. Facebook will construe these terms as

described in its objections to their Definitions.

        (B)     Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook’s databases have no possible relation

to or bearing on Plaintiffs’ live claims or Facebook’s defenses.

        (C)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

        (D)     Facebook objects to this Interrogatory on the ground that it seeks Facebook’s

protected trade secrets and other sensitive, proprietary information that would pose security and

business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus, the burdens

of production would outweigh the utility of the production of this information, which are not

relevant to Plaintiffs’ claims.

        (E)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in

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that it seeks information relating to “each” Facebook Database and Data Analytics Infrastructure,

without regard for whether the “Database or Data Analytics Infrastructure” has any bearing on

Plaintiffs’ live claims or Facebook’s defenses. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information related to the content, structure, or organization of

“Databases or Data Analytics Infrastructures” unrelated to application developers being granted

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 8:

        Users make their Content and Information available on the Facebook Platform by

uploading it directly to the Platform. The Facebook Platform is powered by a series of databases

that Facebook relies upon for production purposes and which work in tandem to provide

Facebook users a seamless experience as they access different categories and types of content

posted on the Platform, by themselves or other users. As Facebook users navigate through the

Facebook Platform and interact with objects on the Platform by, among other things, liking posts


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made by other users, watching videos, posting photos, and sending messages, they actively

change the content and information available on the Facebook Platform. The array of

relationships between users, objects, and actions is referred to as the Social Graph, which is a

model of the relationships between users, objects, and actions. These databases described below

constitute the primary infrastructure that maintains the Facebook Platform, and, thus, contain the

content and information that makes up the Social Graph. As relevant here, Plaintiffs have been

provided with the content and information from the Social Graph—and therefore from the below

databases—that was uniquely associated with their Facebook profiles as of the date(s) each set

was pulled. Additionally, through their Facebook profiles, Plaintiffs have access to the content

or information they have posted to the Platform and not deleted since those productions were

made.

        The key databases Facebook uses to support the Facebook Platform, all of which were in

use during the Relevant Time Period asserted by Plaintiffs and which store all of the content and

information users post to Facebook and therefore contain all of the historical user content and

information presently accessible via the Social Graph, are:




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INTERROGATORY NO. 9:

       For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, identify the corresponding query interfaces (e.g., including graphical

interfaces, command-oriented interfaces, and APIs) that have called or accessed data from such

Database to respond to either internal or external queries.

RESPONSE TO INTERROGATORY NO. 9 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” Database and Data Analytics Infrastructure that Facebook

identified in its answer to Interrogatory No. 8. See, e.g., New Amsterdam Project Mgmt.

Humanitarian Found. v. Laughrin, 2009 WL 102816, at *5 (N.D. Cal. Jan. 14, 2009) ). During

the parties’ meet and confers and via email on September 11, 2020, Plaintiffs have argued that

Facebook’s objection is improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D.

441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask “the responding party to state

facts, identify witnesses, or identify documents” regarding subject matters that are “discrete or

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separate” from each other “should be viewed as containing a subpart” for each separate subject

matter. Here, Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to

the same subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod.

& Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate

and distinct subjects, to wit, several individual databases that contain different information and

operate differently. Facebook will therefore treat Plaintiffs’ inquiry into “each” Database and

Data Infrastructure as an individual Interrogatory. Collaboration Properties, Inc. v. Polycom,

Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories asking for information about

each of “26 different products” each had “26 discrete subparts” because “‘a party cannot avoid

the numerical limits [on interrogatories] by asking questions about distinct subjects, but

numbering the questions as subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)     Facebook objects to this Interrogatory on the ground that the definitions of

“Content and Information,” “Database,” and “Data Analytics Infrastructure” are vague,

ambiguous, overly broad, and unduly burdensome. Facebook will construe these terms as

described in its objections to their Definitions.

       (C)     Facebook objects to this Interrogatory on the ground that the term “corresponding

query interfaces” is vague, ambiguous, and undefined. Facebook will construe this term as

referring to the manner by which data from each database is accessed or queried.

       (D)     Facebook objects to this Interrogatory on the ground that it seeks information

relating to “internal . . . queries” within Facebook. Plaintiffs’ claims relate to allegedly improper

access to user content and information by third parties, not Facebook or its personnel. Facebook

will construe this Interrogatory as relating only to external queries.


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        (E)     Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook’s “Databases and Data Analytics

Infrastructure” have no possible relation to or bearing on to Plaintiffs’ live claims or Facebook’s

defenses.

        (F)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

        (G)     Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,

the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.

        (H)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in

that it seeks information relating to “query interfaces” for “each” Facebook Database and Data

Analytics Infrastructure, without regard for whether the “query interface” or “Database or Data

Analytics Infrastructure” has any bearing on Plaintiffs’ live claims or Facebook’s defenses.

Specifically, Facebook objects to this Interrogatory to the extent it seeks information related to

“query interfaces” or “Databases” or “Data Analytics Infrastructures” unrelated to application

developers being granted access to “sensitive user information” via friend-sharing between 2009

and 2015, the disclosure of information to so-called “whitelisted” applications, the sharing of


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“sensitive user information” with integration partners pursuant to “data reciprocity agreements,”

and/or the misuse of “sensitive user information” disclosed in one of these three manners as a

result of Facebook’s alleged failure to adopt effective policies or enforcement procedures

governing the transmission and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-

10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay,

ECF No. 548, at 2 (describing the relevant scope of user information as being that “Facebook

shared with or made accessible to third parties”).

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 9:

       Application Programming Interfaces (“APIs”) are standard computing protocols used

throughout the digital world. Each time a user visits or uses an app, the user necessarily interacts

through an API. And every company that allows third parties to communicate with their servers

uses APIs. As just one example, e-mail programs like Outlook or Mail on iOS communicate

with the user’s e-mail provider (Yahoo, Gmail, etc.) through APIs to obtain the user’s messages.

Facebook has a series of public APIs that are published on its developer website

(https://developers.facebook.com/), and any app developer can use them or request to use them

to send or receive information from the Facebook Platform.

       To the extent third parties are able to access user content and information, it is primarily

through Graph API, which is the API Facebook has made broadly available to all app developers

on its Platform and queries the Facebook Platform. There have been several iterations of the

Graph API including, among others, Graph API v.1 (most recent version from 2010 to April

2014 and accessible to April 2015), Graph API v.2 (most recent version from April 2014 to May


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2018 and accessible to May 2020), and Graph API v.3 (most recent version from May 2018 to

July 2020 and accessible to August 2021). A changelog detailing changes made to the Graph

API when a new version is introduced is available on Facebook’s developer website

(https://developers.facebook.com/docs/graph-api/changelog/).

        Individuals or business entities, including third party developers of apps connected to the

Facebook Platform, may request access to endpoints that are not publicly available through the

Graph API when they are necessary to enhance user experience on their app or product. To

receive approval to access these endpoints associated with non-public data, a third party is

required to go through the App Review process, which may include having its identity verified

by Facebook. In that process, Third Parties are required to specify the types of data their apps

will be requesting from users and describe how that data will be used.




        As relevant here, the APIs a third party may be granted access to after being approved

through the App Review process and which may allow that third party to request access to some

forms of user data include:

       Groups API, which allows a developer to read and create Facebook Group data on behalf

        of group members;

       Live Video API, which enables video encoders, cameras, web, and desktop applications

        to stream live video directly to Facebook user profiles, pages, and groups; and,




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       Pages API, which, among other things, allows apps to update a Facebook Page’s settings

        and content, create and get Posts, get Comments on Page owned content, get Page

        insights, and update actions that users are able to perform on a Page.

        Facebook, like virtually all online companies, also uses other APIs that are not generally

available to all app developers. Among other things, these other APIs can be used to provide

third parties access to certain capabilities that are not accessible through any of the public APIs

and for which the third party has demonstrated a need. These are commonly referred to a

“private” APIs. The vast majority of private APIs do not enable third-party apps to access user

content and information.

        As used here, the term “capability” describes a group of functionalities that are provided

to a particular app or third party and give that app or third party the ability to access certain data

through one or more APIs. An app cannot access a capability associated with a private API

unless a Facebook employee has approved it to do so.

        After an extensive investigation,




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       This list is the result of extensive investigation by Facebook’s engineers, who, among

other things, manually reviewed the code of each capability to determine which capabilities

granted access to user’s friends’ data and, if so, to identify the specific data fields accessible

through the capability. Capabilities associated with Facebook’s first-party apps (i.e., internal

Facebook programs developed to enable Facebook’s own products that do not involve sharing

user information with third parties) are excluded from this list.

INTERROGATORY NO. 10:

       For each query interface identified in your answer to Interrogatory No. 9, identify

whether such query interface is or has been used to respond to internal queries, external queries,

or both.


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RESPONSE TO INTERROGATORY NO. 10 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” query interface that Facebook identified in its answer to

Interrogatory No. 9. See, e.g., New Amsterdam Project Mgmt. Humanitarian Found. v.

Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal. Jan. 14, 2009). During

the parties’ meet and confers and via email on September 11, 2020, Plaintiffs have argued that

Facebook’s objection is improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D.

441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask “the responding party to state

facts, identify witnesses, or identify documents” regarding subject matters that are “discrete or

separate” from each other “should be viewed as containing a subpart” for each separate subject

matter. Here, Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to

the same subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod.

& Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate

and distinct subjects, to wit, several individual query interfaces that operate differently.

Facebook will therefore treat Plaintiffs’ inquiry into “each” query interface as an individual

Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal.

2004) (holding interrogatories asking for information about each of “26 different products” each

had “26 discrete subparts” because “‘a party cannot avoid the numerical limits [on

interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])). Facebook considers this



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Interrogatory to include at least five subparts and therefore the below Response to constitute

Facebook’s Responses Nos. 10 to 14.

        (B)     Facebook objects to this Interrogatory on the ground that the term “query

interface” is vague, ambiguous, and undefined. Facebook will construe this term as referring to

the manner by which data from each database is accessed or queried.

        (C)     Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook’s databases have no possible relation

to or bearing on to Plaintiffs’ live claims or Facebook’s defenses.

        (D)     Facebook objects to this Interrogatory on the ground that it seeks information

relating to “internal queries” within Facebook. Plaintiffs’ claims relate to allegedly improper

access to user content and information by third parties, not Facebook or its personnel. Facebook

will construe this Interrogatory as relating only to external queries.

        (E)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

        (F)     Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,

the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.




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        (G)        Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in

that it seeks information relating to “query interfaces,” without regard for whether the “query

interface” has any bearing on Plaintiffs’ live claims or Facebook’s defenses. Specifically,

Facebook objects to this Interrogatory to the extent it seeks information related to “query

interfaces” unrelated to application developers being granted access to “sensitive user

information” via friend-sharing between 2009 and 2015, the disclosure of information to so-

called “whitelisted” applications, the sharing of “sensitive user information” with integration

partners pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user

information” disclosed in one of these three manners as a result of Facebook’s alleged failure to

adopt effective policies or enforcement procedures governing the transmission and use of

“sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9,

ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the

relevant scope of user information as being that “Facebook shared with or made accessible to

third parties”).

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 10: Graph API is available to third parties external to Facebook. Third

parties seeking to access more than basic public data (public profile and email address) must

undergo the App Review process to receive additional access to permissions.

        Response No. 11: Groups API is available to third parties external to Facebook upon

approval through the App Review process.




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       Response No. 12: Live Video API is available to third parties external to Facebook upon

approval through the App Review process.

       Response No. 13: Pages API is available to third parties external to Facebook upon

approval through the App Review process.

       Response No. 14: During the relevant time period, the following capabilities associated

with private APIs may have been available to third parties external to Facebook only upon

approval by Facebook:




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INTERROGATORY NO. 11:

       For each query interface identified in your answer to Interrogatory No. 10 as being or

having been used to respond to external queries, identify the complete list of fields or query

parameters available for queries by a Third Party via such query interfaces. For each of the




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fields or query parameters, describe in detail the acceptable ranges and formats of their values

and identify which parameters are optional for queries and which are required.

RESPONSE TO INTERROGATORY NO. 11 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” query interface that Facebook identified in its answer to

Interrogatory No. 10. Not only does the Interrogatory embed subparts by asking for information

about “each” query interface, the Interrogatory demands separate information about “each” field

or query parameter identified. Each of those inquiries is itself a subpart to be counted against the

interrogatory limit. See, e.g., New Amsterdam Project Mgmt. Humanitarian Found. v. Laughrin,

No. 07-00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal. Jan. 14, 2009). During the parties’

meet and confers and via email on September 11, 2020, Plaintiffs have argued that Facebook’s

objection is improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D. 441, 445-46

(C.D. Cal. 1998), under which interrogatories that ask “the responding party to state facts,

identify witnesses, or identify documents” regarding subject matters that are “discrete or

separate” from each other “should be viewed as containing a subpart” for each separate subject

matter. Here, Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to

the same subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod.

& Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate

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and distinct subjects, to wit, several individual query interfaces that operate differently and are

associated with different data end points, among other things. Facebook will therefore treat

Plaintiffs’ inquiry into “each” query interface as an individual Interrogatory. Collaboration

Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories

asking for information about each of “26 different products” each had “26 discrete subparts”

because “‘a party cannot avoid the numerical limits [on interrogatories] by asking questions

about distinct subjects, but numbering the questions as subparts.’” (quoting 7–33 Moore's Fed.

Prac., Civ. § 33.30[2]). Facebook considers this Interrogatory to include at least 60 subparts and

therefore the below Response to constitute Facebook’s Responses Nos. 15 to 75.

       (B)      Facebook objects to this Interrogatory as vague, ambiguous, and confusing. As

drafted, Facebook does not sufficiently understand the Interrogatory to provide a meaningful

response.

       (C)      Facebook objects to this Interrogatory on the ground that the term “query

interface” is vague, ambiguous, and undefined. Facebook will construe this term as referring to

the manner by which data from each database is accessed or queried.

       (D)      Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook’s databases have no possible relation

to or bearing on Plaintiffs’ live claims or Facebook’s defenses.

       (E)      Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.


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        (F)        Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,

the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.

        (G)        Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in

that it seeks information relating to “each” query interface, without respect for whether the query

interface has any bearing on Plaintiffs’ live claims or Facebook’s defenses. Specifically,

Facebook objects to this Interrogatory to the extent it seeks information related to the “query

interfaces” unrelated to application developers being granted access to “sensitive user

information” via friend-sharing between 2009 and 2015, the disclosure of information to so-

called “whitelisted” applications, the sharing of “sensitive user information” with integration

partners pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user

information” disclosed in one of these three manners as a result of Facebook’s alleged failure to

adopt effective policies or enforcement procedures governing the transmission and use of

“sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9,

ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the

relevant scope of user information as being that “Facebook shared with or made accessible to

third parties”).

        (H)        Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);


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Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

         Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

         Response No. 15: The list of permissions an app developer may be granted approval to

access through Graph API, and therefore which data endpoints that app developer may

potentially access through the Graph API, are publicly available on Facebook’s Developer site.1

In order to access non-public user data2 associated with a specific permission through Graph

API, an app developer needs approval from Facebook and the user. First, in order to gain access

to a particular permission, an app developer needs to have that permission approved through App

Review. Second, when users log onto the developer’s app, they receive a request to grant the

developer’s app permission to access that category of their data (i.e., the specific data associated

with the approved permission). Users can grant or deny the requested permissions or any subset

of them. The below list3 includes permissions and/or data points available through Facebook’s

public APIs, including Graph API, that could provide—subject to relevant privacy controls and

user settings, and the user’s choices in the Granular Data Permissions dialog—user information




 1
     The Facebook Developers site is located here: https://developers.facebook.com/docs/permissions/reference.
 2
     The Facebook Data Policy defines “public information” as information that “can be seen by anyone, on or off
     our Products, including if they don't have an account. This includes your Instagram username; any information
     you share with a public audience; information in your public profile on Facebook; and content you share on a
     Facebook Page, public Instagram account or any other public forum, such as Facebook Marketplace.”
 3
     This list is based on readily available records and represents this information to the best of Facebook’s present
     knowledge.


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to third-party consumer apps during the period between 2010-2018 (though few were available

during the entire period).4 The permissions and/or data points included on the list below were

published on Facebook’s publicly available website for developers, which also explained the

functionalities of and various restrictions on these permissions over time.

              age_range

              basic_info

              context

              cover

              currency

              default

              devices

              email

              first_name

              friends_about_me

              friends_activities

              friends_birthday

              friends_education_history

              friends_events

              friends_groups

              friends_hometown

              friends_interests



 4
     In particular, any permission beginning with “friends_” was deprecated with the transition to Graph API v.2.

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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

           friends_likes

           friends_location

           friends_photos

           friends_questions

           friends_relationship_details

           friends_relationships

           friends_religion_politics

           friends_status

           friends_subscriptions

           friends_website

           friends_work_history

           gender

           id

           last_name

           link

           locale

           middle_name

           name

           name_format

           picture

           public_profile

           read_custom_friendlists

           read_friendlists
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FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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           read_mailbox

           read_page_mailboxes

           read_requests

           read_stream

           short_name

           timezone

           updated_time

           user_about_me

           user_actions.books

           user_actions.fitness

           user_actions.music

           user_actions.news

           user_actions.video

           user_actions:APP_NAMESPACE

           user_activities

           user_age_range

           user_birthday

           user_education_history

           user_events

           user_friends

           user_games_activity

           user_gender

           user_groups
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FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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           user_hometown

           user_interests

           user_likes

           user_link

           user_location

           user_managed_groups

           user_online_presence

           user_photos

           user_posts

           user_questions

           user_relationship_details

           user_relationships

           user_religion_politics

           user_status

           user_subscriptions

           user_tagged_places

           user_videos

           user_website

           user_work_history

           username

           verified




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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 16: As noted, there are a handful of additional APIs that a developer may

request access to if necessary for the operation of their app. Each of these APIs has its own

unique set of permissions and/or endpoints associated with that API. Information regarding

these APIs and their associated permissions and/or endpoints are available on the Facebook

Developers page.

       As relevant here, the endpoints a developer presently may access through the Groups API

after having been approved by Facebook include:

              /{application-id}/app_installed_groups

              /{group-id}/albums

              /{group-id}/docs

              /{group-id}/events

              /{group-id}/feed

              /{group-id}/files

              /{group-id}/live_videos

              /{group-id}/opted_in_members

              /{group-id}/photos

              /{group-id}/videos

              /{user-id}/groups

       Response No. 17: The endpoints a developer presently may access through the Live

Video API after having been approved by Facebook include:

              DELETE /{live_video_id}

              GET /{event-id}/live_videos

              GET /{group-id}/live_videos

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              GET /{live-video-id}

              GET /{live-video-id}/comments

              GET /{live-video-id}/crosspost_shared_pages

              GET /{live-video-id}/likes

              GET /{live-video-id}/polls

              GET /{live-video-id}/reactions

              GET /{page-id}/live_videos

              GET /{user-id}/live_videos

              POST /{event-id}/live_videos

              POST /{group-id}/live_videos

              POST /{live_video_id}

              POST /{live_video_id}/input_streams

              POST /{live_video_id}/polls

              POST /{page-id}/live_videos

              POST /{user-id}/live_videos

              GET /{live-video-input-stream-id}

              POST /{live_video_id}/input_streams

              GET /{live-video-id}/polls

              GET /{video-poll-id}

              POST /{live_video_id}/polls

              POST /{video_poll_id}

       Response No. 18: The data fields that may be accessed through the Pages API after

having been approved by Facebook include:
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              id

              about

              access_token

              ad_campaign

              affiliation

              app_id

              artists_we_like

              attire

              awards

              band_interests

              band_members

              best_page

              bio

              birthday

              booking_agent

              built

              business

              can_checkin

              can_post

              category

              category_list

              checkins

              company_overview
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              connected_instagram_account

              contact_address

              copyright_attribution_insights

              copyright_whitelisted_ig_partners

       Response No. 19:




       Response No. 20:




       Response No. 21:




       Response No. 22:




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       Response No. 23:




       Response No. 24:




       Response No. 25:




       Response No. 26:




       Response No. 27:




       Response No. 28:




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       Response No. 29:




       Response No. 30:




       Response No. 31:




       Response No. 32:




       Response No. 33:




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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 34:




       Response No. 35:




       Response No. 36:




       Response No. 37:




       Response No. 38:




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       Response No. 39:




       Response No. 40:




       Response No. 41:




       Response No. 42:




       Response No. 43:




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         Response No. 44:




         Response No. 45:




         Response No. 46:




         Response No. 47:




         Response No. 48:




 5
     In contrast to other permissions that grant access to a user’s friend list, the “auto_granted_read_friendlists”
     capability returns custom lists or groups of friends curated by the user, which could reflect or otherwise include
     all of a user’s friends.

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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 49:




       Response No. 50:




       Response No. 51:




       Response No. 52:




       Response No. 53:




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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 54:




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       Response No. 55:




       Response No. 56:




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       Response No. 57:




       Response No. 58:




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       Response No. 59:




       Response No. 60:




       Response No. 61:




       Response No. 62:




       Response No. 63:




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         Response No. 64:




         Response No. 65:




         Response No. 66:




         Response No. 67:




 6
     The types of possible social context are whether an app user’s nearby friend is currently traveling, near the app
     user, or in the app user’s neighborhood; whether it is the nearby friend’s birthday or some other celebration day;
     what song they are listening to; and what game they are playing.

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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 68:




       Response No. 69:




       Response No. 70:




       Response No. 71:




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                     FACEBOOK’S RESPONSE TO INTERROGATORY NO. 11

       Response No. 72:




       Response No. 73:




       Response No. 74:




       Response No. 75:




INTERROGATORY NO. 12:

       For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, describe in detail the system architectures of, and types of data contained by,

such system.


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RESPONSE TO INTERROGATORY NO. 12:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” Database and Data Analytics Infrastructure that Facebook

identified in its answer to Interrogatory No. 8. See, e.g., New Amsterdam Project Mgmt.

Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal.

Jan. 14, 2009). During the parties’ meet and confers and via email on September 11, 2020,

Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco of Am.

v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask “the

responding party to state facts, identify witnesses, or identify documents” regarding subject

matters that are “discrete or separate” from each other “should be viewed as containing a

subpart” for each separate subject matter. Here, Plaintiffs’ Interrogatory does not ask Facebook

to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL

4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but

instead seeks information about separate and distinct subjects, to wit, several individual

databases that contain different information and operate differently. Facebook will therefore

treat Plaintiffs’ inquiry into “each” Database and Data Infrastructure as an individual

Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal.

2004) (holding interrogatories asking for information about each of “26 different products” each


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had “26 discrete subparts” because “‘a party cannot avoid the numerical limits [on

interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)      Facebook objects to this Interrogatory on the ground that the definitions of

“Database,” and “Data Analytics Infrastructure” are vague, ambiguous, overly broad, and unduly

burdensome. Facebook will construe these terms as described in its objections to their

Definitions.

       (C)      Facebook objects to this Interrogatory on the ground that the term “system

architectures” is vague, ambiguous, and undefined. Facebook further objects to this

Interrogatory on the ground that Facebook’s “system architectures,” however defined, are

unrelated to Plaintiffs’ claims.

       (D)      Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook’s databases have no possible relation

to or bearing on Plaintiffs’ live claims or Facebook’s defenses.

       (E)      Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

       (F)      Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,




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the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.

        (G)        Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in

that it seeks information relating to “each” “Facebook Database and Data Analytics

Infrastructure,” without regard for whether the “Database or Data Analytics Infrastructure” has

any bearing on Plaintiffs’ live claims or Facebook’s defenses. Specifically, Facebook objects to

this Interrogatory to the extent it seeks information related to the content, structure, or

organization of Databases unrelated to application developers being granted access to “sensitive

user information” via friend-sharing between 2009 and 2015, the disclosure of information to so-

called “whitelisted” applications, the sharing of “sensitive user information” with integration

partners pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user

information” disclosed in one of these three manners as a result of Facebook’s alleged failure to

adopt effective policies or enforcement procedures governing the transmission and use of

“sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9,

ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the

relevant scope of user information as being that “Facebook shared with or made accessible to

third parties”).

        (H)        Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it


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would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook is willing to meet and confer with Plaintiffs

regarding what information is being sought by this Interrogatory, its relevance to Plaintiffs’

claims (if any), and what information Facebook could reasonably provide proportionate to the

needs of this case. Facebook does not understand what information Plaintiffs are seeking via this

Interrogatory, as written.

INTERROGATORY NO. 13:

       For every API by means of which Third Parties could access the Not Generally Available

Content and Information of Friends of Installing Users, list the name of the API, a description of

its function, the data fields of Not Generally Available Content and Information of Friends of

Installing Users to which it allowed access, the number of calls it received each month, the

volume of data it returned each month, the number of Friends of Installing Users whose Content

and Information was accessed, the name of every Third Party that Facebook allowed to use that

API, and the period during which each Third Party was allowed to use the API.

RESPONSE TO INTERROGATORY NO. 13:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “every” API. See, e.g., New Amsterdam Project Mgmt.


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Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal.

Jan. 14, 2009). During the parties’ meet and confers and via email on September 11, 2020,

Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco of Am.

v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask “the

responding party to state facts, identify witnesses, or identify documents” regarding subject

matters that are “discrete or separate” from each other “should be viewed as containing a

subpart” for each separate subject matter. Here, Plaintiffs’ Interrogatory does not ask Facebook

to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL

4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but

instead seeks information about separate and distinct subjects, to wit, several individual APIs

that contain different information and operate differently. Facebook will therefore treat

Plaintiffs’ inquiry into “each” API as an individual Interrogatory. Collaboration Properties, Inc.

v. Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories asking for

information about each of “26 different products” each had “26 discrete subparts” because “‘a

party cannot avoid the numerical limits [on interrogatories] by asking questions about distinct

subjects, but numbering the questions as subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. §

33.30[2])). Not only does the Interrogatory embed subparts by asking for information about

“every API by means of which Third Parties could access the Not Generally Available Content

and Information of Friends of Installing Users,” the Interrogatory demands a list of 6 different

types of information about each responsive API. Each of those inquiries is itself a subpart to be

counted against the Interrogatory limit.




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       (B)     Facebook objects to this Interrogatory on the basis that it is cumulative and

duplicative of Interrogatories Nos. 9, 10, 11, 14, 15, and 27, among others.

       (C)     Facebook objects to this Interrogatory on the ground that the definition of “Not

Generally Available” data is vague, ambiguous, overly broad, and unduly burdensome.

Facebook will construe this term as described in its objections to its Definition.

       (D)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, Facebook objects to this

Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of data,

which presents not only practical limitations as to its analysis, delivery, and use, but is largely

irrelevant. Thus, the burdens of compiling such information outweigh the utility of the

information.

       (E)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding the volume of API calls and data returned each month. Specifically, Facebook objects

to this Interrogatory to the extent it seeks information relating to API calls, applications, and user

data unrelated to application developers being granted access to “sensitive user information” via

friend-sharing between 2009 and 2015, the disclosure of information to so-called “whitelisted”

applications, the sharing of “sensitive user information” with integration partners pursuant to

“data reciprocity agreements,” and/or the misuse of “sensitive user information” disclosed in one

of these three manners as a result of Facebook’s alleged failure to adopt effective policies or

enforcement procedures governing the transmission and use of “sensitive user data.” See MTD

Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-




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Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user

information as being that “Facebook shared with or made accessible to third parties”).

        (F)     Facebook further objects to this Interrogatory to the extent the Interrogatory seeks

information not in Facebook’s possession, custody, or control.

        (G)     Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,

the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.

        (H)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 76:

        For a list of APIs by which third parties could access the not generally available content

and information of friends of installing users and the data fields associated with each API,

Facebook directs Plaintiffs to Facebook’s responses to Interrogatory Nos. 9, 10, and 11.




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       For information relating to business partners who could access the not generally available

content and information of friends of installing users, Facebook directs Plaintiffs to Facebook’s

responses to Interrogatory Nos. 14 and 15.

       For information relating to so-called “whitelisted” applications who could access the not

generally available content and information of friends of installing users, Facebook directs

Plaintiffs to Facebook’s response to Interrogatory No. 27.

       With regard to the last relevant category of third parties who could access the not

generally available content and information of friends of installing users—third party application

developers that had access to “sensitive user information” via friend-sharing between 2009 and

2015—Facebook continues to investigate what information it can produce in response to this

request. Facebook is willing to meet and confer with Plaintiffs regarding what information is

being sought by this Interrogatory, its relevance to Plaintiffs’ claims (if any), and what relevant

and probative information is reasonably available to Facebook such that it is appropriate for

discovery in this case.

With regard to Plaintiffs’ request for over 10 years of monthly data regarding the number of calls

certain APIs received, the volume of data returned, and the numbers of users whose data was

accessed, Facebook continues to investigate what information it can produce in response to this

request. Facebook is willing to meet and confer with Plaintiffs regarding what information is

being sought by this Interrogatory, its relevance to Plaintiffs’ claims (if any), and what relevant

and probative information is reasonably available to Facebook such that it is appropriate for

discovery in this case.




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INTERROGATORY NO. 14:

        Identify every Business Partner that had the ability to access the Not Generally Available

Content and Information of Facebook Users even if such Facebook Users had not downloaded an

App from that Business Partner and time period during which each such Business Partner had

that ability.

RESPONSE TO INTERROGATORY NO. 14 – CONFIDENTIAL:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory as an improper compound interrogatory

that also embeds multiple discrete sub-parts that count against the number of interrogatories

permitted under Fed. R. Civ. P. 33 by asking for separate information about “each such Business

Partner.” See, e.g., New Amsterdam Project Mgmt. Humanitarian Found. v. Laughrin, No. 07-

00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal. Jan. 14, 2009). During the parties’ meet

and confers and via email on September 11, 2020, Plaintiffs have argued that Facebook’s

objection is improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D. 441, 445-46

(C.D. Cal. 1998), under which interrogatories that ask “the responding party to state facts,

identify witnesses, or identify documents” regarding subject matters that are “discrete or

separate” from each other “should be viewed as containing a subpart” for each separate subject

matter. Here, Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to

the same subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod.

& Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate


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and distinct subjects, to wit, each of dozens of different “Business Partners” that have separate

relationships and/or contracts with Facebook. Facebook therefore considers Plaintiffs’ inquiries

into “each” Business Partner as separate Interrogatories. Collaboration Properties, Inc. v.

Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories asking for

information about each of “26 different products” each had “26 discrete subparts” because “‘a

party cannot avoid the numerical limits [on interrogatories] by asking questions about distinct

subjects, but numbering the questions as subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. §

33.30[2])).

       (B)     Facebook objects to this Interrogatory on the ground that the definition of “Not

Generally Available” data is vague, ambiguous, overly broad, and unduly burdensome.

Facebook will construe this term as described in its objections to its Definition.

       (C)     Facebook objects to this Interrogatory on the ground that the definition of

“Business Partners” is vague, ambiguous, overly broad, and unduly burdensome. Facebook will

construe this term as described in its objections to its Definition.

       (D)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to Business Partners

unrelated to application developers being granted access to “sensitive user information” via

friend-sharing between 2009 and 2015, the disclosure of information to so-called “whitelisted”

applications, the sharing of “sensitive user information” with integration partners pursuant to

“data reciprocity agreements,” and/or the misuse of “sensitive user information” disclosed in one

of these three manners as a result of Facebook’s alleged failure to adopt effective policies or

enforcement procedures governing the transmission and use of “sensitive user data.” See MTD


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Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-

Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user

information as being that “Facebook shared with or made accessible to third parties”).

       (E)     Facebook objects to this Interrogatory on the basis that it is cumulative and

duplicative of prior requests, including RFPs 12 and 24.

       (F)     Facebook objects to this Interrogatory on the basis that the information sought is

more appropriately pursued through another means of discovery, such as a request for the

production of documents.

       (G)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct a broad investigation—including

conducting witness interviews and analyzing a large number of documents that have not yet been

identified and produced—to identify all Business Partners who were permitted to access to

information through a large number of APIs (many of which are unrelated to any live claim or

defense) over the course of at least thirteen years.

       (H)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it




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would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 77:

       “Business Partners” is not a term of art used within Facebook used to describe third

parties to whom “Facebook outsourced . . . ‘the time, labor, and money required to build

Facebook’s Platform on different devices and operating systems,’” pursuant to “integration

partnerships.” MTD Order, ECF No. 298, at 8 (quoting FACC ¶ 486). To avoid confusion,

Facebook will refer to these entities as “Integration Partners.” Facebook’s Integration Partners

are companies Facebook engaged to build integrations for a variety of devices, operating

systems, and other products where Facebook and its partners wanted to offer people a way to

receive Facebook or Facebook experiences. These integrations were built by Facebook partners,

for Facebook users, but approved by Facebook. They included, for example:

              Facebook-branded apps: Some partners built versions of Facebook for their

               device or operating system that had all or substantially all of the features that

               Facebook built directly on the Facebook website and in Facebook’s mobile apps.

              Social Networking Service Hubs: Some partners built “hubs” into their products,

               where people could see notifications from their friends or the people they

               followed on Facebook, MySpace, Twitter, Google and other services. People

               could often also use these integrations to post on these social networking services.




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              Syncing Integrations: Some partners enabled people to sync their Facebook data

               (e.g., photos, contacts, events, and videos) with their device in order to integrate

               Facebook features on their device. This allowed people to, for example, easily

               upload pictures to Facebook and to download their Facebook pictures to their

               phones, or to integrate their Facebook contacts into their device address book.

              USSD Services: Some partners developed USSD services, which are services that

               provided Facebook notifications and content via text message. This was useful

               for feature phones that did not have the ability to connect to the Internet; it

               particularly helped Facebook bring its service to people in the developing world.

       To provide these experiences, Facebook permitted partners to use certain Facebook APIs.

In general, partners were licensed to use the APIs solely for providing specific integrations

approved by Facebook to Facebook users who requested these services on the partners’ products.

These integrations were reviewed by Facebook, which had to approve implementations of these

APIs. Typically, these apps were reviewed and “certified” by members of Facebook’s

partnerships and engineering teams. In these and other ways, these partnerships differed

significantly from third-party app developers’ use of published APIs to build apps for consumers

on Facebook’s developer platform. Among other things, third-party app developers use the

information they receive in order to build their own experiences, not to build Facebook-approved

applications for purposes designated by Facebook. Integration Partners were not permitted to

use data received through Facebook APIs for independent purposes unrelated to the approved

integration without user consent.

       Below is a list of Facebook’s Integration Partners during the Relevant Time Period

asserted by Plaintiffs . For information relating to the period during which each integration was


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active, Facebook directs Plaintiffs to Facebook’s responses to Interrogatory No. 15. The lack of

an access revocation date does not signify that such access was never revoked or otherwise

terminated.

             Accedo

             Acer

         

             Airtel

             Alcatel/TCL

             Alibaba7

             Amazon

         

             Apple

             AT&T

             Blackberry

         

             Dell

             DNP

             Docomo

             Garmin

             Gemalto

         


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     Alibaba only had APIs that allows it to query endpoints not associated with user’s friends’ data fields during the
     relevant time period, but is included on this list for completeness.

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          HP/Palm

          HTC

          Huawei

          INQ



          Kodak

          LG

          MediaTek/Mstar



          Microsoft

          Miyowa/Hape Esia



          Motorola/Lenovo

          Mozilla



          Myriad

          Nexian



          Nuance

          Nokia

          O2

          Opentech ENG
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          Opera

          OPPO

          Orange

          Pantech



          Qualcomm




          Samsung

          Sony



          Sprint




          TIM

          T-Mobile

          Tobii

          U2topia

          Verisign

          Verizon

          Virgin Mobile

          Vodafone

          Warner Bros.
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          Western Digital

          Yahoo



          Zing Mobile

       This list is comprehensive to the best of Facebook’s ability, as explained in the June 29,

2018 Facebook letter that is cited in paragraph 432 of the SACC.

INTERROGATORY NO. 15:

       For each Business Partner identified in your answer to Interrogatory No. 14, provide:

a) The name of each API or other data transfer mechanism by means of which the Business

Partner accessed the Not Generally Available Content and Information of Facebook Users when

such Facebook Users had not downloaded an App from that Business Partner;

b) a detailed description of the function of each such API or other data transfer mechanism;

c) the elements of Not Generally Available Content and Information that each such API or

other data transfer mechanism allowed access to;

d) the number of calls the Business Partner made to each such API or other data transfer

mechanism each month;

e) the volume of data transferred from each such API or other data transfer mechanism to each

Business Partner each month;

f) the number of Friends of Installing Users whose Content and Information was so accessed by

each Business Partner; and

g) any filters or access restrictions that limited the set of Facebook Users about whom each

Business Partner could access Not Generally Available Content and Information.




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RESPONSE TO INTERROGATORY NO. 15 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33. Not only

does the Interrogatory ask for separate information about “each” Business Partner identified in

Facebook’s answer to Interrogatory No. 14, see, e.g., New Amsterdam Project Mgmt.

Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6 (N.D. Cal.

Jan. 14, 2009), the Interrogatory demands a list of 7 different types of information about each.

Each of those inquiries is itself a subpart to be counted against the Interrogatory limit. During

the parties’ meet and confers and via email on September 11, 2020, Plaintiffs have argued that

Facebook’s objection is improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D.

441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask “the responding party to state

facts, identify witnesses, or identify documents” regarding subject matters that are “discrete or

separate” from each other “should be viewed as containing a subpart” for each separate subject

matter. Here, Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to

the same subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod.

& Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate

and distinct subjects, to wit, each of dozens of different “Business Partners” that have separate

relationships and/or contracts with Facebook. Facebook will therefore treat Plaintiffs’ inquiry

into “each” Business Partner as an individual Interrogatory. Collaboration Properties, Inc. v.

Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories asking for

information about each of “26 different products” each had “26 discrete subparts” because “‘a

party cannot avoid the numerical limits [on interrogatories] by asking questions about distinct

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subjects, but numbering the questions as subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. §

33.30[2])). Although Facebook has provided a single table of data points relevant to each

Integration Partner for ease of review, Facebook considers this Interrogatory to pose a separate

Interrogatory about 67 different entities, and therefore the below Response to constitute at least

67 discrete Responses.

       (B)     Facebook objects to this Interrogatory on the ground that the definition of “Not

Generally Available” data is vague, ambiguous, overly broad, and unduly burdensome.

Facebook will construe this term as described in its objections to its Definition.

       (C)     Facebook objects to this Interrogatory on the ground that the definition of

“Business Partners” is vague, ambiguous, overly broad, and unduly burdensome. Facebook will

construe this term as described in its objections to its Definition.

       (D)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, Facebook objects to this

Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of data,

which presents not only practical limitations as to its analysis, delivery, and use, but is largely

irrelevant. The burdens of compiling such information outweigh the utility of the information.

       (E)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct a broad investigation—including

analyzing a large number of documents that have not yet been identified and produced and that

may or may not be in Facebook’s possession, custody, and control—to identify all Business


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Partners who were permitted to access information through a large number of APIs (many of

which are unrelated to any live claim or defense) over the course of at least thirteen years and

then provide detailed historical information about each of those APIs and how they were utilized.

        (F)        Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to API calls, applications,

and user data unrelated to application developers being granted access to “sensitive user

information” via friend-sharing between 2009 and 2015, the disclosure of information to so-

called “whitelisted” applications, the sharing of “sensitive user information” with integration

partners pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user

information” disclosed in one of these three manners as a result of Facebook’s alleged failure to

adopt effective policies or enforcement procedures governing the transmission and use of

“sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9,

ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the

relevant scope of user information as being that “Facebook shared with or made accessible to

third parties”).

        (G)        Facebook further objects to this Interrogatory on the ground that the Interrogatory

seeks information not in Facebook’s possession, custody, or control.

        (H)        Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it


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would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

           Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

           Response No. 78:

           With regard to the APIs Facebook’s Integration Partners had access to, Facebook has

provided a table below identifying, by Integration Partner, the APIs that may have allowed each

Integration Partner to query (but would not have necessarily returned) endpoints associated with

user’s friends’ data fields during the relevant time period, their associated apps, the date ranges

during which they were active, and the data fields associated with the APIs they had access to.

Note that the lack of an access revocation date does not signify that such access was never

revoked or otherwise terminated.

           However, it is important to note that the Integration Partner’s—or any third party’s—

ability to query an API does not automatically translate into the ability to access or receive user

data, as




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       With regard to Plaintiffs’ request for over 10 years of monthly data regarding the number

of API calls made, the volume of data returned, and the numbers of users whose data was

accessed, Facebook continues to investigate what information it can produce in response to this

request. Facebook is willing to meet and confer with Plaintiffs regarding what information is

being sought by this Interrogatory, its relevance to Plaintiffs’ claims (if any), and what relevant

and probative information is reasonably available to Facebook such that it is appropriate for

discovery in this case.




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INTERROGATORY NO. 16:

       For each Named Plaintiff, identify all Third Parties who had the ability to access such

Named Plaintiff’s Not Generally Available Content and Information by virtue of the fact that the

Named Plaintiff was a Friend of an Installing User, the date and time of each request for such

access, and the specific Content and Information that was accessed.

RESPONSE TO INTERROGATORY NO. 16:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” of the 21 Named Plaintiffs. See, e.g., New Amsterdam Project

Mgmt. Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6

(N.D. Cal. Jan. 14, 2009). Facebook will treat Plaintiffs’ inquiry into each Named Plaintiff as a

separate Interrogatory. During the parties’ meet and confers and via email on September 11,

2020, Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco

of Am. v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that

ask “the responding party to state facts, identify witnesses, or identify documents” regarding

subject matters that are “discrete or separate” from each other “should be viewed as containing a

subpart” for each separate subject matter. Here, Plaintiffs’ Interrogatory does not ask Facebook

to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL

4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but


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instead seeks information about separate and distinct subjects, to wit, each individual Named

Plaintiff, each of whom used Facebook differently. Not only does the Interrogatory embed

subparts by asking for information about each of the 21 Named Plaintiffs, the Interrogatory

contains multiple subparts describing the type of information demanded about each Named

Plaintiff. Facebook will therefore treat Plaintiffs’ inquiry into “each” Named Plaintiff as an

individual Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475

(N.D. Cal. 2004) (holding interrogatories asking for information about each of “26 different

products” each had “26 discrete subparts” because “‘a party cannot avoid the numerical limits

[on interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding third parties’ access to data not at issue in this case. Specifically, Facebook objects to

this Interrogatory to the extent it seeks information relating third party access to data unrelated to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three

manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).


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       (C)     Facebook objects to this Interrogatory to the extent it seeks information regarding

information provided to third parties through friend sharing related to users who joined Facebook

in 2009 or later. The Court held that users who joined Facebook in 2009 or later consented to

friend sharing and therefore dismissed all claims related to friend sharing for such users.

       (D)     Facebook objects to this Interrogatory on the ground that the definition of “Not

Generally Available” data is vague, ambiguous, overly broad, and unduly burdensome.

Facebook will construe this term as described in its objections to its Definition.

       (E)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome. The Interrogatory seeks information about every third party that may have

had access to any of Plaintiffs’ data through friend sharing, which would require investigating

the data received by potentially millions of apps over the course of eight years or more. Further,

friends of Plaintiffs are likely to have changed throughout that period, as are the applications that

those friends installed, and the sharing permissions used by Plaintiffs.

       (F)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook first to conduct a broad investigation and

analyze a large number of documents that have not yet been identified and produced and that

may or may not be in Facebook’s possession, custody, and control to obtain information about

every third party that may have had access to any of Plaintiffs’ data through friend sharing. This

would require investigating the data received by potentially millions of apps over the course of




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eight years or more, Plaintiffs’ and their friends’ settings during that time period, the applications

Plaintiffs’ friends installed, and the sharing permissions used by Plaintiffs.

        (G)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome, as Plaintiffs have repeatedly indicated that they intend to voluntarily

dismiss 11 of the 21 Named Plaintiffs in order to, among other things, reduce the burden on

Facebook in producing discovery related to the Named Plaintiffs. But Plaintiffs have not yet

stipulated to the dismissal of any Named Plaintiffs, so it is not clear which Named Plaintiffs

Plaintiffs are seeking discovery on.

        (H)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 79:

        Facebook continues to investigate what, if any, information it can produce in response to

this request.

        INTERROGATORY NO. 17:

        For each Named Plaintiff, identify each Facebook Business Partner that had the ability to

access the Named Plaintiff’s Not Generally Available Content and Information, even if the


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Named Plaintiff had not downloaded an App from that Business Partner, the date and time of

each request for such access, and the specific Content and Information that was accessed.

RESPONSE TO INTERROGATORY NO. 17:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” of the 21 Named Plaintiffs. See, e.g., New Amsterdam Project

Mgmt. Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6

(N.D. Cal. Jan. 14, 2009). Facebook will treat Plaintiffs’ inquiry into each Named Plaintiff as a

separate Interrogatory. During the parties’ meet and confers and via email on September 11,

2020, Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco

of Am. v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that

ask “the responding party to state facts, identify witnesses, or identify documents” regarding

subject matters that are “discrete or separate” from each other “should be viewed as containing a

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to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL

4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but

instead seeks information about separate and distinct subjects, to wit, each individual Named

Plaintiff, each of whom used Facebook differently. Not only does the Interrogatory embed

subparts by asking for information about each of the 21 Named Plaintiffs, the Interrogatory


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contains multiple subparts describing the type of information demanded about each Named

Plaintiff. Facebook will therefore treat Plaintiffs’ inquiry into “each” Named Plaintiff as an

individual Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475

(N.D. Cal. 2004) (holding interrogatories asking for information about each of “26 different

products” each had “26 discrete subparts” because “‘a party cannot avoid the numerical limits

[on interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding third parties’ access to data not at issue in this case. Specifically, Facebook objects to

this Interrogatory to the extent it seeks information relating third party access to data unrelated to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three

manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).

       (C)     Facebook objects to this Interrogatory on the ground that the definition of “Not

Generally Available” data is vague, ambiguous, overly broad, and unduly burdensome.

Facebook will construe this term as described in its objections to its Definition.


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       (D)     Facebook objects to this Interrogatory on the ground that the definition of

“Business Partners” is vague, ambiguous, overly broad, and unduly burdensome. Facebook will

construe this term as described in its objections to its Definition.

       (E)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome. Specifically, the Interrogatory seeks information about every Business

Partner that may have had access to any of Plaintiffs’ data over a thirteen-year period.

       (F)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct a broad investigation—including

analyzing a large number of documents that have not yet been identified and produced and that

may or may not be in Facebook’s possession, custody, and control—to identify all Business

Partners who were permitted to access information through a large number of APIs (many of

which are unrelated to any live claim or defense) over the course of at least thirteen years and

then attempt to identify and provide detailed historical information about each piece of data those

partners may have received.

       (G)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome, as Plaintiffs have repeatedly indicated that they intend to voluntarily

dismiss 11 of the 21 Named Plaintiffs in order to, among other things, reduce the burden on

Facebook in producing discovery related to the Named Plaintiffs. But Plaintiffs have not yet

stipulated to the dismissal of any Named Plaintiffs, so it is not clear which Named Plaintiffs

Plaintiffs are seeking discovery on.


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        (H)     Facebook objects to this Interrogatory on the basis that it is cumulative and

duplicative of prior requests, including Interrogatory 14 and RFPs 12 and 24.

        (I)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 80:

        Facebook continues to investigate what, if any, information it can produce in response to

this request.

INTERROGATORY NO. 18:

        Identify by Bates number every document You provided or made available to PwC

related to any investigation, audit or assessment related to the subject matter of the Complaint.

RESPONSE TO INTERROGATORY NO. 18:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory to the extent it seeks information equally

available to Plaintiffs. Plaintiffs are able to identify which produced documents reflect


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communications with PwC relating to any investigation, audit, or assessment related to the

subject matter of the Complaint.

        (B)        Facebook objects to this Interrogatory on the ground that it seeks information

having no relevance to the claims or defenses at issue. There is no claim or defense at issue in

the case that concerns which materials Facebook made available to PwC.

        (C)        Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding materials made available to PwC having no bearing on the claims and defenses in the

case. Specifically, Facebook objects to this Interrogatory to the extent it seeks information

relating to documents unrelated to application developers being granted access to “sensitive user

information” via friend-sharing between 2009 and 2015, the disclosure of information to so-

called “whitelisted” applications, the sharing of “sensitive user information” with integration

partners pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user

information” disclosed in one of these three manners as a result of Facebook’s alleged failure to

adopt effective policies or enforcement procedures governing the transmission and use of

“sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9,

ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the

relevant scope of user information as being that “Facebook shared with or made accessible to

third parties”).

        (D)        Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. In order to answer this Interrogatory, Facebook

would need to collect all materials made available to PwC over a seven year period, then

compare those materials to the 1.2 million pages produced in this action to date, identify on a


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per-document basis which documents made available to PwC overlap with produced materials,

and then create a list of the matching Bates numbers. The burden of such an investigation far

outweighs any potential utility it could serve.

       (E)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 81:

       The parties have met and conferred extensively regarding Plaintiffs’ repeated requests

that Facebook produce or otherwise identify all documents that were provided to PwC in

connection with its any investigations, audits, or assessments related to the subject matter of the

Complaint. As Facebook has explained, it does not have a central file or repository of

documents that were provided to auditors or examiners from PwC, who were often on site at

Facebook and meeting directly with Facebook personnel over the course of several years. As a

result, Facebook does not have an identifiable and complete set of materials that were provided

to PwC or that PwC may have considered over the course of a decade. Facebook already

identified for Plaintiffs previously-produced documents that were referenced in PwC’s Initial and

Biennial Assessment Reports (on May 29, 2020) and previously-produced communications


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between Facebook and PwC (on May 9, 2020), both of which Plaintiffs could have identified on

their own. It is unclear what additional information Plaintiffs seek through their request, which

appears to be a make-work interrogatory, demanding that Facebook try to ascertain which

documents in Facebook’s productions were provided to PwC over the course of a decade (a fact

that has absolutely no probative value here).

       Facebook also notes that Plaintiffs have subpoenaed PwC directly, and (as Facebook

understands) PwC has produced over 22,000 pages of documents to Plaintiffs, Bates numbered

PwC_CPUP_FB00000001 - PwC_CPUP_FB00022281. Facebook further directs Plaintiffs to

that production.

       Facebook sets forth below the previously-identified documents in Facebook’s

productions that include: (1) communications between Facebook and PwC and (ii) documents

referenced by PwC in its Initial and Biennial Assessment Reports.

          FB-CA-MDL-00000001 - FB-CA-MDL-00000005

          FB-CA-MDL-00000006 - FB-CA-MDL-00000010

          FB-CA-MDL-00000011 - FB-CA-MDL-00000025

          FB-CA-MDL-00000094 - FB-CA-MDL-00000104

          FB-CA-MDL-00000105 - FB-CA-MDL-00000116

          FB-CA-MDL-00000117 - FB-CA-MDL-00000132

          FB-CA-MDL-00000133 - FB-CA-MDL-00000149

          FB-CA-MDL-00000179 - FB-CA-MDL-00000194

          FB-CA-MDL-00000195 - FB-CA-MDL-00000210

          FB-CA-MDL-00000211 - FB-CA-MDL-00000226

          FB-CA-MDL-00000292 - FB-CA-MDL-00000299

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          FB-CA-MDL-00000300 - FB-CA-MDL-00000305

          FB-CA-MDL-00193055 - FB-CA-MDL-00193056

          FB-CA-MDL-00193058 -FB-CA-MDL-00193064

          FB-CA-MDL-00193071 - FB-CA-MDL-00193071

          FB-CA-MDL-00193087 - FB-CA-MDL-00193094

          FB-CA-MDL-00193096 - FB-CA-MDL-00193102

          FB-CA-MDL-00277488 - FB-CA-MDL-00277499

          FB-CA-MDL-00331537 - FB-CA-MDL-00331547

          FB-CA-MDL-1115879 - FB-CA-MDL-1115881

          FB-CA-MDL-00178297

          FB-CA-MDL-00178298

          FB-CA-MDL-00178386

          FB-CA-MDL-00178388

          FB-CA-MDL-00178431

          FB-CA-MDL-00178433

          FB-CA-MDL-00178434

          FB-CA-MDL-00178441

          FB-CA-MDL-00178443

          FB-CA-MDL-00178451

          FB-CA-MDL-00178452

          FB-CA-MDL-00178454

          FB-CA-MDL-00178455

          FB-CA-MDL-00178456
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          FB-CA-MDL-00178457

          FB-CA-MDL-00178458

          FB-CA-MDL-00178459

          FB-CA-MDL-00178465

          FB-CA-MDL-00178468

          FB-CA-MDL-00178501

          FB-CA-MDL-00178506

          FB-CA-MDL-00178553

          FB-CA-MDL-00178556

          FB-CA-MDL-00178571

          FB-CA-MDL-00178572

          FB-CA-MDL-00179910

          FB-CA-MDL-00179912

          FB-CA-MDL-00180999

          FB-CA-MDL-00181000

          FB-CA-MDL-00185486

          FB-CA-MDL-00185487

          FB-CA-MDL-00185751

          FB-CA-MDL-00185753

          FB-CA-MDL-00185754

          FB-CA-MDL-00185784

          FB-CA-MDL-00185785

          FB-CA-MDL-00185801
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          FB-CA-MDL-00185803

          FB-CA-MDL-00185811

          FB-CA-MDL-00185812

          FB-CA-MDL-00185900

          FB-CA-MDL-00185901

          FB-CA-MDL-00185934

          FB-CA-MDL-00185935

          FB-CA-MDL-00186056

          FB-CA-MDL-00186057

          FB-CA-MDL-00186091

          FB-CA-MDL-00186092

          FB-CA-MDL-00186115

          FB-CA-MDL-00186117

          FB-CA-MDL-00186119

          FB-CA-MDL-00186120

          FB-CA-MDL-00186121

          FB-CA-MDL-00186122

          FB-CA-MDL-00186145

          FB-CA-MDL-00186163

          FB-CA-MDL-00186165

          FB-CA-MDL-00186166

          FB-CA-MDL-00186172

          FB-CA-MDL-00186173
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          FB-CA-MDL-00186665

          FB-CA-MDL-00186666

          FB-CA-MDL-00186667

          FB-CA-MDL-00186670

          FB-CA-MDL-00186671

          FB-CA-MDL-00186672

          FB-CA-MDL-00186962

          FB-CA-MDL-00186963

          FB-CA-MDL-00186964

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          FB-CA-MDL-00186966

          FB-CA-MDL-00186967

          FB-CA-MDL-00186968

          FB-CA-MDL-00187023

          FB-CA-MDL-00187024

          FB-CA-MDL-00187191

          FB-CA-MDL-00187192

          FB-CA-MDL-00187193

          FB-CA-MDL-00187194

          FB-CA-MDL-00187195

          FB-CA-MDL-00187196

          FB-CA-MDL-00187197

          FB-CA-MDL-00187202
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          FB-CA-MDL-00187203

          FB-CA-MDL-00187362

          FB-CA-MDL-00187363

          FB-CA-MDL-00187727

          FB-CA-MDL-00187733

          FB-CA-MDL-00187734

          FB-CA-MDL-00187736

          FB-CA-MDL-00187737

          FB-CA-MDL-00187739

          FB-CA-MDL-00187742

          FB-CA-MDL-00187781

          FB-CA-MDL-00187782

          FB-CA-MDL-00187783

          FB-CA-MDL-00187784

          FB-CA-MDL-00187785

          FB-CA-MDL-00187786

          FB-CA-MDL-00187838

          FB-CA-MDL-00187840

          FB-CA-MDL-00187864

          FB-CA-MDL-00187865

          FB-CA-MDL-00187866

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          FB-CA-MDL-00187870

          FB-CA-MDL-00187871

          FB-CA-MDL-00187872

          FB-CA-MDL-00187873

          FB-CA-MDL-00187874

          FB-CA-MDL-00187875

          FB-CA-MDL-00187921

          FB-CA-MDL-00187922

          FB-CA-MDL-00188005

          FB-CA-MDL-00188006

          FB-CA-MDL-00188007

          FB-CA-MDL-00188008

          FB-CA-MDL-00188009

          FB-CA-MDL-00188010

          FB-CA-MDL-00188011

          FB-CA-MDL-00188012

          FB-CA-MDL-00188014

          FB-CA-MDL-00188133

          FB-CA-MDL-00188135

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          FB-CA-MDL-00188220

          FB-CA-MDL-00188221

          FB-CA-MDL-00188222

          FB-CA-MDL-00188223

          FB-CA-MDL-00188224

          FB-CA-MDL-00188606

          FB-CA-MDL-00188721

          FB-CA-MDL-00188723

          FB-CA-MDL-00188790

          FB-CA-MDL-00188791

          FB-CA-MDL-00188792

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          FB-CA-MDL-00188800

          FB-CA-MDL-00188803

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          FB-CA-MDL-00188873

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          FB-CA-MDL-00188875

          FB-CA-MDL-00188876

          FB-CA-MDL-00188877

          FB-CA-MDL-00188878

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          FB-CA-MDL-00188880

          FB-CA-MDL-00188881

          FB-CA-MDL-00188882

          FB-CA-MDL-00188886

          FB-CA-MDL-00188956

          FB-CA-MDL-00188957

          FB-CA-MDL-00188958

          FB-CA-MDL-00188959

          FB-CA-MDL-00188960

          FB-CA-MDL-00188961

          FB-CA-MDL-00188962

          FB-CA-MDL-00188963

          FB-CA-MDL-00188964

          FB-CA-MDL-00188965

          FB-CA-MDL-00188976

          FB-CA-MDL-00188979

          FB-CA-MDL-00189051

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          FB-CA-MDL-00189059

          FB-CA-MDL-00189060

          FB-CA-MDL-00189351

          FB-CA-MDL-00189352

          FB-CA-MDL-00189430

          FB-CA-MDL-00189431

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          FB-CA-MDL-00189435

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          FB-CA-MDL-00189437

          FB-CA-MDL-00189438

          FB-CA-MDL-00189439

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          FB-CA-MDL-00189599

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          FB-CA-MDL-00189679

          FB-CA-MDL-00189680

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          FB-CA-MDL-00189682

          FB-CA-MDL-00189683

          FB-CA-MDL-00189684

          FB-CA-MDL-00189685

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          FB-CA-MDL-00189687

          FB-CA-MDL-00189688

          FB-CA-MDL-00189689

          FB-CA-MDL-00189690

          FB-CA-MDL-00189782

          FB-CA-MDL-00189784

          FB-CA-MDL-00191099
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FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00191101

          FB-CA-MDL-00191103

          FB-CA-MDL-00191104

          FB-CA-MDL-00191105

          FB-CA-MDL-00191106

          FB-CA-MDL-00191120

          FB-CA-MDL-00191121

          FB-CA-MDL-00191122

          FB-CA-MDL-00191123

          FB-CA-MDL-00191125

          FB-CA-MDL-00191127

          FB-CA-MDL-00191128

          FB-CA-MDL-00191129

          FB-CA-MDL-00191130

          FB-CA-MDL-00191144

          FB-CA-MDL-00191145

          FB-CA-MDL-00191146

          FB-CA-MDL-00191283

          FB-CA-MDL-00191285

          FB-CA-MDL-00191287

          FB-CA-MDL-00191288

          FB-CA-MDL-00191289

          FB-CA-MDL-00191290
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          FB-CA-MDL-00191304

          FB-CA-MDL-00191305

          FB-CA-MDL-00191306

          FB-CA-MDL-00191428

          FB-CA-MDL-00191429

          FB-CA-MDL-00191798

          FB-CA-MDL-00191800

          FB-CA-MDL-00191801

          FB-CA-MDL-00191802

          FB-CA-MDL-00192001

          FB-CA-MDL-00192002

          FB-CA-MDL-00192004

          FB-CA-MDL-00192005

          FB-CA-MDL-00192006

          FB-CA-MDL-00192015

          FB-CA-MDL-00192029

          FB-CA-MDL-00192030

          FB-CA-MDL-00192031

          FB-CA-MDL-00192032

          FB-CA-MDL-00192034

          FB-CA-MDL-00192035

          FB-CA-MDL-00192036

          FB-CA-MDL-00192038
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          FB-CA-MDL-00192039

          FB-CA-MDL-00192040

          FB-CA-MDL-00192043

          FB-CA-MDL-00192044

          FB-CA-MDL-00192045

          FB-CA-MDL-00192049

          FB-CA-MDL-00192050

          FB-CA-MDL-00192052

          FB-CA-MDL-00192053

          FB-CA-MDL-00192054

          FB-CA-MDL-00192063

          FB-CA-MDL-00192077

          FB-CA-MDL-00192078

          FB-CA-MDL-00192079

          FB-CA-MDL-00192080

          FB-CA-MDL-00192082

          FB-CA-MDL-00192083

          FB-CA-MDL-00192084

          FB-CA-MDL-00192086

          FB-CA-MDL-00192087

          FB-CA-MDL-00192088

          FB-CA-MDL-00192091

          FB-CA-MDL-00192092
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          FB-CA-MDL-00192093

          FB-CA-MDL-00192097

          FB-CA-MDL-00192098

          FB-CA-MDL-00192100

          FB-CA-MDL-00192101

          FB-CA-MDL-00192102

          FB-CA-MDL-00192111

          FB-CA-MDL-00192125

          FB-CA-MDL-00192126

          FB-CA-MDL-00192127

          FB-CA-MDL-00192128

          FB-CA-MDL-00192130

          FB-CA-MDL-00192131

          FB-CA-MDL-00192132

          FB-CA-MDL-00192134

          FB-CA-MDL-00192135

          FB-CA-MDL-00192136

          FB-CA-MDL-00192139

          FB-CA-MDL-00192140

          FB-CA-MDL-00192141

          FB-CA-MDL-00192948

          FB-CA-MDL-00192949

          FB-CA-MDL-00192955
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          FB-CA-MDL-00192956

          FB-CA-MDL-00197086

          FB-CA-MDL-00197087

          FB-CA-MDL-00197177

          FB-CA-MDL-00197178

          FB-CA-MDL-00197986

          FB-CA-MDL-00197987

          FB-CA-MDL-00198205

          FB-CA-MDL-00198206

          FB-CA-MDL-00198514

          FB-CA-MDL-00198515

          FB-CA-MDL-00200227

          FB-CA-MDL-00200228

          FB-CA-MDL-00200894

          FB-CA-MDL-00200895

          FB-CA-MDL-00201542

          FB-CA-MDL-00201543

          FB-CA-MDL-00201551

          FB-CA-MDL-00201649

          FB-CA-MDL-00201651

          FB-CA-MDL-00201652

          FB-CA-MDL-00201654

          FB-CA-MDL-00201655
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          FB-CA-MDL-00201656

          FB-CA-MDL-00201657

          FB-CA-MDL-00201660

          FB-CA-MDL-00201661

          FB-CA-MDL-00201662

          FB-CA-MDL-00201663

          FB-CA-MDL-00201664

          FB-CA-MDL-00201665

          FB-CA-MDL-00201666

          FB-CA-MDL-00201667

          FB-CA-MDL-00201668

          FB-CA-MDL-00201669

          FB-CA-MDL-00201670

          FB-CA-MDL-00201673

          FB-CA-MDL-00201674

          FB-CA-MDL-00201675

          FB-CA-MDL-00201676

          FB-CA-MDL-00201677

          FB-CA-MDL-00201678

          FB-CA-MDL-00201679

          FB-CA-MDL-00201680

          FB-CA-MDL-00201681

          FB-CA-MDL-00201682
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          FB-CA-MDL-00201683

          FB-CA-MDL-00201684

          FB-CA-MDL-00201685

          FB-CA-MDL-00201686

          FB-CA-MDL-00201687

          FB-CA-MDL-00201688

          FB-CA-MDL-00201689

          FB-CA-MDL-00201690

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          FB-CA-MDL-00201696

          FB-CA-MDL-00201697

          FB-CA-MDL-00201698

          FB-CA-MDL-00201699

          FB-CA-MDL-00201700

          FB-CA-MDL-00201703

          FB-CA-MDL-00201704

          FB-CA-MDL-00201705

          FB-CA-MDL-00201706

          FB-CA-MDL-00201707
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          FB-CA-MDL-00201708

          FB-CA-MDL-00201709

          FB-CA-MDL-00201710

          FB-CA-MDL-00201711

          FB-CA-MDL-00201712

          FB-CA-MDL-00201713

          FB-CA-MDL-00201714

          FB-CA-MDL-00201715

          FB-CA-MDL-00201716

          FB-CA-MDL-00201728

          FB-CA-MDL-00201731

          FB-CA-MDL-00201733

          FB-CA-MDL-00201734

          FB-CA-MDL-00201735

          FB-CA-MDL-00201736

          FB-CA-MDL-00201739

          FB-CA-MDL-00201740

          FB-CA-MDL-00201741

          FB-CA-MDL-00201742

          FB-CA-MDL-00201745

          FB-CA-MDL-00201746

          FB-CA-MDL-00201747

          FB-CA-MDL-00201748
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          FB-CA-MDL-00201751

          FB-CA-MDL-00201752

          FB-CA-MDL-00201753

          FB-CA-MDL-00201754

          FB-CA-MDL-00201755

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          FB-CA-MDL-00201758

          FB-CA-MDL-00201759

          FB-CA-MDL-00201760

          FB-CA-MDL-00201761

          FB-CA-MDL-00201762

          FB-CA-MDL-00201763

          FB-CA-MDL-00201764

          FB-CA-MDL-00201765

          FB-CA-MDL-00201766

          FB-CA-MDL-00201767

          FB-CA-MDL-00201768

          FB-CA-MDL-00201769

          FB-CA-MDL-00201772

          FB-CA-MDL-00201773

          FB-CA-MDL-00201774

          FB-CA-MDL-00201775
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          FB-CA-MDL-00201776

          FB-CA-MDL-00201777

          FB-CA-MDL-00201778

          FB-CA-MDL-00201779

          FB-CA-MDL-00201780

          FB-CA-MDL-00201781

          FB-CA-MDL-00201782

          FB-CA-MDL-00201783

          FB-CA-MDL-00201784

          FB-CA-MDL-00201785

          FB-CA-MDL-00201786

          FB-CA-MDL-00201787

          FB-CA-MDL-00201788

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          FB-CA-MDL-00201790

          FB-CA-MDL-00201791

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          FB-CA-MDL-00201794

          FB-CA-MDL-00201795

          FB-CA-MDL-00201796

          FB-CA-MDL-00201797

          FB-CA-MDL-00201798
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          FB-CA-MDL-00201799

          FB-CA-MDL-00201800

          FB-CA-MDL-00201801

          FB-CA-MDL-00201802

          FB-CA-MDL-00201803

          FB-CA-MDL-00201804

          FB-CA-MDL-00201805

          FB-CA-MDL-00201806

          FB-CA-MDL-00201809

          FB-CA-MDL-00201810

          FB-CA-MDL-00201811

          FB-CA-MDL-00201812

          FB-CA-MDL-00201813

          FB-CA-MDL-00201814

          FB-CA-MDL-00201815

          FB-CA-MDL-00201816

          FB-CA-MDL-00201817

          FB-CA-MDL-00201818

          FB-CA-MDL-00201819

          FB-CA-MDL-00201820

          FB-CA-MDL-00201821

          FB-CA-MDL-00201822

          FB-CA-MDL-00201823
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          FB-CA-MDL-00201824

          FB-CA-MDL-00201825

          FB-CA-MDL-00201826

          FB-CA-MDL-00201827

          FB-CA-MDL-00202077

          FB-CA-MDL-00202079

          FB-CA-MDL-00202329

          FB-CA-MDL-00202332

          FB-CA-MDL-00203260

          FB-CA-MDL-00203261

          FB-CA-MDL-00203911

          FB-CA-MDL-00203912

          FB-CA-MDL-00203913

          FB-CA-MDL-00203914

          FB-CA-MDL-00203959

          FB-CA-MDL-00203960

          FB-CA-MDL-00204978

          FB-CA-MDL-00204979

          FB-CA-MDL-00217161

          FB-CA-MDL-00217163

          FB-CA-MDL-00217594

          FB-CA-MDL-00217598

          FB-CA-MDL-00217599
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          FB-CA-MDL-00217603

          FB-CA-MDL-00217748

          FB-CA-MDL-00217749

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          FB-CA-MDL-00218607

          FB-CA-MDL-00218608

          FB-CA-MDL-00218610

          FB-CA-MDL-00219178

          FB-CA-MDL-00219187

          FB-CA-MDL-00219196

          FB-CA-MDL-00220111

          FB-CA-MDL-00220112

          FB-CA-MDL-00220114

          FB-CA-MDL-00220117

          FB-CA-MDL-00220139

          FB-CA-MDL-00220142

          FB-CA-MDL-00220157

          FB-CA-MDL-00220158

          FB-CA-MDL-00220203

          FB-CA-MDL-00220205

          FB-CA-MDL-00220233

          FB-CA-MDL-00220234

          FB-CA-MDL-00220423
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          FB-CA-MDL-00220424

          FB-CA-MDL-00220425

          FB-CA-MDL-00220426

          FB-CA-MDL-00220427

          FB-CA-MDL-00220428

          FB-CA-MDL-00220429

          FB-CA-MDL-00220582

          FB-CA-MDL-00220583

          FB-CA-MDL-00220644

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          FB-CA-MDL-00220648

          FB-CA-MDL-00220812

          FB-CA-MDL-00220813

          FB-CA-MDL-00220814

          FB-CA-MDL-00220882

          FB-CA-MDL-00220883

          FB-CA-MDL-00220962

          FB-CA-MDL-00220963

          FB-CA-MDL-00220964

          FB-CA-MDL-00220965

          FB-CA-MDL-00220966

          FB-CA-MDL-00220967
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          FB-CA-MDL-00220968

          FB-CA-MDL-00220969

          FB-CA-MDL-00220970

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          FB-CA-MDL-00220972

          FB-CA-MDL-00220973

          FB-CA-MDL-00220974

          FB-CA-MDL-00220975

          FB-CA-MDL-00220980

          FB-CA-MDL-00220981

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          FB-CA-MDL-00220987

          FB-CA-MDL-00221066

          FB-CA-MDL-00221067

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          FB-CA-MDL-00221070

          FB-CA-MDL-00221071

          FB-CA-MDL-00221072

          FB-CA-MDL-00221073
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          FB-CA-MDL-00221074

          FB-CA-MDL-00221075

          FB-CA-MDL-00221076

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          FB-CA-MDL-00221084

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          FB-CA-MDL-00221086

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          FB-CA-MDL-00221166

          FB-CA-MDL-00221167

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          FB-CA-MDL-00221169

          FB-CA-MDL-00221170

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          FB-CA-MDL-00221174

          FB-CA-MDL-00221175

          FB-CA-MDL-00221176

          FB-CA-MDL-00221177

          FB-CA-MDL-00221178
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          FB-CA-MDL-00221179

          FB-CA-MDL-00221180

          FB-CA-MDL-00221259

          FB-CA-MDL-00221260

          FB-CA-MDL-00221261

          FB-CA-MDL-00221262

          FB-CA-MDL-00221263

          FB-CA-MDL-00221264

          FB-CA-MDL-00221265

          FB-CA-MDL-00221266

          FB-CA-MDL-00221267

          FB-CA-MDL-00221268

          FB-CA-MDL-00221269

          FB-CA-MDL-00221270

          FB-CA-MDL-00221271

          FB-CA-MDL-00221272

          FB-CA-MDL-00221277

          FB-CA-MDL-00221278

          FB-CA-MDL-00221279

          FB-CA-MDL-00221280

          FB-CA-MDL-00221359

          FB-CA-MDL-00221360

          FB-CA-MDL-00221361
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FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00221362

          FB-CA-MDL-00221363

          FB-CA-MDL-00221364

          FB-CA-MDL-00221365

          FB-CA-MDL-00221366

          FB-CA-MDL-00221367

          FB-CA-MDL-00221368

          FB-CA-MDL-00221369

          FB-CA-MDL-00221370

          FB-CA-MDL-00221371

          FB-CA-MDL-00221378

          FB-CA-MDL-00221379

          FB-CA-MDL-00221381

          FB-CA-MDL-00221386

          FB-CA-MDL-00221387

          FB-CA-MDL-00221388

          FB-CA-MDL-00221389

          FB-CA-MDL-00222208

          FB-CA-MDL-00222209

          FB-CA-MDL-00222220

          FB-CA-MDL-00222221

          FB-CA-MDL-00222222

          FB-CA-MDL-00222233
                                               294
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00222234

          FB-CA-MDL-00222235

          FB-CA-MDL-00222246

          FB-CA-MDL-00225931

          FB-CA-MDL-00225932

          FB-CA-MDL-00225935

          FB-CA-MDL-00225936

          FB-CA-MDL-00225939

          FB-CA-MDL-00225940

          FB-CA-MDL-00225943

          FB-CA-MDL-00225944

          FB-CA-MDL-00226198

          FB-CA-MDL-00226201

          FB-CA-MDL-00226217

          FB-CA-MDL-00226227

          FB-CA-MDL-00226231

          FB-CA-MDL-00226236

          FB-CA-MDL-00226310

          FB-CA-MDL-00226313

          FB-CA-MDL-00226314

          FB-CA-MDL-00226315

          FB-CA-MDL-00226318

          FB-CA-MDL-00226321
                                               295
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00226323

          FB-CA-MDL-00226326

          FB-CA-MDL-00226329

          FB-CA-MDL-00226401

          FB-CA-MDL-00226414

          FB-CA-MDL-00226415

          FB-CA-MDL-00226483

          FB-CA-MDL-00226489

          FB-CA-MDL-00226501

          FB-CA-MDL-00226507

          FB-CA-MDL-00226515

          FB-CA-MDL-00226523

          FB-CA-MDL-00226531

          FB-CA-MDL-00226532

          FB-CA-MDL-00226540

          FB-CA-MDL-00226541

          FB-CA-MDL-00226549

          FB-CA-MDL-00226557

          FB-CA-MDL-00226564

          FB-CA-MDL-00226571

          FB-CA-MDL-00226578

          FB-CA-MDL-00226586

          FB-CA-MDL-00227414
                                               296
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00227418

          FB-CA-MDL-00227460

          FB-CA-MDL-00227464

          FB-CA-MDL-00227469

          FB-CA-MDL-00227473

          FB-CA-MDL-00227824

          FB-CA-MDL-00227993

          FB-CA-MDL-00227994

          FB-CA-MDL-00228008

          FB-CA-MDL-00228270

          FB-CA-MDL-00228271

          FB-CA-MDL-00228272

          FB-CA-MDL-00228273

          FB-CA-MDL-00228274

          FB-CA-MDL-00228287

          FB-CA-MDL-00228289

          FB-CA-MDL-00228301

          FB-CA-MDL-00228302

          FB-CA-MDL-00228310

          FB-CA-MDL-00228311

          FB-CA-MDL-00228312

          FB-CA-MDL-00228313

          FB-CA-MDL-00228351
                                               297
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00228352

          FB-CA-MDL-00228355

          FB-CA-MDL-00228357

          FB-CA-MDL-00228360

          FB-CA-MDL-00228364

          FB-CA-MDL-00228368

          FB-CA-MDL-00228373

          FB-CA-MDL-00228385

          FB-CA-MDL-00228397

          FB-CA-MDL-00228411

          FB-CA-MDL-00228423

          FB-CA-MDL-00228435

          FB-CA-MDL-00228447

          FB-CA-MDL-00228461

          FB-CA-MDL-00228486

          FB-CA-MDL-00228500

          FB-CA-MDL-00229204

          FB-CA-MDL-00229206

          FB-CA-MDL-00229207

          FB-CA-MDL-00229208

          FB-CA-MDL-00229209

          FB-CA-MDL-00229216

          FB-CA-MDL-00229217
                                               298
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00229218

          FB-CA-MDL-00229219

          FB-CA-MDL-00229220

          FB-CA-MDL-00229249

          FB-CA-MDL-00229251

          FB-CA-MDL-00229252

          FB-CA-MDL-00229253

          FB-CA-MDL-00229254

          FB-CA-MDL-00229261

          FB-CA-MDL-00229264

          FB-CA-MDL-00229265

          FB-CA-MDL-00229266

          FB-CA-MDL-00229368

          FB-CA-MDL-00229371

          FB-CA-MDL-00229372

          FB-CA-MDL-00229373

          FB-CA-MDL-00229387

          FB-CA-MDL-00229389

          FB-CA-MDL-00229390

          FB-CA-MDL-00229391

          FB-CA-MDL-00229392

          FB-CA-MDL-00229393

          FB-CA-MDL-00229394
                                               299
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00229395

          FB-CA-MDL-00229398

          FB-CA-MDL-00229399

          FB-CA-MDL-00229400

          FB-CA-MDL-00229401

          FB-CA-MDL-00229402

          FB-CA-MDL-00229403

          FB-CA-MDL-00229404

          FB-CA-MDL-00229407

          FB-CA-MDL-00229408

          FB-CA-MDL-00229409

          FB-CA-MDL-00229410

          FB-CA-MDL-00229411

          FB-CA-MDL-00229412

          FB-CA-MDL-00229413

          FB-CA-MDL-00229416

          FB-CA-MDL-00229417

          FB-CA-MDL-00229418

          FB-CA-MDL-00229419

          FB-CA-MDL-00229420

          FB-CA-MDL-00229421

          FB-CA-MDL-00229422

          FB-CA-MDL-00229423
                                               300
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00229424

          FB-CA-MDL-00229425

          FB-CA-MDL-00229426

          FB-CA-MDL-00229427

          FB-CA-MDL-00229428

          FB-CA-MDL-00229429

          FB-CA-MDL-00229430

          FB-CA-MDL-00229431

          FB-CA-MDL-00229432

          FB-CA-MDL-00229433

          FB-CA-MDL-00229434

          FB-CA-MDL-00229435

          FB-CA-MDL-00229553

          FB-CA-MDL-00229557

          FB-CA-MDL-00229558

          FB-CA-MDL-00229559

          FB-CA-MDL-00229560

          FB-CA-MDL-00229561

          FB-CA-MDL-00229562

          FB-CA-MDL-00229563

          FB-CA-MDL-00229564

          FB-CA-MDL-00229565

          FB-CA-MDL-00229566
                                               301
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00229567

          FB-CA-MDL-00229568

          FB-CA-MDL-00229572

          FB-CA-MDL-00229586

          FB-CA-MDL-00229587

          FB-CA-MDL-00229588

          FB-CA-MDL-00229589

          FB-CA-MDL-00229590

          FB-CA-MDL-00229667

          FB-CA-MDL-00229668

          FB-CA-MDL-00229729

          FB-CA-MDL-00229730

          FB-CA-MDL-00229731

          FB-CA-MDL-00229733

          FB-CA-MDL-00229734

          FB-CA-MDL-00229736

          FB-CA-MDL-00229737

          FB-CA-MDL-00229739

          FB-CA-MDL-00229934

          FB-CA-MDL-00229935

          FB-CA-MDL-00229936

          FB-CA-MDL-00229938

          FB-CA-MDL-00229982
                                               302
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00229983

          FB-CA-MDL-00229990

          FB-CA-MDL-00229992

          FB-CA-MDL-00229993

          FB-CA-MDL-00230037

          FB-CA-MDL-00230039

          FB-CA-MDL-00230140

          FB-CA-MDL-00230143

          FB-CA-MDL-00230144

          FB-CA-MDL-00230147

          FB-CA-MDL-00230148

          FB-CA-MDL-00230153

          FB-CA-MDL-00230637

          FB-CA-MDL-00230638

          FB-CA-MDL-00230640

          FB-CA-MDL-00230754

          FB-CA-MDL-00230755

          FB-CA-MDL-00230815

          FB-CA-MDL-00230816

          FB-CA-MDL-00230817

          FB-CA-MDL-00230818

          FB-CA-MDL-00230819

          FB-CA-MDL-00230820
                                               303
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00230821

          FB-CA-MDL-00230822

          FB-CA-MDL-00230823

          FB-CA-MDL-00230824

          FB-CA-MDL-00232464

          FB-CA-MDL-00232465

          FB-CA-MDL-00232530

          FB-CA-MDL-00232531

          FB-CA-MDL-00232532

          FB-CA-MDL-00232533

          FB-CA-MDL-00232534

          FB-CA-MDL-00232535

          FB-CA-MDL-00232536

          FB-CA-MDL-00232537

          FB-CA-MDL-00232538

          FB-CA-MDL-00232539

          FB-CA-MDL-00232540

          FB-CA-MDL-00232543

          FB-CA-MDL-00232544

          FB-CA-MDL-00232547

          FB-CA-MDL-00232548

          FB-CA-MDL-00232550

          FB-CA-MDL-00232615
                                               304
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00232616

          FB-CA-MDL-00232617

          FB-CA-MDL-00232618

          FB-CA-MDL-00232619

          FB-CA-MDL-00232620

          FB-CA-MDL-00232621

          FB-CA-MDL-00232622

          FB-CA-MDL-00232623

          FB-CA-MDL-00232624

          FB-CA-MDL-00232625

          FB-CA-MDL-00232760

          FB-CA-MDL-00232762

          FB-CA-MDL-00232823

          FB-CA-MDL-00232824

          FB-CA-MDL-00232825

          FB-CA-MDL-00232826

          FB-CA-MDL-00232827

          FB-CA-MDL-00232828

          FB-CA-MDL-00232829

          FB-CA-MDL-00232830

          FB-CA-MDL-00232831

          FB-CA-MDL-00232832

          FB-CA-MDL-00232833
                                               305
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00232834

          FB-CA-MDL-00232896

          FB-CA-MDL-00232897

          FB-CA-MDL-00232898

          FB-CA-MDL-00232899

          FB-CA-MDL-00232900

          FB-CA-MDL-00232901

          FB-CA-MDL-00232902

          FB-CA-MDL-00232903

          FB-CA-MDL-00232904

          FB-CA-MDL-00232905

          FB-CA-MDL-00232906

          FB-CA-MDL-00232909

          FB-CA-MDL-00232913

          FB-CA-MDL-00232974

          FB-CA-MDL-00232975

          FB-CA-MDL-00232976

          FB-CA-MDL-00232977

          FB-CA-MDL-00232978

          FB-CA-MDL-00232979

          FB-CA-MDL-00232980

          FB-CA-MDL-00232981

          FB-CA-MDL-00232982
                                               306
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00232983

          FB-CA-MDL-00232984

          FB-CA-MDL-00232985

          FB-CA-MDL-00232989

          FB-CA-MDL-00232992

          FB-CA-MDL-00232993

          FB-CA-MDL-00232994

          FB-CA-MDL-00232996

          FB-CA-MDL-00232997

          FB-CA-MDL-00233058

          FB-CA-MDL-00233059

          FB-CA-MDL-00233060

          FB-CA-MDL-00233061

          FB-CA-MDL-00233062

          FB-CA-MDL-00233063

          FB-CA-MDL-00233064

          FB-CA-MDL-00233065

          FB-CA-MDL-00233066

          FB-CA-MDL-00233067

          FB-CA-MDL-00233068

          FB-CA-MDL-00233090

          FB-CA-MDL-00233091

          FB-CA-MDL-00233152
                                               307
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00233153

          FB-CA-MDL-00233214

          FB-CA-MDL-00233215

          FB-CA-MDL-00233351

          FB-CA-MDL-00233353

          FB-CA-MDL-00233414

          FB-CA-MDL-00233415

          FB-CA-MDL-00233416

          FB-CA-MDL-00233417

          FB-CA-MDL-00233418

          FB-CA-MDL-00233419

          FB-CA-MDL-00233420

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          FB-CA-MDL-00233422

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          FB-CA-MDL-00233424

          FB-CA-MDL-00233425

          FB-CA-MDL-00242983

          FB-CA-MDL-00242984

          FB-CA-MDL-00242986

          FB-CA-MDL-00242987

          FB-CA-MDL-00242988

          FB-CA-MDL-00242991
                                               308
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          FB-CA-MDL-00243050

          FB-CA-MDL-00243068

          FB-CA-MDL-00243300

          FB-CA-MDL-00243302

          FB-CA-MDL-00243304

          FB-CA-MDL-00243673

          FB-CA-MDL-00243674

          FB-CA-MDL-00243930

          FB-CA-MDL-00243932

          FB-CA-MDL-00243933

          FB-CA-MDL-00243954

          FB-CA-MDL-00243980

          FB-CA-MDL-00243983

          FB-CA-MDL-00244103

          FB-CA-MDL-00244106

          FB-CA-MDL-00244109

          FB-CA-MDL-00244132

          FB-CA-MDL-00244135

          FB-CA-MDL-00244139

          FB-CA-MDL-00244143

          FB-CA-MDL-00244147

          FB-CA-MDL-00244151

          FB-CA-MDL-00244155
                                               309
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          FB-CA-MDL-00245666

          FB-CA-MDL-00245667

          FB-CA-MDL-00250414

          FB-CA-MDL-00250418

          FB-CA-MDL-00250419

          FB-CA-MDL-00250420

          FB-CA-MDL-00250421

          FB-CA-MDL-00250422

          FB-CA-MDL-00250427

          FB-CA-MDL-00250428

          FB-CA-MDL-00250429

          FB-CA-MDL-00250434

          FB-CA-MDL-00250435

          FB-CA-MDL-00250436

          FB-CA-MDL-00250441

          FB-CA-MDL-00250442

          FB-CA-MDL-00250443

          FB-CA-MDL-00250448

          FB-CA-MDL-00250449

          FB-CA-MDL-00250450

          FB-CA-MDL-00250455

          FB-CA-MDL-00250456

          FB-CA-MDL-00250791
                                               310
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00250792

          FB-CA-MDL-00251302

          FB-CA-MDL-00251305

          FB-CA-MDL-00251462

          FB-CA-MDL-00252149

          FB-CA-MDL-00252153

          FB-CA-MDL-00252157

          FB-CA-MDL-00252162

          FB-CA-MDL-00252170

          FB-CA-MDL-00252175

          FB-CA-MDL-00252181

          FB-CA-MDL-00252187

          FB-CA-MDL-00252224

          FB-CA-MDL-00252231

          FB-CA-MDL-00252236

          FB-CA-MDL-00252241

          FB-CA-MDL-00252246

          FB-CA-MDL-00252386

          FB-CA-MDL-00252387

          FB-CA-MDL-00252399

          FB-CA-MDL-00252440

          FB-CA-MDL-00252454

          FB-CA-MDL-00252460
                                               311
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00252467

          FB-CA-MDL-00252474

          FB-CA-MDL-00252494

          FB-CA-MDL-00252495

          FB-CA-MDL-00252550

          FB-CA-MDL-00252635

          FB-CA-MDL-00252636

          FB-CA-MDL-00252637

          FB-CA-MDL-00252638

          FB-CA-MDL-00252639

          FB-CA-MDL-00252641

          FB-CA-MDL-00252643

          FB-CA-MDL-00252656

          FB-CA-MDL-00252658

          FB-CA-MDL-00252672

          FB-CA-MDL-00252899

          FB-CA-MDL-00252901

          FB-CA-MDL-00252902

          FB-CA-MDL-00252904

          FB-CA-MDL-00252906

          FB-CA-MDL-00252933

          FB-CA-MDL-00252935

          FB-CA-MDL-00252936
                                               312
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00252937

          FB-CA-MDL-00252938

          FB-CA-MDL-00252939

          FB-CA-MDL-00252940

          FB-CA-MDL-00252941

          FB-CA-MDL-00252942

          FB-CA-MDL-00252944

          FB-CA-MDL-00252946

          FB-CA-MDL-00252947

          FB-CA-MDL-00252985

          FB-CA-MDL-00252987

          FB-CA-MDL-00252991

          FB-CA-MDL-00253027

          FB-CA-MDL-00253029

          FB-CA-MDL-00253042

          FB-CA-MDL-00253045

          FB-CA-MDL-00253048

          FB-CA-MDL-00253051

          FB-CA-MDL-00253055

          FB-CA-MDL-00253059

          FB-CA-MDL-00253064

          FB-CA-MDL-00253069

          FB-CA-MDL-00253076
                                               313
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00253078

          FB-CA-MDL-00253089

          FB-CA-MDL-00253091

          FB-CA-MDL-00253171

          FB-CA-MDL-00253173

          FB-CA-MDL-00253176

          FB-CA-MDL-00253177

          FB-CA-MDL-00253178

          FB-CA-MDL-00253179

          FB-CA-MDL-00253180

          FB-CA-MDL-00253181

          FB-CA-MDL-00253182

          FB-CA-MDL-00253183

          FB-CA-MDL-00253184

          FB-CA-MDL-00253185

          FB-CA-MDL-00253186

          FB-CA-MDL-00253187

          FB-CA-MDL-00253188

          FB-CA-MDL-00253189

          FB-CA-MDL-00253190

          FB-CA-MDL-00253191

          FB-CA-MDL-00253193

          FB-CA-MDL-00253194
                                               314
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00253212

          FB-CA-MDL-00253214

          FB-CA-MDL-00253217

          FB-CA-MDL-00253221

          FB-CA-MDL-00253222

          FB-CA-MDL-00253226

          FB-CA-MDL-00253227

          FB-CA-MDL-00253229

          FB-CA-MDL-00253230

          FB-CA-MDL-00253231

          FB-CA-MDL-00253233

          FB-CA-MDL-00253236

          FB-CA-MDL-00253237

          FB-CA-MDL-00253238

          FB-CA-MDL-00253239

          FB-CA-MDL-00253240

          FB-CA-MDL-00253241

          FB-CA-MDL-00253242

          FB-CA-MDL-00253243

          FB-CA-MDL-00253244

          FB-CA-MDL-00253245

          FB-CA-MDL-00253246

          FB-CA-MDL-00253247
                                               315
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00253248

          FB-CA-MDL-00253249

          FB-CA-MDL-00253250

          FB-CA-MDL-00253289

          FB-CA-MDL-00253291

          FB-CA-MDL-00253292

          FB-CA-MDL-00253293

          FB-CA-MDL-00253296

          FB-CA-MDL-00253297

          FB-CA-MDL-00253298

          FB-CA-MDL-00253299

          FB-CA-MDL-00253300

          FB-CA-MDL-00253301

          FB-CA-MDL-00253302

          FB-CA-MDL-00253303

          FB-CA-MDL-00253304

          FB-CA-MDL-00253305

          FB-CA-MDL-00253306

          FB-CA-MDL-00253307

          FB-CA-MDL-00253308

          FB-CA-MDL-00253309

          FB-CA-MDL-00253314

          FB-CA-MDL-00253315
                                               316
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00253424

          FB-CA-MDL-00253427

          FB-CA-MDL-00253429

          FB-CA-MDL-00253430

          FB-CA-MDL-00253433

          FB-CA-MDL-00253435

          FB-CA-MDL-00253559

          FB-CA-MDL-00253562

          FB-CA-MDL-00253565

          FB-CA-MDL-00253568

          FB-CA-MDL-00253571

          FB-CA-MDL-00253593

          FB-CA-MDL-00253594

          FB-CA-MDL-00253595

          FB-CA-MDL-00253607

          FB-CA-MDL-00253623

          FB-CA-MDL-00253624

          FB-CA-MDL-00253761

          FB-CA-MDL-00253884

          FB-CA-MDL-00253886

          FB-CA-MDL-00253950

          FB-CA-MDL-00253951

          FB-CA-MDL-00253953
                                               317
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00253954

          FB-CA-MDL-00253956

          FB-CA-MDL-00253959

          FB-CA-MDL-00253961

          FB-CA-MDL-00254018

          FB-CA-MDL-00254047

          FB-CA-MDL-00254078

          FB-CA-MDL-00254085

          FB-CA-MDL-00254086

          FB-CA-MDL-00254087

          FB-CA-MDL-00254089

          FB-CA-MDL-00254090

          FB-CA-MDL-00254503

          FB-CA-MDL-00254504

          FB-CA-MDL-00254639

          FB-CA-MDL-00254642

          FB-CA-MDL-00254677

          FB-CA-MDL-00254680

          FB-CA-MDL-00260135

          FB-CA-MDL-00260137

          FB-CA-MDL-00260301

          FB-CA-MDL-00260302

          FB-CA-MDL-00262387
                                               318
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00262393

          FB-CA-MDL-00262454

          FB-CA-MDL-00262460

          FB-CA-MDL-00262521

          FB-CA-MDL-00262522

          FB-CA-MDL-00262523

          FB-CA-MDL-00262524

          FB-CA-MDL-00262941

          FB-CA-MDL-00262942

          FB-CA-MDL-00262980

          FB-CA-MDL-00262985

          FB-CA-MDL-00262986

          FB-CA-MDL-00262991

          FB-CA-MDL-00262993

          FB-CA-MDL-00262996

          FB-CA-MDL-00262997

          FB-CA-MDL-00263000

          FB-CA-MDL-00263025

          FB-CA-MDL-00263029

          FB-CA-MDL-00263036

          FB-CA-MDL-00263041

          FB-CA-MDL-00263068

          FB-CA-MDL-00263074
                                               319
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00263080

          FB-CA-MDL-00263086

          FB-CA-MDL-00263092

          FB-CA-MDL-00263100

          FB-CA-MDL-00263211

          FB-CA-MDL-00263220

          FB-CA-MDL-00263221

          FB-CA-MDL-00263230

          FB-CA-MDL-00263557

          FB-CA-MDL-00263560

          FB-CA-MDL-00263561

          FB-CA-MDL-00263564

          FB-CA-MDL-00263565

          FB-CA-MDL-00263568

          FB-CA-MDL-00263570

          FB-CA-MDL-00263573

          FB-CA-MDL-00263578

          FB-CA-MDL-00263583

          FB-CA-MDL-00263592

          FB-CA-MDL-00263598

          FB-CA-MDL-00263604

          FB-CA-MDL-00263610

          FB-CA-MDL-00263615
                                               320
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00263640

          FB-CA-MDL-00263667

          FB-CA-MDL-00263668

          FB-CA-MDL-00263679

          FB-CA-MDL-00263718

          FB-CA-MDL-00263719

          FB-CA-MDL-00263720

          FB-CA-MDL-00263722

          FB-CA-MDL-00263845

          FB-CA-MDL-00263847

          FB-CA-MDL-00263849

          FB-CA-MDL-00263851

          FB-CA-MDL-00263871

          FB-CA-MDL-00263873

          FB-CA-MDL-00263874

          FB-CA-MDL-00263876

          FB-CA-MDL-00263877

          FB-CA-MDL-00263879

          FB-CA-MDL-00263880

          FB-CA-MDL-00263882

          FB-CA-MDL-00263883

          FB-CA-MDL-00263885

          FB-CA-MDL-00263887
                                               321
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00263889

          FB-CA-MDL-00263891

          FB-CA-MDL-00263895

          FB-CA-MDL-00263899

          FB-CA-MDL-00263903

          FB-CA-MDL-00263923

          FB-CA-MDL-00263927

          FB-CA-MDL-00263928

          FB-CA-MDL-00263940

          FB-CA-MDL-00263942

          FB-CA-MDL-00263944

          FB-CA-MDL-00263953

          FB-CA-MDL-00263957

          FB-CA-MDL-00264028

          FB-CA-MDL-00264033

          FB-CA-MDL-00264038

          FB-CA-MDL-00264043

          FB-CA-MDL-00264048

          FB-CA-MDL-00264054

          FB-CA-MDL-00264060

          FB-CA-MDL-00264066

          FB-CA-MDL-00264072

          FB-CA-MDL-00264078
                                               322
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00264084

          FB-CA-MDL-00264091

          FB-CA-MDL-00264207

          FB-CA-MDL-00264209

          FB-CA-MDL-00264210

          FB-CA-MDL-00264213

          FB-CA-MDL-00264808

          FB-CA-MDL-00264813

          FB-CA-MDL-00264867

          FB-CA-MDL-00264868

          FB-CA-MDL-00264869

          FB-CA-MDL-00264870

          FB-CA-MDL-00264871

          FB-CA-MDL-00264872

          FB-CA-MDL-00264873

          FB-CA-MDL-00264874

          FB-CA-MDL-00264875

          FB-CA-MDL-00264876

          FB-CA-MDL-00264877

          FB-CA-MDL-00265010

          FB-CA-MDL-00265011

          FB-CA-MDL-00265069

          FB-CA-MDL-00265070
                                               323
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00265071

          FB-CA-MDL-00265072

          FB-CA-MDL-00265073

          FB-CA-MDL-00265074

          FB-CA-MDL-00265075

          FB-CA-MDL-00265076

          FB-CA-MDL-00265077

          FB-CA-MDL-00265078

          FB-CA-MDL-00265079

          FB-CA-MDL-00265080

          FB-CA-MDL-00265081

          FB-CA-MDL-00265139

          FB-CA-MDL-00265140

          FB-CA-MDL-00265141

          FB-CA-MDL-00265142

          FB-CA-MDL-00265143

          FB-CA-MDL-00265144

          FB-CA-MDL-00265145

          FB-CA-MDL-00265146

          FB-CA-MDL-00265147

          FB-CA-MDL-00265148

          FB-CA-MDL-00265149

          FB-CA-MDL-00265150
                                               324
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00265152

          FB-CA-MDL-00265210

          FB-CA-MDL-00265211

          FB-CA-MDL-00265212

          FB-CA-MDL-00265213

          FB-CA-MDL-00265214

          FB-CA-MDL-00265215

          FB-CA-MDL-00265216

          FB-CA-MDL-00265217

          FB-CA-MDL-00265218

          FB-CA-MDL-00265219

          FB-CA-MDL-00265220

          FB-CA-MDL-00265238

          FB-CA-MDL-00265241

          FB-CA-MDL-00265300

          FB-CA-MDL-00265301

          FB-CA-MDL-00265302

          FB-CA-MDL-00265303

          FB-CA-MDL-00265304

          FB-CA-MDL-00265305

          FB-CA-MDL-00265306

          FB-CA-MDL-00265307

          FB-CA-MDL-00265308
                                               325
FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
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          FB-CA-MDL-00265309

          FB-CA-MDL-00265310

          FB-CA-MDL-00265311

          FB-CA-MDL-00265314

          FB-CA-MDL-00265373

          FB-CA-MDL-00265374

          FB-CA-MDL-00265375

          FB-CA-MDL-00265376

          FB-CA-MDL-00265377

          FB-CA-MDL-00265378

          FB-CA-MDL-00265379

          FB-CA-MDL-00265380

          FB-CA-MDL-00265381

          FB-CA-MDL-00265382

          FB-CA-MDL-00265383

          FB-CA-MDL-00265465

          FB-CA-MDL-00265495

          FB-CA-MDL-00265497

          FB-CA-MDL-00265527

          FB-CA-MDL-00265552

          FB-CA-MDL-00265553

          FB-CA-MDL-00265566

          FB-CA-MDL-00265567
                                               326
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          FB-CA-MDL-00265624

          FB-CA-MDL-00265625

          FB-CA-MDL-00265684

          FB-CA-MDL-00265685

          FB-CA-MDL-00265686

          FB-CA-MDL-00265687

          FB-CA-MDL-00265688

          FB-CA-MDL-00265689

          FB-CA-MDL-00265690

          FB-CA-MDL-00265691

          FB-CA-MDL-00265692

          FB-CA-MDL-00265693

          FB-CA-MDL-00265694

          FB-CA-MDL-00265700

          FB-CA-MDL-00265701

          FB-CA-MDL-00265756

          FB-CA-MDL-00265757

          FB-CA-MDL-00265758

          FB-CA-MDL-00265759

          FB-CA-MDL-00265760

          FB-CA-MDL-00265761

          FB-CA-MDL-00265762

          FB-CA-MDL-00265763
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          FB-CA-MDL-00265764

          FB-CA-MDL-00265765

          FB-CA-MDL-00265766

          FB-CA-MDL-00265767

          FB-CA-MDL-00265768

          FB-CA-MDL-00265823

          FB-CA-MDL-00265824

          FB-CA-MDL-00265825

          FB-CA-MDL-00265826

          FB-CA-MDL-00265827

          FB-CA-MDL-00265828

          FB-CA-MDL-00265829

          FB-CA-MDL-00265830

          FB-CA-MDL-00265831

          FB-CA-MDL-00265832

          FB-CA-MDL-00265833

          FB-CA-MDL-00265834

          FB-CA-MDL-00265835

          FB-CA-MDL-00265890

          FB-CA-MDL-00265891

          FB-CA-MDL-00265892

          FB-CA-MDL-00265893

          FB-CA-MDL-00265894
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          FB-CA-MDL-00265895

          FB-CA-MDL-00265896

          FB-CA-MDL-00265897

          FB-CA-MDL-00265898

          FB-CA-MDL-00265899

          FB-CA-MDL-00265900

          FB-CA-MDL-00265936

          FB-CA-MDL-00265937

          FB-CA-MDL-00265994

          FB-CA-MDL-00265995

          FB-CA-MDL-00265996

          FB-CA-MDL-00265997

          FB-CA-MDL-00265998

          FB-CA-MDL-00265999

          FB-CA-MDL-00266000

          FB-CA-MDL-00266001

          FB-CA-MDL-00266002

          FB-CA-MDL-00266003

          FB-CA-MDL-00266004

          FB-CA-MDL-00266005

          FB-CA-MDL-00266006

          FB-CA-MDL-00266063

          FB-CA-MDL-00266064
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          FB-CA-MDL-00266065

          FB-CA-MDL-00266066

          FB-CA-MDL-00266067

          FB-CA-MDL-00266068

          FB-CA-MDL-00266069

          FB-CA-MDL-00266070

          FB-CA-MDL-00266071

          FB-CA-MDL-00266072

          FB-CA-MDL-00266073

          FB-CA-MDL-00266347

          FB-CA-MDL-00266351

          FB-CA-MDL-00266405

          FB-CA-MDL-00266406

          FB-CA-MDL-00266407

          FB-CA-MDL-00266408

          FB-CA-MDL-00266409

          FB-CA-MDL-00266410

          FB-CA-MDL-00266411

          FB-CA-MDL-00266412

          FB-CA-MDL-00266413

          FB-CA-MDL-00266414

          FB-CA-MDL-00266415

          FB-CA-MDL-00266416
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          FB-CA-MDL-00266417

          FB-CA-MDL-00268604

          FB-CA-MDL-00268606

          FB-CA-MDL-00268609

          FB-CA-MDL-00268688

          FB-CA-MDL-00268689

          FB-CA-MDL-00268719

          FB-CA-MDL-00268720

          FB-CA-MDL-00268721

          FB-CA-MDL-00268722

          FB-CA-MDL-00268723

          FB-CA-MDL-00268724

          FB-CA-MDL-00268725

          FB-CA-MDL-00268726

          FB-CA-MDL-00268727

          FB-CA-MDL-00268728

          FB-CA-MDL-00268729

          FB-CA-MDL-00268730

          FB-CA-MDL-00268731

          FB-CA-MDL-00268732

          FB-CA-MDL-00268733

          FB-CA-MDL-00268734

          FB-CA-MDL-00268736
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          FB-CA-MDL-00268739

          FB-CA-MDL-00268745

          FB-CA-MDL-00268746

          FB-CA-MDL-00268749

          FB-CA-MDL-00268755

          FB-CA-MDL-00268757

          FB-CA-MDL-00268758

          FB-CA-MDL-00268784

          FB-CA-MDL-00268785

          FB-CA-MDL-00268786

          FB-CA-MDL-00268787

          FB-CA-MDL-00268788

          FB-CA-MDL-00268789

          FB-CA-MDL-00268790

          FB-CA-MDL-00268791

          FB-CA-MDL-00268792

          FB-CA-MDL-00268793

          FB-CA-MDL-00268794

          FB-CA-MDL-00268795

          FB-CA-MDL-00268796

          FB-CA-MDL-00268797

          FB-CA-MDL-00268798

          FB-CA-MDL-00268799
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          FB-CA-MDL-00268800

          FB-CA-MDL-00268801

          FB-CA-MDL-00268802

          FB-CA-MDL-00268828

          FB-CA-MDL-00268829

          FB-CA-MDL-00268830

          FB-CA-MDL-00268831

          FB-CA-MDL-00268832

          FB-CA-MDL-00268833

          FB-CA-MDL-00268834

          FB-CA-MDL-00268835

          FB-CA-MDL-00268836

          FB-CA-MDL-00268837

          FB-CA-MDL-00268838

          FB-CA-MDL-00268839

          FB-CA-MDL-00268840

          FB-CA-MDL-00268841

          FB-CA-MDL-00268842

          FB-CA-MDL-00268843

          FB-CA-MDL-00268844

          FB-CA-MDL-00268881

          FB-CA-MDL-00269041

          FB-CA-MDL-00269042
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          FB-CA-MDL-00269043

          FB-CA-MDL-00269045

          FB-CA-MDL-00274491

          FB-CA-MDL-00274493

          FB-CA-MDL-00274498

          FB-CA-MDL-00274546

          FB-CA-MDL-00274926

          FB-CA-MDL-00275060

          FB-CA-MDL-00275083

          FB-CA-MDL-00275132

          FB-CA-MDL-00275133

          FB-CA-MDL-00275134

          FB-CA-MDL-00275135

          FB-CA-MDL-00275136

          FB-CA-MDL-00275137

          FB-CA-MDL-00275313

          FB-CA-MDL-00275314

          FB-CA-MDL-00275420

          FB-CA-MDL-00275909

          FB-CA-MDL-00186936

          FB-CA-MDL-00186937

          FB-CA-MDL-00186938

          FB-CA-MDL-00186941
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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 19

            FB-CA-MDL-00186942

            FB-CA-MDL-00186943

INTERROGATORY NO. 19:

       Identify all members of Facebook’s senior management team involved in the review and

oversight of Facebook’s Privacy Program instituted pursuant to the 2012 Consent Decree.

RESPONSE TO INTERROGATORY NO. 19 - CONFIDENTIAL:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.

       (B)     Facebook objects to this Interrogatory on the ground that the terms “involved,”

“senior management team,” and “Facebook’s Privacy Program” are vague, ambiguous, and

undefined. Without definition, each term is susceptible to a number of meanings, including

several levels of Facebook employees and a variety of privacy related work streams or settings.

       (C)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding individuals involved with Facebook’s Privacy Program without regard for whether

their involvement related to issues in this case. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information relating to individuals involved with Facebook’s

Privacy Program to the extent their role did not implicate application developers being granted


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                       FACEBOOK’S RESPONSE TO INTERROGATORY NO. 19

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (D)     Facebook objects to this Interrogatory as overly broad and unduly burdensome, to

the extent that it seeks the identies of individuals who were only incidentally “involved in” the

“oversight of Facebook’s Privacy Program.”

        (E)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct an investigation regarding what, if

any, involvement any member of Facebook’s Senior Management team had in Facebook’s

Privacy Program over the last eight years. The burden of such an investigation outweighs any

potential utility it could serve.

        (F)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);


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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 19

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 82:

       Between 2012 and 2020, Facebook designated a team of employees who were directly

responsible for the Facebook Privacy Program (the “Privacy Governance Team”). The Privacy

Governance Team was responsible for reviewing company-wide privacy decisions, including

product decisions and establishing, communicating, and monitoring relevant control policies and

procedures. The members of the Privacy Governance Team included:

          Michael Richter

          Erin Egan

          Joe Sullivan

          Alex Stamos

          Ed Palmieri

          Joshua Smith

          Susan Cooper

          Katherine Tassi

          Ashlie Beringer

          Yvonne Cunnane

          Joel Kaplan

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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 19

            Elliot Schrage

            Gary Briggs

            Yul Kwon

INTERROGATORY NO. 20:

       Identify all members of the Board of Directors involved in the review and oversight of

Facebook’s Privacy Program instituted pursuant to the 2012 Consent Decree.

RESPONSE TO INTERROGATORY NO. 20:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)      Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.

       (B)      Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding individuals involved with Facebook’s Privacy Program without regard for whether

their involvement related to issues in this case. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information relating to individuals involved with Facebook’s

Privacy Program to the extent their role did not implicate application developers being granted

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of


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“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (C)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct an investigation regarding what, if

any, involvement any member of Facebook’s Board of Directors had in Facebook’s Privacy

Program over the last eight years. The burden of such an investigation outweighs any potential

utility it could serve.

        (D)     Facebook objects to this Interrogatory on the ground that the terms “involved”

and “Facebook’s Privacy Program” are vague, ambiguous, and undefined. For example, without

definition, the terms could include a variety of privacy related work streams or settings.

        (E)     Facebook objects to this Interrogatory as overly broad and unduly burdensome, to

the extent that it seeks the identifies of individuals who were only incidentally “involved in” the

“oversight of Facebook’s Privacy Program.”

        (F)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);


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Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 83:

        As indicated supra, the Privacy Governance Team was directly responsible for the

Facebook Privacy Program. However, Facebook’s business and affairs, including the Privacy

Program, are ultimately managed by or under the direction of the Board of Directors, in its

entirety. See FB-CA-MDL-00009727.

INTERROGATORY NO. 21:

        For each such individual identified above in Interrogatories 19 and 20, describe in detail

their duties and responsibilities relating thereto.

RESPONSE TO INTERROGATORY NO. 21:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” individual identified in response to Interrogatories 19 and 20.

See, e.g., New Amsterdam Project Mgmt. Humanitarian Found. v. Laughrin, No. 07-00935-JF

(HRL), 2009 WL 102816, at *6 (N.D. Cal. Jan. 14, 2009). During the parties’ meet and confers


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and via email on September 11, 2020, Plaintiffs have argued that Facebook’s objection is

improper and inconsistent with Safeco of Am. v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal.

1998), under which interrogatories that ask “the responding party to state facts, identify

witnesses, or identify documents” regarding subject matters that are “discrete or separate” from

each other “should be viewed as containing a subpart” for each separate subject matter. Here,

Plaintiffs’ Interrogatory does not ask Facebook to provide “information related to the same

subjects such that they should be counted as one interrogatory,” Int’l Petroleum Prod. &

Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL 4673947, at *5 (N.D. Cal. Aug. 12, 2020)

(internal quotation marks and citations omitted), but instead seeks information about separate

and distinct subjects, to wit, several different individuals and their roles and/or duties in relation

to Facebook. Facebook will therefore treat Plaintiffs’ inquiry into “each” individual as an

individual Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475

(N.D. Cal. 2004) (holding interrogatories asking for information about each of “26 different

products” each had “26 discrete subparts” because “‘a party cannot avoid the numerical limits

[on interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.

       (C)     Facebook objects to this Interrogatory on the ground that the term “Facebook’s

Privacy Program” is vague, ambiguous, and undefined. For example, without definition, the

term could include a variety of privacy related work streams or settings.


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        (D)     Facebook objects to this Interrogatory as overly broad and unduly burdensome, to

the extent that it seeks the identifies of individuals who were only incidentally “involved in” the

“oversight of Facebook’s Privacy Program.”

        (E)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks information

regarding individuals involved with Facebook’s Privacy Program without regard for whether

their involvement related to issues in this case. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information relating to individuals involved with Facebook’s

Privacy Program to the extent their role did not implicate application developers being granted

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (F)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct an investigation regarding what, if


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any, involvement any member of Facebook’s Board of Directors or Senior Management Team

had in Facebook’s Privacy Program over the last eight years. The burden of such an

investigation outweighs any potential utility it could serve.

       (G)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

       Facebook stands on its objections.

INTERROGATORY NO. 22:

       Describe in detail the facts and circumstances relied upon by Facebook in assessing and

agreeing to pay a $5 billion fine to the Federal Trade Commission.

RESPONSE TO INTERROGATORY NO. 22:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.




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       (B)      Facebook objects to this Interrogatory to the extent it seeks information related to

confidential settlement negotiations that are protected from disclosure by Federal Rule of

Evidence 408.

       (C)      Facebook objects to this Interrogatory on the basis that it seeks an overbroad set

of information that would be unduly burdensome for Facebook to provide. The FTC’s 2018

investigation of Facebook’s practices involved a large number of issues—many of which do not

relate to any live claims or defenses in this case—and, as with any settlement, a very large

number of considerations factored into the Company’s settlement decision. Requiring Facebook

to create a comprehensive list of such “facts and circumstances” is an unduly burdensome

mechanism for Facebook to provide the information Plaintiffs appear to be seeking.

       (D)      Facebook objects to this Interrogatory on the ground that it seeks information

unrelated and irrelevant to the claims or defenses in this litigation because Facebook’s decision

to settle claims with a government agency has no bearing on Plaintiffs claims against the

Company. Facebook objects to this Interrogatory as overly broad, irrelevant to the subject matter

of this Action, and not proportional to the needs of the case, to the extent it seeks information

relating to issues investigated by the FTC unrelated to application developers being granted

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2


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(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (E)      Facebook objects to this Interrogatory on the basis that the non-privileged

information Plaintiffs seek is publicly available or otherwise within Plaintiffs’ custody or

control. Facebook has issued public statements and filed various court documents regarding its

settlement with the FTC and the reasons for the settlement.

        (F)      Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

        (G)      Facebook objects to this Interrogatory on the basis that Plaintiffs’ request that

Facebook “[d]escribe in detail the facts and circumstances relied upon by Facebook” is so vague

and overbroad that the Interrogatory is impossible to answer.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 84:

        To the extent Plaintiffs seek non-privileged information pertaining Facebook’s decision

to settle with the Federal Trade Commission, Facebook directs Plaintiffs to its public statements

regarding that decision, including, among others:

             https://about.fb.com/news/2019/07/ftc-agreement/

             https://about.fb.com/news/2020/04/final-ftc-agreement/


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INTERROGATORY NO. 23:

       Identify every person involved in the decision to pay the $5 billion fine to the Federal

Trade Commission.

RESPONSE TO INTERROGATORY NO. 23 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.

       (B)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. In order to answer this Interrogatory, Facebook

would need to conduct an investigation regarding who among Facebook’s management,

employees, attorneys, and others, had any “involvement” in Facebook’s decision to settle with

the FTC. The burden of such an investigation outweighs any potential utility it could serve.

       (C)     Facebook objects to this Interrogatory on the ground that it seeks information

unrelated and irrelevant to the claims or defenses in this litigation because Facebook’s decision

to settle claims with a government agency has no bearing on Plaintiffs claims against the

Company. Facebook objects to this Interrogatory as overly broad, irrelevant to the subject matter

of this Action, and not proportional to the needs of the case, to the extent it seeks information

relating to issues investigated by the FTC unrelated to application developers being granted

access to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure

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of information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (D)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

        (E)     Facebook objects to this Interrogatory on the basis that Plaintiffs’ request that

Facebook “every person involved in the decision” to settle with the Federal Trade Commission is

so vague and overbroad that the Interrogatory is impossible to answer.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 85:

        Facebook’s response to the Federal Trade Commission’s 2018 investigation, including

the assessment of the terms of a potential settlement, was guided by a Special Committee of

Facebook’s Board of Directors, who were represented by Independent Legal Counsel. After


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extensive deliberations and analysis, the Special Committee recommended approval of the

proposed settlement. The Special Committee was composed of Kenneth Chenault, Marc

Andreesen, and Jeffrey Zients. Facebook’s Board of Directors voted to approve the proposed

settlement.

INTERROGATORY NO. 24:

        Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether Third Parties accessed the Not Generally Available Content

and Information of Facebook Users by virtue of their being Friends of Installing Users; (2) which

Third Parties accessed such Content and Information; and (3) which Facebook Users, by virtue

of their being Friends of Installing Users, had their Not Generally Available Content and

Information accessed by Third Parties.

RESPONSE TO INTERROGATORY NO. 24:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory on the ground that it seeks Facebook’s

protected trade secrets and other sensitive, proprietary information that would pose security and

business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus, the burdens

of production would outweigh the utility of the production of this information, which are not

relevant to Plaintiffs’ claims.

        (B)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and otherwise outside the scope of additional ESI


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information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

       (C)      Facebook objects to this Interrogatory to the extent it is seeks to impose an unduly

burdensome obligation on Facebook—beyond that required by the Federal Rules—to investigate

sources of ESI containing information that is not otherwise responsive to Plaintiffs’ requests for

production, thereby improperly shifting the burden onto Facebook to identify broad sets of

information Plaintiffs might deem relevant to their claims separate from the parties’ agreed upon

process for identifying relevant sources of ESI. The parties negotiated a detailed process for

identifying and producing relevant and responsive ESI, see ECF No. 416, which requires the

parties to meet and confer regarding non-custodial ESI to be preserved. The parties have also

negotiated at length regarding a process by which Facebook will conduct custodial interviews

and disclose relevant sources of ESI. ECF No. 461. Facebook has separately undertaken

extensive efforts to respond to those RFPs the parties agree do not require custodial data searches

and has disclosed the non-custodial data sources responsive to such requests. This Interrogatory

subverts the orderly process the parties have agreed to.

       (D)      Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case.

Specifically, Facebook objects to this Interrogatory to the extent it seeks information related to

the content, structure, or organization of ESI that do not store or reflect data related to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three


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manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).

       (E)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

       Facebook stands on its objections.

INTERROGATORY NO. 25:

       Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether any Business Partners accessed the Not Generally Available

Content and Information of Facebook Users even if such Users did had not downloaded an App

from those Business Partners; (2) which Business Partners accessed such Content and

Information; and/or (3) which Facebook Users had their Not Generally Available Content and

Information accessed in that manner.

RESPONSE TO INTERROGATORY NO. 25:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:


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        (A)     Facebook objects to this Interrogatory on the ground that it seeks Facebook’s

protected trade secrets and other sensitive, proprietary information that would pose security and

business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus, the burdens

of production would outweigh the utility of the production of this information, which are not

relevant to Plaintiffs’ claims.

        (B)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties’ extensive letter exchange and meet and

confer discussions regarding sources of ESI and otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr’g Tr. at 6:16-22; ECF

No. 436 at 1.

        (C)     Facebook objects to this Interrogatory to the extent it is seeks to impose an unduly

burdensome obligation on Facebook—beyond that required by the Federal Rules—to investigate

sources of ESI containing information that is not otherwise responsive to Plaintiffs’ requests for

production, thereby improperly shifting the burden onto Facebook to identify broad sets of

information Plaintiffs might deem relevant to their claims separate from the parties’ agreed upon

process for identifying relevant sources of ESI. The parties negotiated a detailed process for

identifying and producing relevant and responsive ESI, see ECF No. 416, which requires the

parties to meet and confer regarding non-custodial ESI to be preserved. The parties have also

negotiated at length regarding a process by which Facebook will conduct custodial interviews

and disclose relevant sources of ESI. ECF No. 461. Facebook has separately undertaken

extensive efforts to respond to those RFPs the parties agree do not require custodial data searches

and has disclosed the non-custodial data sources responsive to such requests. This Interrogatory

subverts the orderly process the parties have agreed to.


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       (D)     Facebook objects to this Interrogatory on the ground that the definition of

“Business Partners” is vague, ambiguous, overly broad, and unduly burdensome. Facebook will

construe this term as described in its objections to its Definition.

       (E)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case.

Specifically, Facebook objects to this Interrogatory to the extent it seeks information related to

the content, structure, or organization of ESI that do not store or reflect data related to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three

manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557 at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548 at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).

       (F)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

       Facebook stands on its objections.


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INTERROGATORY NO. 26:

        Identify by name and time period all Third Parties that obtained Facebook Users’ Content

and Information through friend permissions prior to 2009.

RESPONSE TO INTERROGATORY NO. 26:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory on the ground that the term “friend

permissions” is vague, ambiguous, and undefined.

        (B)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, Facebook objects to this

Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of data

that would require Facebook to conduct an investigation of each of the millions of apps

connected to the Facebook Platform during the relevant time period, which presents not only

practical limitations as to its analysis, delivery, and use, but is largely irrelevant. Thus, the

burdens of compiling such information outweigh the utility of the information.

        (C)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook to conduct a broad investigation—including

analyzing a large number of documents that have not yet been identified and produced and that

may or may not be in Facebook’s possession, custody, and control—to identify potentially


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millions of apps connected to the Facebook Platform during the relevant time period, without

regard to whether such apps have any relationship to any live claim or defense.

        (D)    Facebook objects to this Interrogatory on the basis that it seeks information only

as to time-barred claims.

        (E)    Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that it seeks all information

regarding third parties’ access to APIs prior to 2009. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information relating to API calls, applications, and user data

that do not implicate application developers being granted access to “sensitive user information”

via friend-sharing between 2009 and 2015, the disclosure of information to so-called

“whitelisted” applications, the sharing of “sensitive user information” with integration partners

pursuant to “data reciprocity agreements,” and/or the misuse of “sensitive user information”

disclosed in one of these three manners as a result of Facebook’s alleged failure to adopt

effective policies or enforcement procedures governing the transmission and use of “sensitive

user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No.

557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant

scope of user information as being that “Facebook shared with or made accessible to third

parties”).

        (F)    Facebook objects to this Interrogatory to the extent it is cumulative and

duplicative of prior Interrogatories, including Interrogatory No. 13.

        (G)    Facebook further objects to this Interrogatory on the ground that the Interrogatory

seeks information not in Facebook’s possession, custody, or control.




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       (H)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 86:

       Facebook has conducted an investigation into the information Plaintiffs seek and

presently understands that it is not possible to create the data set requested.

INTERROGATORY NO. 27:

       Identify by name and time period all Third Parties to whom Facebook granted whitelisted

access, the time period of the grant of whitelisted access, and the Third Parties for which such

access was granted.

RESPONSE TO INTERROGATORY NO. 27 – HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as containing multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33. Although

Facebook has provided two tables of data points relevant to each of the third-party applications

for ease of review, Facebook considers this Interrogatory—in conjunction with Interrogatory No.

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13—to pose a separate Interrogatory about over 600 different entities, and therefore the below

Response to constitute over 600 discrete Responses.

       (B)     Facebook objects to this Interrogatory on the ground that the term “whitelisted” is

vague, ambiguous, and undefined. For the purposes of this Interrogatory, Facebook will

construe the term “whitelisted” consistent with the Court’s Order on Facebook’s Motion to

Dismiss, ECF No. 298, to mean applications that were allowed continued access to users’

friends’ data for a period of time after Facebook transitioned to Graph API v.2.0, either because

they were granted temporary extension of access to friends permissions under Graph API v. 1.0

or because they were otherwise approved for access to private APIs that allowed them to to

query endpoints associated with data fields that may have been associated with a user’s friends

after the transition to Graph API v. 1.0.

       (C)     Facebook objects to this Interrogatory to the extent it seeks information both as to

“all Third Parties to whom Facebook granted whitelisted access” and “the Third Parties for

which such access was granted,” as both clauses appear to seek the same information. Facebook

will construe the Interrogatory as seeking only “all Third Parties to whom Facebook granted

whitelisted access.”

       (D)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to “whitelisted access”

unrelated to application developers being granted access to “sensitive user information” via

friend-sharing between 2009 and 2015, the disclosure of information to so-called “whitelisted”

applications, the sharing of “sensitive user information” with integration partners pursuant to

“data reciprocity agreements,” and/or the misuse of “sensitive user information” disclosed in one


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of these three manners as a result of Facebook’s alleged failure to adopt effective policies or

enforcement procedures governing the transmission and use of “sensitive user data.” See MTD

Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-

Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user

information as being that “Facebook shared with or made accessible to third parties”).

       (E)     Facebook objects to this Interrogatory to the extent it is cumulative and

duplicative of prior Interrogatories, including Interrogatory No. 13.

       (F)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook first to analyze a large number of documents

that have not yet been identified and produced and that may or may not be in Facebook’s

possession, custody, and control.

       (G)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:


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         Response No. 87:

         After an extensive investigation, Facebook has identified the lists of third-party

applications below.

         The first list below consists of apps that requested and were given permission by the app

user to access friend permissions at some point during the apps’ existence, and were given a one-

time extension allowing them to continue to access the fields available through Graph API V1

(potentially including friend data) after the deprecation of Graph API V1 in May 2015. These

extensions were for less than six months, with the exception of one company, which received an

extension until January 2016. The list below provides the name of each third-party application

that received a short-term extension, the date the app was created, the date the app’s extension to

the deprecation of Graph API V1 expired (which was the last date on which the app could have

accessed non-public information from the app user’s friends), and the app’s requested and

obtained permissions for friend data.12

         Three limitations apply to this list. First, it includes apps for which at least one user

granted access to a friend-related data field during the app’s existence and did not subsequently

change that permission.




12
     Facebook has provided information about all known permissions for friend-related data fields sought and
     granted at any time. Note that the data field names are listed as they appear in Facebook’s internal database.

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       Third, this list is comprehensive to the best of Facebook’s ability, as explained in the

June 29, 2018 Facebook letter that is cited in paragraph 432 of the SACC.

       The interaction of these apps with the app installers’ friends’ privacy settings occurred in

the same manner that these settings governed all third-party apps calling the Graph API in the V1

time period, as described in Facebook’s Response No. 77 to Interrogatory No. 14.




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         The second list below consists of third-party applications that had access to capabilities

which were associated with private APIs that may have allowed third party application

developers to query endpoints associated with data fields associated with a user’s friends after

the transition to Graph API v.2.13 The vast majority of capabilities that allowed access to private

APIs did not enable third-party apps to access user data. The private APIs that do enable third-

party apps to access user data generally are used for the following limited purposes (not all of

which involved third parties gaining access to data associated with a user’s friends):

         Integration Partners: Facebook’s integration partners use private APIs to access user data

at Facebook’s direction and for the purpose of providing Facebook’s services to users. One

example of Facebook’s integration partnerships was its partnership with Blackberry to offer the

Facebook experience on Blackberry devices.

         Business Integrations: Many of Facebook’s private APIs are used by businesses to

manage their presences on Facebook and to facilitate transactions or communications with

people on Facebook.14 The programs using these private APIs allow businesses to manage their

content on Facebook, do business on Facebook, or advertise on Facebook. Some illustrative

examples include:




13
     This Response does not include Facebook’s Integration Partners, which are addressed in Facebook’s responses
     to Interrogatory Nos. 14 and 15.
14
     Although the names sound similar, “integration partners” and “business integrations” are very different.
     Integration partners are third parties (such as device manufacturers) that help Facebook provide Facebook
     experiences to users; they are Facebook’s own service providers. Business integrations are tools developed
     either by a third-party business or the business’s service provider; the business uses these tools to interact with
     people on Facebook and to administer its own content and services on Facebook.

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           Merchants: Facebook allows merchants to sell products and services on Facebook

            (such as by using Buy on Facebook). Facebook offers these merchants – which

            include vendors such as                                             – access to private

            APIs to upload product information and obtain users’ order information and payment

            details for order fulfillment.

           Jobs: Private APIs allow third-party recruiting and career networking services such

            as                                           to create job postings on Facebook and to

            receive job applications from users.

       Media Integrations: Media businesses use private APIs to access public content or the

media company’s own posts, so that they can do things like show current topics, issues of

interest, or what people are saying about them publicly. Examples include companies like



       Search Integrations: Search integrations use private APIs to search public content on

Facebook. One example of a search integration is                         which uses private search

APIs to provide users with relevant search results based on public content on Facebook.

       Beta/Test APIs: Facebook routinely provides third-party developers access to private

APIs to test new functionalities or products before making those APIs available to the public.

For example, Facebook built a private API for developers to test its Reactions API before

offering it publicly. The Reactions API allows a business on Facebook to collect statistical data

on the number of reactions (“likes,” “wows,” “love”) to a piece of content posted to its Facebook

page. The Reactions API is now a public API, published and described in Facebook’s developer

guidance.




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         Specialized Consumer Experiences: In limited cases, consumer-facing apps use private

APIs to enable specific functionalities that will not be used by the vast majority of apps. These

include:

            Games: Facebook developed private APIs to support certain specialized

             functionalities used by game apps. For example, in the past Facebook allowed people

             to use Facebook’s own virtual currency (Facebook Credits) to purchase enhanced in-

             game features; some functions related to this currency were performed through

             private APIs that were not made available to the entire developer base.

            Additional Customized Experiences: Facebook has developed private APIs to enable

             select partners to offer custom, seamless experiences for users seeking to more

             closely integrate their Facebook experiences with other things they like to do, such as

             listening to music, watching movies, or pursuing and sharing interests and hobbies.

             These custom experiences are built by companies such as



         The following list includes of third-party applications that had access to capabilities

which were associated with private APIs that may have allowed third party application

developers to query endpoints associated with data fields that may have been associated with a

user’s friends after the transition to Graph API v.2. It does not include:

            Facebook’s First-Party Apps: A large portion of the apps approved to access

             capabilities are internal Facebook programs developed to enable the Company’s own

             products. They do not involve sharing user information with third parties.15


15
     The company identified apps as first-party apps when (1) they were labeled as first-party apps in Facebook’s
     records; (2) all of an app’s developers and administrators were Facebook employees; or (3) they were identified
     as first-party apps by Facebook’s Partnerships and Platform teams. Facebook’s systems do not specifically note

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          Integration Partners: Facebook’s Integration Partners are addressed in Facebook’s

           responses to Interrogatory Nos. 14 and 15.

          Never Installed: Apps that were approved to access capabilities but were never

           actually installed by a single user have been omitted.

       The list below provides the named of each third-party application, the capabilities

associated with private APIs that may have allowed each application to query (but would not

have necessarily returned) endpoints associated with user’s friends’ data fields during the

relevant time period, the date ranges during which they were active, and the data fields

associated with the APIs they had access to. Note that the lack of an access revocation date does

not signify that such access was never revoked or otherwise terminated.

       Please note that many apps appear in multiple rows of the spreadsheet. That is because an

app may have been approved to access more than one capability. When that is the case, each

capability-app pair is listed on a separate row in order to be able to provide precise dates when

Facebook granted the app access to the capability or removed the app from the list authorized to

access the capability.

       A large portion the listed apps likely were never public because they were test or beta

versions of apps that developers created to ensure the apps would work before launching them

publicly. These apps were identified by finding apps with a de minimis number of app installs

(ten or fewer) or that followed naming conventions commonly used for test apps (including

“test” or “dev” in the app name).




   when a capability is used by only Facebook’s own programs; to distinguish access in this manner required
   manual review of the relevant capabilities and, at times, apps. When in doubt, Facebook took the conservative
   approach of labeling the app a third-party app and including it in this response.

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       Last, it should be noted that Facebook made clear that before an app could access any

non-public information, the app was required to ask the user for permission. These requirements

applied to apps whether they accessed non-public data through public or private APIs.




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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 28

INTERROGATORY NO. 28:

       Describe the criteria Facebook used to determine which Third Parties would be granted

whitelisted access.

RESPONSE TO INTERROGATORY NO. 28 - CONFIDENTIAL:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory on the ground that the term “whitelisted” is

vague, ambiguous, and undefined. For the purposes of this Interrogatory, Facebook will

construe the term “whitelisted” consistent with the Court’s Order on Facebook’s Motion to

Dismiss, ECF No. 298, to mean applications that were allowed continued access to users’

friends’ data for a period of time after Facebook transitioned to Graph API v.2.0, either because

they were granted temporary extension of access to friends permissions under Graph API v. 1.0

or because they were otherwise approved for access to private APIs that allowed them to to

query endpoints associated with data fields that may have been associated with a user’s friends

after the transition to Graph API v. 1.0.

       (B)     Facebook objects to this Interrogatory on the ground that the term “criteria” is

vague, ambiguous, and undefined.

       (C)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.




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       (D)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to “whitelisted access”

unrelated to application developers being granted access to “sensitive user information” via

friend-sharing between 2009 and 2015, the disclosure of information to so-called “whitelisted”

applications, the sharing of “sensitive user information” with integration partners pursuant to

“data reciprocity agreements,” and/or the misuse of “sensitive user information” disclosed in one

of these three manners as a result of Facebook’s alleged failure to adopt effective policies or

enforcement procedures governing the transmission and use of “sensitive user data.” See MTD

Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-

Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user

information as being that “Facebook shared with or made accessible to third parties”).

       (E)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:




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                      FACEBOOK’S RESPONSE TO INTERROGATORY NO. 28

       Response No. 88:

       With regard to particular third parties and particular decisions related to the permissions

granted to them, Facebook responds that pursuant to Federal Rule of Civil Procedure 33(d), the

answer to this Interrogatory may be determined by examining Facebook’s previous and

forthcoming document productions and the burden of deriving or ascertaining the answer to this

Interrogatory will be substantially the same for Plaintiff as it would be for Facebook.

       With regard Facebook’s broader decision-making processes, the term “whitelisting”

refers to a wide variety of situations and does not necessarily indicate access to additional user

data beyond what is available through public APIs. In fact, the term “whitelist” is often used in

contexts that have nothing to do with developer access to user data. For example, Facebook

whitelists each user for a specific language, so their Facebook experience is displayed in their

preferred language (e.g., Brazilians are whitelisted to Portuguese unless they specify otherwise).

Facebook can also whitelist the number of API calls third-party developers make.




       Facebook may also whitelist certain partners to allow them access to products for

purposes of beta testing.




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          It is common to help partners transition their apps during Platform changes to prevent

their apps from crashing or causing disruptive experiences for users.

       Facebook takes many factors into account when it engages with third parties to enable

particular functionalities, solve a problem, address an unmet need, or beta test a new product,

which may include providing a third party access to a non-public API. Facebook works across

its Product and Partnerships teams to identify well-known, reputable partners and collaborate

with them to develop, approve, and execute product plans to accomplish the shared purpose of

the partnership. The types of data that a partner can access depends on the nature and purpose of

the partnership. Regardless of the reason for whitelisting a particular partner, Facebook is

targeted in its approach. Data access is narrowly limited to what a partner needs to provide the

user experience.




INTERROGATORY NO. 29 [WITHDRAWN BY PLAINTIFFS]:

       Identify by name and time period all Third Parties that were Business Partners of

Facebook and were granted access to Facebook Users’ Content and Information.




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RESPONSE TO INTERROGATORY NO. 29 [WITHDRAWN BY PLAINTIFFS]:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating access to user data

unrelated to application developers being granted access to “sensitive user information” via

friend-sharing between 2009 and 2015, the disclosure of information to so-called “whitelisted”

applications, the sharing of “sensitive user information” with integration partners pursuant to

“data reciprocity agreementsand/or the misuse of “sensitive user information” disclosed in one of

these three manners as a result of Facebook’s alleged failure to adopt effective policies or

enforcement procedures governing the transmission and use of “sensitive user data.” See MTD

Order, ECF No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-

Reply to Def.’s Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user

information as being that “Facebook shared with or made accessible to third parties”).

       (B)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome. Specifically, the Interrogatory seeks information about every Business

Partner that may have had access to any user data over a thirteen-year period.

       (C)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to


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Plaintiffs’ Interrogatory would require Facebook to conduct a broad investigation—including

analyzing a large number of documents that have not yet been identified and produced and that

may or may not be in Facebook’s possession, custody, and control—to identify all Business

Partners who were permitted access to any user content and information over the course of at

least thirteen years, without respect for whether the partner or particular information has any

relationship to any live claim or defense.

       (D)     Facebook objects to this Interrogatory on the basis that it is cumulative and

duplicative of prior requests, including Interrogatories 14 and 17 and RFPs 12 and 24.

       (E)     Facebook objects to this Interrogatory on the basis that the information sought is

more appropriately pursued through another means of discovery, such as a request for the

production of documents.

       (F)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Plaintiffs have withdrawn this Interrogatory.

INTERROGATORY NO. 30:

       Identify all categories of Content and Information available to a Facebook User through

the “Access Your Information” or “Download Your Information” tools, such as users’ public and

private posts, Facebook messenger messages, and any attached content.


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RESPONSE TO INTERROGATORY NO. 30:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory on the ground that the phrase “‘Access

Your Information’ or ‘Download Your Information’ tools” is vague, ambiguous, and undefined.

Without definition, these terms may have various meanings. For example, the selections and

options available to users under certain tools has varied over time and across devices.

       (B)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that which types of

information are available to users through Facebook’s “Access Your Information” or “Download

Your Information” tools are not relevant to any live claim. Facebook further objects to this

Interrogatory to the extent it seeks information relating to user data unrelated to application

developers being granted access to “sensitive user information” via friend-sharing between 2009

and 2015, the disclosure of information to so-called “whitelisted” applications, the sharing of

“sensitive user information” with integration partners pursuant to “data reciprocity agreements,”

and/or the misuse of “sensitive user information” disclosed in one of these three manners as a

result of Facebook’s alleged failure to adopt effective policies or enforcement procedures

governing the transmission and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-

10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay,

ECF No. 548, at 2 (describing the relevant scope of user information as being that “Facebook

shared with or made accessible to third parties”).




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       (C)     Facebook further objects to the Interrogatory on the ground that it seeks

information that is public, already in the possession, custody, or control of Plaintiffs, or

obtainable from some other source that is more convenient, less burdensome, or less expensive.

Plaintiffs have access through Facebook’s Platform and mobile apps to Facebook’s Access Your

Information and Download Your Information tools and can readily see what information is

available there. Facebook has also produced all information contained in these tools for the

Named Plaintiffs.

       (D)     Facebook objects to this Interrogatory to the extent it is cumulative and

duplicative of prior requests, including RFP Nos. 9 and 10.

       (E)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 89:

       A list of the categories of information that Facebook users can access through the

Download Your Information tool is publicly available at the Facebook Help Center, see What

categories of my Facebook data are available to me?,

https://www.facebook.com/help/930396167085762, Table 2, Information you can download


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using the Download Your Information tool (last visited Nov. 19, 2020). That list is also

reproduced below.


 What info is                                                                      Where can I
                          What is it?
 available?                                                                        find it?


                          Information you added to the About section of your
                          timeline like relationships, work, education, where
                                                                                Downloaded
 About Me                 you live and more. It includes any updates or changes
                                                                                Info
                          you made in the past and what is currently in
                          the About section of your timeline.


 Account Status           The dates when your account was reactivated,             Downloaded
 History                  deactivated, disabled or deleted.                        Info


                          All stored active sessions, including date, time,
                                                                                   Downloaded
 Active Sessions          device, IP address, machine cookie and browser
                                                                                   Info
                          information.


                          Your current address or any past addresses you had       Downloaded
 Address
                          on your account.                                         Info


                                                                                   Downloaded
 Ads                      Ads you've recently viewed.
                                                                                   Info


                          Dates, times and titles of ads clicked (limited          Downloaded
 Ads Clicked
                          retention period).                                       Info


                          A list of topics that you may be targeted against
                                                                                   Downloaded
 Ad Topics                based on your stated likes, interests and other data
                                                                                   Info
                          you put in your timeline.


                          The unique advertising identification numbers
                          provided by your mobile device. These numbers are        Downloaded
 Advertising ID
                          used to show you ads on the apps you use on your         Info
                          device.




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          Any alternate names you have on your account             Downloaded
Alternate Name
                          (example: a maiden name or a nickname).                  Info


                                                                                   Downloaded
Apps                      All of the apps you have added.
                                                                                   Info


                                                                                   Downloaded
Articles                  Articles you've recently read.
                                                                                   Info


                          Information you've provided, such as your address,
                                                                                   Downloaded
Autofill Information      that is used to pre-fill messages when you contact a
                                                                                   Info
                          business through Messenger.


                          A history of the conversations you’ve had on
                                                                                   Downloaded
Chat                      Facebook Chat (a complete history is available
                                                                                   Info
                          directly from your messages inbox).


                                                                                   Downloaded
Chat Rules                Chat Rules you've accepted.
                                                                                   Info


                                                                                   Downloaded
Check-ins                 The places you’ve checked into.
                                                                                   Info


                          Your preferred currency on Facebook. If you use
                                                                                   Downloaded
Currency                  Facebook Payments, this will be used to display
                                                                                   Info
                          prices and charge your credit cards.


                          The city you added to the About section of your          Downloaded
Current City
                          timeline.                                                Info


                          The date you added to Birthday in the About section      Downloaded
Date of Birth
                          of your timeline.                                        Info


                          The number of times you've recently visited the          Downloaded
Dating
                          Dating section of Facebook.                              Info

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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          The unique identification numbers provided by the        Downloaded
Device ID
                          devices you use to log into Facebook.                    Info


                          The country and language from which you're
                                                                                   Downloaded
Device Locale             accessing Facebook as determined by the devices
                                                                                   Info
                          you're using.


                          Any information you added to Education field in the      Downloaded
Education
                          About section of your timeline.                          Info


                          Email addresses added to your account (even those        Downloaded
Emails
                          you may have removed).                                   Info


Email Address                                                                      Downloaded
                          A history of when you've verified your email address.
Verifications                                                                      Info


                                                                                   Downloaded
Events                    Events you’ve joined or been invited to.
                                                                                   Info


Event Contacts You've                                                              Downloaded
                      People you've blocked from inviting you to events.
Blocked                                                                            Info


                          The number of times you've recently visited the          Downloaded
Event Interactions
                          Events section of Facebook.                              Info


                                                                                   Downloaded
Events Visited            Event pages you've recently visited.
                                                                                   Info


                                                                                   Downloaded
Facebook Live Videos Live videos you've recently watched.
                                                                                   Info


Facebook Watch            A collection of topics that is used to show you          Downloaded
Topics for                relevant videos in the Facebook Watch tab. The           Info
Recommendations           topics are based on your previous interaction history


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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?

                          with things like links, videos, photos and Pages
                          you've liked.


                          A unique number based on a comparison of the
Facial Recognition                                                                 Downloaded
                          photos you're tagged in. We use this data to help
Data                                                                               Info
                          others tag you in photos.


                                                                                   Downloaded
Family                    Friends you’ve indicated are family members.
                                                                                   Info


                          Information you’ve added to the Favorite Quotes          Downloaded
Favorite Quotes
                          section of the About section of your timeline.           Info


                                                                                   Downloaded
Followers                 A list of people who follow you.
                                                                                   Info


                                                                                   Downloaded
Friends                   A list of your friends.
                                                                                   Info


                                                                                   Downloaded
Friend Requests           Pending, sent and received friend requests.
                                                                                   Info


                          Friends whose activity you've chosen to see less of      Downloaded
Friends You See Less
                          on Facebook.                                             Info


                                                                                   Downloaded
Fundraisers               Fundraisers you've recently viewed.
                                                                                   Info


                          The gender you added to the About section of your        Downloaded
Gender
                          timeline.                                                Info


                                                                                   Downloaded
Groups                    A list of groups you belong to on Facebook.
                                                                                   Info




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          The number of times you've interacted with Groups        Downloaded
Group Interactions
                          on Facebook.                                             Info


                                                                                   Downloaded
Groups Visited            Groups you've recently visited.
                                                                                   Info


                          The place you added to hometown in                       Downloaded
Hometown
                          the About section of your timeline.                      Info


                          A copy of the ID you submitted to confirm your
                                                                                   Personal Data
ID                        identity and to help improve our automated systems
                                                                                   Request
                          for detecting fake IDs and related abuse.


                                                                                   Downloaded
Instant Games             Instant Games you've played.
                                                                                   Info


                                                                                   Downloaded
IP Address Activity       Your recent activity from specific IP addresses.
                                                                                   Info


IP Address Message        Your recent message activity from specific IP            Downloaded
Activity                  addresses.                                               Info


IP Address Payment        Your recent payment activity from specific IP            Downloaded
Activity                  addresses.                                               Info


                                                                                   Downloaded
Language Settings         Your preferred language settings.
                                                                                   Info


                          Your most recent location determined by your             Downloaded
Last Location
                          device.                                                  Info


                                                                                   Downloaded
Linked Accounts           Accounts you've linked to your Portal.
                                                                                   Info




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


Live Video                                                                         Downloaded
                          Scheduled Live videos you've subscribed to.
Subscriptions                                                                      Info


                          IP address, date and time associated with logins to      Downloaded
Logins
                          your Facebook account.                                   Info


                          IP address, date and time associated with logouts        Downloaded
Logouts
                          from your Facebook account.                              Info


Marketplace                                                                        Downloaded
                          Categories you've recently viewed.
Categories                                                                         Info


Marketplace                                                                        Downloaded
                          Your recent interactions on Marketplace.
Interactions                                                                       Info


                                                                                   Downloaded
Marketplace Items         Items you've recently viewed.
                                                                                   Info


                                                                                   Downloaded
Marketplace Services      Services you've recently viewed.
                                                                                   Info


                          Contact information that may be associated with your Personal Data
Matched Contacts
                          account.                                             Request


                          Areas of Facebook you've recently accessed through       Downloaded
Menu Items
                          the main menu.                                           Info


                          Messages you’ve sent and received on Facebook.
                          Note, if you've deleted a message it won't be included Downloaded
Messages
                          in your download as it has been deleted from your      Info
                          account.


Messenger Contacts                                                                 Downloaded
                          Contacts you've blocked on Messenger.
You've Blocked                                                                     Info


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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          Notifications about your activity milestones, such as
Milestone                                                                          Downloaded
                          the number of reactions on a post, you've received
Notifications                                                                      Info
                          and dismissed.


Mobile Service
                          The service provider and country code associated         Downloaded
Provider and Country
                          with your phone number.                                  Info
Code


                                                                                   Downloaded
Name                      The name on your Facebook account.
                                                                                   Info


                          Any changes you’ve made to the original name you         Downloaded
Name Changes
                          used when you signed up for Facebook.                    Info


                          A collection of topics that is used to show you
                          relevant public posts in parts of your News Feed. The
News Feed Topics for                                                            Downloaded
                          topics are based on your previous interaction history
Recommendations                                                                 Info
                          with things like links, videos, photos and Pages
                          you've liked.


                          A collection of topics that is used to show you
                          relevant articles in the News tab. The topics are
News Topics for                                                                    Downloaded
                          based on your previous interaction history with
Recommendations                                                                    Info
                          things like posts, videos, photos and Pages you've
                          liked.


                          The identification numbers that we use to send you       Downloaded
Notification ID
                          Facebook notifications on your device.                   Info


                          Chat notifications you've dismissed from Pages you       Downloaded
Page Notifications
                          visit.                                                   Info


                                                                                   Downloaded
Page Visits               Pages you've recently visited.
                                                                                   Info




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


Page Transparency         A list of pages that you've received and dismissed       Downloaded
Notices                   notices from.                                            Info


                                                                                   Downloaded
Pages You Admin           A list of pages you admin.
                                                                                   Info


Pages You've                                                                       Downloaded
                          Pages you've recommended to others.
Recommended                                                                        Info


Pending Friend                                                                     Downloaded
                          Pending, sent and received friend requests.
Requests                                                                           Info


                          People and friends you've interacted with recently,      Downloaded
People
                          including comments and reactions.                        Info


                          People you've recently viewed when new friends           Downloaded
People Viewed
                          were suggested to you.                                   Info


                          Mobile phone numbers you’ve added to your
                                                                                   Downloaded
Phone Numbers             account, including verified mobile numbers you've
                                                                                   Info
                          added for security purposes.


                                                                                   Downloaded
Photos                    Photos you’ve uploaded to your account.
                                                                                   Info


                                                                                   Downloaded
Photo Effects             A list of the photo effects you've used.
                                                                                   Info


                          Any metadata that is transmitted with your uploaded      Downloaded
Photos Metadata
                          photos.                                                  Info


                          Platforms you've used to log into Facebook, such as      Downloaded
Platforms
                          the Facebook app or a browser.                           Info




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          A list of who’s poked you and who you’ve poked.
                          Poke content from our mobile poke app is not
                                                                                   Downloaded
Pokes                     included because it's only available for a brief period
                                                                                   Info
                          of time. After the recipient has viewed the content it's
                          permanently deleted from our systems.


                          Any information you added to Political Views in the      Downloaded
Political Views
                          About section of timeline.                               Info


Preferred Language        The preferred language for videos as determined by       Downloaded
for Videos                videos you've previously viewed.                         Info


Previously Removed                                                                 Downloaded
                          Friends you've recently removed but added back.
Contacts                                                                           Info


                          Your primary location is determined by information
                          we use to support Facebook Products, such as the         Downloaded
Primary Location
                          current city you entered on your profile and your        Info
                          device connection information.


                                                                                   Downloaded
Profile Visits            People whose profiles you've recently visited.
                                                                                   Info


                          Actions you’ve taken and interactions you’ve             Downloaded
Recent Activities
                          recently had.                                            Info


                                                                                   Downloaded
Recently Visited          Videos and shows you've recently visited.
                                                                                   Info


                                                                                   Downloaded
Record Details            Details included in some administrative records.
                                                                                   Info


                                                                                   Downloaded
Registration Date         The date you joined Facebook.
                                                                                   Info



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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                          The current information you added to Religious           Downloaded
Religious Views
                          Views in the About section of your timeline.             Info


                                                                                   Downloaded
Removed Friends           People you’ve removed as friends.
                                                                                   Info


                                                                                   Downloaded
Saved Post Reminders      Reminders you've received after you've saved a post.
                                                                                   Info


                          The screen names you’ve added to your account, and
                                                                                   Downloaded
Screen Names              the service they’re associated with. You can also see
                                                                                   Info
                          if they’re hidden or visible on your account.


                          A list of the times you've used Secret Conversations     Downloaded
Secret Conversations
                          in Messenger.                                            Info


Secret Conversations      A list of the secret conversations you've reported to    Downloaded
You've Reported           Facebook.                                                Info


                          Profiles and Pages you've recently chosen to see first   Downloaded
See First
                          in your News Feed.                                       Info


                          Profiles and Pages you've recently chosen to see less    Downloaded
See Less
                          of in your News Feed.                                    Info


                                                                                   Downloaded
Selected Language         The language you've selected to use Facebook in.
                                                                                   Info


                                                                                   Downloaded
Session Type              Your current active session types.
                                                                                   Info


                          A list of the Show Pages you’ve viewed and the           Downloaded
Show Pages
                          videos you’ve watched from them.                         Info




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What info is                                                                       Where can I
                          What is it?
available?                                                                         find it?


                                                                                   Downloaded
Shows                     A list of the individual videos you’ve watched.
                                                                                   Info


                          The languages you added to Spoken Languages in           Downloaded
Spoken Languages
                          the About section of your timeline.                      Info


                                                                                   Downloaded
Status Updates            Any status updates you’ve posted.
                                                                                   Info


                          The amount of time you’ve spent watching videos          Downloaded
Time Spent
                          from a Show Page.                                        Info


                                                                                   Downloaded
Time Viewed               The amount of an individual video you’ve watched.
                                                                                   Info


                                                                                   Downloaded
Timezone                  The timezone you've selected.
                                                                                   Info


                          Any current information you’ve added to Work in          Downloaded
Work
                          the About section of your timeline.                      Info


                                                                                   Downloaded
Videos                    Videos you’ve posted to your timeline.
                                                                                   Info


                                                                                   Downloaded
Video Creator Pages       Video creator Pages you've recently viewed.
                                                                                   Info


Videos You've                                                                      Downloaded
                          Videos you've removed from your Watch list.
Removed                                                                            Info


Your Facebook                                                                      Downloaded
                          A history of when you've accessed Facebook.
Activity                                                                           Info




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 What info is                                                                        Where can I
                           What is it?
 available?                                                                          find it?


                                                                                     Downloaded
 Your Pinned Posts         Posts you've pinned on your timeline.
                                                                                     Info


INTERROGATORY NO. 31:

       Identify all categories of Content and Information Facebook collects, tracks, and

maintains about Facebook Users that are excluded from the Access Your Information or

Download Your Information tools, such as advertisements served to a Facebook User, likes,

audience selector information, reports of offensive content, or support communications.

RESPONSE TO INTERROGATORY NO. 31:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

       (A)      Facebook objects to this Interrogatory on the ground that the phrase “‘Access

Your Information’ or ‘Download Your Information’ tools” is vague, ambiguous, and undefined.

Without definition, these terms may have various meanings. For example, the selections and

options available to users under certain tools has varied over time and across devices.

       (B)      Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case, in that which types of

information are available to users through Facebook’s “Access Your Information” or “Download

Your Information” tools are not relevant to any live claim. Facebook further objects to this

Interrogatory to the extent it seeks information relating to user data unrelated to application

developers being granted access to “sensitive user information” via friend-sharing between 2009


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and 2015, the disclosure of information to so-called “whitelisted” applications, the sharing of

“sensitive user information” with integration partners pursuant to “data reciprocity agreements,”

and/or the misuse of “sensitive user information” disclosed in one of these three manners as a

result of Facebook’s alleged failure to adopt effective policies or enforcement procedures

governing the transmission and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-

10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay,

ECF No. 548, at 2 (describing the relevant scope of user information as being that “Facebook

shared with or made accessible to third parties”).

        (C)    Facebook further objects to the Interrogatory on the ground that it seeks

information that is public, already in the possession, custody, or control of Plaintiffs, or

obtainable from some other source that is more convenient, less burdensome, or less expensive,

to wit, Facebooks data policies, which are publicly available and have already been produced to

Plaintiffs.

        (D)    Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, this Interrogatory seeks

information related all internal business analytics or analyses that include user information,

which are analyses that are conducted by thousands of Facebook data scientists and engineers

over an enormous amount of data. Even a large team of engineers working full time for several

years likely could not identify all of the information Plaintiffs seek. Facebook therefore objects

to this Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of

data, which presents not only practical limitations as to its analysis, delivery, and use, but is

largely irrelevant. Thus, the burdens of compiling such information outweigh the utility of the

information.


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          (E)    Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

          Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

          Response No. 90:

          The parties have met and conferred extensively regarding Plaintiffs’ requests that

Facebook prepare a list of all of the data points Facebook has or may have collected regarding

each of the Named Plaintiffs. Facebook has repeatedly directed Plaintiffs to Facebook’s Data

Policy, which contains a comphrensive explanation of the types of data Facebook collects for

users, including descriptive lists of the types of data that fall into particular categories. Plaintiffs

have not presented any questions or expressed concerns regarding the detail provided in the Data

Policy.

          Accordingly, Facebook responds that pursuant to Federal Rule of Civil Procedure 33(d),

the answer to this Interrogatory may be determined by examining Facebook’s document

productions, particularly all produced versions of Facebook’s Data Policy, including, inter alia,

FB-CA-MDL-00009502, FB-CA-MDL-00303103, FB-CA-MDL-00303116, and FB-CA-MDL-

00335292, and the burden of deriving or ascertaining the answer to this Interrogatory will be

substantially the same for Plaintiff as it would be for Facebook.


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        Facebook also directs Plaintiffs to its present Data Policy, which represents the most

comprehensive available list of the types of data Facebook collects about each user. The present

Data Policy is publicly available at https://www.facebook.com/policy.php (last visited Nov. 19,

2020) and is reproduced below:



Data Policy

This policy describes the information we process to support Facebook, Instagram, Messenger

and other products and features offered by Facebook (Facebook Products or Products). You can

find additional tools and information in the Facebook Settings and Instagram Settings.

What kinds of information do we collect?

To provide the Facebook Products, we must process information about you. The types of

information we collect depend on how you use our Products. You can learn how to access and

delete information we collect by visiting the Facebook Settings and Instagram Settings.

Things you and others do and provide.

       Information and content you provide. We collect the content, communications and

        other information you provide when you use our Products, including when you sign up

        for an account, create or share content, and message or communicate with others. This

        can include information in or about the content you provide (like metadata), such as the

        location of a photo or the date a file was created. It can also include what you see through

        features we provide, such as our camera, so we can do things like suggest masks and

        filters that you might like, or give you tips on using camera formats. Our systems

        automatically process content and communications you and others provide to analyze




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        context and what's in them for the purposes described below. Learn more about how you

        can control who can see the things you share.

              Data with special protections: You can choose to provide information in your

               Facebook profile fields or Life Events about your religious views, political views,

               who you are "interested in," or your health. This and other information (such as

               racial or ethnic origin, philosophical beliefs or trade union membership) could be

               subject to special protections under the laws of your country.

       Networks and connections. We collect information about the people, Pages,

        accounts, hashtags and groups you are connected to and how you interact with them

        across our Products, such as people you communicate with the most or groups you are

        part of. We also collect contact information if you choose to upload, sync or import it

        from a device (such as an address book or call log or SMS log history), which we use for

        things like helping you and others find people you may know and for the other purposes

        listed below.

       Your usage. We collect information about how you use our Products, such as the types

        of content you view or engage with; the features you use; the actions you take; the people

        or accounts you interact with; and the time, frequency and duration of your activities. For

        example, we log when you're using and have last used our Products, and what posts,

        videos and other content you view on our Products. We also collect information about

        how you use features like our camera.

       Information about transactions made on our Products. If you use our Products

        for purchases or other financial transactions (such as when you make a purchase in a

        game or make a donation), we collect information about the purchase or transaction. This


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        includes payment information, such as your credit or debit card number and other card

        information; other account and authentication information; and billing, shipping and

        contact details.

       Things others do and information they provide about you. We also receive and

        analyze content, communications and information that other people provide when they

        use our Products. This can include information about you, such as when others share or

        comment on a photo of you, send a message to you, or upload, sync or import your

        contact information.

Device Information

        As described below, we collect information from and about the computers, phones,

connected TVs and other web-connected devices you use that integrate with our Products, and

we combine this information across different devices you use. For example, we use information

collected about your use of our Products on your phone to better personalize the content

(including ads) or features you see when you use our Products on another device, such as your

laptop or tablet, or to measure whether you took an action in response to an ad we showed you

on your phone on a different device.

Information we obtain from these devices includes:

       Device attributes: information such as the operating system, hardware and software

        versions, battery level, signal strength, available storage space, browser type, app and file

        names and types, and plugins.

       Device operations: information about operations and behaviors performed on the device,

        such as whether a window is foregrounded or backgrounded, or mouse movements

        (which can help distinguish humans from bots).


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       Identifiers: unique identifiers, device IDs, and other identifiers, such as from games,

        apps or accounts you use, and Family Device IDs (or other identifiers unique to Facebook

        Company Products associated with the same device or account).

       Device signals: Bluetooth signals, and information about nearby Wi-Fi access points,

        beacons, and cell towers.

       Data from device settings: information you allow us to receive through device settings

        you turn on, such as access to your GPS location, camera or photos.

       Network and connections: information such as the name of your mobile operator or ISP,

        language, time zone, mobile phone number, IP address, connection speed and, in some

        cases, information about other devices that are nearby or on your network, so we can do

        things like help you stream a video from your phone to your TV.

       Cookie data: data from cookies stored on your device, including cookie IDs and settings.

        Learn more about how we use cookies in the Facebook Cookies Policy and Instagram

        Cookies Policy.

Information from partners.

        Advertisers, app developers, and publishers can send us information through Facebook

Business Tools they use, including our social plug-ins (such as the Like button), Facebook

Login, our APIs and SDKs, or the Facebook pixel. These partners provide information about

your activities off Facebook—including information about your device, websites you visit,

purchases you make, the ads you see, and how you use their services—whether or not you have a

Facebook account or are logged into Facebook. For example, a game developer could use our

API to tell us what games you play, or a business could tell us about a purchase you made in its




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store. We also receive information about your online and offline actions and purchases from

third-party data providers who have the rights to provide us with your information.

       Partners receive your data when you visit or use their services or through third parties

they work with. We require each of these partners to have lawful rights to collect, use and share

your data before providing any data to us. Learn more about the types of partners we receive data

from. To learn more about how we use cookies in connection with Facebook Business Tools,

review the Facebook Cookies Policy and Instagram Cookies Policy.

How do we use this information?

We use the information we have (subject to choices you make) as described below and to

provide and support the Facebook Products and related services described in the Facebook

Terms and Instagram Terms. Here’s how:

Provide, personalize and improve our Products.

       We use the information we have to deliver our Products, including to personalize features

and content (including your News Feed, Instagram Feed, Instagram Stories and ads) and make

suggestions for you (such as groups or events you may be interested in or topics you may want to

follow) on and off our Products. To create personalized Products that are unique and relevant to

you, we use your connections, preferences, interests and activities based on the data we collect

and learn from you and others (including any data with special protections you choose to

provide); how you use and interact with our Products; and the people, places, or things you're

connected to and interested in on and off our Products. Learn more about how we use

information about you to personalize your Facebook and Instagram experience, including

features, content and recommendations in Facebook Products; you can also learn more about

how we choose the ads that you see.


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       Information across Facebook Products and devices: We connect information about

        your activities on different Facebook Products and devices to provide a more tailored and

        consistent experience on all Facebook Products you use, wherever you use them. For

        example, we can suggest that you join a group on Facebook that includes people you

        follow on Instagram or communicate with using Messenger. We can also make your

        experience more seamless, for example, by automatically filling in your registration

        information (such as your phone number) from one Facebook Product when you sign up

        for an account on a different Product.

       Location-related information: We use location-related information-such as your current

        location, where you live, the places you like to go, and the businesses and people you're

        near-to provide, personalize and improve our Products, including ads, for you and others.

        Location-related information can be based on things like precise device location (if

        you've allowed us to collect it), IP addresses, and information from your and others' use

        of Facebook Products (such as check-ins or events you attend).

       Product research and development: We use the information we have to develop, test

        and improve our Products, including by conducting surveys and research, and testing and

        troubleshooting new products and features.

       Face recognition: If you have it turned on, we use face recognition technology to

        recognize you in photos, videos and camera experiences. The face-recognition templates

        we create may constitute data with special protections under the laws of your country.

        Learn more about how we use face recognition technology, or control our use of this

        technology in Facebook Settings. If we introduce face-recognition technology to your




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        Instagram experience, we will let you know first, and you will have control over whether

        we use this technology for you.

       Ads and other sponsored content: We use the information we have about you-including

        information about your interests, actions and connections-to select and personalize ads,

        offers and other sponsored content that we show you. Learn more about how we select

        and personalize ads, and your choices over the data we use to select ads and other

        sponsored content for you in the Facebook Settings and Instagram Settings.

        Provide measurement, analytics, and other business services.

        We use the information we have (including your activity off our Products, such as the

websites you visit and ads you see) to help advertisers and other partners measure the

effectiveness and distribution of their ads and services, and understand the types of people who

use their services and how people interact with their websites, apps, and services. Learn how we

share information with these partners.

Promote safety, integrity and security.

        We use the information we have to verify accounts and activity, combat harmful conduct,

detect and prevent spam and other bad experiences, maintain the integrity of our Products, and

promote safety and security on and off of Facebook Products. For example, we use data we have

to investigate suspicious activity or violations of our terms or policies, or to detect when

someone needs help. To learn more, visit the Facebook Security Help Center and Instagram

Security Tips.




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Communicate with you.

       We use the information we have to send you marketing communications, communicate

with you about our Products, and let you know about our policies and terms. We also use your

information to respond to you when you contact us.

Research and innovate for social good.

       We use the information we have (including from research partners we collaborate with)

to conduct and support research and innovation on topics of general social welfare, technological

advancement, public interest, health and well-being. For example, we analyze information we

have about migration patterns during crises to aid relief efforts. Learn more about our research

programs.

How is this information shared?

Your information is shared with others in the following ways:

       Sharing on Facebook Products

       People and accounts you share and communicate with

       When you share and communicate using our Products, you choose the audience for what

you share. For example, when you post on Facebook, you select the audience for the post, such

as a group, all of your friends, the public, or a customized list of people. Similarly, when you use

Messenger or Instagram to communicate with people or businesses, those people and businesses

can see the content you send. Your network can also see actions you have taken on our Products,

including engagement with ads and sponsored content. We also let other accounts see who has

viewed their Facebook or Instagram Stories.

Public information can be seen by anyone, on or off our Products, including if they don't have

an account. This includes your Instagram username; any information you share with a public


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audience; information in your public profile on Facebook; and content you share on a Facebook

Page, public Instagram account or any other public forum, such as Facebook Marketplace. You,

other people using Facebook and Instagram, and we can provide access to or send public

information to anyone on or off our Products, including in other Facebook Company Products, in

search results, or through tools and APIs. Public information can also be seen, accessed, reshared

or downloaded through third-party services such as search engines, APIs, and offline media such

as TV, and by apps, websites and other services that integrate with our Products.

Learn more about what information is public and how to control your visibility on Facebook and

Instagram.

Content others share or reshare about you

       You should consider who you choose to share with, because people who can see your

activity on our Products can choose to share it with others on and off our Products, including

people and businesses outside the audience you shared with. For example, when you share a post

or send a message to specific friends or accounts, they can download, screenshot, or reshare that

content to others across or off our Products, in person or in virtual reality experiences such

as Facebook Spaces. Also, when you comment on someone else's post or react to their content,

your comment or reaction is visible to anyone who can see the other person's content, and that

person can change the audience later.

       People can also use our Products to create and share content about you with the audience

they choose. For example, people can share a photo of you in a Story, mention or tag you at a

location in a post, or share information about you in their posts or messages. If you are

uncomfortable with what others have shared about you on our Products, you can learn how

to report the content.


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Information about your active status or presence on our Products.

       People in your networks can see signals telling them whether you are active on our

Products, including whether you are currently active on Instagram, Messenger or Facebook, or

when you last used our Products.

       Apps, websites, and third-party integrations on or using our Products.

       When you choose to use third-party apps, websites, or other services that use, or are

integrated with, our Products, they can receive information about what you post or share. For

example, when you play a game with your Facebook friends or use a Facebook Comment or

Share button on a website, the game developer or website can receive information about your

activities in the game or receive a comment or link that you share from the website on Facebook.

Also, when you download or use such third-party services, they can access your public profile on

Facebook, and any information that you share with them. Apps and websites you use may

receive your list of Facebook friends if you choose to share it with them. But apps and websites

you use will not be able to receive any other information about your Facebook friends from you,

or information about any of your Instagram followers (although your friends and followers may,

of course, choose to share this information themselves). Information collected by these third-

party services is subject to their own terms and policies, not this one.

       Devices and operating systems providing native versions of Facebook and Instagram (i.e.

where we have not developed our own first-party apps) will have access to all information you

choose to share with them, including information your friends share with you, so they can

provide our core functionality to you.

Note: We are in the process of restricting developers’ data access even further to help prevent

abuse. For example, we will remove developers' access to your Facebook and Instagram data if


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you haven't used their app in 3 months, and we are changing Login, so that in the next version,

we will reduce the data that an app can request without app review to include only name,

Instagram username and bio, profile photo and email address. Requesting any other data will

require our approval.

New owner.

         If the ownership or control of all or part of our Products or their assets changes, we may

transfer your information to the new owner.

Sharing with Third-Party Partners

         We work with third-party partners who help us provide and improve our Products or who

use Facebook Business Tools to grow their businesses, which makes it possible to operate our

companies and provide free services to people around the world. We don't sell any of your

information to anyone, and we never will. We also impose strict restrictions on how our partners

can use and disclose the data we provide. Here are the types of third parties we share information

with:

         Partners who use our analytics services.

         We provide aggregated statistics and insights that help people and businesses understand

how people are engaging with their posts, listings, Pages, videos and other content on and off the

Facebook Products. For example, Page admins and Instagram business profiles receive

information about the number of people or accounts who viewed, reacted to, or commented on

their posts, as well as aggregate demographic and other information that helps them understand

interactions with their Page or account.




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       Advertisers.

       We provide advertisers with reports about the kinds of people seeing their ads and how

their ads are performing, but we don't share information that personally identifies you

(information such as your name or email address that by itself can be used to contact you or

identifies who you are) unless you give us permission. For example, we provide general

demographic and interest information to advertisers (for example, that an ad was seen by a

woman between the ages of 25 and 34 who lives in Madrid and likes software engineering) to

help them better understand their audience. We also confirm which Facebook ads led you to

make a purchase or take an action with an advertiser.

       Measurement partners.

       We share information about you with companies that aggregate it to provide analytics

and measurement reports to our partners.

       Partners offering goods and services in our Products.

       When you subscribe to receive premium content, or buy something from a seller in our

Products, the content creator or seller can receive your public information and other information

you share with them, as well as the information needed to complete the transaction, including

shipping and contact details.

       Vendors and service providers.

       We provide information and content to vendors and service providers who support our

business, such as by providing technical infrastructure services, analyzing how our Products are

used, providing customer service, facilitating payments or conducting surveys.




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       Researchers and academics.

       We also provide information and content to research partners and academics to conduct

research that advances scholarship and innovation that support our business or mission, and

enhances discovery and innovation on topics of general social welfare, technological

advancement, public interest, health and well-being.

       Law enforcement or legal requests.

       We share information with law enforcement or in response to legal requests in the

circumstances outlined below.

       Learn more about how you can control the information about you that you or others share

with third-party partners in the Facebook Settings and Instagram Settings.

How do the Facebook Companies work together?

       Facebook and Instagram share infrastructure, systems and technology with

other Facebook Companies (which include WhatsApp and Oculus) to provide an innovative,

relevant, consistent and safe experience across all Facebook Company Products you use. We also

process information about you across the Facebook Companies for these purposes, as permitted

by applicable law and in accordance with their terms and policies. For example, we process

information from WhatsApp about accounts sending spam on its service so we can take

appropriate action against those accounts on Facebook, Instagram or Messenger. We also work

to understand how people use and interact with Facebook Company Products, such as

understanding the number of unique users on different Facebook Company Products.




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How can I manage or delete information about me?

          We provide you with the ability to access, rectify, port and erase your data. Learn more in

your Facebook Settings and Instagram Settings.

          We store data until it is no longer necessary to provide our services and Facebook

Products, or until your account is deleted - whichever comes first. This is a case-by-case

determination that depends on things like the nature of the data, why it is collected and

processed, and relevant legal or operational retention needs. For example, when you search for

something on Facebook, you can access and delete that query from within your search history at

any time, but the log of that search is deleted after 6 months. If you submit a copy of your

government-issued ID for account verification purposes, we delete that copy 30 days after

review, unless otherwise stated. Learn more about deletion of content you have

shared and cookie data obtained through social plugins.

          When you delete your account, we delete things you have posted, such as your photos

and status updates, and you won't be able to recover that information later. Information that

others have shared about you isn't part of your account and won't be deleted. If you don't want to

delete your account but want to temporarily stop using the Products, you can deactivate your

account instead. To delete your account at any time, please visit the Facebook

Settings and Instagram Settings.

How do we respond to legal requests or prevent harm?

          We access, preserve and share your information with regulators, law enforcement or

others:

         In response to a legal request (like a search warrant, court order or subpoena) if we have a

          good faith belief that the law requires us to do so. Thmay include responding to legal


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        requests from jurisdictions outside of the United States when we have a good-faith belief

        that the response is required by law in that jurisdiction, affects users in that jurisdiction,

        and is consistent with internationally recognized standards.

       When we have a good-faith belief it is necessary to: detect, prevent and address fraud,

        unauthorized use of the Products, violations of our terms or policies, or other harmful or

        illegal activity; to protect ourselves (including our rights, property or Products), you or

        others, including as part of investigations or regulatory inquiries; or to prevent death or

        imminent bodily harm. For example, if relevant, we provide information to and receive

        information from third-party partners about the reliability of your account to prevent

        fraud, abuse and other harmful activity on and off our Products.

        Information we receive about you (including financial transaction data related to

purchases made with Facebook) can be accessed and preserved for an extended period when it is

the subject of a legal request or obligation, governmental investigation, or investigations of

possible violations of our terms or policies, or otherwise to prevent harm. We also retain

information from accounts disabled for terms violations for at least a year to prevent repeat abuse

or other term violations.

How do we operate and transfer data as part of our global services?

        We share information globally, both internally within the Facebook Companies, and

externally with our partners and with those you connect and share with around the world in

accordance with this policy. Your information may, for example, be transferred or transmitted to,

or stored and processed in the United States or other countries outside of where you live for the

purposes as described in this policy. These data transfers are necessary to provide the services set

forth in the Facebook Terms and Instagram Terms and to globally operate and provide our


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Products to you. We utilize standard contract clauses, rely on the European

Commission’s adequacy decisions about certain countries, as applicable, and obtain your consent

for these data transfers to the United States and other countries.

How will we notify you of changes to this policy?

       We'll notify you before we make changes to this policy and give you the opportunity to

review the revised policy before you choose to continue using our Products.

Privacy notice for California residents

       If you are a California resident, you can learn more about your consumer privacy rights

by reviewing the California Privacy Notice.

How to contact Facebook with questions

       You can learn more about how privacy works on Facebook and on Instagram. If you have

questions about this policy, you can contact us as described below. We may resolve disputes you

have with us in connection with our privacy policies and practices through TrustArc. You can

contact TrustArc through its website.



Contact Us
You can contact us online or by mail at:
Facebook, Inc.
ATTN: Privacy Operations
1601 Willow Road
Menlo Park, CA 94025




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FACEBOOK, INC.’S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES
                                   CASE NO. 3:18-MD-02843-VC
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INTERROGATORY NO. 32:

       For each Named Plaintiff, identify each category of Content and Information Facebook

collects, tracks, and maintains about them and for each category, indicate (1) whether each

category has been produced in this action and the Bates Range associated with each category of

produced Content and Information; (2) whether each category of Content and Information is

available to Facebook Users through the “Access Your Information” or “Download Your

Information” tools; and (3) for each category of Content and Information that has not been

produced in this action, its location, and the reason it has not been produced.

RESPONSE TO INTERROGATORY NO. 32:

       Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about “each” of the 21 Named Plaintiffs. See, e.g., New Amsterdam Project

Mgmt. Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6

(N.D. Cal. Jan. 14, 2009). Facebook will treat Plaintiffs’ inquiry into each Named Plaintiff as a

separate Interrogatory. During the parties’ meet and confers and via email on September 11,

2020, Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco

of Am. v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that

ask “the responding party to state facts, identify witnesses, or identify documents” regarding

subject matters that are “discrete or separate” from each other “should be viewed as containing a

subpart” for each separate subject matter. Here, Plaintiffs’ Interrogatory does not ask Facebook

to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL


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4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but

instead seeks information about separate and distinct subjects, to wit, each individual Named

Plaintiff, each of whom used Facebook differently. Not only does the Interrogatory embed

subparts by asking for information about each of the 21 Named Plaintiffs, the Interrogatory

contains multiple subparts describing the type of information demanded about each Named

Plaintiff. Facebook will therefore treat Plaintiffs’ inquiry into “each” Named Plaintiff as an

individual Interrogatory. Collaboration Properties, Inc. v. Polycom, Inc., 224 F.R.D. 473, 475

(N.D. Cal. 2004) (holding interrogatories asking for information about each of “26 different

products” each had “26 discrete subparts” because “‘a party cannot avoid the numerical limits

[on interrogatories] by asking questions about distinct subjects, but numbering the questions as

subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. § 33.30[2])).

       (B)     Facebook objects to this Interrogatory on the ground that the phrase “‘Access

Your Information’ or ‘Download Your Information’ tools” is vague, ambiguous, and undefined.

Without definition, these terms may have various meanings. For example, the selections and

options available to users under certain tools has varied over time and across devices.

       (C)     Facebook further objects to the Interrogatory on the ground that it seeks the

identification of information that are public, already in the possession, custody, or control of

Plaintiffs, or obtainable from some other source that is more convenient, less burdensome, or less

expensive, to wit, the identification of categories of data already produced to Plaintiffs.

       (D)     Facebook objects to this Interrogatory on the ground that the request is confusing,

vague, and ambiguous. As drafted, Facebook is not able to meaningfully discern the information

requested.




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        (E)     Facebook further objects to this Interrogatory on the ground that it seeks

Facebook’s protected trade secrets and other sensitive, proprietary information that would pose

security and business risks to Facebook and risks to Facebook users’ privacy if disclosed. Thus,

the burdens of production would outweigh the utility of the production of this information, which

are not relevant to Plaintiffs’ claims.

        (F)     Facebook further objects to the Interrogatory on the ground that it seeks

information that are public, already in the possession, custody, or control of Plaintiffs, or

obtainable from some other source that is more convenient, less burdensome, or less expensive,

to wit, Facebooks data policies, which have already been produced to Plaintiffs.

        (G)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, this Interrogatory seeks

information related all internal business analytics or analyses that include user information,

which are analyses that are conducted by thousands of Facebook data scientists and engineers

over an enormous amount of data. Even a large team of engineers working full time for several

years likely could not identify all of the information Plaintiffs seek. Facebook therefore objects

to this Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of

data, which presents not only practical limitations as to its analysis, delivery, and use, but is

largely irrelevant. Thus, the burdens of compiling such information outweigh the utility of the

information.

        (H)     Facebook objects to the Interrogatory on the ground that it is overly broad and

unduly burdensome, as Plaintiffs have repeatedly indicated that they intend to voluntarily

dismiss 11 of the 21 Named Plaintiffs in order to, among other things, reduce the burden on

Facebook in producing discovery related to the Named Plaintiffs. But Plaintiffs have not yet


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stipulated to the dismissal of any Named Plaintiffs, so it is not clear which Named Plaintiffs

Plaintiffs are seeking discovery on.

       (I)     Facebook objects to this Interrogatory to the extent it seeks details regarding

“whether each category of Content and Information is available to Facebook Users through the

‘Access Your Information’ or ‘Download Your Information’ tools,” as the scope and nature of

the data made available to users through these tools have no relevance to Plaintiffs’ claims.

       (J)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to user data unrelated to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three

manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).

       (K)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it


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would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

       Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 91:

       Facebook responds that pursuant to Federal Rule of Civil Procedure 33(d), the answer to

this Interrogatory may be determined by examining Facebook’s document productions,

particularly Facebook’s production of the documents available to Plaintiffs via the Download

Your Information Tool, including FB-CA-MDL-00378871–FB-CA-MDL-00405229, FB-CA-

MDL-00405251–FB-CA-MDL-00555261, FB-CA-MDL-00555354–FB-CA-MDL-00841017,

FB-CA-MDL-00843750–FB-CA-MDL-01115859, FB-CA-MDL-01199605–FB-CA-MDL-

01432962, and the burden of deriving or ascertaining the answer to this Interrogatory will be

substantially the same for Plaintiff as it would be for Facebook.

       Facebook continues to investigate what other data related to the Named Plaintiffs is

relevant and responsive in this action.

INTERROGATORY NO. 33:

       For all documents produced in this action relating to the Named Plaintiffs’ Content and

Information, describe any associated data that reflects whether the Content and Information was

publicly or privately shared.

RESPONSE TO INTERROGATORY NO. 33:

       Facebook objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for


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separate information about “each” of the 21 Named Plaintiffs. See, e.g., New Amsterdam Project

Mgmt. Humanitarian Found. v. Laughrin, No. 07-00935-JF (HRL), 2009 WL 102816, at *6

(N.D. Cal. Jan. 14, 2009). Facebook will treat Plaintiffs’ inquiry into each Named Plaintiff as a

separate Interrogatory. During the parties’ meet and confers and via email on September 11,

2020, Plaintiffs have argued that Facebook’s objection is improper and inconsistent with Safeco

of Am. v. Rawstron, 181 F.R.D. 441, 445-46 (C.D. Cal. 1998), under which interrogatories that

ask “the responding party to state facts, identify witnesses, or identify documents” regarding

subject matters that are “discrete or separate” from each other “should be viewed as containing a

subpart” for each separate subject matter. Here, Plaintiffs’ Interrogatory does not ask Facebook

to provide “information related to the same subjects such that they should be counted as one

interrogatory,” Int’l Petroleum Prod. & Additives Co., Inc. v. Black Gold S.A.R.L., 2020 WL

4673947, at *5 (N.D. Cal. Aug. 12, 2020) (internal quotation marks and citations omitted), but

instead seeks information about separate and distinct subjects, to wit, each individual Named

Plaintiff, each of whom used Facebook differently. Facebook will therefore treat Plaintiffs’

inquiry into “each” Named Plaintiff as an individual Interrogatory. Collaboration Properties,

Inc. v. Polycom, Inc., 224 F.R.D. 473, 475 (N.D. Cal. 2004) (holding interrogatories asking for

information about each of “26 different products” each had “26 discrete subparts” because “‘a

party cannot avoid the numerical limits [on interrogatories] by asking questions about distinct

subjects, but numbering the questions as subparts.’” (quoting 7–33 Moore's Fed. Prac., Civ. §

33.30[2])).

       (B)     Facebook further objects to the Interrogatory on the ground that it seeks the

identification of information that are public, already in the possession, custody, or control of

Plaintiffs, or obtainable from some other source that is more convenient, less burdensome, or less


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expensive, to wit, each the audience limitations each Named Plaintiff has presently applied to

items they have shared on the Facebook Platform.

       (C)     Facebook objects to this Interrogatory on the ground that the request is confusing,

vague, and ambiguous. Among other things, the term “associated data” is vague and undefined.

As drafted, Facebook is not able to meaningfully discern the information requested.

       (D)     Facebook objects to this Interrogatory on the ground that it is overly broad and

unduly burdensome. Facebook has produced nearly 900,000 pages of data reflecting the

individual actions each Named Plaintiff has taken on the Facebook Platform. Reconstructing the

individual audience settings for each action or object posted would be unduly burdensome and

Plaintiffs have not demonstrated a compelling need for this information, which is equally

available to them and within their knowledge.

       (E)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks information relating to user data unrelated to

application developers being granted access to “sensitive user information” via friend-sharing

between 2009 and 2015, the disclosure of information to so-called “whitelisted” applications, the

sharing of “sensitive user information” with integration partners pursuant to “data reciprocity

agreements,” and/or the misuse of “sensitive user information” disclosed in one of these three

manners as a result of Facebook’s alleged failure to adopt effective policies or enforcement

procedures governing the transmission and use of “sensitive user data.” See MTD Order, ECF

No. 298, at 6-10; see also Discovery Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s

Mot. to Stay, ECF No. 548, at 2 (describing the relevant scope of user information as being that

“Facebook shared with or made accessible to third parties”).


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         (F)      Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

         Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

         Response No. 92:

         Facebook responds that pursuant to Federal Rule of Civil Procedure 33(d), the answer to

this Interrogatory may be determined by examining Facebook’s document productions,

particularly Facebook’s production of the Named Plaintiffs’ current privacy settings16, historical

privacy settings, and data relating to intervening changes thereto, including FB-CA-MDL-

00843007–FB-CA-MDL-00843247, FB-CA-MDL-01434763–FB-CA-MDL-0143488, and the

burden of deriving or ascertaining the answer to this Interrogatory will be substantially the same

for Plaintiff as it would be for Facebook.

         Plaintiffs have also requested that Facebook produce data relating to the individual

privacy settings as to each object (e.g., photo, comment, or message) on each of the Named

Plaintiffs’ profiles. Facebook continues to investigate what information it can produce in

response to this request but presently understands it is not possible to create the data set



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     Facebook’s productions of the Named Plaintiffs’ privacy settings are “current” as of the day they were pulled
     for production. If the Named Plaintiffs subsequently changed their privacy settings, this information will be out
     of date.

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requested in an automated manner and would instead require manual review of Plaintiffs’ entire

profiles, which constituted nearly 900,000 pages of data when produced in this action. All of the

data Facebook would need to review to provide the requested information is in Plaintiffs’

possession, custody, and control, both in the form of the Named Plaintiffs’ Facebook profiles and

any preservation copies thereof that Plaintiffs have made by, inter alia, using the Download

Your Information tool. If Plaintiffs identify a discrete and narrow set of objects for which they

would like the individual settings produced, Facebook will investigate whether a narrower

production is possible.

         However, Plaintiffs have equal access to this information via their Facebook accounts.

Accordingly, Facebook directs Plaintiffs to their own Facebook accounts for further information

about whether their content and information was publicly or privately shared.

INTERROGATORY NO. 34:

         Identify by name, time period and type of data accessed all Third Parties Facebook has

removed or banned from the Platform for violating Facebook Users’ privacy or for failure to

comply with Facebook’s privacy policies.

RESPONSE TO INTERROGATORY NO. 34 - CONFIDENTIAL:

         Facebook objects to this Interrogatory on the following grounds:

         (A)    Facebook objects to this Interrogatory on the ground that the phrase “violating

Facebook users’ privacy” is vague, ambiguous, and undefined. Whether certain actions “violate”

a Facebook user’s understanding of privacy is subjective and will vary based on the individual

user.

         (B)    Facebook objects to this Interrogatory as overly broad, unduly burdensome,

and/or disproportionate to the needs of the case. Specifically, Facebook objects to this


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Interrogatory on the basis that it seeks an overly broad and unduly burdensome volume of data,

which presents not only practical limitations as to its analysis, delivery, and use, but is largely

irrelevant. The burdens of compiling such information outweigh the utility of the information.

       (C)     Facebook objects to this Interrogatory to the extent that it seeks information

protected from disclosure by the attorney-client privilege, the attorney work-product doctrine,

and/or any other applicable privilege, doctrine, or protection. Facebook interprets this

Interrogatory as though it excludes information protected by these privileges and protections.

       (D)     Facebook objects to this Interrogatory on the basis that it seeks a compilation of

information that is not reasonably available at this stage in the case and that would be unduly

burdensome for Facebook to provide, particularly in view of the disproportionate cost necessary

to investigate as weighed against Plaintiffs’ need for the information. Responding fully to

Plaintiffs’ Interrogatory would require Facebook first to analyze a large number of documents

that have not yet been identified and produced to any identify any apps over a 13-year time

period that violated or were suspected of having violated any one of Facebook’s policies.

       (E)     Facebook objects to this Interrogatory as overly broad, irrelevant to the subject

matter of this Action, and not proportional to the needs of the case. Specifically, Facebook

objects to this Interrogatory to the extent it seeks the identities of Third Parties “removed or

banned” from the Platform for reasons unrelated to application developers being granted access

to “sensitive user information” via friend-sharing between 2009 and 2015, the disclosure of

information to so-called “whitelisted” applications, the sharing of “sensitive user information”

with integration partners pursuant to “data reciprocity agreements,” and/or the misuse of

“sensitive user information” disclosed in one of these three manners as a result of Facebook’s

alleged failure to adopt effective policies or enforcement procedures governing the transmission


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                                     CONFIDENTIAL
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and use of “sensitive user data.” See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.’ Sur-Reply to Def.’s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that “Facebook shared with or made

accessible to third parties”).

        (F)     Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most “effective way to get [the] information” Plaintiffs seek, in which case the Court indicated it

would enforce a 75 Interrogatory limit. Sept. 4 Hr’g Tr. at 14:17-22. Facebook has nevertheless

made a good faith effort to respond to Plaintiffs’ Interrogatory, to the extent possible.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 93:

        Facebook responds that pursuant to Federal Rule of Civil Procedure 33(d), Facebook

directs Plaintiffs to Facebook’s document productions, including FB-CA-MDL-00345547, which

is a table that Facebook understands to be the most comprehensive record of app enforcement

actions maintained by Facebook in the ordinary course of business, and the burden of deriving or

ascertaining the answer to this Interrogatory will be substantially the same for Plaintiff as it

would be for Facebook.

        For ease of review, FB-CA-MDL-00345547 includes the following information:




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                                           In addition, Facebook confronted a wide variety of

potential policy violations and took a significant number of enforcement actions. Data misuse

was only one of the many issues that Facebook confronted—and one that presented itself very

infrequently compared to other types of violations. But when data misuse violations did occur,

Facebook treated them as a high priority.

           Moreover, this table does not capture all enforcement actions taken by the company. For

example, it does not capture all manual warnings delivered to app developers, nor does it capture

custom enforcement actions such as Facebook’s deletion of Aleksandr Kogan’s app in December

2015 and Facebook’s subsequent pursuit of certifications of deletion from Kogan and related

parties.




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DATE: February 11, 2021                  Respectfully submitted,

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 Attorneys for Defendant Facebook, Inc.,

                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                    CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                  DEFENDANT FACEBOOK, INC.’S
                                                  SECOND AMENDED RESPONSES AND
This document relates to:                         OBJECTIONS TO PLAINTIFFS’ FOURTH
                                                  SET OF INTERROGATORIES
ALL ACTIONS


                                     VERIFICATION

I, Steven Elia, declare:

       I am an Engineering Manager at Defendant Facebook, Inc. and am authorized to make

this verification on its behalf. I am familiar with the contents of DEFENDANT FACEBOOK,

INC.’S SECOND AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FOURTH

SET OF INTERROGATORIES, specifically Facebook’s Responses & Objections to
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Interrogatory Nos. 8, 9, 10, 11, 15, 26, and 27. I further declare that the matters set forth in

Facebook’s Responses & Objections to Interrogatory Nos. 8, 9, 10, 11, 15, 26, and 27 as

reflected in DEFENDANT FACEBOOK, INC.’S SECOND AMENDED RESPONSES AND

OBJECTIONS TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES are true and

correct to the best of my knowledge, information, and belief, based on my review of documents,

records, and information possessed by or known to Facebook, Inc. and its officers or employees,

and on that basis I allege them to be true.

       I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct, and that I executed this Verification on

February 11, 2021 at San Jose, California.



                                                       ________________________________

                                                       Steven Elia




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 Attorneys for Defendant Facebook, Inc.,

                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                      DEFENDANT FACEBOOK, INC.’S
                                                      SECOND AMENDED RESPONSES AND
This document relates to:                             OBJECTIONS TO PLAINTIFFS’ FOURTH
                                                      SET OF INTERROGATORIES
ALL ACTIONS


                                          VERIFICATION

I, Konstantinos Papamiltiadis, declare:

       I am the Vice President, Developer Platforms & Programs at Defendant Facebook, Inc.

and am authorized to make this verification on its behalf. I am familiar with the contents of

DEFENDANT FACEBOOK, INC.’S SECOND AMENDED RESPONSES AND OBJECTIONS

TO PLAINTIFFS’ FOURTH SET OF INTERROGATORIES, specifically Facebook’s
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Responses & Objections to Interrogatory Nos. 14, 18, 19, 20, 22, 23, 28, 30, 31, 32, 33, and 34.

I further declare that the matters set forth in Facebook’s Responses & Objections to Interrogatory

Nos. 14, 18, 19, 20, 22, 23, 28, 30, 31, 32, 33, and 34 as reflected in DEFENDANT

FACEBOOK, INC.’S SECOND AMENDED RESPONSES AND OBJECTIONS TO

PLAINTIFFS’ FOURTH SET OF INTERROGATORIES are true and correct to the best of my

knowledge, information, and belief, based on my review of documents, records, and information

possessed by or known to Facebook, Inc. and its officers or employees, and on that basis I allege

them to be true.

       I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct, and that I executed this Verification on

February , 202 at Palo Alto, California.




                                                  2
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                 Exhibit 10
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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Jacqueline Scott Corley, Magistrate Judge


IN RE FACEBOOK, INC. CONSUMER      )
PRIVACY USER PROFILE               )
LITIGATION.                        ) NO. 18-MD-02843 VC (JSC)
                                   )

                              San Francisco, California
                              Friday, August 14, 2020

        TRANSCRIPT OF REMOTE VIDEOCONFERENCE PROCEEDINGS

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       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 675 of 837    3


1    Friday - August 14, 2020                                     8:27 a.m.

2                             P R O C E E D I N G S

3                                   ---o0o---

4               THE CLERK:    We're a minute early, but court is now in

5    session.    Let's see.   Calling Civil Action 18-MD-2843, In Re

6    Facebook, Inc. Consumer Privacy User Profile Litigation.

7         Counsel, starting with plaintiff, can you please state

8    your appearance.

9               MS. WEAVER:    Sure.   This is Lesley Weaver of Blakemar

10   Fonti & Auld.   With me is Anne Davis and Angelica Ornelas.

11        And I see that Matt Montgomery actually is not -- he

12   should be with us.      So he should probably be elevated.      I

13   apologize.    I missed him before.     Don't tell him.

14              MR. LOESER:    Good morning.    You have Derek Loeser from

15   Keller Rohrback.

16              THE COURT:    Good morning.

17              MR. KO:   Good morning, Your Honor.     Nice to see you

18   again.   David Ko, Keller Rohrback, also on behalf of

19   plaintiffs.

20              THE COURT:    Good morning.

21        And here comes Mr. Montgomery.        He's here.

22        All right.      And for Facebook?

23              MR. SNYDER:    Good morning, Judge.    It's Orin Snyder

24   from Gibson Dunn with my colleagues, Deb Stein, Martie Kutscher

25   Clark, and Russ Falconer.
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 676 of 837   4


1               THE COURT:    Good morning.

2         Okay.    Thank you for your statement.

3         Let's see.    It sounds like there are not too many things

4    to discuss.    Let's just start.

5         The search terms you're working on, I will just make this

6    observation.    I do think it would be unreasonable to insist

7    that all terms apply to all custodians.       That just can't be

8    right.   People have different positions.       So I give you that

9    guidance in working on that.

10        Now, with respect to the data about plaintiffs, let's go

11   through.    And why don't plaintiffs tell us what is the data

12   that you're missing that you think is relevant.         So one thing

13   you've identified is the data about what data about the

14   plaintiffs was shared with advertisers.       Is that correct?

15              MS. WEAVER:   That is correct in general terms,

16   Your Honor.    Basically, what has been produced to us is

17   user-facing data through an Access Your Account tool, for the

18   most part.

19        Now, I want you to know that we have reviewed all of the

20   plaintiffs' data with more than one pass-through.         We've done

21   targeted searches.      We've had 18 people, and more at times,

22   going through the documents.      So we're pretty familiar with

23   what's there.

24        There are two problems that we have.        The first is that

25   Your Honor ordered us last -- two weeks ago to discuss
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 677 of 837   5


1    precisely what has been produced and precisely what is the data

2    that is being withheld.

3          And we -- in the course of our meet-and-confer sessions,

4    Facebook did not identify the examples that they put in their

5    statement.   We didn't discuss those.      So once again, we are

6    getting information the first time in the statement.

7          And it would have been better if we had discussed it,

8    because when we look at those documents -- we've looked at them

9    before -- they are not what we're seeking.        And the reason that

10   they're not -- and if you look, there's an example of one of

11   them they gave us.     The content is missing.     So there's an

12   event that says one of the users went to a website, but the

13   content of what they did on the site is stripped away.

14         And our experts say, you know, what did you put in your

15   shopping cart?   What did you access?      How long were you on it?

16         And that data is also married to GPS data --

17             THE COURT:    Okay.    I have the statement --

18             MS. WEAVER:    Yeah.

19             THE COURT:    -- in front of me.

20             MS. WEAVER:    Yes.

21             THE COURT:    Can you put me to the page and the Bates

22   number?

23             MS. WEAVER:    The Bates number of the document -- hang

24   on.

25             THE COURT:    Well, first, the page of the statement so
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 678 of 837   6


1    I know where to go.

2               MS. WEAVER:    That is going to be harder for me.

3    I think it's page 6.     The Bates number -- and I'm going to

4    ask -- Anne, if you can help me, it's 01037245.

5               THE COURT:    Don't see that.     It's redacted

6    information?

7               MS. WEAVER:    Some of the information was redacted,

8    yes.    But this information we can discuss in the hearing, if

9    that is --

10              THE COURT:    No, no.    I understand.   We can -- I'm not

11   worried --

12              MS. WEAVER:    Yeah.

13              THE COURT:    -- about that.

14          I'm just trying to find it.      I don't see it.

15              MS. WEAVER:    Yeah.    Hang on just a moment.

16              THE COURT:    Maybe the sentence at the first page of

17   the --

18              MS. WEAVER:    Yeah, I'm actually looking -- I

19   apologize.    I'm looking for the actual statement.       I have too

20   many things open on my laptop.

21          But for all of the documents that they've identified,

22   Your Honor, these are PDFs that reflect some activity.

23              THE COURT:    I just want to start with -- I want to

24   start with --

25              MS. WEAVER:    Fine.    Okay.   So if you go to page 5 of
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 679 of 837   7


1    the statement and if we look at, for example, where it says

2    "Ms. Tutt reviewed content on Amtrak.com," it doesn't tell us

3    what the content is or it doesn't tell us --

4             THE COURT:    Okay.   Or the --

5             MS. WEAVER:    -- what they did.

6             THE COURT:    -- other one, that Ms. Tutt viewed content

7    on a news site and --

8             MS. WEAVER:    Right.    And it doesn't --

9             THE COURT:    -- tell you what the content is.

10            MS. WEAVER:    -- tell us what they do.

11            THE COURT:    Let me ask Facebook.

12        Do you have that content?

13            MR. SNYDER:    Mr. Falconer, I think, will address this.

14            MR. FALCONER:     Good morning, Your Honor.      Russ

15   Falconer for Facebook.

16        Our understanding is there is some machine-readable data

17   in some cases that might reflect the off-Facebook activity that

18   Ms. Weaver is describing in a kind of raw, disaggregated way.

19   That information is not associated with the plaintiff's account

20   in the way that the user-created, user-shared content and

21   information is associated with a user account.

22        And so I hear -- I don't know -- confusion and frustration

23   from Ms. Weaver that they feel like they don't understand what

24   we've produced.

25        The Court ordered us to, you know, be as clear as we can
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 680 of 837   8


1    on named plaintiffs' data, what has been produced and what has

2    been withheld.   And what we've tried to do is say that we've

3    produced all content information that the plaintiffs share on

4    Facebook and then some of the other categories of information

5    that we identified in our statement; so device information,

6    geolocation information, certain other information that is

7    associated with their account.      And we have been -- I think

8    we've tried to be clear; and if we failed in this, we

9    apologize.

10        There is other -- there's Facebook-generated information,

11   information generated by third parties, information received

12   from third parties.    We have not represented that that is

13   comprehensively included in our production.

14        What we have produced are Facebook analytics, third-party

15   data, off-Facebook activity, anything like that that is

16   associated with a user's account.

17        And so that's -- I think the point of departure between

18   the parties right now is maybe the level of generality with

19   which we have described what we have not produced.         But

20   that's -- we've tried to be as clear about the, sort of, large

21   buckets that are not included in the named plaintiff data we've

22   produced to date.

23            THE COURT:    So, for example, when you say Ms. Weaver

24   said, as you said, that the plaintiff viewed content on

25   Amtrak.com, are you saying you don't have any way of
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1    identifying what that content is that she viewed at that

2    particular time, even though you were able to say she viewed

3    that website at that time?

4              MR. FALCONER:    I think for an individual plaintiff on

5    an individual website, if it was just that question -- could we

6    tell for one of the named plaintiffs what specific content she

7    viewed on the Amtrak website? -- if it was, you know, ten years

8    ago or seven years ago, probably not.       If it was a year ago,

9    maybe.   That data may or may not have been associated with --

10             THE COURT:   Well, if it was this year --

11             MR. FALCONER:    Yeah.

12             THE COURT:   -- with that particular --

13             MR. FALCONER:    Sure.

14             THE COURT:   -- data this year.

15             MR. FALCONER:    The answer is it's possible.      There may

16   be some website-specific data about that named plaintiff; there

17   may not be.   There's some --

18             THE COURT:   Okay.     And so you haven't searched for it,

19   or you're withholding it, or -- I guess, why hasn't it been

20   produced?

21             MR. FALCONER:    So as we understood the Court's

22   mandate or, sort of, the Court's --

23             THE COURT:   No, no, no.    I'm just asking.

24             MR. FALCONER:    Oh.

25             THE COURT:   I'm just asking.
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 682 of 837   10


1             MR. FALCONER:     Because the reason for that is that

2    just to find it for one named plaintiff would be like a

3    multiweek endeavor, if not longer.       And the reason for that is

4    that -- let's take the Amtrak example.

5         With this off-Facebook activity data, the tables and the

6    database where the data is stored, you know, they've been

7    explained to us like each one of them is a book.         And the book

8    is organized by topic.     The topic that the book is organized by

9    is the advertiser.    It's Amtrak; it's not the named plaintiff.

10        So for every Facebook advertiser there's a book.          Right?

11   There's a table that has some data for advertisement, website

12   activity, that kind of thing.

13        So to gather the information for one named plaintiff on

14   Amtrak, that, we could probably do.       To gather the data for one

15   named plaintiff on every advertiser on every off-Facebook

16   activity that has ever happened, just for one named plaintiff,

17   we have to go into each of those books individually and look

18   for that one named plaintiff, and then we'd have to do it for

19   each of the other 23 named plaintiffs.

20        So that's the reason why we have not undergone that to

21   date.

22            THE COURT:    I understand that.     So have you identified

23   every instance that you have that the plaintiff viewed content

24   on some website, whatever it is?

25            MR. FALCONER:     Every instance where Facebook has been
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 683 of 837    11


1    able to associate that off-Facebook activity with a named

2    plaintiff's account.     Sometimes they can't make the connection.

3    But where it's connected, we've identified it.         That's included

4    in the production.

5               THE COURT:    I assume that for this privacy case --

6    right? -- some content is obviously more private than other

7    content and the plaintiffs may not necessarily need or want.

8    They need exemplars.     Right?   And there is a standing argument

9    that you guys are maintaining that they have to defeat and

10   damages and all that.      There are particular instances.      Right?

11   So there may be particular instances where you then have to go

12   do that.

13        In other words, if it's the data that was shared, which is

14   sort of at the heart of the case, you're probably going to have

15   to do some work on that.      Whether it's every instance, probably

16   not; but certainly certain instances.

17        Now, plaintiffs, it sounds like, have a template of where

18   to start.    It may not be Amtrak, but it may be the next one

19   there.   Right?

20              MR. FALCONER:    Your Honor, could I be heard on that?

21              MS. WEAVER:    Well, may I --

22              MR. FALCONER:    Or, go ahead.

23              MS. WEAVER:    I would like to respond.

24        So what we're talking about right now and what they've

25   produced is, there's a tool so users can download data.          And
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 684 of 837     12


1    even in what they're downloading, there is content missing.

2         But there's another whole bucket of data that they haven't

3    identified to us that is responsive, and that's the first step.

4    We need the identification of the fields of the data that they

5    collect through their third-party relationships, whether it's

6    apps or websites, et cetera.      And it is this database that

7    Facebook searches using algorithms to target the users.

8         What they've given us is sort of the window dressing of

9    the platform activity, and I've identified for you that

10   something is missing even from that.

11        But there is -- and, Your Honor, we've talked to our

12   experts; and maybe it's better to have experts talk or put in a

13   declaration because I can tell you, their position will be that

14   this is, quote/unquote, not associated with the users but that

15   doesn't make sense.

16        There is an event ID, because the reason Facebook is

17   collecting it in the first place is to target people with the

18   data.   So there is a way to go back and find -- and I agree

19   with Mr. Falconer that this data set will be immense.          And that

20   is the scope of the case.     And that's why we said only for the

21   24 because --

22             THE COURT:    I'm just going to --

23             MS. WEAVER:    Yeah.

24             THE COURT:    -- tell you guys, I think maybe you need

25   to think about a special master.
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1         There's just no --

2             MS. WEAVER:    Yes.

3             THE COURT:    I don't have the time or the patience or

4    the expertise to wade through any of this, like the nuance that

5    you're getting into.    So I don't know what to do.

6             MS. STEIN:    Your Honor, may I be heard for a moment?

7         So I think the good news on, sort of, your reaction to

8    this is that this exercise was really about, sort of,

9    identifying categories so that we could have a conversation

10   about what's required in this case, because there is a whole

11   lot of information being sought here that has absolutely

12   nothing to do with the issues that are being litigated in this

13   case.

14            THE COURT:    No.   I understand that argument.       I don't

15   even know how to figure out what it is that we're even talking

16   about.

17            MS. STEIN:    Right.

18            MS. WEAVER:    So Facebook --

19            MS. STEIN:    So, Your Honor, what's being --

20            MS. WEAVER:    Could I --

21            MS. STEIN:    -- talked about right now is what's called

22   off-Facebook activity.     And that off-Facebook activity has no

23   relationship to the issues that the dismissal order said are

24   viable right now and that are not stayed.        The order of

25   dismissal --
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1              THE COURT:    No.   I read that.   I read it.    I

2    understand.

3              MS. STEIN:    Okay.   Good.

4              THE COURT:    So this --

5              MS. STEIN:    And so the off-Facebook activity --

6              THE COURT:    -- this has been previewed -- just, can I

7    finish?

8              MS. STEIN:    I'm sorry, Your Honor.

9              THE COURT:    Because I'm really losing patience with

10   this case.

11        This has been previewed for a while.        So what I was hoping

12   to do is you guys could just tee up what that data is so I can

13   rule if it's discoverable or not.

14        I don't even know how to get to that point.

15             MR. SNYDER:    Your Honor, I think there's a very

16   easy --

17             MS. WEAVER:    If I could, I was waiting.

18        Your Honor, we would like them to identify what they're

19   withholding.   That's it.

20             THE COURT:    But that's a chicken-and-egg problem.

21   That's a chicken-and-egg problem.       And I'm not sure -- and see,

22   this is the problem I'm having.      You said you've now reviewed

23   it all.   What is missing?      You've identified --

24             MS. WEAVER:    So I'll give you examples.      There are no

25   examples --
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1             THE COURT:    You did.

2             MS. WEAVER:    Okay.

3             THE COURT:    No.   I'm going to let Mr. Snyder talk.

4             MS. WEAVER:    Fine.

5             MR. SNYDER:    Your Honor, I share your frustration, and

6    I think this is very easy.

7         For example, on advertisement, we have gone, I think as

8    indicated in our statement, above and beyond the call of duty

9    because we didn't really want to just say, "We're not giving

10   you what advertisements you reviewed or ads that you've clicked

11   on, even though it's outside the scope of the case."

12        This case --

13            THE COURT:    No, no.    That's an argument.     Please,

14   let's try not to argue.

15            MR. SNYDER:    Right.

16            THE COURT:    I'm going to decide that at some point.

17            MR. SNYDER:    Okay.    So what I would --

18            THE COURT:    Just --

19                       (Simultaneous cross-talk.)

20            THE COURT:    -- that.

21            MR. SNYDER:    What I would respectfully suggest is, we

22   can, Your Honor, tee it up for you in a very simple way,

23   because Judge Chhabria's order is very clear about what's in

24   and what's out.    And then each side can succinctly,

25   efficiently, and clearly make their arguments about what is in
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 688 of 837   16


1    and what's out.    And it's not going to be difficult,

2    Your Honor.   I think it's pretty clear.

3         I agree, on this call, people using terminology --

4    "on-platform," "off-platform" -- it all sounds like

5    gobbledegook.   I think there's a very clear, efficient, and

6    efficacious way for us to tee this up in a short statement to

7    Your Honor; and Your Honor can rule on it, if Your Honor wants

8    more argument on it, without us having these dueling

9    Zoom/Hollywood Squares, you know, arguments about what's in and

10   what's out that's not going to really lead to any fair ruling.

11            THE COURT:    This is what I need to ask Ms. Weaver, is:

12   Do you know what it is that you want or that you believe exists

13   that you don't have?

14            MS. WEAVER:    Yes.

15            THE COURT:    You do.    Okay.

16            MS. WEAVER:    More or less.     We don't know what form

17   they keep it in or how they keep it.       It is this data set that

18   they mine, yes.

19            THE COURT:    Okay.   So is there any reason why, then,

20   we can't adjudicate that dispute as discoverability?

21            MS. WEAVER:    We can --

22            MR. SNYDER:    I think we can --

23            MS. WEAVER:    -- adjudicate that, Your Honor.

24            THE COURT:    We can?    Okay.

25            MR. SNYDER:    We can and we should.
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1               THE COURT:    All right.

2               MR. SNYDER:    And I think we can do it very simply

3    without a lot of drama or complication.

4               THE COURT:    So that's what --

5               MR. FALCONER:    Your Honor --

6               THE COURT:    -- I want you to do, then, on this,

7    I think.

8         And, I mean, it doesn't have to be the joint letter brief,

9    whatever.    I mean, it's a big issue.      It kind of goes to the

10   heart of the case.      So I want you to have the ability.      You're

11   going to probably need your experts to some extent -- at least

12   plaintiffs -- to be involved with it.

13        And I probably want four briefs.        Right?   Whoever goes

14   first, second, first, second, so that there's -- my guess is

15   it's not till we get to the second two briefs that we'll really

16   be able to meet there.      That just seems to be the process that

17   we need to do.

18        So you guys work it out, how that's going to be presented.

19   I'm not giving you any limits at all.        You only have the limit

20   of my time and attention span.        So just keep that in mind.

21                                 (Laughter.)

22              MS. WEAVER:    And how much time, Your Honor, would you

23   like between briefs and the hearing?        What kind of timing --

24              THE COURT:    We'll put a hearing.    I'll figure it out.

25              MS. WEAVER:    Okay.
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1               THE COURT:    I mean, to be honest, I'm just swamped at

2    the moment.

3               MS. WEAVER:    I know.

4               THE COURT:    So, but you get it to us.     We'll get

5    through it.    And we will set it for hearing.       I think it's

6    important to have an oral --

7               MR. LOESER:    And, Your Honor, if I could be heard for

8    one quick minute on one --

9               THE COURT:    Yes.

10              MR. LOESER:    This is Derek Loeser.

11        -- just, process point.

12        Where we stand right now, we generally think we know

13   what's missing, and we can describe it in our briefs.

14        Facebook obviously has specific knowledge about what's

15   missing.    And so because they haven't identified specifically

16   what they're withholding, I really think it would be improper

17   for them to argue in their brief that we haven't been specific

18   enough with what we're seeking.      If that is going to be their

19   argument in their brief, then they should comply with your last

20   order, which was to identify specifically what they're

21   withholding.

22        But that's the only --

23              THE COURT:    Yeah.   No, I understood.   So that's why

24   I'm doing four briefs.

25        And in the meantime, you should be talking and really
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 691 of 837    19


1    trying to narrow.    It is in both sides' interest to have it

2    teed up as accurately as possible for me to decide.         Otherwise,

3    I'm going to make a wrong decision one way or the other because

4    I won't understand.

5              MR. SNYDER:   And, Your Honor, it's in everyone's

6    interest to have you not be frustrated with us, which I

7    understand and I think your frustration is well-placed, one.

8         Two, we want Your Honor to continue to preside over

9    discovery; and we would, I think, lose a lot if we had to start

10   fresh with a special master.

11        And mindful of that, we're going to work to narrow the

12   issues.   Maybe we can even eliminate them.       And we have a lot

13   of other work to do in the meantime.       So however long

14   Your Honor needs, we're going to obviously abide and respect

15   that, and we're not going to, you know, ask you to turn around

16   a ruling.

17        There's a lot we have to do on search terms and privilege

18   logs and ADI protocols.     So there's a ton of work for us to do

19   while Your Honor takes -- you know, takes the time necessary to

20   adjudicate this issue, which is ripe now.

21             THE COURT:    Yeah.   Just don't put a hearing date.

22   I'll pick it.   So that's not a problem.

23             MR. LOESER:   The only thing I would add to that,

24   Your Honor, is that we would like you to be very frustrated

25   with Orin all the time, but not with us.
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1                                 (Laughter.)

2             THE COURT:    Well, this week has not been -- I've been

3    frustrated a lot, and I apologize for that.

4             MR. SNYDER:    Don't apologize.

5             MS. WEAVER:    It's tough times.

6             THE COURT:    There's a lot.     There's just a lot,

7    scheduling.

8             MR. SNYDER:    Yes, Your Honor.

9             THE COURT:    Okay.   So, which leads me to my next

10   point, which is the joint statement -- okay? -- which is, you

11   all are extremely talented, experienced lawyers.         If you can't

12   figure out a way, a process for this statement to work -- it's

13   really, actually, for you.     Right?    The statement is a great

14   way of assessing where we are, what our disputes are,

15   crystallizing it.    It's for you more than me, quite honestly.

16   And if you guys can't figure out together a way to do that,

17   then we've got to go back to zero and start over.         I mean, this

18   should be the easy part.

19        So I'm not going to tell you how to do that joint

20   statement.    The only thing I'm going to tell you is I want it

21   however -- what is -- just even one day, I give you, right,

22   before this?   I take it upon myself; I will make time to read

23   it the night before or early the morning before.         That's my

24   only deadline.   You guys work it out.      Whatever works best for

25   you and gets it.    But the point is, it should really try to
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 693 of 837   21


1    crystallize it.

2         My own view is -- and with other cases -- is that -- at

3    least with discovery disputes, is if you do time for a reply as

4    opposed to changing what you've already said, that tends to

5    work better.    But I'm not ruling at all.      I want you guys to

6    come up with it.    It's, frankly, below my pay grade to have to

7    tell you how to do it.

8                                    (Laughter.)

9               MR. LOESER:    We hear that loud and clear, Your Honor,

10   and we will keep talking to Facebook about it.

11        We just think that it would be really useful for everyone

12   here, including for you, if people talk about things that they

13   put in their statements before it's submitted to the Court.

14   And so that's our mission in trying to come up with a better

15   way to do this.    That's what we're trying to accomplish.

16              THE COURT:    Maybe you could do a statement, a draft,

17   and then you talk about what's in the draft.        Right?   So then

18   you know what's in there before you -- I don't know, but that

19   would --

20              MR. LOESER:    Yeah.   We'll figure it out.

21              THE COURT:    Yes.   I know you guys can figure it out

22   because you're all outstanding lawyers.       That's why you're on

23   this case.

24        Okay.    So then we need to pick our next date.       How about

25   we push it out three weeks, to September 3rd?
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 694 of 837    22


1             MR. LOESER:    I think that's the 749th day of March;

2    so, sounds great.

3                                 (Laughter.)

4             MS. WEAVER:    That's fine, Your Honor.

5             MR. SNYDER:    And two months before Election Day,

6    assuming the post offices --

7             MS. WEAVER:    There is one.

8             MR. SNYDER:    -- assuming the post offices and the

9    polling places aren't shut down permanently.

10            THE COURT:    All right.    Okay.

11            MR. LOESER:    Don't depress us, Orin.

12            THE COURT:    I apologize for having to lecture a little

13   bit, but to be honest, you guys can do better.         I know you can.

14   I know you can.    I have tremendous respect for all of you.

15        Okay.   Great.   I look forward to our next conference.

16   It'll be September 3rd at 8:30 a.m.

17            MR. SNYDER:    Thank you, Judge.

18            MS. WEAVER:    Thank you, Your Honor.

19            MR. SNYDER:    Thank you for everything you're doing.

20   Appreciate it.

21            THE CLERK:    Court's adjourned.

22                  (Proceedings adjourned at 8:51 a.m.)

23                                 ---o0o---

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1

2                          CERTIFICATE OF REPORTER

3              I certify that the foregoing is a correct transcript

4    from the record of proceedings in the above-entitled matter.

5

6    DATE:   Saturday, August 15, 2020

7

8

9            __________________________________________________

10           Ana M. Dub, CSR No. 7445, RDR, CRR, CCRR, CRG, CCG
                   Official Reporter, U.S. District Court
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                 Exhibit 12
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                 Exhibit 13
                   Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 722 of 837




   From:                                    Scott Renfro </0=THEFACEB00K/0U = EXTERNAL
                                            (FYDIBOHF25SPDLT)/CN = RECIPIENTS/CN = EC939C23AC4348C6B7F2B4AE6DE65518>
   Sent:                                    Tuesday, March 04, 2014 2:33 PM
   To:                                      Maritza Johnson; Rob Sherman; Erin Egan
   Subject:                                 FW: 3rd party ads data




   On 3/3/14, 2:26 PM, MAldo King" <aiking(5)fb.com> wrote:



    + Ed, Shirine, and Mark for reference


    Here are most of the places where 3rd party data connects into or out of the ads system:




    Custom Audiences
    We allow advertisers to upload lists of their customers to have ads shown to them on Facebook. We create custom audiences
    today based on email addresses, phone numbers, FB user id's, and Apple iOS IDFAs. We also allow mobile app developers to create
    custom audiences based on information that they have provided to Facebook via the FB mobile SDKs (below).


    FB Mobile SDKs
    Developers can choose to send information about how their users interact with their apps to Facebook. Developers can set up
    "custom app events" within their app using the FB Mobile SDKs. When a user does a pre-defined action, developers can have the
    FB SDK send each activity to Facebook. We log that information to count app installs and aggregate them for app analytics. By
    default, the SDK is set to report installs only (through the developer can turn this off).




    Conversion Tracking
    Websites can implement a Facebook pixel that is triggered when users land on specific pages. The pixel sends information from the
    user's FR cookie to Facebook and we attribute the conversion with a specific ad.


    Website Custom Audiences
    Websites can implement a Facebook pixel (different from conversion tracking) that is triggered when users land on specific
    pages. The pixel sends information from the user's FR cookie to Facebook. Facebook resolves that info back to a specific user and
    Facebook places that user into a custom audience for that advertiser. Users can opt-out of this process through a cookie-based
    opt-out accessible from the Ads privacy settings page on Facebook.


    Partner Categories
    Facebook partners with select data partners and allows that to create custom audiences based on their own data. These custom
    audiences (called "Partner Categories") are then available for use by any advertiser on Facebook.
                                     Users can opt-out of these categories through partner-specific opt-outs.




                                                                        1




Highly Confidential - Attorneys' Eyes Only                                                                        FB-CA-MDL-00203262
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    On 3/3/14, 6:40 AM, "Scott Renfro" <srenfro(5)fb.com> wrote:


     Can you give me a quick summary of our use of 3rd party data for ads? Feel free to cc relevant folks from ads.


     I'm in DC this week for discussions about big data and privacy and ads seems to be the main place we're leveraging non-FB data
     directly or indirectly.




                                                                     2




Highly Confidential - Attorneys' Eyes Only                                                                            FB-CA-MDL-00203263
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                 Exhibit 14
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                                                                            US 20170 195435A1
(19)   United States
(12) Patent Application Publication (10) Pub. No.: US 2017/0195435 A1
       Sarukkai                                                       (43) Pub. Date:                                Jul. 6, 2017
(54) CORRELATING MEDIA CONSUMPTION                             (52) U.S. Cl.
        DATA WITH USER PROFILES                                        CPC .............. H04L 67/22 (2013.01); H04L 67/12
                                                                                 (2013.01); H04L 67/306 (2013.01); H04N
(71) Applicant: Facebook, Inc., Menlo Park, CA (US)                          21/4788 (2013.01); H04N 2 1/4532 (2013.01);
                                                                                H04N 2 1/25883 (2013.01); H04N 2 1/2541
(72) Inventor: Ramesh Rangarajan Sarukkai, Los                                 (2013.01); H04N 2 1/4627 (2013.01); H04N
                Gatos, CA (US)                                              21/25875 (2013.01); H04N 2 1/8358 (2013.01);
                                                                                 G06T I/0021 (2013.01); G06T 2201/0064
(21) Appl. No.: 14/985,089                                                                                      (2013.01)
(22) Filed:              Dec. 30, 2015                         (57)                            ABSTRACT
                    Publication Classification                 In one embodiment, one or more computer systems of a
                                                               Social-networking system retrieve a user profile for a user
(51) Int. Cl.                                                  associated with a media device. The one or more computer
     H04L 29/08                        (2006.01)               systems of a Social-networking system receive media con
     H04N 2L/45                        (2006.01)               Sumption. The one or more computer systems of a social
     G06T I/O                          (2006.01)               networking system correlates the user profile and the media
     H04N 2L/254                       (2006.01)               consumption data to determine device-based media con
     H04N 2L/4627                      (2006.01)               Sumption data associated with content being consumed on
     H04N 2L/8358                      (2006.01)               the media device. The one or more computer systems of a
     H04N 2L/4788                      (2006.01)               Social-networking system store data that associates the user
     H04N 2L/258                       (2006.01)               profile with the device-based media consumption data.


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                                  s       -       - - - -



              130 -                       S.                           60            SOCIAL
                                                                                  NETWORKING
                            <S2               s
                                                                                     SYSTEM
                                                                                         YSTE




      USER
        Ol


                                      N
                                      N                                70         THIRD-PARTY
                                          s                                          SYSTEM
                       aaaaaa aaaaa- as   a       sa- a a :



                        CLIENT
                        SYSTEM




                                                            FIG. I.
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                                              CONTENT
                                             DATABASES
                                                301

                 CONTENT META DATA                           CONTENT META DATA




                                               SOCIAL-                            OTT
                     sorro SARE, o           NETWORKING                       PROVIDERS /
                          DISCOVER             SYSTEM                          WEBSITES
                                                160                               303



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                                                3O7
                                                    DISCOVER
                                                       3O8              CONTENT
            CONTENT




    CONTENT/                           CONNECTED DEVICES
      AUTH/
     SHARE/
    DSCOVER                                               STB/GATEWAY 304c.




     STE/GATEWAY 304C



      UNCONNECTED
         DEVICE
           305



                                              FIG. 3
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                            Social-Networking
     User Device                  System                   Media Device               Content Provider
        410                        160                         600a                        6OOO


              Retrieving/sending
            identifying information
                      610




                          Retrieving a user profile
                                    620
                                                                            Sending
                                                                          media Content
                                                                              630



                                                         Consuming media
                                                               Content
                                                                640


                                         Sending/capturing media
                                            consumption data
                                                   650

               Sending media
              Consumption data
                    660




                                Correlating
                              user profile with
                            media consumption
                                      data
                                      670




                                                      FIG. 6
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                                 Social-Networking
      User Device                     System                   Media Device                Content Provider
          410                           160                        600a                         6OOb

                  Retrieving/sending
                identifying information
                         710



                               Retrieving a user profile
                                         720

                                                                                 Sending
                                                                              media Content
                                                                                   730




                                                             Consuming content
                                                                   740



                                                                         Sending media
                                                                        Consumption data
                                                                              750


                                                                          Sending media
                                                                         Consumption data
                                                                               760




                                    Correlating
                                  user profile with
                                media consumption
                                          data




                                                           FIG. 7
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                                 Social-Networking
       User Device                     System                       Media Device               Content Provider
          410                             160                              600a                     6OOb


                  Retrieving/sending
                identifying information
                         810
                                                   Retrieving/sending
                                                 identifying information
                                                           820




                               Retrieving a user profile
                                         830
                                                                                     Sending
                                                                                   media Content
                                                                                       840




                                                                Consuming content
                                                                      850


                                                   Sending media
                                                  consumption data
                                                         860




                                    Correlating
                                  user profile with
                                media Consumption
                                          data
                                          370




                                                           FIG. 8
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                   -- --- --- ----- --- - - -                        900
                                 COMPUTER SYSTEM

       912
                                                                     902
                                        PROCESSOR


                                                                     904
                                         MEMORY


                                                                     906
                                         STORAGE



                                      I/O INTERFACE
                                                                  -908

               |                     COMMUNICATION                   910
                                        INTERFACE




                                     FIG. 9
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        CORRELATING MEDIA CONSUMIPTION                             0006. The embodiments disclosed above are only
            DATA WITH USER PROFILES                               examples, and the scope of this disclosure is not limited to
                                                                  them. Particular embodiments may include all. Some, or
                   TECHNICAL FIELD                                none of the components, elements, features, functions,
                                                                  operations, or steps of the embodiments disclosed above.
 0001. This disclosure generally relates to analyzing             Embodiments according to the invention are in particular
media consumption.                                                disclosed in the attached claims directed to a method, a
                                                                  storage medium, a system and a computer program product,
                      BACKGROUND                                  wherein any feature mentioned in one claim category, e.g.
 0002. A social-networking system, which may include a            method, can be claimed in another claim category, e.g.
Social-networking website, may enable its users (such as          system, as well. The dependencies or references back in the
persons or organizations) to interact with it and with each       attached claims are chosen for formal reasons only. However
other through it. The Social-networking system may, with          any subject matter resulting from a deliberate reference back
input from a user, create and store in the Social-networking      to any previous claims (in particular multiple dependencies)
system a user profile associated with the user. The user          can be claimed as well, so that any combination of claims
                                                                  and the features thereof are disclosed and can be claimed
profile may include demographic information, communica            regardless of the dependencies chosen in the attached
tion-channel information, and information on personal inter       claims. The Subject-matter which can be claimed comprises
ests of the user. The Social-networking system may also,
with input from a user, create and store a record of relation     not only the combinations of features as set out in the
ships of the user with other users of the social-networking       attached claims but also any other combination of features in
system, as well as provide services (e.g., wall posts, photo      the claims, wherein each feature mentioned in the claims can
sharing, event organization, messaging, games, or advertise       be combined with any other feature or combination of other
ments) to facilitate Social interaction between or among          features in the claims. Furthermore, any of the embodiments
USCS.                                                             and features described or depicted herein can be claimed in
 0003. The social-networking system may send over one             a separate claim and/or in any combination with any
or more networks content or messages related to its services      embodiment or feature described or depicted herein or with
to a mobile or other computing device of a user. A user may       any of the features of the attached claims.
also install software applications on a mobile or other                   BRIEF DESCRIPTION OF THE DRAWINGS
computing device of the user for accessing a user profile of
the user and other data within the Social-networking system.       0007 FIG. 1 illustrates an example network environment
The Social-networking system may generate a personalized          associated with a social-networking system.
set of content objects to display to a user. Such as a newsfeed    0008 FIG. 2 illustrates an example social graph.
of aggregated stories of other users connected to the user.        0009 FIG. 3 illustrates an example network environ
 0004. A mobile computing device—such as a smart                  ment.
phone, tablet computer, or laptop computer—may include             0010 FIG. 4 illustrates an example environment in which
functionality for determining its location, direction, or ori     a Social-networking system may identify a user of a user
entation, such as a GPS receiver, compass, gyroscope, or          device.
accelerometer. Such a device may also include functionality        0011 FIG. 5 illustrates an example environment in which
for wireless communication, such as BLUETOOTH com                 a Social-networking system may determine media consump
munication, near-field communication (NFC), or infrared           tion data.
(IR) communication or communication with a wireless local          0012 FIG. 6 illustrates an example method for correlat
area networks (WLANs) or cellular-telephone network.              ing user profile data with media consumption data received
Such a device may also include one or more cameras,               from a user device.
scanners, touchscreens, microphones, or speakers. Mobile           0013 FIG. 7 illustrates an example method for correlat
computing devices may also execute software applications,         ing user profile data with media consumption data received
Such as games, web browsers, or Social-networking appli           from a content provider.
cations. With Social-networking applications, users may            0014 FIG. 8 illustrates an example method for correlat
connect, communicate, and share information with other            ing user profile data with media consumption data received
users in their social networks.                                   from a media device.
                                                                  0015 FIG. 9 illustrates an example computer system.
    SUMMARY OF PARTICULAR EMBODIMENTS
                                                                      DESCRIPTION OF EXAMPLE EMBODIMENTS
 0005 Particular embodiments allow a social-networking
system to correlate or merge user profile data of a user of the    0016 FIG. 1 illustrates an example network environment
Social-networking system with media consumption data. In          100 associated with a social-networking system. Network
Some embodiments, the Social-networking system deter              environment 100 includes a user 101, a client system 130, a
mines or captures media consumption data through a user           social-networking system 160, and a third-party system 170
device, a media device, or by receiving data from a content       connected to each other by a network 110. Although FIG. 1
provider. In particular embodiments, media consumption            illustrates a particular arrangement of user 101, client system
data may be captured by or sent to the Social-networking          130, social-networking system 160, third-party system 170,
system via a user device, a media device, or a content            and network 110, this disclosure contemplates any suitable
provider. In particular embodiments, a user device may            arrangement of user 101, client system 130, social-network
capture media consumption data and allow a Social-network         ing system 160, third-party system 170, and network 110. As
to correlate the media consumption data with a user profile.      an example and not by way of limitation, two or more of
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client system 130, social-networking system 160, and third        (VPN), a local area network (LAN), a wireless LAN
party system 170 may be connected to each other directly,         (WLAN), a wide area network (WAN), a wireless WAN
bypassing network 110. As another example, two or more of         (WWAN), a metropolitan area network (MAN), a portion of
client system 130, social-networking system 160, and third        the Internet, a portion of the Public Switched Telephone
party system 170 may be physically or logically co-located        Network (PSTN), a cellular telephone network, or a com
with each other in whole or in part. Moreover, although FIG.      bination of two or more of these. Network 110 may include
1 illustrates a particular number of users 101, client systems    one or more networks 110.
130, social-networking systems 160, third-party systems            00.19 Links 150 may connect client system 130, social
170, and networks 110, this disclosure contemplates any           networking system 160, and third-party system 170 to
suitable number of users 101, client systems 130, social          communication network 110 or to each other. This disclo
networking systems 160, third-party systems 170, and net          sure contemplates any suitable links 150. In particular
works 110. As an example and not by way of limitation,            embodiments, one or more links 150 include one or more
network environment 100 may include multiple users 101,           wireline (such as for example Digital Subscriber Line (DSL)
client system 130, social-networking systems 160, third           or Data Over Cable Service Interface Specification (DOC
party systems 170, and networks 110.                              SIS)), wireless (such as for example Wi-Fi or Worldwide
 0017. In particular embodiments, user 101 may be an              Interoperability for Microwave Access (WiMAX)), or opti
individual (human user), an entity (e.g., an enterprise, busi     cal (such as for example Synchronous Optical Network
ness, or third-party application), or a group (e.g., of indi      (SONET) or Synchronous Digital Hierarchy (SDH)) links.
viduals or entities) that interacts or communicates with or       In particular embodiments, one or more links 150 each
over social-networking system 160. In particular embodi           include an ad hoc network, an intranet, an extranet, a VPN,
ments, Social-networking system 160 may be a network              a LAN, a WLAN, a WAN, a WWAN, a MAN, a portion of
addressable computing system hosting an online social             the Internet, a portion of the PSTN, a cellular technology
network. Social-networking system 160 may generate, Store,        based network, a satellite communications technology
receive, and send social-networking data, Such as, for            based network, another link 150, or a combination of two or
example, user-profile data, concept-profile data, Social          more such links 150. Links 150 need not necessarily be the
graph information, or other Suitable data related to the online   same throughout network environment 100. One or more
social network. Social-networking system 160 may be               first links 150 may differ in one or more respects from one
accessed by the other components of network environment           or more second links 150.
100 either directly or via network 110. In particular embodi       0020 FIG. 2 illustrates example social graph 200. In
ments, social-networking system 160 may include an autho          particular embodiments, social-networking system 160 may
rization server (or other suitable component(s)) that allows      store one or more social graphs 200 in one or more data
users 101 to opt in to or opt out of having their actions         stores. In particular embodiments, social graph 200 may
logged by Social-networking system 160 or shared with             include multiple nodes—which may include multiple user
other systems (e.g., third-party systems 170), for example,       nodes 202 or multiple concept nodes 204 and multiple
by setting appropriate privacy settings. A privacy setting of     edges 206 connecting the nodes. Example social graph 200
a user may determine what information associated with the         illustrated in FIG. 2 is shown, for didactic purposes, in a
user may be logged, how information associated with the           two-dimensional visual map representation. In particular
user may be logged, when information associated with the          embodiments, a Social-networking system 160, client sys
user may be logged, who may log information associated            tem 130, or third-party system 170 may access social graph
with the user, whom information associated with the user          200 and related social-graph information for suitable appli
may be shared with, and for what purposes information             cations. The nodes and edges of social graph 200 may be
associated with the user may be logged or shared. Authori         stored as data objects, for example, in a data store (such as
Zation servers may be used to enforce one or more privacy         a social-graph database). Such a data store may include one
settings of the users of Social-networking system 30 through      or more searchable or queryable indexes of nodes or edges
blocking, data hashing, anonymization, or other Suitable          of social graph 200.
techniques as appropriate. Third-party system 170 may be           0021. In particular embodiments, a user node 202 may
accessed by the other components of network environment           correspond to a user of Social-networking system 160. As an
100 either directly or via network 110. In particular embodi      example and not by way of limitation, a user may be an
ments, one or more users 101 may use one or more client           individual (human user), an entity (e.g., an enterprise, busi
systems 130 to access, send data to, and receive data from        ness, or third-party application), or a group (e.g., of indi
social-networking system 160 or third-party system 170.           viduals or entities) that interacts or communicates with or
Client system 130 may access social-networking system 160         over social-networking system 160. In particular embodi
or third-party system 170 directly, via network 110, or via a     ments, when a user registers for an account with Social
third-party system. As an example and not by way of               networking system 160, Social-networking system 160 may
limitation, client system 130 may access third-party system       create a user node 202 corresponding to the user, and store
170 via social-networking system 160. Client system 130           the user node 202 in one or more data stores. Users and user
may be any Suitable computing device. Such as, for example,       nodes 202 described herein may, where appropriate, refer to
a personal computer, a laptop computer, a cellular telephone,     registered users and user nodes 202 associated with regis
a Smartphone, a tablet computer, or an augmented/virtual          tered users. In addition or as an alternative, users and user
reality device.                                                   nodes 202 described herein may, where appropriate, refer to
 0018. This disclosure contemplates any suitable network          users that have not registered with Social-networking system
110. As an example and not by way of limitation, one or           160. In particular embodiments, a user node 202 may be
more portions of network 110 may include an ad hoc                associated with information provided by a user or informa
network, an intranet, an extranet, a virtual private network      tion gathered by various systems, including Social-network
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ing system 160. As an example and not by way of limitation,       selectable or other icon, or other inter-actable object (which
a user may provide his or her name, profile picture, contact      may be implemented, for example, in JavaScript, AJAX, or
information, birth date, sex, marital status, family status,      PHP codes) representing an action or activity. As an example
employment, education background, preferences, interests,         and not by way of limitation, a third-party webpage may
or other demographic information. In particular embodi            include a selectable icon such as “like.” “check-in,” “eat,
ments, a user node 202 may be associated with one or more         “recommend,' or another suitable action or activity. A user
data objects corresponding to information associated with a       viewing the third-party webpage may perform an action by
user. In particular embodiments, a user node 202 may              selecting one of the icons (e.g., “check-in'), causing a client
correspond to one or more webpages.                               system 130 to send to social-networking system 160 a
 0022. In particular embodiments, a concept node 204              message indicating the user's action. In response to the
may correspond to a concept. As an example and not by way         message, social-networking system 160 may create an edge
of limitation, a concept may correspond to a place (such as,      (e.g., a check-in-type edge) between a user node 202 cor
for example, a movie theater, restaurant, landmark, or city);     responding to the user and a concept node 204 correspond
a website (such as, for example, a website associated with        ing to the third-party webpage or resource and store edge
social-network system 160 or a third-party website associ         206 in one or more data stores.
ated with a web-application server); an entity (Such as, for       0025. In particular embodiments, a pair of nodes in social
example, a person, business, group, sports team, or celeb         graph 200 may be connected to each other by one or more
rity); a resource (such as, for example, an audio file, video     edges 206. An edge 206 connecting a pair of nodes may
file, digital photo, text file, structured document, or appli     represent a relationship between the pair of nodes. In par
cation) which may be located within Social-networking             ticular embodiments, an edge 206 may include or represent
system 160 or on an external server, such as a web                one or more data objects or attributes corresponding to the
application server, real or intellectual property (such as, for   relationship between a pair of nodes. As an example and not
example, a sculpture, painting, movie, game, Song, idea,          by way of limitation, a first user may indicate that a second
photograph, or written work); a game; an activity; an idea or     user is a “friend of the first user. In response to this
theory; an object in a augmented/virtual reality environment;     indication, Social-networking system 160 may send a “friend
another Suitable concept; or two or more such concepts. A         request to the second user. If the second user confirms the
concept node 204 may be associated with information of a          “friend request,” social-networking system 160 may create
concept provided by a user or information gathered by             an edge 206 connecting the first user's user node 202 to the
various systems, including social-networking system 160.          second users user node 202 in social graph 200 and store
As an example and not by way of limitation, information of        edge 206 as Social-graph information in one or more of data
a concept may include a name or a title; one or more images       stores 164. In the example of FIG. 2, social graph 200
(e.g., an image of the cover page of a book); a location (e.g.,   includes an edge 206 indicating a friend relation between
an address or a geographical location); a website (which          user nodes 202 of user “A” and user “B” and an edge
may be associated with a URL): contact information (e.g., a       indicating a friend relation between user nodes 202 of user
phone number or an email address); other Suitable concept         “C” and user “B.” Although this disclosure describes or
information; or any Suitable combination of Such informa          illustrates particular edges 206 with particular attributes
tion. In particular embodiments, a concept node 204 may be        connecting particular user nodes 202, this disclosure con
associated with one or more data objects corresponding to         templates any suitable edges 206 with any suitable attributes
information associated with concept node 204. In particular       connecting user nodes 202. As an example and not by way
embodiments, a concept node 204 may correspond to one or          of limitation, an edge 206 may represent a friendship, family
more webpages.                                                    relationship, business or employment relationship, fan rela
 0023. In particular embodiments, a node in social graph          tionship (including, e.g., liking, etc.), follower relationship,
200 may represent or be represented by a webpage (which           visitor relationship (including, e.g., accessing, viewing,
may be referred to as a “profile page'). Profile pages may be     checking-in, sharing, etc.). Subscriber relationship, Superior/
hosted by or accessible to social-networking system 160.          Subordinate relationship, reciprocal relationship, non-recip
Profile pages may also be hosted on third-party websites          rocal relationship, another suitable type of relationship, or
associated with a third-party server 170. As an example and       two or more such relationships. Moreover, although this
not by way of limitation, a profile page corresponding to a       disclosure generally describes nodes as being connected,
particular external webpage may be the particular external        this disclosure also describes users or concepts as being
webpage and the profile page may correspond to a particular       connected. Herein, references to users or concepts being
concept node 204. Profile pages may be viewable by all or         connected may, where appropriate, refer to the nodes cor
a selected Subset of other users. As an example and not by        responding to those users or concepts being connected in
way of limitation, a user node 202 may have a corresponding       social graph 200 by one or more edges 206.
user-profile page in which the corresponding user may add          0026. In particular embodiments, an edge 206 between a
content, make declarations, or otherwise express himself or       user node 202 and a concept node 204 may represent a
herself. As another example and not by way of limitation, a       particular action or activity performed by a user associated
concept node 204 may have a corresponding concept-profile         with user node 202 toward a concept associated with a
page in which one or more users may add content, make             concept node 204. As an example and not by way of
declarations, or express themselves, particularly in relation     limitation, as illustrated in FIG. 2, a user may “like.’
to the concept corresponding to concept node 204.                 “attended,” “played,” “listened,” “cooked,” “worked at,” or
 0024. In particular embodiments, a concept node 204              “watched a concept, each of which may correspond to a
may represent a third-party webpage or resource hosted by         edge type or subtype. A concept-profile page corresponding
a third-party system 170. The third-party webpage or              to a concept node 204 may include, for example, a selectable
resource may include, among other elements, content, a            “checkin' icon (such as, for example, a clickable “checkin'
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icon) or a selectable “add to favorites’ icon. Similarly, after    networking system 160 (or any other system capable of
a user clicks these icons, Social-networking system 160 may        performing steps of the methods described in this disclosure)
create a “favorite' edge or a “check in edge in response to        may be connected via network 110 to a plurality of con
a user's action corresponding to a respective action. As           nected devices 304. Connected devices 304 may include,
another example and not by way of limitation, a user (user         without limitation, Internet-enabled television sets 304a that
“C) may listen to a particular song (“Imagine') using a            connect to network 110 through a local internet service
particular application (SPOTIFY, which is an online music          provider (ISP), mobile devices 304b that connect to network
application). In this case, social-networking system 160 may       110 through a wireless connection such as a wireless cellular
create a “listened edge 206 and a “used edge (as illustrated       data network, or TVs 304d that connect to network 110
in FIG. 2) between user nodes 202 corresponding to the user        through a set-top box (STB) or gateway device 304c.
and concept nodes 204 corresponding to the song and                STB/gateway 304c may be any hardware or software that
application to indicate that the user listened to the song and     delivers content or possesses a network interface card (NIC)
used the application. Moreover, social-networking system
160 may create a “played edge 206 (as illustrated in FIG.          for connecting to a local area network (LAN). For example,
2)between concept nodes 204 corresponding to the Song and          STB/gateway 304c may be a cable box provided by a
the application to indicate that the particular song was           multiple-system operator (MSO), such as COMCAST,
played by the particular application. In this case, "played        TIME WARNER, AT&T U-VERSE, or DISH NETWORK.
edge 206 corresponds to an action performed by an external         In such examples, STB/gateway 304c may receive content
application (SPOTIFY) on an external audio file (the song          from MSOs 302. As another example, STB/gateway 304c
“Imagine'). Although this disclosure describes particular          may be a device that streams video from third-party internet
edges 206 with particular attributes connecting user nodes         sites or services such as over-the-top content (OTT) provid
202 and concept nodes 204, this disclosure contemplates any        ers 303. As an example and not by way of limitation, a
suitable edges 206 with any suitable attributes connecting         gateway device may include devices from ROKU, BOXEE,
user nodes 202 and concept nodes 204. Moreover, although           APPLE TV, or GOOGLE TV that allow users to access
this disclosure describes edges between a user node 202 and        content from OTT providers 303 such as NETFLIX, HULU,
a concept node 204 representing a single relationship, this        AMAZON VIDEO, or YOUTUBE. Additionally or alterna
disclosure contemplates edges between a user node 202 and          tively, a gateway device may be a digital video recorder
a concept node 204 representing one or more relationships.         (DVR) or a digital media player (DMP). In some embodi
As an example and not by way of limitation, an edge 206            ments, STB/gateway 304c may be a stand-alone device. In
may represent both that a user likes and has used at a             other embodiments, the functionality of STB/gateway 304c
particular concept. Alternatively, another edge 206 may            may be incorporated into TV 304d.
represent each type of relationship (or multiples of a single
relationship) between a user node 202 and a concept node            0029. In general, a user's social connections or activities
204 (as illustrated in FIG. 2 between user node 202 for user       can be used to customize or personalize the user's experi
“E” and concept node 204 for “SPOTIFY).                            ence with a social TV viewing system such as the system of
 0027. In particular embodiments, social-networking sys            FIG. 3. Some embodiments may utilize methods to custom
                                                                   ize a user's experience as described in U.S. patent applica
tem 160 may create an edge 206 between a user node 202             tion Ser. No. 12/759,676 entitled “Token-Activated, Feder
and a concept node 204 in Social graph 200. As an example          ated Access to Social Network Information,” which is
and not by way of limitation, a user viewing a concept             incorporated herein by reference. In particular embodi
profile page (such as, for example, by using a web browser         ments, connected devices 304 receive content from MSOs
or a special-purpose application hosted by the user's client       302 or OTT providers 303 while receiving or sending social
system 130) may indicate that he or she likes the concept          data to Social-networking system 160. For example, a user
represented by the concept node 204 by clicking or selecting       watching a particular TV show or movie on either service
a “Like' icon, which may cause the user's client system 130        may choose to share that he or she is currently viewing the
to send to social-networking system 160 a message indicat          program to his or her friends. Conversely, a user browsing
ing the user's liking of the concept associated with the           the Electronic Programming Guide (EPG) of an MSO 302 or
concept-profile page. In response to the message, Social           the content navigator of an OTT provider 303 may be
networking system 160 may create an edge 206 between               presented with social data including the content that his or
user node 202 associated with the user and concept node            her friends on social-networking system 160 have watched,
204, as illustrated by “like edge 206 between the user and         are currently watching, or plan to watch. Thus, after
concept node 204. In particular embodiments, social-net            exchanging authorization messages 306 with Social-net
working system 160 may store an edge 206 in one or more            working system 160 to authenticate the user's social net
data stores. In particular embodiments, an edge 206 may be         working identity with his or her connected device 304,
automatically formed by social-networking system 160 in            connected devices 304 may receive discover messages 308
response to a particular user action. As an example and not        that identify content being consumed or watched by his or
by way of limitation, if a first user uploads a picture, watches   her friends on the Social network, and send share messages
a movie, or listens to a song, an edge 206 may be formed           307 to inform social-networking system 160 of what the user
between user node 202 corresponding to the first user and          has, is, or plans to watch or “consume.” Although FIG. 3
concept nodes 204 corresponding to those concepts.                 depicts these messages as being sent directly between social
Although this disclosure describes forming particular edges        networking system 160 and connected devices 304, in
206 in particular manners, this disclosure contemplates            particular embodiments, authorization, share, and discover
forming any Suitable edges 206 in any Suitable manner.             messages 306, 307, and 308 may be exchanged between the
 0028 FIG. 3 illustrates an example network environment            provider from which content is being accessed, namely,
for some embodiments described in this disclosure. Social          MSOs 302 and OTT providers 303. This disclosure contem
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plates any Suitable means of routing messages from con           ticast domain name system (mDNS) identifier, or any other
nected devices 304 to social-networking system 160.              data that may be used to identify the specific models or
 0030 Although increasingly rare, there are scenarios            manufacturers of TV 410e. In some embodiments, a unique
wherein a particular user of the Social-networking system        device identifier for TV 410e may be for a device associated
has no means of linking his TV or media device to social         with TV 410e. For example, a unique device identifier may
networking system 160. Unconnected devices 305 lack any          identify a router that TV410e is connected to, a STB that TV
means of connecting to Internet/network 110. For example,        410e is connected to, or any other device associated with TV
a user may not have a local ISP, and only TV service from        410e. In some embodiments, a unique device identifier for
an MSO. As another example, a user may have both cable           TV 410e may be an identifier assigned when a user device
service from an MSO as well as interne access from a local       is paired with TV 410e (e.g., via BLUETOOTH). Once
ISP, but his or her STB 304c may not include an NIC. In          captured, the unique identifier for TV 410e may be analyzed
such configurations, MSO 302 may communicate authori             by mobile device 410a or sent to social-networking system
Zation, share, and discover messages with Social-networking      160 for analysis. In some embodiments, the captured unique
system 160, and unconnected device 305 may communicate           device identifier may be compared to a database of unique
with MSOs 302 (e.g., via STB 304c). In particular embodi         device identifiers in order to identify TV 410e. In particular
ments, unconnected device 305 may communicate indirectly         embodiments, a user device may be identified passively
with social-networking system 160 via a connected device.        without user input. Additionally or alternatively, a user
For example, and not by way of limitation, mobile device         device may be identified only if a user explicitly provides
304b may record audio or video data from unconnected             social-networking system 160 with identification informa
device 305 and send the data to social-networking system         tion for the user device. In some embodiments, a notification
160.                                                             may request that a user explicitly provide Social-networking
 0031. In particular embodiments, content may be deliv           system 160 with identification information for a user device.
ered to user devices 304 and 305 tagged with content              0034 Social-networking system 160 may utilize the
identifiers and metadata. For example, COMCAST may               information obtained from user devices 410 to deliver
utilize its own proprietary EPG data format that lists the       specific content to a user device. For example, if social
program name, air date, actors, producer, director, etc. In      networking system 160 determines that user 101 is utilizing
particular embodiments, content providers 302 and 303 may        an IPHONE as mobile device 410b, social-networking sys
obtain content identifiers and metadata from content data        tem 160 may communicate to laptop computer 410c to
bases 301, such as that provided by ROVI. Each particular        display advertisements directed to IPHONE users. As
piece of content may be sent from devices 304, or, in            another example, if social-networking system 160 deter
particular embodiments, via content providers 302 and 303,       mines that user 101 is utilizing an XBOX as gaming console
as graph data including a graph object and graph action.         410d, Social-networking system 160 may communicate to
Social-networking system 160 may de-duplicate graph data         personal computer 410a to display advertisements directed
for the same graph object in a graph data store by comparing     to XBOX users.
various attributes about the content object; for example,         0035. In particular embodiments, social-networking sys
name, actors, duration, air date, etc. Thus, social-networking   tem 160 may also identify a user of a user device. In some
system 160 may attribute graph data sent from HULU that          embodiments, the identity of the user device may be used to
a particular user watched the critically-acclaimed feature       identify a userby, for example, cross-referencing the iden
film “The Marine' to the same graph object as a user             tity of the user device with known user devices for the user.
currently watching “The Marine” on COMCAST digital               In other embodiments, the user may be identified by other
cable, irrespective of the source and format of the content      means, such as by the user communicating authentication
metadata.                                                        information to Social-networking system 160. Social-net
 0032 FIG. 4 illustrates an example environment in which         working system 160 may also access a user profile for the
Social-networking system 160 may identify a user of one or       user of the identified user device. In particular embodiments,
more user devices 410. In the illustrated embodiment, user       Social-networking system 160 may store information indi
devices 410 may include a personal computer 410a, a              cating an association between a user device and a user.
mobile device 410b Such as a Smartphone, a laptop computer        0036 FIG. 5 illustrates an environment in which social
410c, a gaming console 410d, a TV 410e, or any other             networking system 160 may determine media consumption
appropriate user device. User devices 410 may communicate        data. In particular embodiments, media consumption data
with network 110, STB/gateway 304c, or other user devices        may include the identity of the media content consumed. In
410 via a wireless communications protocol such as WIFI or       Some embodiments, media consumption data includes meta
BLUETOOTH.                                                       data about the media content which may identify a genre, air
 0033. In general, social-networking system 160 may              date, actor, artist, producer, director, content creator, content
identify a user device 410 of user 101 by communicating          provider, television station or network, radio station or
with a user device 410 via network 110. In some embodi           network, etc.
ments, a user device may be identified after the user device      0037. In particular embodiments, media consumption
communicates with Social-networking system 160. In some          data may include a time, date, duration, or location for the
embodiments, social-networking system 160 may identify a         consumption of the media content. For example, if user 101
first user device via communicating with a second user           consumed a television show by watching the show on a
device. As an example, mobile device 410a may utilize            television, media consumption data may include the time
WIFI or BLUETOOTH sniffing to capture a unique device            and date that the user viewed the content. In some embodi
identifier for TV 410e. The unique device identifier may         ments, time or date data may include the time or date that
include, for example, a MAC address, a serial number, a          media content will be recorded, such as a time or date of a
unique product identification number, an IP address, a mul       future recording set on a DVR. In some embodiments,
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duration data may include the duration that a particular user    as an MSO 302 or an OTT provider 303. The content
consumed media content. In some embodiments, media               provider may collect and send to social-networking system
consumption data includes the location that media content is     160 device-based media consumption data. In particular
consumed or will be consumed.                                    embodiments, a content provider may collect and send
 0038. In particular embodiments, media consumption              set-top box data to Social-networking system 160. In par
data may include user input data. User input data may            ticular embodiments, content source 510 may be STB/
include, as an example and not by way of limitation, channel     gateway 304c. For example, a set-top box may record media
changing behavior, use of a remote control, clickstream data,    consumption data and send the data to Social-networking
user interactions with a media device, etc. For example,         system 160.
media consumption may include data that indicates that            0042 FIG. 6 illustrates an example method for correlat
during a television show, user 101 muted the volume on TV        ing user profile data with media consumption data received
410e when advertisements were displayed. In this example,        from user device 410. In step 610, user device 410 sends and
media consumption data may also indicate that user 101           Social-networking system 160 receives identifying informa
unmuted TV 410e during particular advertisements. As a           tion (e.g., information Sufficient to retrieve a user profile for
further example, media consumption data may indicate that        a user of user device 410). In particular embodiments,
user 101 clicked on an advertisement while consuming             identifying information may be authentication information
media using HULU on laptop 410c.                                 (e.g., information uniquely identifying a user, Such as a
 0039. In particular embodiments, social-networking sys          username, email address, or phone number), a unique device
tem 160 may receive media consumption data from user             identifier for a user device of the user, or any other suitable
device 410. As discussed further below, social-networking        information. In some embodiments, identifying information
system 160 may utilize various methods to determine media        may include identifiers obtained via explicit pairing of a user
consumption data, such as the identity of what user 101 is       device with a media device (e.g., a unique device identifier,
watching on a media device, such as TV 410e. These               an identifier assigned when a user device paired with a
methods may include acoustic or visual fingerprinting, ana       media device, etc.). In some embodiments, known informa
lyzing electrical interference, analyzing signals on an HDMI     tion about a user, Such as the user's interests, location, or
cable, analyzing closed-captioning, analyzing images from        other known information, may be identifying information.
an incoming video stream, analyzing explicit signals from        For example, social-network 160 may receive information
user 101, and analyzing embedded signals, such as water          that identifies a household, but then use known location for
mark data. In particular embodiments, media consumption          one or more members of the household to determine which
data may be determined by capturing or analyzing data 530        member is correlated with media consumption data. In step
via Sensor 525.                                                  620, social-networking system 160 retrieves a user profile of
 0040. In some embodiments, social-networking system             the identified user.
160 may determine device-based media consumption data.            0043. In step 630, content provider 600b sends media
In particular embodiments, device-based media consump            content to media device 600a. In particular embodiments, a
tion data may be media consumption data associated with a        content provider may be an MSO, an OTT provider, a music
particular user device. As an example, user 101 may be           streaming service (e.g. SPOTIFY. PANDORAINTERNET
watching a show on TV 410e. Device-based media con               RADIO, etc.), a radio broadcaster, or any other provider of
sumption for TV 410e may be media consumption data for           media content. In particular embodiments, media content
the show being watched on TV 410e. In particular embodi          may include video content, Such as a TV show, a movie, a
ments, social-networking system 160 may determine device         Video game, a live video stream, etc. Additionally or alter
based media consumption data by determining an associa           natively, media content may include audio content, Such as
tion between media consumption data and a user device. In        a radio broadcast, a podcast, an internet radio stream, a live
the above example, TV 410e may communicate media                 audio stream, etc. In some embodiments, media content may
consumption data to social-networking system 160 includ          include shared media collections (e.g., a photo album).
ing a unique device identifier indicating an association          0044. In particular embodiments, a media device may be
between the media consumption data and TV 410e. As               a TV, a user device, or any other device capable of receiving
another example, user device 410 may capture media con           or allowing a user to consume media content. In some
Sumption data from TV 410e (e.g., by using an acoustic           embodiments, a media device may include a TV and a
fingerprint) and also capture a unique identifier for TV 410e    STB/gateway. This disclosure contemplates a media device
(e.g., via BLUETOOTH) which may indicate an association          including a device capable of receiving or consuming media
between the media consumption data and TV 410e. In this          content, any number of set-top boxes, and any number of
example, user device 410 may additionally or alternatively       gateway devices, connected in any suitable arrangement.
send with the media consumption data with a unique iden           0045. In step 640, the media content is consumed via
tifier for itself, indicating an association between the media   media device 600a. In particular embodiments, a user may
consumption data and user device 410. In some embodi             consume media content by viewing or listening to a media
ments, social-networking system 160 may determine media          device that is producing sound or images corresponding to
consumption data for user 101 by receiving data from TV          the media content. As an example, a user may consume
410e. For example, TV 410e may be an internet-enabled TV         media content by viewing a television show. In particular
and may send media consumption data to Social-networking         embodiments, consuming media content includes instruct
system 160 via network 110.                                      ing a media device to record media content immediately or
 0041. In particular embodiments, social-networking sys          in the future. For example, a user may consume media
tem 160 may determine device-based media consumption             content by instructing a media device that includes a TV and
data by receiving data from content source 510. As an            gateway device TIVO to record a television show. In par
example, content source 510 may be a content provider, such      ticular embodiments, media content may be consumed when
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a user places media content in a queue or list. For example,     what a user is currently watching. For example, user 101
a user may consume media by placing videos into a queue          may use sensor 525 that includes a camera to capture images
On NETFLIX.                                                      of a TV show being consumed on TV 410e. In some
 0046. In step 650, media consumption data may be sent           embodiments, the captured images may be sent to social
from media device 600a to user device 410 or captured from       networking system 160. User device 410 or social-network
media device 600a by user device 410. As discussed above,        ing system 160 may analyze the captured images and
media consumption data may include the identity of the           compare them to a database of images for known media
media content, metadata, a time, a date, a duration, a           content. By comparing the captured images with the known
location, channel changing behavior, user input data, etc. In    images, social-networking system 160 or user device 410
Some embodiments, media consumption data may be sent to          may be able identify a TV show that user 101 is watching
user device 410 via a wireless communications protocol           and thus determine media content.
such as WIFI or BLUETOOTH or by any other suitable                0050. In some embodiments, social-networking system
means. In particular embodiments, discussed further below,       160 may utilize phase delay to determine media consump
user device 410 may capture media consumption data or            tion data. For example, most cable providers utilize a unique
information Sufficient to determine media consumption data       time delay in sending signals to customers. Social-network
from media device 600a (e.g., by capturing audio, video,         ing system 160 may determine this delay by, for example,
images, electrical interference patterns, and other such infor   analyzing environmental data 530 (e.g., environmental
mation from media device 600a).                                  sounds or signals from an HDMI cable). Once the delay has
 0047. In some embodiments, media consumption data               been determined, social-networking system 160 may com
may be captured by acoustic fingerprinting. For example,         pare it to known delays of content providers. For example,
while user 101 is watching TV 410e, a mobile app associated      if the delay is determined to be 102 ms, social-networking
with Social-networking system 160 may be running on user         system 160 may determine that user 101 is watching content
device 410 of user 101. User device 410 may capture              from COMCAST if COMCAST has a known delay of 102
environmental data 530 (e.g., audio, images, video, location     ms. Once a content provider is determined, social-network
data, or other data captured from or associated with the         ing system 160 may determine media consumption data by
environment) using a sensor 525 (e.g., a microphone, cam         cross-referencing environmental data 530 with known
era, GPS, or other sensor). Environmental data 530 may           schedules of media content for the content provider (e.g., if
include, for example, audio from a show being viewed on          user 101 is determined to be watching COMCAST at 6 PM,
TV 410e. In some embodiments, environmental data 530             environmental data 530 may be compared to known data
may be sent to social-networking system 160, which may           about shows being offered by COMCAST at 6 PM).
then analyze environmental data 530 in order to determine         0051. In some embodiments, electrical interference may
what user 101 is watching on the TV 410e, a time, date, or       be utilized to determine media consumption data. For
duration, or other media consumption data. For example,          example, media device 600a may include a connected
Social-networking system 160 may compare environmental           device 304 plugged into an electrical outlet in the home of
data 530 that includes environmental sounds to audio of          user 101. Media device 600a may also include a TV 410e
known television shows. Based on the comparison, Social          plugged into the same electrical outlet, or any other electri
networking system 160 may determine media consumption            cal outlet in the home of user 101. The connected device 304
data, Such as the identity of a show user 101 is watching on     may capture electrical interference (e.g., noise) present on a
TV 410e. In some embodiments, user device 410 may first          power cord plugged into the electrical outlet. This electrical
analyze environmental data 530 and determine what the user       interference may be introduced into the electrical wiring of
is watching on TV 410e before sending data to social             the user's home by TV 410e. The electrical interference may
networking system 160.                                           be due to variance in the electrical load from a television
 0048. In some embodiments, social-networking system             caused by varying sounds or Volumes of a television show
160 may utilize environmental data 530 received from             being displayed. In some embodiments, the electrical inter
multiple users 101 in order to determine whether the mul         ference may be unique for each television show. This
tiple users are consuming media separately or together. For      electrical interference pattern may be captured and sent to
example, if two users are in the same room while watching        social-networking system 160 by the connected device 304.
the same TV show, environmental data 530 captured by each        Social-networking system 160 may analyze the captured
users user device may be similar. Social-networking system       electrical interference pattern and compare it to a database of
160 may compare environmental data captured from each            electrical interference patterns or fingerprints for known
user and determine that the two users are located in the same    television shows. By comparing the captured electrical inter
environment if the environmental data 530 from each user is      ference pattern with the stored electrical interference fin
Substantially similar. As an example, social-networking sys      gerprints, social-networking system 160 may be able match
tem 160 may compare GPS or other location data deter             the captured pattern with the pattern of a television show and
mined via sensor 525 and sent by the users user devices 410      thus determine media consumption data for the media con
in order to determine that two or more users are watching the    tent being consumed by user 101.
same TV show at the same location. In some embodiments,           0052. In some embodiments, closed-captioning may be
Social-networking system 160 may post content to Social          utilized to determine media consumption data. For example,
networking system 160 indicating that the two users are          STB/gateway 304c that is part of media device 600a may
watching the same TV show at the same location.                  receive a video stream from content provider 600b that
 0049. In some embodiments, media consumption data               includes closed-captioning information. The STB/gateway
may be determined by visual fingerprinting. For example,         304c may analyze the video stream and capture closed
environmental data 530 including images from an incoming         captioning information. The captured closed-captioning
Video stream may be captured and analyzed to determine           information may then be sent to Social-networking system
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160 where it may be analyzed and compared to closed              of analyzing, processing, parsing, adding to, Subtracting
captioning data of known television shows. Based on the          from, altering, or modifying the data received in step 650. In
comparison, Social-networking system 160 may match the           particular embodiments, the media consumption data may
captured closed-captioning information with closed-cap           be, may be used to determine, or may be modified to be
tioning of a known television show and thus determine            device-specific media consumption data.
media consumption data for the media content being con            0057. In step 670, social-networking system 160 deter
Sumed by a user.                                                 mines a correlation between the user profile retrieved in step
 0053. In some embodiments, explicit signals embedded            620 and the media consumption data received in step 660. In
in the media content may be utilized to determine media          particular embodiments, the user profile may be correlated
consumption data. In some embodiments, an explicit signal        with the media consumption data by using the identifying
may include a digital watermark, Such as an audio or visual      information sent in step 610. For example, a software
watermark. In some embodiments, a digital watermark may          application may send the media consumption data, the
be imperceptible to humans without technological aid. For        identifying information, and data that indicates a correlation
example, a content creator of a movie may embed an audio         by indicating that that the media consumption data and the
or visual watermark into the movie. The watermark may            identifying information were sent by the same software
include information that identifies media consumption data       application. As another example, and not by way of limita
for the content being displayed (e.g., title, episode number,    tion, a mobile device and a TV may be paired via BLU
time, date, etc.). User device 410 may capture all or part of    ETOOTH. In this example, an application on the mobile
the watermark data (e.g., via sensor 525), which may then be     device may send data to social-networking system 160 that
sent to Social-networking system 160. Social-networking          may determine a correlation, such as an IP address of a STB
system 160 may then use data including all or part of the        connected with the TV, a name for a WI-FI access point used
watermark to determine media consumption data for the            by the TV or mobile device, or an identifier assigned during
media content being consumed by a user.                          the pairing. In particular embodiments, the correlation may
 0054. In some embodiments, social-networking system             be determined because the same user device 410 sent both
160 may determine media consumption data by analyzing            the identifying information and the media consumption data
explicit signals from the users. For example, Social-network     to Social-networking system 160. For example, user device
ing system 160 may analyze posts of user 101 on Social           410 may send media consumption data, identifying infor
networking system 160 in order to determine what user 101        mation, and in each case, also send a unique device identifier
is or will be watching. As one example, if user 101 posts “I     that indicates a correlation by indicating that both the media
can’t wait to watch Lone Survivor tonight,” social-net           consumption data and the identifying information were sent
working system 160 may determine that user 101 is planning       from the same user device 410. In particular embodiments,
to consume the show “Lone Survivor.” As another example,         there may be multiple users associated with a household or
if two users are chatting about the show "Lone Survivor.”        with a media device. In such cases, social-networking sys
Social-networking system 160 may determine that the users        tem 160 may determine which among the multiple users are
are planning to consume the show "Lone Survivor.” In some        correlated with media consumption data by using contextual
embodiments, explicit signals from a user may include a          information (e.g., a unique device identifier for a device
user pairing a user device with a media device. As an            associated with a particular user, an explicit signal from one
example, a user may explicitly pair a mobile phone with a        of the users, a location of one of the users, or other Such
TV via BLUETOOTH, and either the mobile device or the            information).
TV may send data to social-networking system 160 suffi            0058. In particular embodiments, social-networking sys
cient to determine media data.                                   tem 160 may correlate the user profile with the media
 0055. In some embodiments, signals on an HDMI cable             consumption data by storing user profile data indicating an
may be utilized to determine media consumption data. For         association. In some embodiments, social-networking sys
example, a media device may include a connected device           tem 160 may merge the user profile and the media con
that captures electrical patterns of signals travelling across   Sumption data.
an HDMI cable. These electrical patterns may be unique for        0059 FIG. 7 illustrates an example method for correlat
each particular piece of media content. The electrical pat       ing user profile data with media consumption data received
terns may be captured and sent to social-networking system       from content provider 600b. In step 710, user device 410
160. Social-networking system 160 may analyze the cap            sends and Social-networking system 160 receives identify
tured electrical patterns and compare them to a database of      ing information. In step 720, social-networking system 160
electrical patterns for known pieces of media content. By        retrieves a user profile of the identified user. In step 730,
comparing the captured electrical patterns with the known        content provider 600b sends media content to media device
electrical patterns, social-networking system 160 may be         600a. In step 740, the media content is consumed via media
able match the captured patterns with the patterns of a          device 600a.
particular media content and thus determine media con             0060. In step 750, media device 600a sends media con
Sumption data for the media content being consumed by the        sumption data to content provider 600b. In particular
USC.                                                             embodiments, media consumption data may include set-top
 0056. In step 660, user device 410 sends media consump          box data. As an example, media device 600a may include
tion data to Social-networking system 160. In some embodi        TV 410e and a STB provided by an MSO content provider
ments, user device 410 may send all or part of the data          600b. As user 101 consumes media using TV 410e, the STB
received in step 650. Additionally or alternatively, user        may send set-top box data to the MSO. Set-top box data may
device 410 may send media consumption data generated             indicate what channel the TV is tuned to, the identity of
from the data received in step 650. In some embodiments,         media content, information about the STB, a time or date, a
user device 410 may send data in step 660 that is the result     viewing duration, remote control usage, channel changing
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behavior, user interactions with an EPG, user interactions        may be authentication information (e.g., information
with a video on demand (VOD) service, etc.                        uniquely identifying a user. Such as a username, email
 0061. In particular embodiments, media consumption               address, or phone number), a unique device identifier for
data may include user interactions with media device 600a,        media device 600a, or any other suitable information. In
such as clickstream data. For example, media device 600a          particular embodiments, media device 600a may send iden
may include personal computer 410a. User 101 may con              tifying information directly to social-networking system
Sume media content using personal computer 410a, by, for          160, as depicted in FIG. 8. In other embodiments, media
example, using content provider NETFLIX.NETFLIX may               device 600a may send identifying information to social
record the user's interactions with personal computer 410a.       networking system 160 via a user device 410. For example,
For example, NETFLIX may receive data indicating that             user device 410 may utilize WIFI or BLUETOOTH sniffing
user 101 played part of a movie, added a television show into     to capture a unique device identifier from media device 600a
a queue, or searched for a particular cartoon using NET           and then send that information to social-networking system
FLIX.                                                             160.
 0062. In step 760, content provider 600b sends media              0065. In step 830, social-networking system 160 retrieves
consumption data to social-networking system 160. In some         a user profile of the identified user. The user may be
embodiments, content provider 600b may send all or part of        identified based on identifying information sent from user
the data received in step 750. Additionally or alternatively,     device 410, identifying information sent from media device
content provider 600b may send data generated from the            600a, or a combination of the two. In particular embodi
data received in step 750. In some embodiments, content           ments, only step 810 or step 820 may occur. For example,
provider 600b may send data in step 760 that is the result of     identifying information may sent from media device 600a,
analyzing, processing, parsing, adding to, Subtracting from,      but not from user device 410. Media device 600a may
altering, or modifying the data received in step 750. In          include a gateway device that communicates to social
particular embodiments, the media consumption data may            networking system 160 via network 110. Media device 600a
be, may be used to determine, or may be modified to be            may send identifying information to Social-networking sys
device-specific media consumption data.                           tem 160 sufficient to retrieve a user profile for the user of
 0063. In step 770, social-networking system 160 deter            media device 600a. As another example, identifying infor
mines a correlation between the user profile retrieved in step    mation may sent from user device 410, but not from media
720 and the media consumption data received in step 760. In       device 600a. User device 410 may send identifying infor
some embodiments, content provider 600b may send infor            mation to social-networking system 160 sufficient to retrieve
mation to social-networking system in step 760 that allows        a user profile for the user of user device 410. In step 840,
Social-networking system 160 to determine a correlation to        content provider 600b sends media content to media device
user profile information. As an example, content provider         600a. In step 850, the media content is consumed via media
COMCAST may send to social-networking system 160                  device 600a.
media consumption data associated with media device 600a.          0066. In step 860, media device 600a sends media con
In this example, COMCAST may also send information that           Sumption data to Social-networking system 160. The media
would allow the identification of a user or a media device        consumption data may include set-top box data, data indi
(e.g., a name, home address, MAC address for a media              cating user interactions with media device 600a, or other
device, etc.). Social-networking system 160 may then use          media consumption data. For example, media device 600a
the information to correlate the media consumption data           may be an internet-enabled television. The internet-enabled
with the user profile. For example, if content provider 600b      television may send media consumption data to social
sends to social-networking system 160 media consumption           network system 160. In particular embodiments, the media
data along with a user's name and location, social-network        consumption data may be, may be used to determine, or may
ing may cross-reference the user's name and location with         be modified to be device-specific media consumption data.
similar user profile information in a user profile to determine    0067. In step 870, social-networking system 160 deter
a correlation. As another example, the identifying informa        mines a correlation between the user profile retrieved in step
tion sent in step 710 and the media consumption data sent in      830 and the media consumption data received in step 860. In
step 760 may both include a unique device identifier for          particular embodiments, the user profile may be correlated
media device 600a or user device 410, which may indicate          with the media consumption data by using the identifying
a correlation if cross-referenced with known media devices        information sent in step 810. Additionally or alternatively,
or user devices of a user. In some embodiments, multiple          the user profile may be correlated with the media consump
pieces or types of information may be used to determine a         tion data by using the identifying information sent in step
correlation. For example, a combination of IP address,            820. For example, the identifying information sent in either
mDNS identifier, WIFI name, unique identifier for a user          step 810 or step 820 and the media consumption data may
device, unique device identifier for a user (e.g., an email       both include a unique device identifier for media device
address, phone number, etc.), or other Suitable information       600a, indicating a correlation.
may allow social-networking system 160 to determine a              0068 FIG. 9 illustrates an example computer system 900.
correlation to user profile information.                          In particular embodiments, one or more computer systems
 0064 FIG. 8 illustrates an example method for correlat           900 perform one or more steps of one or more methods
ing user profile data with media consumption data received        described or illustrated herein. In particular embodiments,
from media device 600a. In step 810, user device 410 sends        one or more computer systems 900 provide functionality
and Social-networking system 160 receives identifying             described or illustrated herein. In particular embodiments,
information. In step 820, media device 600a sends and             software running on one or more computer systems 900
Social-networking system 160 receives identifying informa         performs one or more steps of one or more methods
tion. In particular embodiments, identifying information          described or illustrated herein or provides functionality
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described or illustrated herein. Particular embodiments           906 for instructions executing at processor 902 to operate
include one or more portions of one or more computer              on; the results of previous instructions executed at processor
systems 900. Herein, reference to a computer system may           902 for access by Subsequent instructions executing at
encompass a computing device, and Vice versa, where               processor 902 or for writing to memory 904 or storage 906;
appropriate. Moreover, reference to a computer system may         or other Suitable data. The data caches may speed up read or
encompass one or more computer systems, where appropri            write operations by processor 902. The TLBs may speed up
ate.                                                              virtual-address translation for processor 902. In particular
 0069. This disclosure contemplates any suitable number           embodiments, processor 902 may include one or more
of computer systems 900. This disclosure contemplates             internal registers for data, instructions, or addresses. This
computer system 900 taking any suitable physical form. As         disclosure contemplates processor 902 including any Suit
example and not by way of limitation, computer system 900         able number of any suitable internal registers, where appro
may be an embedded computer system, a system-on-chip              priate. Where appropriate, processor 902 may include one or
(SOC), a single-board computer system (SBC) (such as, for         more arithmetic logic units (ALUs); be a multi-core proces
example, a computer-on-module (COM) or system-on-mod              sor; or include one or more processors 902. Although this
ule (SOM)), a desktop computer system, a laptop or note           disclosure describes and illustrates a particular processor,
book computer system, an interactive kiosk, a mainframe, a        this disclosure contemplates any suitable processor.
mesh of computer systems, a mobile telephone, a personal           0072. In particular embodiments, memory 904 includes
digital assistant (PDA), a server, a tablet computer system,      main memory for storing instructions for processor 902 to
an augmented/virtual reality device, or a combination of two      execute or data for processor 902 to operate on. As an
or more of these. Where appropriate, computer system 900          example and not by way of limitation, computer system 900
may include one or more computer systems 900; be unitary          may load instructions from storage 906 or another source
or distributed; span multiple locations; span multiple            (such as, for example, another computer system 900) to
machines; span multiple data centers; or reside in a cloud,       memory 904. Processor 902 may then load the instructions
which may include one or more cloud components in one or          from memory 904 to an internal register or internal cache. To
more networks. Where appropriate, one or more computer            execute the instructions, processor 902 may retrieve the
systems 900 may perform without substantial spatial or            instructions from the internal register or internal cache and
temporal limitation one or more steps of one or more              decode them. During or after execution of the instructions,
methods described or illustrated herein. As an example and        processor 902 may write one or more results (which may be
not by way of limitation, one or more computer systems 900        intermediate or final results) to the internal register or
may perform in real time or in batch mode one or more steps       internal cache. Processor 902 may then write one or more of
of one or more methods described or illustrated herein. One       those results to memory 904. In particular embodiments,
or more computer systems 900 may perform at different             processor 902 executes only instructions in one or more
times or at different locations one or more steps of one or       internal registers or internal caches or in memory 904 (as
more methods described or illustrated herein, where appro         opposed to storage 906 or elsewhere) and operates only on
priate.                                                           data in one or more internal registers or internal caches or in
 0070. In particular embodiments, computer system 900             memory 904 (as opposed to storage 906 or elsewhere). One
includes a processor 902, memory 904, storage 906, an             or more memory buses (which may each include an address
input/output (I/O) interface 908, a communication interface       bus and a data bus) may couple processor 902 to memory
910, and a bus 912. Although this disclosure describes and        904. Bus 912 may include one or more memory buses, as
illustrates a particular computer system having a particular      described below. In particular embodiments, one or more
number of particular components in a particular arrange           memory management units (MMUs) reside between proces
ment, this disclosure contemplates any suitable computer          sor 902 and memory 904 and facilitate accesses to memory
system having any suitable number of any suitable compo           904 requested by processor 902. In particular embodiments,
nents in any Suitable arrangement.                                memory 904 includes random access memory (RAM). This
 0071. In particular embodiments, processor 902 includes          RAM may be volatile memory, where appropriate. Where
hardware for executing instructions, such as those making         appropriate, this RAM may be dynamic RAM (DRAM) or
up a computer program. As an example and not by way of            static RAM (SRAM). Moreover, where appropriate, this
limitation, to execute instructions, processor 902 may            RAM may be single-ported or multi-ported RAM. This
retrieve (or fetch) the instructions from an internal register,   disclosure contemplates any suitable RAM. Memory 904
an internal cache, memory 904, or storage 906; decode and         may include one or more memories 904, where appropriate.
execute them; and then write one or more results to an            Although this disclosure describes and illustrates particular
internal register, an internal cache, memory 904, or storage      memory, this disclosure contemplates any suitable memory.
906. In particular embodiments, processor 902 may include          0073. In particular embodiments, storage 906 includes
one or more internal caches for data, instructions, or            mass storage for data or instructions. As an example and not
addresses. This disclosure contemplates processor 902             by way of limitation, storage 906 may include a hard disk
including any suitable number of any suitable internal            drive (HDD), a floppy disk drive, flash memory, an optical
caches, where appropriate. As an example and not by way of        disc, a magneto-optical disc, magnetic tape, or a Universal
limitation, processor 902 may include one or more instruc         Serial Bus (USB) drive or a combination of two or more of
tion caches, one or more data caches, and one or more             these. Storage 906 may include removable or non-remov
translation lookaside buffers (TLBs). Instructions in the         able (or fixed) media, where appropriate. Storage 906 may
instruction caches may be copies of instructions in memory        be internal or external to computer system 900, where
904 or storage 906, and the instruction caches may speed up       appropriate. In particular embodiments, storage 906 is non
retrieval of those instructions by processor 902. Data in the     Volatile, Solid-state memory. In particular embodiments,
data caches may be copies of data in memory 904 or storage        storage 906 includes read-only memory (ROM). Where
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appropriate, this ROM may be mask-programmed ROM,                 describes and illustrates a particular communication inter
programmable ROM (PROM), erasable PROM (EPROM),                   face, this disclosure contemplates any Suitable communica
electrically erasable PROM (EEPROM), electrically alter           tion interface.
able ROM (EAROM), or flash memory or a combination of              0076. In particular embodiments, bus 912 includes hard
two or more of these. This disclosure contemplates mass           ware, Software, or both coupling components of computer
storage 906 taking any suitable physical form. Storage 906        system 900 to each other. As an example and not by way of
may include one or more storage control units facilitating        limitation, bus 912 may include an Accelerated Graphics
communication between processor 902 and storage 906,              Port (AGP) or other graphics bus, an Enhanced Industry
where appropriate. Where appropriate, storage 906 may             Standard Architecture (EISA) bus, a front-side bus (FSB), a
include one or more storages 906. Although this disclosure        HYPERTRANSPORT (HT) interconnect, an Industry Stan
describes and illustrates particular storage, this disclosure     dard Architecture (ISA) bus, an INFINIBAND interconnect,
contemplates any suitable storage.                                a low-pin-count (LPC) bus, a memory bus, a Micro Channel
                                                                  Architecture (MCA) bus, a Peripheral Component Intercon
 0074. In particular embodiments, I/O interface 908               nect (PCI) bus, a PCI-Express (PCIe) bus, a serial advanced
includes hardware, Software, or both, providing one or more       technology attachment (SATA) bus, a Video Electronics
interfaces for communication between computer system 900          Standards Association local (VLB) bus, or another suitable
and one or more I/O devices. Computer system 900 may              bus or a combination of two or more of these. Bus 912 may
include one or more of these I/O devices, where appropriate.      include one or more buses 912, where appropriate. Although
One or more of these I/O devices may enable communica             this disclosure describes and illustrates a particular bus, this
tion between a person and computer system 900. As an              disclosure contemplates any Suitable bus or interconnect.
example and not by way of limitation, an I/O device may            0077. Herein, a computer-readable non-transitory storage
include a keyboard, keypad, microphone, monitor, mouse,           medium or media may include one or more semiconductor
printer, Scanner, speaker, still camera, stylus, tablet, touch    based or other integrated circuits (ICs) (Such, as for
screen, trackball, video camera, another suitable I/O device      example, field-programmable gate arrays (FPGAs) or appli
or a combination of two or more of these. An I/O device may       cation-specific ICs (ASICs)), hard disk drives (HDDs),
include one or more sensors. This disclosure contemplates         hybrid hard drives (HHDs), optical discs, optical disc drives
any suitable I/O devices and any suitable I/O interfaces 908      (ODDS), magneto-optical discs, magneto-optical drives,
for them. Where appropriate, I/O interface 908 may include        floppy diskettes, floppy disk drives (FDDs), magnetic tapes,
one or more device or software drivers enabling processor         solid-state drives (SSDs), RAM-drives, SECURE DIGITAL
902 to drive one or more of these I/O devices. I/O interface      cards or drives, any other Suitable computer-readable non
908 may include one or more I/O interfaces 908, where             transitory storage media, or any suitable combination of two
appropriate. Although this disclosure describes and illus         or more of these, where appropriate. A computer-readable
trates a particular I/O interface, this disclosure contemplates   non-transitory storage medium may be volatile, non-vola
any suitable I/O interface.                                       tile, or a combination of volatile and non-volatile, where
 0075. In particular embodiments, communication inter             appropriate.
face 910 includes hardware, software, or both providing one        0078 Herein, 'or' is inclusive and not exclusive, unless
or more interfaces for communication (such as, for example,       expressly indicated otherwise or indicated otherwise by
packet-based communication) between computer system               context. Therefore, herein, “A or B' means "A, B, or both.”
900 and one or more other computer systems 900 or one or          unless expressly indicated otherwise or indicated otherwise
more networks. As an example and not by way of limitation,        by context. Moreover, “and” is both joint and several, unless
communication interface 910 may include a network inter           expressly indicated otherwise or indicated otherwise by
face controller (NIC) or network adapter for communicating        context. Therefore, herein, "A and B’ means "A and B,
with an Ethernet or other wire-based network or a wireless        jointly or severally, unless expressly indicated otherwise or
NIC (WNIC) or wireless adapter for communicating with a           indicated otherwise by context.
wireless network, such as a WI-FI network. This disclosure         007.9 The scope of this disclosure encompasses all
contemplates any suitable network and any Suitable com            changes, Substitutions, variations, alterations, and modifica
munication interface 910 for it. As an example and not by         tions to the example embodiments described or illustrated
way of limitation, computer system 900 may communicate            herein that a person having ordinary skill in the art would
with an ad hoc network, a personal area network (PAN), a          comprehend. The scope of this disclosure is not limited to
local area network (LAN), a wide area network (WAN), a            the example embodiments described or illustrated herein.
metropolitan area network (MAN), or one or more portions          Moreover, although this disclosure describes and illustrates
of the Internet or a combination of two or more of these. One     respective embodiments herein as including particular com
or more portions of one or more of these networks may be          ponents, elements, feature, functions, operations, or steps,
wired or wireless. As an example, computer system 900 may         any of these embodiments may include any combination or
communicate with a wireless PAN (WPAN) (such as, for              permutation of any of the components, elements, features,
example, a BLUETOOTH WPAN), a WI-FI network, a                    functions, operations, or steps described or illustrated any
WI-MAX network, a cellular telephone network (such as,            where herein that a person having ordinary skill in the art
for example, a Global System for Mobile Communications            would comprehend. Furthermore, reference in the appended
(GSM) network), or other suitable wireless network or a           claims to an apparatus or system or a component of an
combination of two or more of these. Computer system 900          apparatus or system being adapted to, arranged to, capable
may include any suitable communication interface 910 for          of configured to, enabled to, operable to, or operative to
any of these networks, where appropriate. Communication           perform a particular function encompasses that apparatus,
interface 910 may include one or more communication               system, component, whether or not it or that particular
interfaces 910, where appropriate. Although this disclosure       function is activated, turned on, or unlocked, as long as that
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US 2017/O 195435 A1                                                                                             Jul. 6, 2017


apparatus, System, or component is so adapted, arranged,               correlate the media consumption data with the user profile
capable, configured, enabled, operable, or operative. Addi                to determine device-based media consumption data
tionally, although this disclosure describes or illustrates               associated with media content being consumed on the
particular embodiments as providing particular advantages,                media device; and
particular embodiments may provide none, some, or all of               store data associating the user profile with the device
these advantages.                                                         based media consumption data.
      What is claimed is:                                              10. The media of claim 9, wherein the user profile is
      1. A method comprising:                                       retrieved based on a unique device identifier for a user
      by the one or more computer systems of the Social             device associated with the user.
         networking system, retrieving a user profile for a user      11. The media of claim 10, wherein the user device is the
         of the Social-networking system, wherein the user is       media device.
        associated with a media device;                               12. The media of claim 9, wherein the user profile is
   by the one or more computer systems of the Social                retrieved based on authentication information for the user.
      networking system, receiving media consumption data;            13. The media of claim 9, wherein the media consumption
   by the one or more computer systems of the Social                data comprises information uniquely identifying the media
      networking system, correlating the media consumption          content being consumed on the media device.
      data with the user profile to determine device-based            14. The media of claim 13, wherein the information
      media consumption data associated with media content          uniquely identifying the content comprises one or more of
      being consumed on the media device; and                         an acoustic fingerprint;
   by the one or more computer systems of the Social                  a video fingerprint;
      networking system, storing data associating the user            information about a phase delay;
      profile with the device-based media consumption data.           information about electrical interferences associated with
   2. The method of claim 1, wherein the user profile is                 the media device;
retrieved based on a unique device identifier for a user              information about closed-captioning associated with the
device associated with the user.                                         content; or
      3. The method of claim 2, wherein the user device is the        a digital watermark.
media device.                                                         15. The media of claim 9, wherein the media consumption
      4. The method of claim 1, wherein the user profile is         data comprises set-top box data.
retrieved based on authentication information for the user.           16. The media of claim 15, wherein the set-top box data
  5. The method of claim 1, wherein the media consumption           comprises one or more of
data comprises information uniquely identifying the media             information indicating a television channel the media
content being consumed on the media device.                              device is tuned to:
      6. The method of claim 5, wherein the information               information indicating the identity of the media content;
uniquely identifying the content comprises one or more of             information indicating a time or date associated with the
  an acoustic fingerprint;                                               media content;
  a video fingerprint;                                                information indicating a viewing duration of the media
  information about a phase delay;                                       content;
      information about electrical interferences associated with      information indicating use of a remote control; or
        the media device;                                             information indicating channel changing behavior.
  information about closed-captioning associated with the             17. A system comprising: one or more processors; and a
     content; or a digital watermark.                               memory coupled to the processors comprising instructions
  7. The method of claim 1, wherein the media consumption           executable by the processors, the processors being operable
data comprises set-top box data.                                    when executing the instructions to:
  8. The method of claim 7, wherein the set-top box data              retrieve a user profile for a user of the social-networking
comprises one or more of:                                                system, wherein the user is associated with a media
  information indicating a television channel the media                  device;
        device is tuned to:                                           receive media consumption data;
      information indicating the identity of the media content;       correlate the media consumption data with the user profile
      information indicating a time or date associated with the          to determine device-based media consumption data
        media content;                                                   associated with media content being consumed on the
      information indicating a viewing duration of the media             media device; and
        content;                                                       store data associating the user profile with the device
  information indicating use of a remote control; or infor               based media consumption data.
     mation indicating channel changing behavior.                      18. The system of claim 17, wherein the user profile is
  9. One or more computer-readable non-transitory storage           retrieved based on a unique device identifier for a user
media embodying software that is operable when executed             device associated with the user.
tO:                                                                   19. The system of claim 18, wherein the user device is the
      retrieve a user profile for a user of the social-networking   media device.
         system, wherein the user is associated with a media          20. The system of claim 17, wherein the user profile is
                                                                    retrieved based on authentication information for the user.
        device;
      receive media consumption data;                                                     k    k   k   k   k
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                 Exhibit 15
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From:                                Matthew Melamed <mmelamed@bfalaw.com>
Sent:                                Friday, July 9, 2021 3:19 PM
To:                                  Snyder, Orin; Stein, Deborah L.; Falconer, Russ; Kutscher Clark, Martie; Mumm, Laura
                                     C.
Cc:                                  Gail Andler; Daniel B. Garrie; dgarrie@jamsadr.com; Lesley Weaver; Anne Davis; Derek
                                     Loeser; Cari Laufenberg; David Ko; Chris Springer
Subject:                             In re Facebook



Counsel,

In response to your request during our last mediation session that Plaintiffs identify high priority discovery, below are
four categories of information we would like you to provide by July 16, 2021. Providing responsive information should
not prevent or delay Facebook from providing the other discovery to which Plaintiffs are entitled, nor should it supplant
the requirement that Facebook respond to Plaintiffs’ discovery requests in full.

      1. A data model for the Named Plaintiffs’ data. RFP Nos. 9-10, 39-40; Interrogatory Nos. 31-33.
         By “data model,” we mean data models, associated data dictionaries, and/or protocols—whatever terminology
         is used by Facebook—that describes how information and data is collected, sorted, analyzed, searched, and
         maintained. This also includes descriptions of encryption retention and deletion processes for each kind of data.
      2. A list of API and SDK calls used to access the data model identified in #1. RFP No. 37; Interrogatory Nos. 9, 13,
         15.
      3. A list of third parties with permission to access the capabilities to make each of the API and SDK calls against the
         Named Plaintiffs’ data in #2. RFP Nos. 11-13, 24, 26; Interrogatory No. 14, 16-17, 26-27.
      4. The contracts between Facebook and each of the third parties identified in #3. RFP Nos. 11-12, 24-26.

Please reach out if you have any questions.

Thanks,
Matt

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                 Exhibit 16
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                                       September 10, 2021

VIA ELECTRONIC MAIL

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       Re:     In re Facebook, Inc. Consumer Privacy User Profile,
               Northern District of California Case No. 3:18-md-02843-VC


Dear Counsel:

      At the mediators’ request, we send this message as a final attempt to avoid impasse on
Facebook’s production of the named plaintiffs’ data. We look forward to your response on
September 16.

        At its core, this case is about what “content and information” (Facebook’s term for data
and information as set forth in its own terms of service) Facebook took from Plaintiffs, what
Facebook told Plaintiffs it would do with their content and information and what Facebook
actually did with it. This includes, but is not limited to, sharing it with third parties, negligently
allowing third parties to take it and use it for improper purposes and failing to monitor third
parties’ use, which is precisely what occurred with Cambridge Analytica and Dr. Kogan, the
scandal that sparked these consolidated actions. Facebook asserts it disclosed all its practices as
to users’ content and information and that users consented to those practices. To test this
assertion, Plaintiffs need to understand whether Facebook’s actions matched the conduct
Facebook describes in its terms of service and privacy policies.
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September 10, 2021                                      BLEICHMAR FONTI & AULD LLP
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        Plaintiffs opened discovery in this case with the modest request that Facebook describe
and identify the kinds of data it has collected on only the nine Named Plaintiffs, as opposed to
the hundreds of millions of class members in this action. We have simply asked: what did
Facebook collect about users and what did it do with it? RFP No. 9 seeks all documents
Facebook has relating to the Named Plaintiffs, including the content and information collected
about each of them.. RFP No. 10 seeks documents sufficient to identify the categories of
“content and information” Facebook collects, tracks, and maintains about each Named
Plaintiff. It has been Plaintiffs’ hope that this modest request could serve as a road map for
class-wide discovery.

        In Discovery Order No. 9, Judge Corley agreed. She identified the proper scope of
discovery related to the data Facebook accumulates about the Named Plaintiffs as: (1) data
collected from a user’s on-platform activity; (2) data obtained from third parties regarding a
user’s off-platform activity; and (3) data inferred from a user’s on- or off-platform
activity. Dkt. No. 557.

        To date, Facebook has not produced data from categories 2 or 3. Such a production
would include Facebook’s profiles of the Named Plaintiffs, and data Facebook acquires through
its agreements with business partners, including data it bought and sold about Named Plaintiffs
from data brokers in the heart of the Class Period. The parties have conferred and
communicated at length about this issue, both before and after Judge Corley’s order.

        Instead, Facebook continues to limit discovery to category 1. Facebook has repeatedly
told Plaintiffs it has “produced the information contained in the DYI file for each of the Named
Plaintiffs, plus certain additional information (such as a spreadsheet containing data tracking
how Plaintiffs adjusted their Facebook privacy settings).” E.g., Apr. 1, 2021 letter at 2
(attached). The external tool that Facebook created to share with Plaintiffs some small subset of
the information Facebook collects about them does not meet the scope of discovery Judge
Corley identified or even address the heart of Plaintiffs’ claims in this case. Plaintiffs know
what they shared on the platform. But Plaintiffs do not know what Facebook collects, infers,
embeds and tracks to create data sets about the Plaintiffs. Plaintiffs want to see those data sets
and they want to know how Facebook uses them. Plaintiffs can then compare those actions to
Facebook’s disclosures and the parties can have a meaningful dialogue about the scope of
consent.

       Because of Facebook’s secrecy and refusal to be transparent, there is a significant
information asymmetry. Thus, it is impossible for Plaintiffs to identify with specificity the full
scope of information Facebook has not produced about the Named Plaintiffs. But some internal
Facebook documents give a clue to the types of information it collects about users. For
example, Dep. Ex. 3 (attached) defines three broad categories of data Facebook “receive[s]
about people”: native data, appended data, and behavioral data. See Ex. 3 at FB-CA-MDL-
00213424. For those types of data, Facebook identifies categories of data it explicitly collects,
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implicitly collects, and infers. It appears that the Named Plaintiffs’ data Facebook has produced
is limited to information in the explicit collection category: profile information; posts, likes,
shares; and location (checkins). Facebook has not produced all of the Named Plaintiffs’ data it
implicitly collects—                                                                     And
Facebook has not produced the Named Plaintiffs’ data it infers—




                         Nor has Facebook disclosed the extent to which it shares or makes
accessible some or all of this data to third parties and what it does to monitor third parties’ use
of it.

       The document at Bates No. FB-CA-MDL-00178902 provides further insight into the
types of information Facebook collects about its users that it has not produced (limited to the
Named Plaintiffs) here. Summarizing the value proposition of being able to read data from
Facebook’s platform, Sam Lessin writes:


     Among the data Lessin says Facebook has about each user is



                                                             While the context for these
descriptions is
                                          , the descriptions quoted above reflect the data
Facebook actually collects on its users. Facebook has not produced aggregated data about the
Named Plaintiffs’ friends, derived data about the Named Plaintiffs, Facebook’s opinions of the
Named Plaintiffs, or data provided by third parties to the graph about the Named Plaintiffs.

       Facebook’s patents also lend a clue into the kinds of data collects. For example,
Facebook holds a patent titled “Determining user Personality Characteristics From Social
Network System Communications and Characteristics” (U.S. Patent No. 9740752), which can
be used to identify personality characteristics (e.g., extroversion, agreeableness,
conscientiousness, emotional stability, and openness), which can be targeted by marketers on
Facebook. Another patent, “Receiving Information About a User from a Third Party
Application Based On Action Types” describes how “linguistic data and non-linguistic data
associated with the user” are used “in a trained model to predict one or more personality
characteristics for the user.” These “inferred personality characteristics are stored in connection
with the user’s provide, and may be used for targeting, ranking, selecting versions of products,
and various other purposes.” (U.S. Patent 8732802B2 at 2). Examples of personality
characteristics include: “extroversion, agreeableness, conscientiousness, emotional stability, and
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openness.” The patent further explains that “[e]ach user of the social networking system is
associated with a user profile, which is stored in the user profile store. A user profile includes
declarative information about the user that was explicitly shared by the user, and may also
include profile information inferred by the social networking system. In one embodiment, a user
profile includes multiple data fields, each field describing one or more attributes of the
corresponding user of the social networking systems.” Each of these patents identify the types
of information about Facebook users, including the Named Plaintiffs, that Plaintiffs have sought
but which Facebook has not yet produced. These references are not intended to be complete.
Rather, they are only included for the purpose of providing examples of Facebook
acknowledging the existence of some aspects of the data Plaintiffs seek.

        If Facebook will not make a complete production of all data it has collected about these
nine people, Facebook must identify what it is withholding and why. And even if Facebook
does make a complete production, the parties must confer in advance of the production in order
to agree on the form of those productions, given the complexities with the kinds of data
collected, inferred, aggregated and used.


                                                      Regards,




 Derek W. Loeser                                       Lesley E. Weaver
 dloeser@kellerrohrback.com                            lweaver@bfalaw.com
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   ATTACHMENT A
                  Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 755 of 837




   From:                              Simone LiTrenta </O=THEFACEBOOK/OU = EXCHANGE ADMINISTRATIVE GROUP
                                      (FYDIBOH F23SPDLT)/CN = RECIPIENTS/CN =SIMON EL0S1>
   Sent:                              Thursday, May 08, 2014 4:34 PM
   To:                                Matt Scutari; Rob Sherman; Emily Sharpe; Emily Vacher; Maritza Johnson; Travis Bright
   Cc:                                Erin Egan
   Subject:                           Offsite presentation
   Attachments:                       Combined papers.docx



   Hey, all. Attached is the combined doc of privacy team papers that Marne will be sending out with the rest of global
   policy team papers.


   Now on to the slide deck©. If someone has started slides already and can share the format with the group so we can
   make the look and feel uniform, that would be great. If someone is aPPT genius and wants to take the lead on
   combining finished slides into one deck and making minor changes, let me know. Otherwise, please save your slides to
   the folder for slides and Ican combine.


   https:j/www.dropbox.com/shjhquhjwozldr3qty/AADBwXtmeiNZJ RBZR6-xj1g1a


   Erin would like to review the slide on the plane Monday morning. If everyone can finish their slides by COB
   Friday/Saturday, Ican get them to her Sunday night.


   If you would like to discuss your slides with Erin, please let me know ASAP and Iwill find time manana.


   Simone




                                                               1




Confidential                                                                                                 FB-CA-MDL-0021 3423
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   ATTACHMENT B




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                 Exhibit 17
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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA


Before The Honorable Jacqueline S. Corley, Magistrate Judge


IN RE: FACEBOOK, INC. CONSUMER )
PRIVACY USER PROFILE LITIGATION.)      NO. 18-MD-02843 VC (JSC)
                                )

                              San Francisco, California
                             Wednesday, December 9, 2020

               TRANSCRIPT OF ZOOM WEBINAR PROCEEDINGS


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(APPEARANCES CONTINUED ON THE FOLLOWING PAGE)




Reported By:            Marla F. Knox, RPR, CRR, RMR
                        United States Official Court Reporter
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1    Okay.

2              MS. WEAVER:    Yep.

3              THE COURT:    So the next issue is the named Plaintiffs'

4    data.   And here I actually am kind of confused because Facebook

5    suggested that there may not be any data other than what they

6    have already produced.     And then I don't understand why (video

7    freeze interruption.)

8              MS. KUTSCHER CLARK:     Right, Your Honor.

9         So, as we noted in our submission, we learned for the

10   first time in Plaintiffs' sur-reply brief on the named

11   Plaintiffs' data that what they are really seeking is only data

12   about the named Plaintiffs that was shared with third parties.

13        And for us seeing that in the sur-reply brief was a really

14   big aha moment because we had spent literally hundreds of hours

15   meeting and conferring about data that is never shared outside

16   of Facebook.

17        So now that we understand what they are really seeking is

18   the type of data that is actually shared or made accessible to

19   third parties, we have been taking a much closer look at what

20   would be responsive to that.      And as we currently understand,

21   what has been produced really does cover that universe.

22        But we obviously want to be a hundred percent sure that

23   that is correct, and we are talking about a 13-year period, so

24   it is a very long time.

25        So we have been conducting a very careful investigation
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1    within the company to be a hundred percent sure that the

2    materials produced to date reflect the full scope of any data

3    that could have been shared or made accessible to third parties

4    about the named Plaintiffs since 2007.

5         And if we do come across anything additional, we will

6    obviously report that to Plaintiffs and discuss a production

7    format with them, but to date we have not come across anything

8    that has not been produced already that could have even

9    potentially been shared with third parties.

10             MR. LOESER:   Your Honor, if I may, I think there will

11   probably be multiple comments in response to that statement.

12   That makes no sense to us at all.

13        First of all, the question of their brief, which they

14   quote in their statement, talks about information, in fact,

15   shared.   And what our brief said in our reply was information

16   shared or made accessible.

17        And we were very careful to use that language, "made

18   accessible," because Facebook has said for a long time that it

19   doesn't keep records of what it actually shares, which seemed

20   hard to believe to us.

21        But in order to avoid a semantic game, we also included

22   the reference to "made accessible" because whether it was

23   shared, whether they have records of it, if it was put in a

24   place or utilized in a way where third parties had access to

25   it, that substantially expands the universe of potential
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 783 of 837    29


1    going on and the way they are describing.        The real virtue of

2    someone under oath testifying is that we can get through the

3    semantics and just figure out really what happened.         So I do

4    think that you are right; that it is time to do that.

5         Facebook can read your order.       They know what they are

6    supposed to do.    I assume they are going to go out and comply

7    in good faith with that order.      And the sure test to whether

8    that happens or not is when we get somebody under oath and they

9    testify about what exists and what doesn't exist.

10            THE COURT:    Why shouldn't we do that?

11            MS. KUTSCHER CLARK:      Your Honor, I would respectfully

12   request that before we move into a deposition, that we have the

13   opportunity to complete our investigation because we are

14   working through that right now because, again, we want to make

15   sure that what we understand is correct.

16        And obviously to even prepare a 30(b)(6) deponent, we

17   would need to complete that sort of investigation.         And I think

18   it is going to take some more time.

19        Again, we are talking about a 13-year period, and data was

20   shared in different ways with different source of third parties

21   over that period.    And this is a pretty large historical

22   exercise to look into.

23            THE COURT:    Right.   But I don't know why we can't -- I

24   mean, you are doing that -- but get something on calendar and

25   the Plaintiffs can draw up their questions, right, because that
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 784 of 837     30


1    is going to take some while, no doubt --

2                                  (Laughter)

3             THE COURT:    -- to negotiate.     And this isn't

4    everything.   This is just, like, let's just figure it out.

5    Like, this is a big -- this is another big issue in the case.

6    We have this disconnect.

7         Let's just figure out:     How do they use this data?       How is

8    it shared?    What do they mean by "made accessible?"

9         Maybe you limit it to a time period, so you don't need to

10   complete the whole thing; right.      I mean, the time period that

11   we are most interested in -- or at least the first one -- is

12   the Cambridge Analytica.     That is how the whole case got here.

13        So what you do is start with a limited time period, and

14   that would probably --

15            MS. WEAVER:    We could do that, Your Honor, 2012 to

16   2016 or 2017.

17            THE COURT:    Much easier to prepare your witness on.

18   You can then focus your investigation on that.         We are just

19   going to take it in chunks, I guess, in a way.

20        Let's do that because I think we are -- yeah, I keep

21   hearing arguments.    Let's get -- let's get a witness in there.

22        So what I would like you to do is:       Plaintiffs, you should

23   work on that notice.    It is not an everything, all, whatever.

24   This is -- let's just figure out --

25            MS. WEAVER:    Targeted.
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                 Exhibit 18
Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 786 of 837




        Plaintiffs’ Exhibit C
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                 Exhibit 19
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                 Exhibit 20
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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Vince Chhabria, Judge


                                   )
                                   )
IN RE:   FACEBOOK, INC.            )   NO. 18-MD-02843 VC
         CONSUMER PRIVACY USER     )
         PROFILE LITIGATION.       )
                                   )
                                   )

                              San Francisco, California
                              Monday, November 4, 2019

                     TRANSCRIPT OF PROCEEDINGS

APPEARANCES:
APPEARANCES

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                          JOSHUA D. SAMRA, ESQ.
                          ANNE K. DAVIS, ESQ.




           (APPEARANCES CONTINUED ON FOLLOWING PAGE)



REPORTED BY:   Ruth Levine Ekhaus, RDR, FCRR
               Official Reporter, CSR No. 12219
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 797 of 837   2


1    APPEARANCES:
     APPEARANCES     (CONTINUED)

2    For Defendant:
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5                              GIBSON, DUNN & CRUTCHER LLP
                               555 Mission Street
6                              San Francisco, California 94105
                         BY:   JOSHUA S. LIPSHUTZ, ESQ.
7                              KATHERINE WARREN, ESQ.

8                              GIBSON, DUNN & CRUTCHER LLP
                               1881 Page Mill Road
9                              Palo Alto, California 94304
                         BY:   MARTIE KUTSCHER CLARK, ESQ.
10

11   ALSO PRESENT:    Anjeza Hassan, Plaintiff Pro Se

12

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       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 798 of 837   6
                                 PROCEEDINGS

1    were accessible by the third-party apps.

2         What we cannot produce -- because it's simply not

3    recorded, it's not the way our platform is constructed -- is

4    what data was actually shared, physically through the tunnel

5    between Facebook and the third-party app.        The magnitude of

6    that data is 2.5 billion times however many apps each of those

7    2.5 billion people have, times every time you ping Uber and it

8    pings Facebook back.    And we're talking about -- I don't have

9    the number, but it's -- it would be in the trillions of data

10   bits.

11            THE COURT:    But it sounds like what you're saying --

12   and I want to make sure I'm not misunderstanding you.

13            MR. SNYDER:    Sure.

14            THE COURT:    It sounds like what you're saying is that

15   what we cannot do is reconstruct -- let's take the scenario

16   where an app is obtaining my information through my friend.

17   Right?

18            MR. SNYDER:    Correct.

19            THE COURT:    Through interactions with my friend.

20        We cannot determine which of my information the app

21   obtained.   There is just --

22            MR. SNYDER:    Through the friend.

23            THE COURT:    Through the friend.

24            MR. SNYDER:    That would -- right.      Right.

25            THE COURT:    But, can we determine -- and so you're
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                 Exhibit 21
                 Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 800 of 837


   From:          Allison Hendrix [/0=THEFACEB00K/0U=EXCHANGE ADMINISTRATIVE GROUP
                  (FVDIBOHF23SPDLT)/CN=RECIPIENTS/CN=AHENDRIX]
   Sent:          7/12/2011 2:26:35 PM
   To:            Melody Quintana [/0=THEFACEB00K/0U=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=MQUINTANA]; Justin
                  Shaffer [/0=THEFACEB00K/0U=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=JUSTIN SCHAFFER]; Mitu Singh [/0=THEFACEB00K/0U=EXCHANGE
                  ADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MITUS]; Sam Lessin
                  [/0=THEFACEB00K/0U=EXCHANGE ADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=SAM
                  LESSIN]; Katie Zacarian [/0=THEFACEB00K/0U=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=KZACARIAN]
   CC:            Kate O'Neill [/0=THEFACEB00K/0U=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=KKONEILL]; Srinivas Narayanan [/0=THEFACEB00K/0U=EXCHANGE
                  ADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=SRINIVAS]; Vatsal Mehta
                  [/0=THEFACEB00K/0U=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECI PI ENTS/CN=VATSAL. MEHTA. SV]
   BCC:           mongoose@mongoose.thefacebook.com
   Subject:       RE: Location FAQs




   Does this help? Let me know if you have any questions or need additional information.

   Thank you!

   Ali




   From: Melody Quintana
   Sent: Tuesday, July 12, 2011 2:01 PM
   To: Justin Shaffer; Mitu Singh; Sam Lessin; Katie Zacarian
   Cc: Kate O'Neill; Allison Hendrix; Srinivas Narayanan
   Subject: Re: Location FAQs


   +Allison, from a platform policy perspective, could you please provide any insight on question #2 below?



   (©Justin, Mitu, Srinivas: Thanks for your input!! I'm sanity checking that the following FAQ is accurate. Could you please

   confirm?




   From: Justin Shaffer <j@fb.com>

   Date: Mon, 11 Jul 2011 11:06:38 -0700

   To: Mitu Singh <mitu.singh@fb.com>, Sam Lessin <sl@fb.com>, Information Technology <melody@fb.com>, Katie
   Zacarian <katie@fb.com>




Confidential                                                                                                   FB-CA-MDL-01 938268
                Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 801 of 837

   Cc: Kate O'Neill <kkoneill@fb.com>

   Subject: Re: Location FAQs


   Comments inline



   From: Mitu Singh <mitu.singh@fb.com>

   Date: Mon, 11 Jul 2011 10:55:52 -0700
   To: Sam Lessin <sl@fb.com>. Melody Quintana <melody@fb.com>, Katie Zacarian <katie@fb.com>, JUSTIN SHAFFER
   <j@fb.com>

   Cc: Kate O'Neill <kkoneill@fb.com>

   Subject: RE: Location FAQs


   rSrinieas


   Comments hi line




Confidential                                                                                   FB-CA-MDL-01 938269
                 Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 802 of 837




   From: Sam Lessin
   Sent: Monday, July 11, 2011 10:10 AM
   To: Melody Quintana; Katie Zacarian; Justin Shaffer; Mitu Singh
   Cc: Kate O'Neill
   Subject: Re: Location FAQs




   Sam




   From: Melody Quintana <melodv@fb.com>

   Date: Mon, 11 Jul 2011 10:02:20 -0700

   To: Katie Zacarian <katie@fb.com>, Sam Lessin <sl@fb.com>, Justin Shaffer <j@fb.com>, Mitu Singh
   <mitu.singh@fb.com>

   Cc: Kate O'Neill <kkoneill@fb.com>
   Subject: Re: Location FAQs


   Sorry, one additional question:




   From: Katie Zacarian <katie@fb.com>
   Date: Sun, 10 Jul 2011 22:13:06 -0700
   To: Sam Lessin <sl@fb.com>, Justin Shaffer <i@fb.com>, Mitu Singh <mitu.singh@fb.com>
   Cc: Kate O'Neill <kkoneill@fb.com>, Information Technology <melodv@fb.com>
   Subject: Re: Location FAQs


   +Justin/Sam/Mitu


   Hi Sam and Justin,


   Can you help Melody find the answers to these three questions below regarding location?


   Thank you,




   From: Melody Quintana <melodv@fb.com>
   Date: Sat, 9 Jul 2011 18:51:41 -0700
   To: Katie Zacarian <katie@fb.com>, Kate O'Neill <kkoneill@fb.com>
   Subject: Location FAQs




Confidential                                                                                          FB-CA-MDL-01 938270
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   Hey Kate/Katie,


   I'm sweeping through the current Places help section and merging the changes with the new Elder content. I'm not 100% sure
   about the three FAQs listed below — could you help me sanity check that tthey are accurate?


   If you want to see the entire set, they're all under "Location" in this master doc:
   https://docs.google.eom/a/fb.com/document/d/ltofUw5Wh8NknYTFLYsAg0NpDADv2GpfMTId42gxzJFI/edit7hhen US&auth
   key=CKiX5dQC#bookmark=id.t7olcchhe7au


   Thanks!
   melody




Confidential                                                                                              FB-CA-MDL-01 938271
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                 Exhibit 22
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                                            Pages 1 - 33

                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Vince Chhabria, Judge

IN RE: FACEBOOK, INC. CONSUMER )
PRIVACY USER PROFILE LITIGATION)
                               )    NO. 18-md-02843 VC
                               )
                           San Francisco, California
                           Thursday, March 5, 2020

                     TRANSCRIPT OF PROCEEDINGS
APPEARANCES:

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                          CARI C. LAUFENBERG, ATTORNEY AT LAW
                          DAVID KO, ATTORNEY AT LAW

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                          Santa Barbara, California 93101
                    BY:   CHRISTOPHER L. SPRINGER, ATTORNEY AT LAW

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                    BY:   MARTIE P. KUTSCHER, ATTORNEY AT LAW

         (APPEARANCES CONTINUED ON THE FOLLOWING PAGE)


Reported By:     Marla F. Knox, RPR, CRR, RMR, Official Reporter
  Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 806 of 837


APPEARANCES: (CONT'D)

For Defendant Facebook:

                          GIBSON DUNN and CRUTCHER LLP
                          200 Park Avenue
                          New York, New York 10166
                    BY:   ORIN SNYDER, ATTORNEY AT LAW

                          333 South Grand Avenue
                          Los Angeles, California 90071
                    BY:   DEBORAH L. STEIN, ATTORNEY AT LAW
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 807 of 837     3
                                 PROCEEDINGS

1    Thursday - March 5, 2020                                2:03 p.m.

2                           P R O C E E D I N G S

3                                   ---000---

4             THE CLERK:    Calling Case Number 18-MD-2843, In Re:

5    Facebook Inc. Consumer Privacy User Profile Litigation.

6         Counsel, for Plaintiffs please state your appearances for

7    the record.

8             MR. LOESER:    Hi, this is Derek Loeser for Plaintiffs.

9    With me in my office are Cari Laufenberg and David Ko and also

10   appearing are Lesley Weaver and Annie Davis and Matt

11   Montgomery.

12            THE CLERK:    Thank you.    And for Defendant.

13            MR. SNYDER:    Good afternoon, Judge.      It is Orin Snyder

14   for Facebook from Gibson Dunn, and with me on the phone are

15   Deborah Stein, Josh Lipshutz and Martie Kutscher.

16            THE COURT:    Okay.   Hi, Everybody.     So it sounds like

17   everything is going great.

18            MR. SNYDER:    All over the world, Your Honor.

19            THE COURT:    Yeah.   I don't really know where to start

20   or what to do with you at this point.       I guess -- I will -- let

21   me start with this:    You know, there is -- for a while now we

22   have been discussing Facebook's production of the same

23   documents that it produced to the FTC.

24        And, you know, the Plaintiffs have been asking for me to

25   order Facebook to simply turn over all the same documents.          And
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 808 of 837     4
                                 PROCEEDINGS

1    I responded that I thought out of fairness to Facebook, if

2    Facebook wanted to review all those documents again and, you

3    know, sort of try to determine whether it produced some stuff

4    to the FTC that it shouldn't produce to the Plaintiffs --

5    either because it is privileged or too far afield from this

6    litigation or something like that -- that that would be

7    appropriate.

8         And so I gave them -- I said that they could do that.          It

9    sounds like from reading your papers, that Facebook is prepared

10   to make that production by the end of this month; that is, all

11   of the stuff that it turned over to the FTC minus whatever it

12   concludes it should withhold for privilege reasons or for

13   relevance reasons in this litigation.

14        I assume that that would cover the vast majority of the

15   documents that the Plaintiffs would want in this litigation.

16   Am I wrong about that?      And if I'm wrong about that, what am I

17   missing?

18              MR. LOESER:    So, Your Honor -- this is Derek Loeser.

19   Just before I start, it sounds like someone is on a cell phone

20   or something.   While you were speaking there was probably

21   breathing.    It makes it a little hard to hear the Court.        So if

22   there is a mute someone can press, that would be useful.

23              THE COURT:    Do you need -- do you need me to repeat

24   what I said?    I mean the short version --

25              MR. LOESER:    No.   I think I heard --
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 809 of 837   5
                                 PROCEEDINGS

1              THE COURT:    Okay, go ahead.

2              MR. LOESER:    Sorry.   Yeah, I think the short

3    version -- I guess I will repeat it back to you to make sure I

4    have it -- is whether Facebook's offer to produce FTC materials

5    after its privilege and relevancy review at the end of March is

6    sufficient or not.

7         And here is our concern:      First, on this question of

8    privilege review, there is no privilege remaining for these

9    documents in the Ninth Circuit.

10        So that's -- we will circle back to that later, but

11   Your Honor has indicated that there is --

12             THE COURT:    You mean because they waived the privilege

13   by turning it over to FTC?

14             MR. LOESER:    Yes.   The Ninth Circuit, with every

15   circuit except for the Eighth Circuit, has rejected any notion

16   that you can voluntarily turn information over to a government

17   agency and retain attorney-client privilege for that

18   information.

19             THE COURT:    Yeah, but one of the things --

20             MR. LOESER:    Yeah, but --

21             THE COURT:    One of the things that we discussed was

22   that -- you know, they might have reasons to do a more careful

23   review in this case than in their interactions with the FTC;

24   right.   So maybe there could have been inadvertent --

25   privileged documents inadvertently produced to the FTC; right?
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 810 of 837    6
                                 PROCEEDINGS

1             MR. LOESER:    Yeah.    I don't want to distract because I

2    think this might be something we have to brief, and the Court

3    would have to rule on whether there is such a thing as

4    inadvertent production in which you can preserve a privilege.

5             THE COURT:    Okay.

6             MR. LOESER:    I don't think anything Facebook did when

7    turning documents over to the Government would be considered

8    anything other than a waiver of an attorney-client privilege,

9    but I think --

10            THE COURT:    Okay --

11            MR. LOESER:    -- what I was --

12            THE COURT:    I don't know a lot about -- sorry.        I was

13   just going to say:    I don't know a lot about that issue.        So

14   that may be that is something you ultimately need to brief.

15   That's fine.

16            MR. LOESER:    So the heart of your question is the

17   relevancy review and why are we not satisfied with Facebook

18   simply saying they are going to conduct a relevancy review and

19   give us what makes it through their screen.

20        I guess I would put it to you this way:        One, we are very

21   concerned about that review and whether their interpretation of

22   relevance coincides in any meaningful way with our own.          From

23   everything we have heard from Facebook so far, they have a

24   very, very narrow view of what is relevant here.         That's the

25   first concern.
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 811 of 837   7
                                 PROCEEDINGS

1          The second concern is the whole reason why we spent months

2    fighting with Facebook to get the FTC correspondence was so

3    that we could look and see and evaluate really what was given

4    to the FTC.   And we have that correspondence and we have gone

5    through it.

6          And, frankly, based on your review -- with the exception

7    of some very discrete categories -- there is a very clean

8    overlap between those two matters.       So what we said to Facebook

9    is:   Okay, let's talk about that.     We both have read this

10   correspondence.    Tell us what you think is not relevant by

11   category so we can come to some agreement so you can then do

12   your review once and produce the documents once.

13         What we are very concerned about with the October deadline

14   is the process that Facebook has in mind would involve them

15   unilaterally pulling documents out of production; not telling

16   us what they pulled and not logging it in any way -- which is

17   what they said they are going to do -- and then us having to

18   sit there and try to piece together what has been removed.

19         It is very likely that we would disagree with what they

20   are going to do, and then we would have a fight and motions

21   practice.   And then if we prevail, another production would

22   have to occur.    And that in and of itself --

23             THE COURT:   How is that different from -- let's say

24   the FTC action never happened; right.       And you submitted

25   document requests, you know, that were similar to what the FTC
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 812 of 837    8
                                 PROCEEDINGS

1    didn't ask but the FTC action never happened.        And then

2    Facebook would be going through its documents and deciding what

3    to -- and they would do an initial cut -- they would take an

4    initial cut.   They would have an initial universe of documents

5    and they would go through those, and they would pull out stuff

6    that they conclude is not responsive to your requests.

7         And they would never be required to do a log of the stuff

8    that they pulled out and determined was irrelevant or

9    non-responsive to your request.      So I guess, why should they

10   have to do that here?

11            MR. LOESER:    Well, the technical reason why is under

12   Rule 34 if you are reviewing materials and it is a set of

13   materials, you do have to log or provide some information on

14   how you are calling documents out.

15        Here, we are not talking -- we live in a world where they

16   have already done all this work, and they have already produced

17   these documents; and we have asked for them in discovery.          So

18   if they are going to remove something from a production of

19   materials that we have asked for that already exist, the

20   standard mechanism under the discovery rule is for them to tell

21   us how they are removing, what they are removing and what the

22   basis is for -- of it is.

23        But I do think that the point you make it certainly brings

24   to mind, you know, why are we bothering with any of this.          And

25   the reason why we are bothering with it is that we felt the
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 813 of 837   9
                                 PROCEEDINGS

1    fact that they have already gathered documents based on an

2    investigation that very significantly, if not entirely,

3    overlaps with this case, it is just a much faster way to get

4    this information.

5         Now, I understand Facebook doesn't want this to be faster.

6    But the fact of the matter is they have gathered this

7    information.   They have reviewed it.      They have used search

8    terms and custodians for the production, and we would get a

9    significant head-start here if these materials could be turned

10   over as opposed to having to wait to do this whole mechanism

11   and process over again starting as if it hasn't already

12   happened.   So that's problem one.

13        Problem two is really the question of search terms and

14   custodians, which is something we want to talk about today;

15   and, perhaps, we should talk about it next.        But really, you

16   know, we asked for the FTC materials because it obviously is

17   relevant and overlaps and because it is a means and a method to

18   just get this moving much faster than having to start all over

19   again.

20             MR. SNYDER:   Your Honor, may I be heard?       It is Orin

21   Snyder.

22             THE COURT:    Sure.

23             MR. SNYDER:   How are you, Judge?      Nice to be talking

24   to you on the phone.    Sorry we are not there in person, but

25   thanks for accommodating our request.
       Case 3:18-md-02843-VC Document 906-9 Filed 04/01/22 Page 814 of 837    10
                                 PROCEEDINGS

1         This is a little bit like either The Twilight Zone or

2    Alice In Wonderland because the roles here seem to be reversed.

3    We, as the Defendant, are eager -- in fact, chomping at the

4    bit -- to prosecute our defenses.      And we are trying to

5    proceed, not only in an efficient manner but in a prompt

6    manner, in getting to document production and then depositions.

7         And we have given search terms and -- to the other side

8    and we are producing the documents, the FTC documents.          We are

9    reviewing them -- not categorically.       We are reviewing them

10   document by document just as you had suggested we do.          We have

11   agreed to provide that by the 31st.

12        What the Plaintiffs are saying is, Judge, we are not even

13   ready to engage on search terms.      We don't want to even give

14   you any Plaintiffs for depositions until we know what search

15   terms you and the FTC agree to and until we basically figure

16   out what theory of the case we want because they are confined

17   now, Your Honor, to the four topics that you identified --

18   having gone through their kitchen sink complaint -- and

19   identified as four potential theories.

20        On those theories we are prepared to produce documents

21   pursuant to the proper document request promptly.         We are

22   working literally every day around the clock to do that.

23        We are not seeking to delay anything.        We intend to comply

24   with the October cutoff date.      We are ready to proceed on the

25   merits of our defenses.
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1         And it is the Plaintiffs, Judge, truly -- and we can walk

2    you through how they are holding up things at every turn; and

3    we believe, respectfully, it is because they are not content

4    with these four theories, and they want to search around for

5    something else that they can allege either in the pleading or

6    otherwise.

7         And, Your Honor, the metrics belie any notion of delay

8    here.   Not only did we respond to their 1,400 paragraph

9    Complaint, we produced already 150,000 pages of documents.          We

10   are promptly producing the FTC documents.        We gave them the

11   search terms.

12        We met and conferred with them for over 15 hours.

13             THE COURT:    Could I ask you --

14             MR. SNYDER:    Ninety --

15             THE COURT:    Sorry to interrupt.

16             MR. SNYDER:    Sure.

17             THE COURT:    Part of the problem with this discussion

18   is, you know, this is nobody's fault; but I don't have the

19   ability based on the amount of time I have spent on this and

20   the amount -- and based on the information you have given me

21   and based on the things that you both are saying here today --

22   I don't have the ability to determine who is in the wrong, who

23   is being unreasonable.     I mean, no matter how --

24             MR. SNYDER:    Right.

25             THE COURT:    -- no matter how much either of you pound
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1    the podium --

2             MR. SNYDER:    I have a suggestion -- but I have a

3    suggestion for the Court.     And I think that you said:       Where do

4    we go and what do we do from here?

5         We, Facebook, want to follow the Federal Rules of Civil

6    Procedure with dispatch and the utmost good-faith.         We are

7    already producing hundreds of thousands of documents before the

8    parties have even agreed to an ESI protocol, search terms or

9    custodians.

10        If the Plaintiffs would meet and confer with us on ESI

11   protocol, search terms and custodians, we will get to work in a

12   hurry, Judge; and we will produce whatever is responsive,

13   relevant and non-privileged.

14            THE COURT:    I wonder if the best way to move things

15   along is -- I'm interested in both of your thoughts on this --

16   but I wonder if I should try to find a Magistrate Judge who can

17   sit down with you-all -- refer this case to a Magistrate Judge

18   for discovery purposes and have it be somebody who can sit down

19   with you-all in person once every two weeks to sort of make

20   sure that things are still moving; make sure that the

21   Plaintiffs are not unfairly picking at Facebook; to make sure

22   that Facebook is not adopting an artificially narrow definition

23   of relevance; and just to -- you know, is there somebody with

24   the -- and, frankly, somebody who knows something about

25   electronic discovery.
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1         You know, that is not something that I ever -- you know,

2    as a lawyer in my practice -- as a lawyer I never had to deal

3    with electronic discovery or hardly ever.        You know, and it is

4    rare that anything comes up for me as a District Judge.

5         Maybe what we need is somebody who can really roll up

6    their sleeves with some expertise on this stuff and help you

7    cut through it all.

8             MR. SNYDER:    Your Honor, it is Mr. Snyder.       The issue

9    there is -- we are always happy to meet with a Magistrate Judge

10   if there is an impasse.

11        What I'm trying to explain -- I guess, not effectively --

12   to the Court is it is so premature because the Plaintiffs are

13   not coming to the table in the ordinary course as a Plaintiff

14   prosecuting a case normally would, which would be chomping at

15   the bit to get custodians, search terms and --

16            THE COURT:    Right.    But, again -- sorry to interrupt

17   but, again, I'm not in a position to know whether that's

18   actually true or not; right.      I don't -- all I know sitting

19   here is that we have two sides in a massive case that are

20   having a tremendous amount of difficulty even, you know,

21   figuring out the terms under which they are going to negotiate

22   the production of discovery, and --

23            MR. SNYDER:    You know what, Judge -- we are okay with

24   that, Judge.   I think -- look, we know -- and I know this

25   sounds overly declarative.      We know that we are not only in
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1    good-faith but we are working hard to do the right thing here.

2    And if Your Honor wants a Magistrate Judge to evaluate that, we

3    are confident that the Judge will agree because we are ready to

4    go.

5          We have a year to prove and we think win our case, and we

6    do not want to delay anything.      It really is the Plaintiff who

7    put the brakes on.     So if Your Honor thinks that going in front

8    of a Magistrate Judge is constructive, we are all for it

9    because we do not want this case to be delayed.         We want to go

10   forward on the current schedule.

11             THE COURT:    And, you know, maybe --

12             MR. LOESER:    Your Honor --

13             THE COURT:    -- we set something up where you are just

14   required -- you know, sorry to make you fly all these times;

15   but it is just like an in-person meeting.

16         I mean, I had a real problem case awhile back where I -- I

17   felt the need to do this, and there were just regular in-person

18   meetings with the Magistrate Judge.       And, you know, things

19   got -- things started moving along once I did that.

20         Mr. Loeser?

21             MR. LOESER:    Your Honor, it's Derek Loeser.      If I

22   could be heard.

23             THE COURT:    Go ahead.

24             MR. LOESER:    We don't have any problem with a

25   Magistrate Judge.    We think Magistrate Judge Corley, for
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1    example, is someone who has a lot of experience with issues

2    like this.   I will say --

3             THE COURT:    That's the person -- that's the person who

4    fixed my last problem case.     Anyway, sorry.     Go ahead.

5             MR. LOESER:    We would be in favor of that because I

6    can tell you that, you know, it is nice to hear Mr. Snyder --

7    and I understand that he may not have a great grasp on the

8    meet-and-confers and disputes that have occurred because he

9    hasn't been on any of those meet-and-confer calls -- but I can

10   tell you, we have tried very hard for a very long time to

11   engage Facebook and have a reasonable conversation about search

12   terms and custodians.

13        We have offered up what seemed to us like common-sense

14   solutions; like, why don't we start with what you have already

15   gathered for the FTC.     Why don't we look at the custodians you

16   have used there.    Why don't we look at the search terms.        They

17   rejected all of that.

18        They have no organizational charts they claim; no charts

19   that are -- not called organizational charts but have the same

20   information.   You know, if in discovery it ends up being the

21   case that such materials actually exist, which wouldn't

22   surprise us, I guess Facebook would have some explaining to do.

23        In the absence of any of this detailed information, we

24   have just sort of gone out on the Internet to come up with as

25   much information as we can to put together search terms and
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1    custodians.   Facebook has refused to discuss those.

2          So the idea that we have somehow -- Plaintiffs in a

3    litigation want to slow down discovery is pretty ridiculous and

4    obviously untrue.    We would welcome biweekly -- we will sit

5    down with a Magistrate three times a week if that's what it

6    takes.   We will be there as much as we need to be there.         We

7    will fly there.    We want this case to move.      We want to meet

8    the deadline.

9          What we don't want to have happen is what Facebook has

10   structured here, which is they have produced 150,000 documents

11   that relate only to a handful of named Plaintiffs.         The

12   materials are produced in a fashion that makes them largely

13   unusable.   They have achieved what Your Honor said they should

14   not do which is bifurcate discovery.

15         And at the present rate with what they are doing with

16   discovery, meeting that deadline seems very, very challenging.

17   We want to meet that deadline.      We want to come there, and we

18   will talk to anyone that we need to talk to make that happen.

19             THE COURT:   Okay.   I think that's what I'm going to

20   do.

21         Are there any -- I mean -- I will preface my question that

22   I'm about to ask you with the statement that I am generally

23   very reluctant to appoint anybody from outside the court

24   system, you know, Special Master, Special Discovery Master,

25   what have you.
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1         But I just wanted to check.      I know it happens a lot in

2    MDLs that a Special Discovery Master is appointed, somebody

3    from outside the court.     So even though I'm -- I doubt I would

4    do it.   I just wanted to ask people what they thought about

5    that as opposed to a Magistrate Judge.

6               MS. STEIN:   Thank you, Your Honor.     This is Deborah

7    Stein for Facebook just chiming in.       I think we are comfortable

8    with a Magistrate Judge and are happy to participate in that

9    process.

10        You know, I take it from Plaintiffs' Counsel that, you

11   know, he would like someone from Facebook who has been involved

12   in these calls to, you know, address the Court today on this.

13        And I have been involved in the calls.        I don't think that

14   Plaintiffs --

15              THE COURT:   Well, I don't need -- I appreciate it, but

16   I don't really want to hear anymore discussion of who is right

17   or wrong.

18              MS. STEIN:   Okay.

19              THE COURT:   Simply because we can be here for three

20   hours, and I still would not be a position to know who is right

21   or wrong.

22        Do you-all -- do you-all have a suggestion or a request

23   for a Magistrate Judge?

24              MS. STEIN:   We are fine, Your Honor, with whoever you

25   would like.    I think that from our perspective, you know, I
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1    think what would make sense on a timing front would be whatever

2    Your Honor thinks would make sense for the initial meeting and

3    then, you know, on a going forward basis for the Magistrate to

4    make determinations as to when the next meeting would make

5    sense.

6         There are probably some instances where two weeks, you

7    know, is really too quick.     And maybe there are other instances

8    where, you know, a follow-up call or something is required.

9    But, you know, I think having a standing two-week in-person

10   might be a bit onerous and might make more sense to have it

11   tied to, you know, specific milestones.

12            MS. WEAVER:    Your Honor, if I might, this is Lesley

13   Weaver on behalf of Plaintiffs.

14        And just to chime in here, I think -- if I'm hearing the

15   Court correctly, I do think having somebody very skilled in ESI

16   would be very helpful in this case.

17        We think a lot of this production needs to be done in

18   native form.    And that's going to be more complex than, I

19   think, even ordinarily occurs in your run-of-the-mill antitrust

20   or securities case just because of the natural environment a

21   lot of the subject material lives in.

22        Magistrate Judge Corley certainly has that experience.             I

23   think Magistrate Judge Beeler does.       If Your Honor decided that

24   he wanted to consider a Special Master, we would be happy to

25   discuss that.   And Judge Laporte, who is now at JAMS, might be
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1    a good candidate given her expertise with ESI as well.          So

2    those are just three options I think we would be comfortable

3    with.

4             MR. SNYDER:    Your Honor, may I suggest that we meet

5    and confer and suggest a name if we can agree on one just

6    because we are going to want to get client input on this one.

7    Judge Grewal may have an opinion.

8                                   (Laughter)

9             MR. LOESER:    Your Honor, Derek Loeser -- I'm sorry, go

10   ahead.

11            THE COURT:    Yeah, that's fine.      I mean, even if you

12   agree on a name, you may not get that name just because -- you

13   know, it is going to depend on people's schedules; but why

14   don't you go ahead and send -- go ahead and send Kristen an

15   e-mail telling us what -- you know, whether -- whether the

16   parties want to jointly recommend somebody or jointly request

17   somebody and that can be -- you can do that by Monday.          Does

18   that sound okay?

19            MR. LOESER:    Great, Judge.       That sounds fine,

20   Your Honor.   Just won't be any great surprise if the three

21   names we just provided are likely the ones that we think make

22   the most sense.

23            THE COURT:    Okay.

24            MR. LOESER:    In the meantime we have a collection of

25   issues that we need to advance with all due* dispatch.          And so
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1    I'm not sure where that leaves us with those issues.         I think

2    the meet-and-confer process with regard to those issues is

3    frankly at an impasse and it is not any great need to keep

4    going around in circles.

5         So I suppose we will send in this e-mail.         Hopefully we

6    will have an agreement in the next couple of days or if no

7    agreement, the Court can simply indicate who the Special Master

8    will be.    And it would then be the plan to submit these

9    disputes to the Magistrate or Special Master.

10              THE COURT:   I'm happy to, you know, make an attempt to

11   cut through some of the stuff if it would be helpful to you.

12        I will start with Facebook.      I have a question of

13   Facebook.    I'm looking at Footnote 2 of Facebook's case

14   management statement.

15        It says (reading):     "Plaintiff's contend Facebook has not

16   completed production of certain FTC correspondence that the

17   parties discussed with the Court.      This is untrue.     Facebook

18   has produced all document demands and correspondence that it

19   agreed to provide from the FTC proceedings."

20        That was a little ambiguous to me.       I don't know if that

21   was just -- it was sort of a mistake in the way you worded it.

22   But "we have produced everything that we agreed to provide."

23        I thought that I ordered you to provide all correspondence

24   between you and the FTC about document production.         So I just

25   wanted to get clear whether you have provided -- whether you
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1    have disclosed to the Plaintiffs all correspondence between you

2    and the FTC regarding document production.

3               MS. KUTSCHER:   Your Honor, this is Martie Kutscher at

4    Gibson.

5         I think the wording of the footnote was just a little bit

6    unclear.    There was nothing intentional about that wording.           At

7    the last case management conference we had discussed that

8    Facebook had already produced all document demands from the FTC

9    from its 2018/2019 investigation as well as correspondence from

10   the FTC describing the scope of those demands.

11        And we understood that the Court had ordered us to produce

12   the same materials from the earlier FTC proceeding.         So we

13   produced those materials.

14        The parties had separately discussed producing additional

15   correspondence from the 2018/2019 investigation from Facebook

16   regarding the scope of what was produced in that investigation,

17   and that correspondence has been produced.

18              THE COURT:   Okay.   A related issue is that the

19   Plaintiffs want search terms that were used to prepare the FTC

20   productions.    I'm not really seeing what is wrong with

21   providing the Plaintiffs with search terms that were used to

22   prepare the FTC productions.      It may -- it may streamline the

23   process of figuring out what search terms to use and what

24   search terms not to use, and I don't see how Facebook is harmed

25   in any real way by providing those to the Plaintiffs.
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1             MS. STEIN:    Your Honor, this is Deborah Stein again.

2         This is an issue that we have gone around with Plaintiffs

3    on and we actually prepared a joint letter on because it is an

4    important issue.    And for some reason the matter that we had

5    fully briefed did not get presented to Your Honor.

6         We have a concern about this for a variety of reasons.             We

7    do think that it will end up creating inefficiencies because

8    these are different cases with different requests for

9    production.

10        And we have a concern that what is really going on here is

11   that they are looking for the FTC search terms for different

12   reasons than efficiency purposes; that they are looking to sort

13   of second-guess the FTC investigation.       And we have provided

14   them with very broad, lengthy boolean searches that they are

15   free to build upon and make -- propose searches that they think

16   hit upon their actual request for production that are tethered

17   to their request for production and what is at issue in this

18   case as opposed to the FTC case.

19        They are getting the FTC documents from us starting with

20   search terms that have already been used and run and that they

21   are getting the documents for doesn't really advance getting

22   them more documents here.

23            THE COURT:    Well, I mean your argument --

24            MS. STEIN:    And for some reason we have been unable to

25   get them to either build upon --
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1              THE COURT:    Sorry to interrupt.     Hello?

2              MS. STEIN:    -- that we have provided them or for them

3    to even provide their own search terms.       I, frankly, have never

4    dealt with a case where Plaintiffs don't send over boolean

5    search terms.   I mean, they are often broader than what we want

6    to see; but, you know, here we just got a list of words that

7    includes things like "likes" and --

8              MR. SNYDER:    But before -- Deborah, let me just add to

9    that.   This is Orin Snyder from Gibson Dunn.

10        Your Honor, here is the problem.       They are getting all the

11   FTC documents that relate to the -- to their case.         The FTC

12   investigated other things that have nothing to do with this

13   case at all.    Let's call it X, Y and Z.

14             THE COURT:    I know but --

15             MR. SNYDER:    And we should not --

16             THE COURT:    It sounds like you're arguing -- if I may

17   interrupt, it sounds like what you are saying is that if you

18   turn over the search terms that you used for the FTC documents,

19   then they are going to react in an overzealous way to that and

20   they are going to start demanding stuff that isn't relevant to

21   this litigation, and that is -- it is just going to be a

22   distraction.

23        But that, of course, can be dealt with.        If they start

24   asking -- if receiving those search terms starts causing them

25   to ask for stuff that they shouldn't be entitled to in this
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1    litigation, that can be dealt with at that time.

2         On the other hand, maybe the search terms that you used

3    would help inform the search terms that are used in this case.

4    And it feels a little bit like you are just hiding the ball by

5    not being willing to give them those search terms.

6             MR. SNYDER:    No, Your Honor.     Your Honor took pains to

7    identify four potential theories buried in their pleading.          And

8    the Court held in its decision that the case is limited to

9    those four theories.

10            THE COURT:    For now.

11            MR. SNYDER:    -- and anything else -- right.       For now.

12   And, therefore, we should be engaging in discovery based on

13   those theories with search terms and custodians.         They want now

14   discovery into essentially what the FTC asked us to produce

15   that has nothing to do with this case which is a classic

16   fishing expedition.

17            THE COURT:    Yeah, but --

18            MR. SNYDER:    And we have agreed --

19            THE COURT:    -- all I'm asking you to give them is the

20   search terms.

21            MR. SNYDER:    Right.

22            THE COURT:    I'm not asking you to give them the

23   documents.

24            MR. SNYDER:    But the search terms are the key -- it is

25   the same thing effectively, Your Honor, because it identifies
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1    areas that have nothing to do with this case, and it would lead

2    not only to unnecessary motion practice but --

3             THE COURT:    Oh, there is going to be plenty of

4    unnecessary motion practice in this case.        I don't think we

5    need to worry about that.

6             MR. SNYDER:    But the Court has already held at the

7    last CMC, the January one, that not all materials produced to

8    the FTC must be reproduced here.      Giving them the search terms

9    would be an end-run around that ruling.

10        This is not FTC versus Facebook.       This is the Plaintiffs

11   versus Facebook.

12            THE COURT:    Why?   Why?   I'm not saying you give them

13   access to the universe of documents searched.        I'm just saying

14   you give them the search terms to help them -- to help them

15   inform their position on what the search terms should be.

16            MR. SNYDER:    That's not why they want them.

17        Martie, go ahead.

18            MS. KUTSCHER:     One of the bigger issues we are also

19   facing on this issue is what the Plaintiffs requested in their

20   document request was all of the FTC materials and then a slew

21   of other materials.    So they have those requests and they have

22   twenty-some odd additional requests.

23        We are giving them the FTC materials, and the FTC search

24   terms are crafted around those materials.        They are not crafted

25   for the additional searches or the additional requests the
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1    Plaintiffs had made.

2         So using the FTC search terms as a starting point just

3    isn't really an effective way to start because those searches

4    are tailored towards the documents they are already getting

5    from the FTC productions and really are not tailored or

6    relevant to the additional document demand, and that's what we

7    need to figure out, the searches for those demands.

8             MR. LOESER:    Your Honor --

9             THE COURT:    But you can make those arguments after you

10   give them the search terms.     You can make those arguments after

11   you give them the search terms.      You can say:    Here is the

12   search terms, but we can't -- we can't be tied to this because

13   it is going to produce a bunch of stuff that is irrelevant.             I

14   mean, what am I missing?

15            MR. LOESER:    Which, Your Honor, is exactly why we want

16   the search terms.    I'm sorry to interrupt, Mr. Snyder, but you

17   know, what we are hearing is a lot of description of things

18   that were after that were inappropriate, and we were searching

19   for materials that were not related to our case.

20        That is all not true.     We want the search terms

21   specifically to identify things that are related to the case.

22   And if it kind of seems like hiding the ball, that's exactly

23   what it is.   These terms resulted in the production of

24   materials for an investigation that significantly overlaps.

25   They are a good starting place.
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1         When we get the terms, we can look at ones.         If they don't

2    relate to this matter, we will cross them off the list.          If we

3    want to argue with Facebook about what does or doesn't relate

4    to matter, then that is the meet-and-confer we were trying to

5    have with them which they refuse to have.

6         It just doesn't make sense to claim that these terms are

7    not helpful or unrelated.     Obviously they are.      They resulted

8    in the production for an investigation that overlaps

9    substantially with this case.

10        I can promise the Court and Mr. Snyder and everybody else

11   on the phone, we have no intention of using them

12   inappropriately or for any purpose other than identifying

13   appropriate search terms for the subject matter of our case.

14   We have no other intention.

15            MR. SNYDER:    Your Honor, we have -- this is

16   Mr. Snyder.   We have briefed this already.       Your Honor's point,

17   it wouldn't be fair to weigh in without more information; that

18   you need three hours.     If I can respectfully request, this is a

19   big issue for Facebook for reasons that we set forth in our

20   briefing.

21        We believe this should be a threshold issue or be for the

22   Magistrate Judge, and it would be unfair for Your Honor, based

23   on this limited record, to rule on this issue.

24        We are not hiding the ball at all.       This has to do with

25   them getting results of search -- searches that -- Facebook
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1    conducted internally to produce documents to the FTC.

2         The way the Federal Rules work is the parties meet and

3    confer and agree on search terms based on the case before them.

4    And we would respectfully request that once the Magistrate

5    Judge is in place, this will be the first issue to address; and

6    that we abide that rather than have it -- frankly, a ruling on

7    at best a partial record.

8               THE COURT:    It sounds like you are working on briefing

9    already.    Why don't you submit a letter brief to me, a joint

10   letter, by Monday.      And then I will decide whether to rule on

11   it or kick it to the Magistrate Judge.

12              MR. SNYDER:    That sounds great.

13              MR. LOESER:    Your Honor, Derek Loeser.     That sounds

14   fine.   We do have the materials already prepared.        In case you

15   are interested in knowing, they weren't filed because after we

16   prepared our portion, Facebook indicated that it would provide

17   us with search terms and custodians.       We waited for that.

18   That's when we got their 9 custodian and 12 search strings

19   which wasn't worth waiting for.      So we have those materials.

20              THE COURT:    The only other thing I want to say right

21   now, and I'm going to -- I mean, I have said it a number of

22   times on the record already -- I am concerned -- you know,

23   without making any suggestions about anybody, you know, whether

24   anybody is acting in bad faith or being dilatory or anything

25   like that, I am concerned that Facebook has, you know, often
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1    made statements reflecting an unduly narrow view of what should

2    be turned over to the Plaintiffs.

3         And, you know, this is a big case.       I mean, there is often

4    a lot of talk about proportionality and whatnot.         This is a big

5    case.   It is a significant issue.     You know, and there is --

6    this is not the type of case where we are going to be saying:

7    Well, that might end up -- that effort might end up uncovering

8    some relevant information; but, you know, it is just too

9    expensive or difficult, and so we are not going to make

10   Facebook do it.

11        This is really not one of those cases where that is

12   very -- that type of argument is likely to carry the day.          You

13   know, and, as I have said a number of times, you know, the best

14   way to figure out what happened as it relates to the claims

15   that are going forward now is to -- for Facebook to produce all

16   information, all documents about the practices associated with

17   giving third parties access to friends' information and

18   friends' of friends information.

19        And I --

20             MR. SNYDER:   Your Honor, may I be heard on that

21   because Your Honor has no basis for concern on that score.

22        If I was there, I would look you in the eyes.         I'm telling

23   you, Judge, we are not only acting in good-faith; we are eager

24   to produce documents, whatever the expense, that are relevant

25   to the issues in this case.
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1         And we have been trying to do that by meeting and

2    conferring and trying to get moving in accordance with the

3    Federal Rules of Civil Procedure which is, you ask us for

4    documents.   We meet and confer on custodians and search terms,

5    and we produce documents.

6         We are not saying expense.      What we are saying is --

7    Your Honor knows the history of the case as well as we do.          It

8    started in' 18.    Your Honor gave them discovery on five topics.

9    They filed a Complaint.     Your Honor identified deficiencies in

10   that Complaint.    They filed a new Complaint.      Your Honor sifted

11   through this kitchen sink Complaint and identified the viable

12   potential theories.    And on those theories not only is there no

13   ball hiding, we want to get on with it.       It is not that

14   complicated.

15            THE COURT:    I have heard --

16            MR. SNYDER:    But, Judge -- what they want to do,

17   Judge, is they really are still looking for a better theory and

18   that's what this is all about.      Otherwise, they would be acting

19   like a Plaintiff and saying:      Okay.   Let's get the search terms

20   and let's get the custodians.

21        Instead, they want to backdoor FTC search terms because

22   they are looking for some other theory of the case.         But I am

23   confident, Your Honor, that when you see our performance on the

24   issues in this case in terms of our production of documents,

25   you will have no basis for concern because we want to get on
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1    with it because we think those documents actually are the key

2    to us winning this case.

3              THE COURT:    I can't wait.    Okay.   So we will -- we

4    will hear from you-all on a couple of things by Monday.          And in

5    the meantime, I will look into the possibility of a Magistrate

6    Judge referral for discovery purposes.

7              MR. SNYDER:   Great.    Thank you.

8              MR. LOESER:   Derek Loeser.     Before we all hang up and

9    go our separate ways, can I raise a couple other discrete

10   issues?

11             THE COURT:    Only if it is really quick.

12             MR. LOESER:   Yeah.    One is just this process for

13   having Your Honor receive joint submissions on disputes, and

14   it's just really a housekeeping thing.

15        Under your rules, you know, there is a procedure where

16   each side puts together five pages and submits it to the Court.

17   One of the problems we have been having with these sort of

18   endless meet-and-confers is there is no deadline to actually

19   submit the materiality to the Court.       And that was the basis

20   for our proposal where there would be five days after a

21   meet-and-confer for one party to submit the materials and then

22   three days after that for the other side.

23        I do think it would remove a real practical problem we are

24   having in terms of the speed with which things can get to the

25   Court.
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1              THE COURT:    Yeah, that's -- I hear you.      And we will

2    let the Magistrate Judge figure out how they want to address

3    that.

4              MR. LOESER:   Okay.   And the very last thing is we have

5    a UK Plaintiff which Your Honor has noted before.         The UK

6    Plaintiff we have wishes to withdraw.       We have two other UK

7    Plaintiffs who are prepared to substitute in.        Claims are

8    exactly the same and simply it would be two people substituting

9    in for one substituting out.

10         We have asked Facebook to consent.      They refuse.     They

11   have indicated they are going to oppose our substitutions.            And

12   so if that's really the position they are going to take at this

13   stage of the case that we are in, then we will be filing a

14   motion just asking for substitution for this purpose.

15             THE COURT:    Okay.   I mean -- I was -- I may be

16   ignorant on this topic.     I was scratching my head about whether

17   the class could include everybody in the UK or people from the

18   UK.   But assuming it can, I can't imagine denying a request to

19   substitute in Plaintiffs at this relatively early stage in the

20   case.   But -- and maybe Facebook can consider my comment in

21   deciding whether to oppose it.      But if they -- if they want to

22   oppose it, they have a right to do so; and I will decide the

23   motion.

24             MR. LOESER:   Okay.   Your Honor, and for Plaintiffs we

25   are looking really forward to a process where there are more
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1    than 12 search terms and 9 custodians.       We appreciate the time,

2    Your Honor, has spent dealing with these issues today.

3             THE COURT:    All right.    Thank you.

4             MR. SNYDER:    Thank you.

5             MS. STEIN:    Good night.

6             MR. LOESER:    Thank you.

7                   (Proceedings adjourned at 1:47 p.m.)

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10                         CERTIFICATE OF REPORTER

11            We certify that the foregoing is a correct transcript

12   from the record of proceedings in the above-entitled matter.

13

14   DATE:   Sunday, March 8, 2020

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18               _________________________________________

19                         Marla F. Knox, RPR, CRR
                              U.S. Court Reporter
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